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                                     1
                                         JOHN C. MANLY, Esq. (State Bar No. 149080)
                                     2   VINCE W. FINALDI, Esq. (State Bar No. 238279)
                                         ALEX E. CUNNY (State Bar No. 291567)
                                     3
                                         JANE E. REILLEY (State Bar No. 314766)
                                     4   MANLY, STEWART & FINALDI
                                         19100 Von Karman Ave., Suite 800
                                     5   Irvine, CA 92612
                                         Telephone: (949) 252-9990
                                     6   Fax: (949) 252-9991
                                     7
                                         Attorneys of Record for Plaintiff, ALEXANDRA ROSE
                                     8   RAISMAN, an individual

                                     9
                                                                   UNITED STATES DISTRICT COURT
                                    10
                                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA- SAN JOSE
                                    11
19100 Von Karman Av e., Suite 800




                                         ALEXANDRA ROSE RAISMAN, an                    Civil Case No. 5:18-cv-02479-BLF
MANLY, STEWART & FINALDI




                                    12
                                         individual,
   Telephone: (949) 252 -9990
     Irvine, California 92612
      ATTORNEYS AT LAW




                                    13                                                 [The Honorable Beth Labson Freeman]
                                                      Plaintiff,
                                    14                                                 NOTICE OF PLAINTIFF ALEXANDRA
                                                v.                                     RAISMAN’S OPPOSITION TO
                                    15                                                 DEFENDANT STEVE PENNY’S
                                         UNITED STATES OLYMPIC COMMITTEE,              MOTION TO DISMISS FOR LACK OF
                                    16
                                         a Business Entity of Form Unknown; USA        PERSONAL JURISDICTION UNDER
                                    17   GYMNASTICS, an Indiana Business Entity of     FEDERAL RULE OF CIVIL
                                         Form Unknown; LARRY NASSAR, an                PROCEDURE 12(B)(2); MEMORANDUM
                                    18   individual; STEVE PENNY, an individual;       OF POINTS AND AUTHORITIES
                                         PAUL PARRILLA, an individual; and DOES 1
                                    19   through 500.                              Hon. Judge Beth Labson Freeman
                                    20
                                                                                       [Filed concurrently with Declaration of Alex
                                    21                                                 E. Cunny]

                                    22                                                 Complaint filed: February 28, 2018
                                    23
                                                                                       Hearing: February 7, 2019
                                    24                                                 Time:     9:00 a.m.
                                                                                       Judge:    Honorable Beth Labson Freeman
                                    25                                                 Courtroom: 3
                                    26
                                    27   ///
                                    28   ///
                                                                                   i
                                               NOTICE OF PLAINTIFF ALEXANDRA RAISMAN’S OPPOSITION TO STEVE
                                                    PENNY’S MOTION TO DISMISS PURSUANT TO FRCP 12(B)(2)
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                                     1           TO THE COURT, ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

                                     2           PLEASE TAKE NOTICE that Plaintiff Alexandra Rose Raisman (“Plaintiff”) hereby

                                     3   files the instant Opposition to Defendant Steve Penny’s (“Penny”) Motion to Dismiss for Lack of

                                     4   Personal Jurisdiction Under Federal Rule of Civil Procedure 12(b)(2). This Opposition is

                                     5   grounded in following legal and factual bases, all of which justify denying the instant Motion, in

                                     6   toto:

                                     7           1) Penny has submitted to the personal jurisdiction of California, as he has had

                                     8              substantial contacts with the forum and has purposefully availed himself to the laws

                                     9              and benefits of the State of California;

                                    10           2) Penny, as the President and CEO of Defendant USA Gymnastics (“USAG”), contrary

                                    11              to his declaration, was responsible for the minor gymnasts participating in Olympic
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                                    12              events, and personally coordinated the national team events in California, including
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     Irvine, California 92612
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                                    13              the 2012 Olympic Trials at which Plaintiff was molested by Nassar, failing to uphold

                                    14              his duty to protect Plaintiff from such abuse;

                                    15           3) Penny directed officials to go to the Karolyi Ranch and conceal documents from law

                                    16              enforcement, which are believed to be related to the Nassar investigation. As such, this

                                    17              concealment of evidence should extinguish Penny’s claims for lack of personal

                                    18              jurisdiction, as the evidence concealed is believed to be directly relevant to his

                                    19              knowledge of Nassar being an abuser, prior to Plaintiff being abused in San Jose, in

                                    20              2012. Archdiocese of Milwaukee v. Superior Court 112 Cal.App.4th 423 (2003). As
                                    21              such, Penny should not benefit from this allegedly criminal conduct.

                                    22           4) Through his Motion to Stay Discovery due to his criminal indictment in Texas, Penny

                                    23              availed himself to the Court’s jurisdiction, acknowledging its jurisdiction by seeking

                                    24              its relief. As such, Penny, under California “general appearance” rules applied in

                                    25              Federal Court, has waived his objection to personal jurisdiction in California.

                                    26   ///
                                    27   ///

                                    28   ///
                                                                                          ii
                                               NOTICE OF PLAINTIFF ALEXANDRA RAISMAN’S OPPOSITION TO STEVE
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     Irvine, California 92612
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                                     1                       MEMORANDUM OF POINTS AND AUTHORITIES

                                     2                       I. INTRODUCTION AND FACTUAL BACKGROUND

                                     3          This case arises from the serial molestation of Plaintiff Alexandra Rose Raisman

                                     4   (“Plaintiff”), a three-time Olympic gold medalist, who, while competing for her country, endured

                                     5   repeated molestation by the USA Gymnastics’ (“USAG”) team physician, now-former Dr. Larry

                                     6   Nassar (“Nassar”), during Defendant Steve Penny’s (“Penny”) tenure as President and CEO of

                                     7   USAG. The Plaintiff attended national and international competitions with locations including but

                                     8   not limited to: San Jose, California; the “Karolyi Ranch” in Huntsville, Texas; other locations

                                     9   across the U.S. and elite competition sites spanning the globe, such as Japan, Australia, the

                                    10   United Kingdom, and the Netherlands. Complaint, ¶¶1,5,10, Ex. “1” to Declaration of Alex

                                    11   Cunny (“Cunny Decl.”). These events were hosted, sanctioned, supervised, and/or endorsed by,
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                                    12   under the supervision of, chartered, and/or under the mandate of USAG, Penny, and other
   Telephone: (949) 252 -9990
     Irvine, California 92612
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                                    13   defendants. Id. at ¶4, 22 24, Ex. “1”. Despite disclaiming all responsibility for Nassar’s conduct

                                    14   and role with USAG (Declaration of Steve Penny (“Penny Declaration”), ¶¶15-19, filed

                                    15   concurrently with Motion), Penny was the highest-ranking member within USAG and had the

                                    16   power to censure, discipline, or otherwise disallow Nassar from attending the event where he

                                    17   sexually abused the Plaintiff in California. Compl., ¶22, Ex. “1”. Furthermore, in November of

                                    18   2016, Penny directed a USAG employee to retrieve documents from the Karolyi Ranch, where

                                    19   the Plaintiff was abused, and during the pendency of an investigation by the Walker County

                                    20   Texas Rangers, in order to retrieve documents that are believed to be central to the Nassar cases.
                                    21   For this reason, and as explained further under the analysis of Archdiocese of Milwaukee v.

                                    22   Superior Court 112 Cal.App.4th 423 (2003), Penny’s knowledge of complaints and malfeasance

                                    23   by Nassar, prior to the California event in San Jose, is germane to whether he directed Nassar, as

                                    24   the CEO of this organization, towards the Plaintiff in California. As such, Penny does not get a

                                    25   windfall for concealing and potentially destroying evidence.

                                    26          Notwithstanding these facts, Penny applied to this Federal District Court in November of
                                    27   2018, in order to protect his Fifth Amendment Rights with a stay pending the resolution of his

                                    28   criminal matter pending in Texas. Ex Parte Application for Stay, Ex. “2” to Cunny Decl. This
                                                                                        1
                                         PLAINTIFF ALEXANDRA RAISMAN’S OPPOSITION TO STEVE PENNY’S MOTION
                                                         TO DISMISS PURSUANT TO FRCP 12(B)(2)
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                                     1   request for substantive relief under California Law is a recognition by Penny that California law

                                     2   has authority over him, and thus, he is amenable to suit therein.

                                     3          The Plaintiff respectfully requests that the Court deny this Motion, in toto, and hold Penny

                                     4   amenable to suit in the State of California.

                                     5   A.     STEVE PENNY AND HIS ROLE AS PRESIDENT OF USAG.

                                     6          Penny served as President and CEO of USAG, and, in this capacity, assumed overall

                                     7   management and strategic planning responsibilities for the organization. Compl., ¶22. He began

                                     8   his employment with USAG in 1999. Penny Decl., ¶3. Penny oversaw a wide-ranging, calculated

                                     9   concealment over numerous instances, complaints, and allegations of sexual abuse and

                                    10   misconduct among the participants and members of Defendant USAG. Compl., ¶22, 40. During

                                    11   his tenure as President, Penny’s actions and inactions enabled and ratified the sexual abuse by
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                                    12   Defendant Nassar against Plaintiff, alongside other participants and members of Defendant
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                                    13   USAG. Id. at ¶19-21, 22, 23, 24. Plaintiff believes, is informed, and alleges that as a direct result

                                    14   of this active concealment of USAG-related abuse, Defendant Penny fostered an environment that

                                    15   reduced the likeliness for victims to seek and obtain much-needed medical and/or psychological

                                    16   treatment. Penny affirms that he served as President of Defendant USAG from in or around 2005

                                    17   to 2017. Penny Decl., ¶¶1-2. At all times herein alleged, Penny operated as an employee, agent,

                                    18   and/or servant of Defendant USAG. Motion, 3:5-7; Compl., ¶22, Ex. “1”.

                                    19          Most devastating to Penny’s jurisdictional challenge is the inescapable, undisputed fact

                                    20   that Plaintiff was sexually molested by Dr. Nassar at the 2012 Olympic Trials in San Jose,
                                    21   California, while Steve Penny, as then-President of USAG, was present. Declaration of Raisman,

                                    22   ¶ 3-5, Ex. “3” to Cunny Decl.; Deposition of Lee Johnson (“Johnson Depo.”), 29:8-9, Ex. “4” to

                                    23   Cunny Decl.; Motion, 10: 15-18 (“Mr. Penny’s duties as the CEO of USAG required traveling to

                                    24   national and international competitions, including the 2012 Olympic Trials in San Jose”). A

                                    25   defendant cannot visit California, mandate that a minor athlete attend, assume responsibility for a

                                    26   minor, allow her to get molested, and then fly back home without consequence. Penny’s attempt
                                    27   to evade liability on jurisdiction grounds is an affront to well-established California law and those

                                    28   injured in California, including Plaintiff, who are entitled to protection under the state’s law.
                                                                                          2
                                         PLAINTIFF ALEXANDRA RAISMAN’S OPPOSITION TO STEVE PENNY’S MOTION
                                                         TO DISMISS PURSUANT TO FRCP 12(B)(2)
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                                     1   Penny, in his Motion to Dismiss, denies that she had any responsibility for the safety and well-

                                     2   being of gymnasts at competition.

                                     3          While Penny proffers a declaration that conclusorily claims that he had no role with

                                     4   choosing Nassar to be a medical professional at the 2012 Olympic Trials, the evidence elicited

                                     5   about the duties of the President/CEO of USAG conflict with this declaration. Penny Decl., ¶19;

                                     6   see also Motion, 10:16-18 (while “in San Jose, [Penny’s] duties did not involve undertaking a

                                     7   duty to act as any gymnast’s guardian within California”). Former president Kathy Scanlan (who

                                     8   was president from 1994 to 1998), explained that as president, there were some cases where she

                                     9   was responsible for the safety of members at events. Deposition of Kathy Scanlan, 77:3-78:3,

                                    10   Exhibit “5” to Cunny Decl. When questioned about her duties further, Ms. Scanlan provided the

                                    11   following testimony:
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                                    12          “Q.  And you understood as the president that part of your job was to keep
                                                     them safe, whatever state they were in, including California, correct?
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                                    13          MS. KUBOTA: Objection; beyond --
                                    14          MR. BRUBAKER: I'm concerned --
                                                MS. KUBOTA: -- the scope.
                                    15
                                                MR. BRUBAKER: -- about the scope of the inquiry.
                                    16          Q.     Go ahead.
                                    17          A.     Yes.” Scanlan Depo., 161:20-162:4, Ex. “5” [Emphasis Added].
                                                Ms. Scanlan further testified that she helped enact national policies to protect children,
                                    18
                                         that USAG would publish the names of “terminated members” in the magazine published by
                                    19
                                         USAG, and further declared in a declaration that, in her role as CEO of USAG, she was
                                    20
                                         responsible for being involved with member discipline. Id. at 169:22-25, 170:2-4, Ex. “5”;
                                    21
                                         Declaration of Kathy Scanlan, ¶¶2-5, Ex. “15” to Cunny Decl. Ms. Scanlan then stated, under
                                    22
                                         oath, “[u]ltimately, my job duties included ensuring the safety of minors at National and
                                    23
                                         International events held by USAG.” Scanlan Decl., ¶2 [Emphasis Added], Ex. “5”. Ms.
                                    24
                                         Scanlan’s successor, Robert Colarossi (who drafted the letter attached as Exhibit “A” to the
                                    25
                                         Complaint), testified that he specifically addressed the grievance process with USOC, in order to
                                    26
                                         protect children from harm. Deposition of Robert Colarossi, Vol. 2, 51:7-53:24, Ex. “6” to Cunny
                                    27
                                         ///
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                                                                                        3
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                                     1   Decl. Mr. Colarossi then further stated that if a child was presented in an unsafe environment,

                                     2   USAG would inform the parents. Id. at 80:1-6.

                                     3          At the deposition of Penny, when asked whether USAG had an obligation to protect

                                     4   minors who travelled without their parents, Penny responded: “I believe we had a responsibility

                                     5   to do our best to protect the athlete in that environment, yes.” Penny Depo., 202:2-4, Ex. “7”.

                                     6   Mr. Penny went further to discuss how USAG provided medical care to elite athletes “was

                                     7   something we felt was the right thing to do.” Id. at 214:1-11. Finally, Penny stated that it was also

                                     8   his province to review and evaluate bylaws such that USAG could “…protect young people.” Id.

                                     9   at 218:22-219:7. As president, Penny was clearly responsible for the safety of USAG at

                                    10   competitions, despite his conclusory declaration to the contrary.

                                    11          As President, Penny’s connections to California were well-documented. In fact, during his
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                                    12   own deposition, prior to the filing of the instant action, Penny, after noting that the Gymnastics
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                                    13   World Championship “was held in San Jose in 2007,” affirmed that San Jose was even called

                                    14   “Gymnastics City USA.” Penny Depo, 166:20-167:10 (emphasis added). Penny noted that this

                                    15   was a deliberate “branding term that the city created to demonstrate its commitment to hosting the

                                    16   Olympic trials,” having hosted the Olympic national championships, the Olympic trials, and the

                                    17   even the world championships. Id. at 160: 1-25. Lee Johnson, Vice-President of Marketing for

                                    18   USAG, chronicled the extent to which Penny involved himself in the 2012 Olympic Trials in San

                                    19   Jose, California. Penny maintained involvement in the five to ten planning meetings prior to the

                                    20   2012 Trials in San Jose. Johnson Depo, 30:17-23. Penny personally approved of the marketing
                                    21   materials for the 2012 Trials. Id. at 38:17-25. Penny orchestrated the budget for the even as well

                                    22   as outlined the “marketing [that] was going to be happening.” Id. at 41:6-11. Penny personally

                                    23   oversaw Kathy Kelly, the vice-president of the women’s program, during the event itself. Id. at

                                    24   46:10-11. Penny maintained a “whole host of job duties that he was performing at that [San Jose]

                                    25   event.” Id. at 47:25-48:3. Finally, Penny attended the actual event in San Jose, California. Id., 29:

                                    26   8-9. Now, however, despite his integral involvement in these events, Penny ardently denies
                                    27   California jurisdiction.

                                    28   ///
                                                                                          4
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                                     1   B.     PLAINTIFF’S SEXUAL ABUSE BY USAG PHYSICIAN NASSAR.

                                     2          Plaintiff is a three time Olympic Gold Medalist, who trained and competed on behalf of

                                     3   the United States for the USAG and USOC. Complaint, (“Compl.”) ¶1, Exhibit (“Ex.”) “1” to

                                     4   Declaration of Alex Cunny (“Cunny Decl.”). During her time competing as an elite gymnast in

                                     5   the sport she loved, the Plaintiff was molested repeatedly by Nassar from in or around 2010 to

                                     6   2012, and again, in or around 2015 during non-optional medical treatment. Compl., ¶5, Ex. 1. To

                                     7   abuse the Plaintiff, Nassar used his trusted position as a doctor to gain access to the Plaintiff, tell

                                     8   the Plaintiff she suffered from a medical condition, and then inserted his ungloved fingers into her

                                     9   vagina without warning and without consent. Compl., ¶5, 37. The sexual abuse suffered by the

                                    10   Plaintiff was not known to be illegitimate or sexually abusive, at the time, as she believed it was

                                    11   how such medical treatment should have been provided. Id. at ¶1,3,37. The sexual abuse occurred
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                                    12   at numerous events and specifically, in California at a USOC event: the 2012 Olympic Trials in
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                                    13   San Jose, California. Declaration of Alexandra Raisman (“Raisman Decl.”), ¶3-5, Ex. “2” to

                                    14   Cunny Decl. Furthermore, the sexual abuse of the Plaintiff occurred at the Karolyi Ranch, which

                                    15   was an Olympic Training Site from 2011 forward. Compl., ¶8. As a result, the Plaintiff

                                    16   continues to suffer from depression, anxiety, and sequelae related to the abuse. Id. at ¶¶3,58-60.

                                    17   C.     INSTITUTIONAL KNOWLEDGE OF ABUSERS BY USAG.

                                    18          Nassar was the team physician for USAG from 1996 until 2015, and began as a trainer in

                                    19   1986. Compl., ¶24. Nassar was also retained by USOC and was an Osteopathic physician to

                                    20   provide care and athletic training to athletes for USOC and USAG. Id. Through this position of
                                    21   trust, Nassar perpetrated his abuse upon the Plaintiff, despite USOC and USAG concealing

                                    22   Nassar’s abusive history and misrepresenting Nassar as being a safe physician. Id.

                                    23          The Nassar abuse scandal was not the first time USAG became aware of abuse allegations

                                    24   in amateur sports. In or around 1994, and only months after the Plaintiff was born, USAG

                                    25   President Kathy Scanlan was made aware of the serious threat posed to amateur athletes in

                                    26   gymnastics. Declaration of Scanlan, (“Scanlan Decl.”), ¶2-3, Ex. “15” to Cunny Decl. These
                                    27   issues were communicated to USOC, though little was done. Id. at ¶¶4-5.

                                    28   ///
                                                                                           5
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                                     1          In October of 1999, when Penny was employed by USAG, the USOC was made aware,

                                     2   in writing, that sexual abuse of gymnasts was a prevalent problem within the sport and that these

                                     3   athletes were at a foreseeable risk. Compl., ¶44, Ex. “A” to Compl, Ex. “1”. Colarossi informed

                                     4   USOC that it had implemented a “…fundamentally flawed process…” for discipline of members

                                     5   and that the USOC’s process had an “…apparent indifference to the welfare of young children

                                     6   manifest in the Committee’s actions.” Id. Colarossi and Scanlan testified that they were aware

                                     7   that child molestation in gymnastics, by USAG professional members, was a problem that needed

                                     8   to be fixed. Deposition of Scanlan (“Scanlan Depo.”) 47:18-22, Ex. “5” to Cunny Decl.;

                                     9   Deposition of Colarossi (“Colarossi Depo.”) 28:8-15, 51:7-53:24, Ex. “6” to Cunny Decl.

                                    10   D.     PENNY’S RECENT CONCEALMENT AND POTENTIAL DESTRUCTION OF
                                                EVIDENCE BY USAG AGENTS.
                                    11
                                                In June of 2015, an athlete came forward at the Karolyi Ranch and reported their abuse to
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                                         USAG officials. Deposition of Paul Parilla Volume II, 458:7-459:19, Ex. “8” to Cunny Decl.
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                                    13
                                         After waiting five (5) weeks, Penny then reported to a well-known friend within the Federal
                                    14
                                         Bureau of Investigation (“FBI”), Mr. Jay Abbott. Id. at 457:24-458:14. For some reason, Nassar
                                    15
                                         was not arrested and it is unclear why the investigation stalled. In an e-mail to the USOC’s Chief
                                    16
                                         Security Officer, Larry Buendorf, Penny stated that he knew a “great guy” who was an FBI
                                    17
                                         agent in Indianapolis who would be a good fit for Mr. Buendorf’s job. E-mail correspondence
                                    18
                                         between Penny and Buendorf, 00002148, Ex. “16” to Cunny Decl.. An in-depth news article was
                                    19
                                         also published in November 2018 which illuminates Penny’s close relationship with law
                                    20
                                         enforcement that investigated childhood sexual abuse. Indianapolis Star Article of November 11,
                                    21
                                         2018, Ex. “9” to Cunny Decl. These are facts supporting the concealment and conflict of interest
                                    22
                                         that Penny had in prior reports of suspected abuse to law enforcement. Compl., ¶22, Ex. “1”.
                                    23
                                                In November 2016, Steve Penny, former president of USAG, directed an individual
                                    24
                                         (Amy White) to go to the Karolyi Ranch, and collect documents, given law enforcement wanted
                                    25
                                         to search the facility, pertaining to Nassar. Congressional Hearing Record, July 24, 2018-
                                    26
                                         Testimony of Kerry Perry, p.035-037, Ex. “10” to Cunny Decl. Ms. White purchased suitcases
                                    27
                                         and brought scores of documents back from the Karolyi Ranch with her. Id. At deposition Ms.
                                    28
                                                                                        6
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                                     1   White invoked her 5th Amendment rights as to all USAG questioning. Deposition of Amy White,

                                     2   Ex. “11” to Cunny Decl. Penny was indicted in September of 2018 for this conduct.1 Indictment

                                     3   of Steve Penny, Ex. “12” to Cunny Decl. Former USAG employee, Rhonda Faehn, testified that

                                     4   she told now-former president Kerry Perry about what Ms. White had done with the documents.

                                     5   Deposition of Rhonda Faehn (“Faehn Depo”), 152:17-167:9, Ex. “13” to Cunny Decl. Ms. Perry

                                     6   responded: “…oh, that's not good.” Id. at 167:9[emphasis added].

                                     7   E.     ATTEMPTS TO OBTAIN DEPOSITION OF PENNY.
                                                After the removal of this matter to Federal Court (and given that Penny’s deposition was
                                     8
                                         previously taken before the instant Matter was filed), Plaintiff’s counsel sought the deposition of
                                     9
                                         Penny. Cunny Decl., ¶3. The deposition was scheduled to proceed on October 23, 2018, by the
                                    10
                                         agreement of counsel. Id. On October 18, 2018, counsel for Penny unilaterally took the deposition
                                    11
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                                         “off-calendar” and refused to appear. Id. A Certificate of Non-Appearance was obtained, Penny
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                                         subsequently attempted to obtain a stay, which is now pending. Id. As such, Plaintiff’s counsel
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                                    13
                                         has not had the opportunity to depose Penny regarding the timeframe and issues involved in the
                                    14
                                         instant Matter, for which his testimony would be germane. Id. Plaintiff requests leave, in the
                                    15
                                         event the Court is not inclined to deny Penny’s Motion, for want of further discovery. Id.
                                    16
                                                                               II.    ARGUMENT
                                    17
                                         A.     PERSONAL JURISDICTION MAY BE EXERCISED OVER DEFENDANT
                                    18          STEVE PENNY WHEN HE HAS MINIMUM CONTACTS WITH CALIFORNIA,
                                                RELATED TO THE ACTION, AND THE EXERCISE OF JURISDICTION DOES
                                    19          NOT OFFEND TRADITIONAL NOTIONS OF FAIR PLAY AND SUBSTANTIAL
                                                JUSTICE.
                                    20
                                                The State of California may exercise personal jurisdiction over a nonresident entity if the
                                    21
                                         entity has certain minimum contacts with the forum state so that the maintenance of the suit does
                                    22
                                         not offend traditional notions of fair play and substantial justice. Code of Civil Procedure
                                    23
                                         (“C.C.P.”) § 410.10; Int'l Shoe Co. v. Wash., (1945) 326 U.S. 310; Pavlovich v. Superior Court,
                                    24
                                         29 Cal.4th 262, 268 (2002); Vons Companies, Inc. v. Seabest Foods, Inc., 14 Cal.4th 434, 444
                                    25
                                         (1996). The key to whether a state’s exercise of personal jurisdiction comports with due process
                                    26
                                    27   1
                                           Contrary to the Congressional Statements of Ms. Perry, news reports of November 8, 2018
                                         indicate that USAG located some documents that may have been “missing.” Indianapolis Star
                                    28
                                         Article, Ex. “9” to Cunny Decl. It is unclear whether these are the same documents.
                                                                                         7
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                                     1   is whether the defendant established minimum contacts in the forum state, which applies equally

                                     2   to individual and corporate defendants; the court's inquiry must focus on the relationship among

                                     3   the defendant, the forum, and the litigation. Burger King Co. v. Rudzewicz, 471 U.S. 462, 474

                                     4   (1985); see also World Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 291 (1980). The

                                     5   minimum contacts test is not susceptible to rote, mechanical application; rather, the facts of each

                                     6   case must be carefully weighed to determine whether the requisite affiliating circumstances are

                                     7   present. Kulko v. Superior Court, 436 U.S. 84, 92 (1978); Snowney v. Harrah's Entertainment,

                                     8   Inc., 35 Cal. 4th 1054, 1061 (2005). The relevant time period during which the “minimum

                                     9   contacts” must have existed is when the cause of action arose, rather than those existing when the

                                    10   complaint was filed. Boaz v. Boyle & Co., 40 Cal.App.4th 700, 717 (1995) (“We shall assume

                                    11   that the relevant period is when Emons' predecessors were distributing DES, some 25 years ago,
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                                    12   rather than just before Emons was served.”) Since foreign (e.g. non-California) business entities,
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                                    13   by their inherent nature, can only operate through agents, courts may exercise jurisdiction over

                                    14   such entities based upon the acts of their agents within the forum state, even where the

                                    15   corporation engages in no business or other activities in the state. Magnecomp Corp. v. Athene

                                    16   Co., 209 Cal. App. 3d 526, 535 (1989). Here, however, USAG has engaged with the state.

                                    17          A nonresident defendant may be subject to California's specific jurisdiction if a three-

                                    18   prong test is met. First, the defendant must have purposefully availed himself to the state's

                                    19   benefits. Second, the controversy must be related to or arise out of the defendant's contacts with

                                    20   the state. Third, considering the defendant's contacts with the state and other factors, California's
                                    21   exercise of jurisdiction over the defendant must comport with traditional notions of fair play and

                                    22   substantial justice. CollegeSource, Inc. v. AcademyOne, Inc. (9th Cir. 2011) 653 F.3d 1066, 1076.

                                    23   A plaintiff bears the burden of establishing the first two requirements, and, if plaintiff establishes

                                    24   these requirements, the burden shifts to the defendant to show that California's exercise of

                                    25   jurisdiction would be inherently unreasonable. Gilmore Bank v. AsiaTrust New Zealand Limited,

                                    26   223 Cal. App. 4th 1558, 1567-69. “Where, as here, the defendant's motion is based on written
                                    27   materials rather than an evidentiary hearing, ‘the plaintiff need only make a prima facie showing

                                    28   ///
                                                                                          8
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                                     1   of jurisdictional facts to withstand the motion to dismiss.’” CollegeSource, Inc. supra, 653 F.3d

                                     2   1066, 1073, citing Burger King Co., 471 U.S. at 476-78.

                                     3          While the Plaintiff does not contend that Defendant Steve Penny is subject to general

                                     4   jurisdiction, he is certainly subjected to specific jurisdiction, as he was present at the USAG

                                     5   event, the 2012 Olympic Trials in San Jose, California, where Plaintiff was abused by Larry

                                     6   Nassar. Johnson Depo, 29:8-9. Secondarily, Penny specifically played a pivotal role in recruiting

                                     7   the Plaintiff onto the USAG team, sending her to the 2012 Olympic Trials in San Jose, California,

                                     8   as a requisite to participating in the London 2012 Olympic Games. Therein, Plaintiff endured

                                     9   sustained abuse by Nassar under Penny’s watch and with Penny’s knowledge about rampant

                                    10   sexual abuse of minor gymnasts. Thus, Penny is subject to Specific Jurisdiction on several

                                    11   distinct bases:
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                                    12   B.     CALIFORNIA HAS A “SPECIAL INTEREST” IN PERMITTING MINORS TO
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                                    13          TERRITORY, ESPECIALLY VICTIMS OF ABUSE WHO ARE IN A “SPECIAL
                                                RELATIONSHIP” WITH AN ADULT OR ORGANIZATION IN LOCO
                                    14          PARENTIS.
                                    15          California recognizes that, where (as here) a statute is passed specifically governing an
                                    16   activity, the state has a "special interest" in governing the activity and may exercise jurisdiction
                                    17   exclusively on that basis over an act that causes effects in California: "[W]here the forum state
                                    18   has manifested a special interest in controlling the effects by enacting special legislation with
                                    19   respect thereto, the exercise of jurisdiction based upon such effects is justified." Quattrone v.
                                    20   Superior Court, 44 Cal.App.3d 296, 306 (1975). California has a special interest in exercising
                                    21   jurisdiction over those who commit tortious acts within its territory. C.C.P. §410.10 (Judicial
                                    22   Council Comments, (8); citing Rest. Second §36 (“A state has a special interest in exercising
                                    23   judicial jurisdiction over those who commit torts within its territory.”) Furthermore, California’s
                                    24   Long-Arm Statute’s Comment from the Judicial Council provides that:
                                    25
                                                “A state has power to exercise judicial jurisdiction over an individual who has done, or
                                    26          has caused to be done, an act in the state with respect to any cause of action in tort
                                                arising from such act, and any cause of action not in tort arising from such act unless the
                                    27          nature of the act and of the individual's relationship to the state make the exercise of such
                                                jurisdiction unreasonable.” C. C. P. § 410.10 (Comment from Judicial Council) [emphasis
                                    28          added].
                                                                                         9
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                                     1          These Judicial Council Comments further to provide that, “[w]ith respect to the first of

                                     2   these factors, it is reasonable that a state should exercise judicial jurisdiction over the defendant

                                     3   as to causes of action arising from an act done, or caused to be done, by him in the state which the

                                     4   state subjects to special regulation.” Id.; Rosenblatt v. American Cyanamid Co. 86 S.Ct. 1, 3

                                     5   (1965). This is because California torts involve wrongful conduct that California seeks to deter,

                                     6   and against which it attempts to afford protection, by providing that a tortfeasor will be liable for

                                     7   damages that are the proximate result of the tort. Abbott, supra, at 277. Accordingly, the

                                     8   commission of a tortious act within California ordinarily justifies the exercise of specific personal

                                     9   jurisdiction in an action arising from the tortious act, and California courts may properly exercise

                                    10   personal jurisdiction over one who commits a tort or who causes a tort to be committed within the

                                    11   state. Anglo Irish Bank Corp., PLC v. Superior Court, 165 Cal.App.4th 969, 980 (2008); In re
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                                    12   Automobile Antitrust Cases I and II, 135 Cal.App.4th 100, 109 (2005). It is enough that the
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                                    13   complaint states a cause of action, in tort, based on the underlying act or omission, and the action

                                    14   may be based on injury to intangible interests as, for example, damage to one's reputation. Abbott,

                                    15   supra, at 279.

                                    16          California has enacted a host of laws (and court decisions) to protect children from the

                                    17   ravages of sexual abuse, to hold their supervisors and guardians responsible and accountable for

                                    18   their protection, and to allow children to be raised in an environment devoid of sexual abuse and

                                    19   predation. See C.C.P. §340.1 [extended statute of limitations for victims of Childhood Sexual

                                    20   Abuse]; Penal Code §11166, et seq. [Child Abuse Neglect and Reporting Act (“CANRA”)].
                                    21   These laws evidence an unequivocal intention of the California legal system to prioritize minor

                                    22   children’s rights and protect them from the threat of childhood sexual abuse. See In re Clergy

                                    23   Cases I, (2010) 188 Cal.App.4th 1224, 1235 quoting Palmore v. Sidoti 466 U.S. 429, 433 (1984)

                                    24   (“‘[t]he State… has a duty of the highest order to protect the interests of minor children,

                                    25   particularly those of tender years.’”).

                                    26          Moreover, and as appears to be the crux of Penny’s challenge, California law clearly
                                    27   imposes a substantive duty for adults to protect minor children in their custody, care, and control.

                                    28   Doe v. United States Youth Soccer Association, Inc. (“USYSA”) (2017) 8 Cal.App.5th 1118. This
                                                                                         10
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                                     1   is commonly referenced, in California jurisprudence, as standing “in loco parentis” or in the place

                                     2   of parent. USYSA involved a minor soccer participant, who played in a locally-run organization

                                     3   overseen by a national affiliate; the minor was sexually abused by a coach in that program. Id. In

                                     4   USYSA, the court stated: “[i]n sum, we conclude that, as in Juarez, there was a special

                                     5   relationship between defendants and plaintiff.” Id. [Emphasis Added]. To explain this special

                                     6   relationship, the Court relied on the following facts: “[h]ere, plaintiff was a member of US Youth

                                     7   and played on a West Valley team, which was the local affiliate of US Youth and Cal North.

                                     8   West Valley was required to comply with the policies and rules of US Youth. Since US Youth

                                     9   established the standards under which coaches were hired, US Youth determined which

                                    10   individuals, including [the perpetrator], had custody and supervision of children involved in its

                                    11   programs.” Id. (emphasis added). In short, when the sexual well-being of children are at stake and
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                                    12   organizations operate in loco parentis, California law imputes broad liability throughout and
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                                    13   around the abusing individual and/or abusing entity to those with overlapping purview.

                                    14          Despite the fact that Penny minimizes his role in allowing Larry Nassar’s unrelenting

                                    15   abuse and discounts any responsibility for athlete safety at events, both in and beyond California,

                                    16   the facts presented clearly show that Penny, in his capacity as President of the USAG, had a duty

                                    17   to protect minor athletes. See Section I(A) supra. As President of USAG, Penny would have been

                                    18   intimately aware of the rampant, unaddressed sexual deviance that pervaded USAG operations,

                                    19   posing particular, identifiable, and recurrent threats to minors. Indeed, then-President of USAG

                                    20   Bob Colarossi noted in his 1999 letter to USOC that the safety procedures followed by USAG
                                    21   were part a “fundamentally flawed process” amidst an “apparent indifference to the welfare of

                                    22   young children manifest in the Committee’s actions.” Compl., Ex. “A” to Compl. There is no

                                    23   evidence this problem suddenly abated. Moreover, during Penny’s tenure, the members of the

                                    24   USAG National Team was comprised, nearly exclusively, of minors. Thus, California has a

                                    25   “special interest” in ensuring its remarkable young girls, like Plaintiff, are afforded redress in

                                    26   California forums for acts both occurring in California and having damaging effect in California.
                                    27   ///

                                    28   ///
                                                                                        11
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                                     1   C.     SPECIFIC JURISDICTION CAN BE ASSERTED BY THE CALIFORNIA COURT
                                                OVER PENNY, GIVEN HIS PURPOSEFUL AVAILMENT TO CALIFORNIA.
                                     2
                                                For specific jurisdiction to apply to an out-of-state entity or individual, a party must have
                                     3
                                         only sufficient “minimum contacts” to be hauled into California Courts. Vons Companies, supra,
                                     4
                                         at 446. Under the specific jurisdiction doctrine, a party is said to have such minimum contacts
                                     5
                                         when that party purposefully avails itself of the privilege of conducting activities in the state,
                                     6
                                         thereby invoking the benefits of that state's laws. See Hesse v. Best Western Int'l, Inc., 32
                                     7
                                         Cal.App.4th 404, 410 (1995); Vons Companies, supra, at 446; Pavlovich, supra, at 268. A non-
                                     8
                                         resident party that purposefully avails itself of a state’s benefits is deemed to be on notice that it
                                     9
                                         may be subject to litigation in the state, resulting from its activities while there. Vons Companies,
                                    10
                                         supra, at 446-447, citing World-Wide Volkswagen, supra at 292. Unlike the substantial contacts
                                    11
                                         required for the exercise of general jurisdiction, the exercise of specific jurisdiction requires that
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                                         the controversy must “arise out of” or be related to the party's contacts with that state. Vons
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                                    13
                                         Companies, supra, at 446, citing Burger King Corp., supra, at 472; see also Hanson v. Denckla,
                                    14
                                         357 U.S. 235, 250-53 (1958).
                                    15
                                                In determining whether a party has “purposefully availed” itself of the benefits of a state,
                                    16
                                         the courts have applied several tests. One assesses if the party has deliberately engaged in
                                    17
                                         “significant activities” within the state. Vons Companies, supra at 446. Another examines if the
                                    18
                                         party has "purposefully directed" his activity at state residents. Vons Companies, supra, at 446,
                                    19
                                         citing Burger King, supra, 471 U.S. at 475-476. Another is where the party "causes effects"
                                    20
                                         within the state. Secrest Machine Corp. v. Superior Court, 33 Cal.3d 664, 669 (1983).
                                    21
                                                After deciding that a party purposefully established minimum contacts within the forum
                                    22
                                         State, these contacts may be considered in light of other factors to determine whether the
                                    23
                                         assertion of personal jurisdiction would comport with "fair play and substantial justice." Vons
                                    24
                                         Companies, supra, at 447-448, citing Burger King, supra, at 476, and International Shoe, supra,
                                    25
                                         at 320. Courts may, for example, evaluate the burden placed upon the defendant associated with
                                    26
                                         appearing in the forum, the forum state's interests in adjudicating the claim, the plaintiff's interest
                                    27
                                         in convenient and effective relief within the forum, judicial economy, and “the shared interest of
                                    28
                                                                                          12
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                                     1   the several States in furthering fundamental substantive social policies.” Vons Companies, supra,

                                     2   at 447-448. Thus, Penny is amenable to personal jurisdiction on two separate theories of specific

                                     3   jurisdiction: jurisdiction arising from his intentional acts in California in 2012, as well as his

                                     4   “purposeful directing” of activities to California, while negligent minors entrusted in the care of

                                     5   Larry Nassar at the 2012 Olympic Trials in San Jose, California.

                                     6          1.      Committing a Tort in California is Sufficient for this Court to Exercise
                                                        Specific Jurisdiction Over Defendant Penny’s Conduct for His Role at the
                                     7                  2012 Olympic Trials in San Jose, California.
                                     8          Citing to Pavlovich v. Superior Court (2002) 29 Cal.4th 262, 270-71, Penny asserts that he

                                     9   has committed no intentional tort aimed at the State of California: “most courts agree that merely

                                    10   asserting that a defendant knew or should have known that his intentional acts would cause harm

                                    11   in the forum state is not enough to establish jurisdiction under the effects test.” Motion, 7:20-25.
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                                    12   The facts of Pavlovich are readily distinguishable with the present case. In Pavlovich, a Texas
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                                    13   company posted source code online that a California company deemed proprietary. Reasonably,

                                    14   the Court held that the defendant’s contacts with California did not meet… jurisdiction, since the

                                    15   defendant neither aimed his tortious conduct at or targeted California, never worked in California;

                                    16   had no property, bank accounts, or telephone listings there; and never solicited or transacted any

                                    17   business in California. Id. at 262. By stark contrast, Penny personally orchestrated and attended

                                    18   the Olympic Trials in the city calling itself “USA Gymnastics City” in California at which

                                    19   Plaintiff was repeatedly molested. Pavlovich expressly articulates the test for establishing

                                    20   personal jurisdiction for torts directed at a forum state, noting that, in the Ninth Circuit, the

                                    21   plaintiff must show that the defendant acts in such a way that he knows is likely to illicit harm in

                                    22   the forum state while “commit[ting] an intentional act… expressly aimed at the forum state.” Id.

                                    23   at 271. Committing an intentional act is not the same as committing an intentional tort, and, thus,

                                    24   coordinating an event in the forum state satisfies the latter element. Furthermore, Penny joined

                                    25   USAG in 1999 and became its CEO and President in 2005. Consequently, he was familiar with

                                    26   Bob Colarossi’s October 1999 letter, detailing the systemic, unaddressed abuse of minor athletes

                                    27   within USAG by their physicians and coaches. Compl., Ex. “A” to Compl. Turning a blind eye to

                                    28   such chronic abuse and allowing Nassar to have unfettered access to Plaintiff satisfies the element
                                                                                         13
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                                     1   that Penny knew his willful indifference was likely to illicit harm at an Olympic Trial event in

                                     2   California. Id. Thus, jurisdiction is proper.

                                     3           In Hess v. Pawloski (1927) 274 U.S. 352, the Court held that a nonresident who sustained

                                     4   a car accident in the forum state could be sued in that forum state. Id. at 356. Specifically, in

                                     5   analyzing the application of the forum state’s long-arm statute, the Court held that “[i]t makes no

                                     6   hostile discrimination against nonresidents, but tends to put them on the same footing as

                                     7   residents. Literal and precise equality in respect of this matter is not attainable; it is not required.

                                     8   [citation omitted]. The state's power to regulate the use of its highways extends to their use by

                                     9   nonresidents as well as by residents.” Id. at 356. The Court continued: “[t]he measure in question

                                    10   operates to require a nonresident to answer for his conduct in the state where arise causes of

                                    11   action alleged against him, as well as to provide for a claimant a convenient method by which he
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                                    12   may sue to enforce his rights.” Id.
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                                    13           Moreover, in another case exploring the breadth of specific jurisdiction. “[i]t is sufficient

                                    14   for purposes of due process that the suit was based on a contract which had substantial connection

                                    15   with that State. [citations omitted] The contract was delivered in California, the premiums were

                                    16   mailed from there and the insured was a resident of that State when he died.” McGee v.

                                    17   International Life Ins. Co. 355 U.S. 220, 223 (1957). As seen in McGee, a single insurance

                                    18   contract sufficiently conferred jurisdiction onto the defendant insurance company, despite the

                                    19   fact that the insurance company had no office or agent in California and “never solicited or d[id]

                                    20   any insurance business in California apart from the policy involved [t]here.” Id. at 220.
                                    21   Nevertheless, the Court found that the Texas company could be properly hauled into California

                                    22   court. Id. at 224.

                                    23           As seen in Hess, supra, 274 U.S. 352, the unsurprising proposition that a nonresident must

                                    24   answer in a state for their involvement in a car accident therein is directly analogous to the

                                    25   situation at-bar, as Defendant Steve Penny personally attended the 2012 Olympic Trials in San

                                    26   Jose, California, bearing responsibility for the recruitment and supervision of Plaintiff at that
                                    27   event—as well as her subsequent abuse by Nassar. See supra Section A. Just as in McGee, this

                                    28   single transaction is sufficient to assert jurisdiction over Defendant Steve Penny, given that,
                                                                                           14
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                                     1   “[t]he[] resident[] would be at a severe disadvantage if they were forced to follow the insurance

                                     2   company to a distant State in order to hold it legally accountable. When claims were small or

                                     3   moderate individual claimants frequently could not afford the cost of bringing an action in a

                                     4   foreign forum—thus in effect making the company judgment proof.” Id. at 223. Just as the Texas

                                     5   company sought to avoid jurisdiction in McGee, so too does Defendant Penny. The critical

                                     6   exception between the present facts and McGee is that Defendant Penny was actually physically

                                     7   present in California during the tortious conduct giving rise to the present litigation.

                                     8          Given the conduct of Defendant Steve Penny within the jurisdiction of California during

                                     9   the tortious conduct, specific personal jurisdiction is proper.

                                    10          2.      Secondarily, Under the “Effects Test,” Specific Jurisdiction Exists Because
                                                        Penny Purposefully Availed Himself to the Benefits of the State of California
                                    11                  by "Purposefully Directing" His Activities in the State in Coordinating an
                                                        Olympic Trial in San Jose, California.
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                                    12          Penny argues that he has not purposefully availed himself to the forum benefits of
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                                    13   California. Motion, 9: 10-11. To this end, Defendant Penny alleges an insufficient connection
                                    14   between the forum and the specific claims at issue, citing to Bristol Meyers Squibb v. Superior
                                    15   Court (2017) 137 S. Ct. 1773, 1780. Motion, 9: 20-21. This claim is ridiculous. As noted above,
                                    16   Penny’s contacts with the forum State of California were extensive, directly facilitating the
                                    17   California event at which Plaintiff endured abuse. Lee Johnson, Vice-President of Marketing for
                                    18   USAG, chronicled the extent to which Penny involved himself in the 2012 Olympic Trials in San
                                    19
                                         Jose, California. Penny maintained involvement in the five to ten planning meetings prior to the
                                    20   2012 Trials in San Jose. Johnson Depo, 30:17-23, Ex. “4”. Penny personally approved of the
                                    21   marketing materials for the 2012 Trials. Id. at 38:17-25, Ex. “4”. Penny orchestrated the budget
                                    22   for the even as well as outlined the “marketing [that] was going to be happening.” Id. at 41:6-11,
                                    23
                                         Ex. “4”. Penny personally oversaw Kathy Kelly, the vice-president of the women’s program,
                                    24   during the event itself. Id. at 46:10-11, Ex. “4”. Penny maintained a “whole host of job duties that
                                    25   he was performing at that [San Jose] event.” Id. at 47:25-48: 3, Ex. “4”. Finally, Penny attended
                                    26   the actual event in San Jose, California. Id., 29: 8-9 (emphasis added).
                                    27   ///
                                    28
                                                                                          15
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                                     1          Calder v. Jones, 465 U.S. 783 (1984) serves as the leading case establishing the “effects

                                     2   test,” an analysis by which out-of-state defendants can be hailed into California, even if their

                                     3   tortious conduct (in Calder itself, allegedly libelous publications) was written in Florida and only

                                     4   distributed in California. In Calder, the plaintiff, a California resident, filed a libel suit in

                                     5   California, for publications written and edited by several Florida defendants, including a

                                     6   publisher, reporter (South), and editor (Calder), all Florida residents. Id. at 784-85. The weekly

                                     7   publication, possessing a national distribution of 5,000,000 copies, distributed approximately

                                     8   600,000 of those copies within California. Id. at 785. Upon the suit’s filing, the publisher and

                                     9   distributing company both submitted to California jurisdiction, though the reporter and editor

                                    10   both challenged personal jurisdiction in California. Id. The reporter made several trips to

                                    11   California per year, whereas the editor had only been to California on two separate occasions,
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                                    12   both occasions being unrelated to the libel action. Id. Nevertheless, the Court held both the
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                                    13   reporter and editor subject to personal jurisdiction in California. Id. at 791. In so holding, the

                                    14   Court stated that the “[p]etitioners are correct that their contacts with California are not to be

                                    15   judged according to their employer's activities there. On the other hand, their status as

                                    16   employees does not somehow insulate them from jurisdiction.” Id. at 790 (emphasis added).

                                    17   The Court further held that, “petitioners are primary participants in an alleged wrongdoing

                                    18   intentionally directed at a California resident, and jurisdiction over them is proper on that

                                    19   basis.” Id. (emphasis added).

                                    20          Here, Defendant Penny emphatically insists that “ [w]hile Mr. Penny’s duties as the CEO
                                    21   of USAG required traveling to national and international competitions, including the 2012

                                    22   Olympic Trials in San Jose, his duties did not involve undertaking a duty to act as any gymnast’s

                                    23   guardian within California… [nor did he] control or direct the gymnasts, the medical care they

                                    24   received, or the results of the competition.” Motion, 10: 15-20; see also Penny Decl., ¶¶ 8, 17, 19.

                                    25   These claims are irrelevant for purposes of establishing jurisdiction in California. Serving a

                                    26   distinct role as an employee within an organization may minimize liability in a given cause of
                                    27   action but it “does not somehow insulate [him or her] from jurisdiction.” Calder at 465 U.S. at

                                    28   790 (emphasis added). Defendant tries to reframe Calder by asserting that “[m]ere knowledge of
                                                                                         16
                                         PLAINTIFF ALEXANDRA RAISMAN’S OPPOSITION TO STEVE PENNY’S MOTION
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                                     1   tortious activity by the corporation is not enough to hold a director or officer liable for the torts of

                                     2   the corporation absent other ‘unreasonable participation’ in the unlawful conduct,” citing to

                                     3   Taylor-Rush v. Multitech Corp. (1990) 217 Cal.App.3d 103, 114. Motion, 13: 8-11. However,

                                     4   actively concealing child sexual abuse and turning a blind eye to unsupervised contact between

                                     5   potential child molesters and minor athletes is precisely the “unreasonable participation” carved

                                     6   out by Taylor-Rush.

                                     7          Similarly, in Brown v. Watson, 207 Cal.App.3d 1306 (1989), the California Courts held

                                     8   that a Texas law firm availed itself to personal jurisdiction in California. The firm performed

                                     9   services in Texas that the court to be purposefully directed at the State of California. See also

                                    10   Simons v. Steverson, 88 Cal. App.4th 693 (2001) (where personal jurisdiction over a New York

                                    11   law firm was proper despite the fact that only one associate was licensed in California and none
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                                    12   of the subject matter legal services were performed in California). Several California residents
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                                    13   had retained a California law firm, which, in turn, retained a Texas law firm to perform legal

                                    14   services in Texas. Id. Despite having been hired to perform legal services in Texas—and without

                                    15   lawyers even licensed in California, not traveling to California, nor engaging with California to

                                    16   perform any of the services of which the California plaintiffs complained—the Texas law firm

                                    17   was still subject to California's dominion under specific jurisdiction. Id. at 1312. The Court based

                                    18   jurisdiction on the Texas attorneys’ continuous contacts with the California attorneys, and the fact

                                    19   that the Texas attorneys had entered into a fee-splitting arrangement with the California attorneys

                                    20   representing the plaintiffs. Id. at 1314-15.
                                    21          Here, Penny approved hosting and personally orchestrated the 2012 Olympic Trials in San

                                    22   Jose, oversaw selection the USAG National Team, and engaged in numerous press and publicity

                                    23   events in California while assembling minor athletes to represent the USAG at the London 2012

                                    24   Olympics. Under the “effects test” asserted in Calder, the fact that the abuse and repercussions

                                    25   thereof occurred in California directly associated with a California event, is sufficient for

                                    26   purposes of establishing personal jurisdiction over the event’s principle overseer, USAG
                                    27   President Penny. In attempting to defeat personal jurisdiction, Penny frames his lack of specific

                                    28   jurisdiction in California around Walden v. Fiore 571 U.S. 277 (2014). (“[T]he defendant’s suit
                                                                                           17
                                         PLAINTIFF ALEXANDRA RAISMAN’S OPPOSITION TO STEVE PENNY’S MOTION
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                                     1   related conduct must create a substantial connection with the forum State… [and the relationship]

                                     2   must arise out of the contacts with… the forum state. Walden, supra, 571 U.S. 227 (2014).”

                                     3   Motion, 7:7-11. This case, whose facts are never explicitly referenced in Defendant’s Motion, is

                                     4   clearly distinguishable. In Walden, the plaintiffs had residences in both California and Nevada,

                                     5   though they only offered California identification. Id. at 280. The plaintiff was travelling back to

                                     6   the continental U.S. from Puerto Rico, when they were questioned by TSA, who learned that they

                                     7   were carrying several thousands of dollars in cash. Id. at 279-80. DEA in Georgia detained the

                                     8   plaintiffs, and a DEA agent and local officer seized the funds. Id. at 280. The DEA released the

                                     9   plaintiffs without their funds. Id. The plaintiffs returned home and subsequently filed suit in

                                    10   Nevada for violations of their Constitutional rights against the local officer. Id. at 280-81. The

                                    11   Court held that “[p]etitioner’s relevant conduct occurred entirely in Georgia, and the mere fact
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                                    12   that his conduct affected plaintiffs with connections to the forum State does not suffice to
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                                    13   authorize jurisdiction.” Id. at 291. Unlike in Walden, Plaintiff, as an elite gymnast targeted by the

                                    14   USAG to compete for the United States, was required to attend the 2012 Olympic Trials in San

                                    15   Jose, California, as a requisite to participate in the London 2012 games. As recognized by the

                                    16   Court in Walden, the facts of Calder, like here, show how the defendants conduct “…connected

                                    17   the defendants' conduct to California, not just to a plaintiff who lived there.” Id. at 288

                                    18   (emphasis added). The notion that an organization and its leadership can systematically take

                                    19   minor girls from across the country, subject them to an inherently dangerous environment

                                    20   resulting in molestation, and then insist that the orchestrator is not availing himself the state in
                                    21   which abuse occurs is fundamentally discordant with Calder. Under the “effects test,” Penny

                                    22   should be held amenable to California’s jurisdiction. California should not be forced to absorb the

                                    23   foreseeable consequences of abuse and then allow Penny to escape liability,

                                    24          i.      Penny’s Concealment of Evidence Shows Why Jurisdiction Can Be Found Under
                                                        Archdiocese of Milwaukee; As The Evidence That Could Have Been Obtained
                                    25                  About His Knowledge of Nassar, Was Made Unavailable.
                                                Archdiocese of Milwaukee, 112 Cal. App. 4th at 438 held that an entity cannot escape
                                    26
                                         jurisdiction in California, when they direct a known pedophile to the State to be around children.
                                    27
                                         Id. at 438. In Archdiocese, a known pedophile (Widera) was excardinated from the Milwaukee
                                    28
                                                                                         18
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                                     1   Archdiocese and then subsequently sent to parishes in California. Id. at 432. The perpetrator then

                                     2   molested children in California. Id. at 432-33. In holding the Archdiocese of Milwaukee

                                     3   amenable to suit in California, the court held that, “[t]he nature of the Milwaukee Archdiocese's

                                     4   conduct—sending a pedophile priest directly into California—meant the Milwaukee

                                     5   Archdiocese's conduct would harm California residents.” Id. at 440. Here, there is substantial

                                     6   evidence, including a criminal indictment of Penny, that indicates that Penny took evidence that

                                     7   was material to a Texas law enforcement investigation regarding Nassar. Penny Indictment, Ex.

                                     8   “12”; Walker County Press Release, Ex. “14” to DAC. If Penny knew that Nassar was abusing

                                     9   girls, as is pleaded (Compl., ¶_), prior to the Plaintiff being abused in California, then clearly, he

                                    10   would be amenable to jurisdiction in California under the “Effects Test” in Calder and its

                                    11   correlate, Archdiocese of Milwaukee. However, the documents at the Karolyi Ranch that were
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                                    12   taken, very well could have contained such information, especially considering that they were
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                                    13   taken with knowledge of a Nassar investigation being conducted on the Karolyi Ranch. Walker

                                    14   County Press Release, Ex. “14” to DAC. Plaintiff’s counsel has already sent Rule 11 Notice to

                                    15   Nassar (Cunny Decl. ¶4), yet this concealment of evidence shows why Penny should not be able

                                    16   to benefit from this conduct. Effectively, by concealing evidence, Penny made his 12(b)(2)

                                    17   motion stronger, as it obscured potential further knowledge about abusers and Nassar. As such,

                                    18   this is an additional basis that Penny should not be permitted to challenge jurisdiction.

                                    19   D.     UNDER CALIFORNIA LAW GOVERNING “GENERAL APPEARANCES,”
                                                DEFENDANT PENNY’S MOTION TO STAY DISCOVERY HAS AVAILED HIM
                                    20          TO CALIFORNIA’S JURISDICTION.
                                                Penny filed with this Court a Motion to Stay Discovery until the conclusion of his
                                    21
                                         criminal proceeding in Texas. Motion to Stay, Ex. “2”. It is not enough to simply label one’s
                                    22
                                         appearance “special.” The talisman for availing oneself to the jurisdiction of the Court is whether
                                    23
                                         a party’s actions crosses from objecting to a Court’s dominion over a cause of action to actively
                                    24
                                         calling upon the court’s assistance. See Renoir v. Redstar Corp. (2004) 123 Cal.App.4th 1145,
                                    25
                                         1153. If a defendant raises an issue for resolution or seeks relief available only if the court
                                    26
                                         maintains jurisdiction over the defendant or present cause of action, then the appearance is
                                    27
                                         ///
                                    28
                                                                                          19
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                                     1   considered a general one under California Code of Civil Procedure §10142 and its progeny,

                                     2   thereby waiving any objections to personal jurisdiction. See Factor Health Management v.

                                     3   Superior Court (2005) 132 Cal.App.4th 246, 250; see also Greener v. Workers’ Comp. Appeals

                                     4   Bd. (1993) 6 Cal.4th 1028, 1037 (“if the movant seeks relief on any basis other than lack of

                                     5   personal jurisdiction, he or she makes a general appearance”); Merely namely a motion or

                                     6   pleading as a “special appearance,” as Defendant Penny has done, “is not controlling.” Motion to

                                     7   Stay, 5:3-5, Ex. “2”; see Szynalski v. Superior Court (2009) 172 Cal.App.4th 1, 11. Thus, Penny’s

                                     8   Motion to Stay Discovery until after his criminal proceedings constitutes such a request for

                                     9   assistance from the Court and, by extension, submission to California’s jurisdiction over the

                                    10   present matter.

                                    11          Dial 800 v. Fesbinder (2004) 118 Cal.App.4th 32, 52-53, frames Penny’s actions in their
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                                    12   proper jurisdictional context, stating that “‘[t]he [California] Court of Appeal ha[s] described the
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                                    13   scope of actions in the litigation process which constitute a general appearance as follows: “A

                                    14   general appearance occurs where a party, either directly or through counsel, participates in any

                                    15   action in some manner which recognizes the authority of the court to proceed. It does not require

                                    16   any formal or technical act… ‘[i]f the defendant “raises any other questions, or asks for any relief

                                    17   which can only be granted upon the hypothesis that the court has jurisdiction of his person, his

                                    18   appearance is general.”’” (emphasis in original). See also California Overseas Bank v. French

                                    19   American Banking Corp. (1984) 154 Cal.App.3d 179, 184, 201 Cal.Rptr. 400; see Nam Tai

                                    20   Electronics, Inc. v. Titzer (2001) 93 Cal.App.4th 1301, 1306–1309, 113 Cal.Rptr.2d 769;
                                    21   disapproved on another ground in Pavlovich v. Superior Court (2002) 29 Cal.4th 262, 278, fn. 8,

                                    22   127 Cal.Rptr.2d 329, 58 P.3d 2.

                                    23   ///

                                    24
                                         2
                                    25     “A defendant appears in an action when the defendant answers, demurs, files a notice of motion
                                         to strike, files a notice of motion to transfer pursuant to Section 396b, moves for reclassification
                                    26   pursuant to Section 403.040, gives the plaintiff written notice of appearance, or when an attorney
                                         gives notice of appearance for the defendant. After appearance, a defendant or the defendant's
                                    27   attorney is entitled to notice of all subsequent proceedings of which notice is required to be given.
                                         Where a defendant has not appeared, service of notice or papers need not be made upon the
                                    28
                                         defendant.” California Code Civ. Proc., § 1014.
                                                                                         20
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                                     1          Defendant may try to argue that California’s clear, strict rules that distinguish general

                                     2   appearances from special appearances should not apply, since the present action is in federal

                                     3   court. However, Federal Rule of Civil Procedure 12(b), while governing appearance in federal

                                     4   court, does not expressly define whether a party’s appearance is special or general. This is not

                                     5   because federal courts lack such a distinction for appearances or fail to recognize one3, but,

                                     6   rather, federal courts accept such a distinction as a creature of state law, particularly when parties

                                     7   sit in diversity. Federal courts apply the state law accordingly.4 Consequently, federal courts in

                                     8   California recognize the applicability of California Code of Civil Procedure § 1014. Federal case

                                     9   Bluemner v. Ergo Media Capital, LLC (C.D. Cal., June 4, 2015, No. CV 15-01392 MMM

                                    10   AJWX) 2015 WL 3533218, at *4, states that “California Code of Civil Procedure §1014

                                    11   provides, in relevant part, that a defendant generally appears in an action ‘when the defendant
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                                    12   answers, demurs, files a notice of motion to strike, files a notice of motion to transfer pursuant to
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                                    13   Section 396b, moves for reclassification pursuant to Section 403.040, gives the plaintiff written

                                    14   notice of appearance, or when an attorney gives notice of appearance for the defendant.’ Cal.

                                    15   Code Civ. Proc. § 1014. This list is not exclusive, however. Hamilton v. Asbestos Corp., 22

                                    16   Cal.4th 1127, 1147, 95 Cal.Rptr.2d 701, 998 P.2d 403 (2000). A defendant who invokes the

                                    17   authority of the court or who affirmatively seeks relief available only if the court has jurisdiction

                                    18   over the defendant is deemed to have made a general appearance’” (emphasis added), see also

                                    19   California Code of Civil Procedure § 410.50(a), 1014 (“[the] statutory list of acts constituting an

                                    20   ‘appearance’ is not exclusive; rather, the term may apply to various acts which, under all of the
                                    21
                                         3
                                    22     “Notwithstanding the absence of an answer or pre-answer motion, a defendant can still waive
                                         a personal-jurisdiction challenge by certain participation in the litigation.” See Ins. Corp. of
                                    23   Ireland, Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 703, 102 S.Ct. 2099, 72
                                         L.Ed.2d 492 (1982); Days Inns Worldwide, Inc. v. Patel, 445 F.3d 899, 905 (6th Cir.2006). See
                                    24   Gerber v. Riordan (6th Cir. 2011) 649 F.3d 514, 522 (emphasis added).
                                         4
                                            Erie R.R. v. Tompkins, 304 U.S. 64 (1938) mandates that a federal court must apply state
                                    25   substantive law in cases of diversity jurisdiction and federal procedural law, drawn from the
                                         Federal Rules of Civil Procedure. Guaranty Trust Co. v. York, 326 U.S. 99, 108 (1945), stated
                                    26   that some laws deemed procedural by the state (e.g. a limitations period in Guaranty Trust itself)
                                         would nonetheless be considered substantive for Erie purposes, given effect in federal-court if
                                    27   they were outcome-determinative and, most critically, lacking a federal rule in diametric
                                         opposition. Here, the lack of a federal distinction between general and special appearances but
                                    28   recognition in federal case law that such a distinction exist makes the application of California
                                         Civil Procedure §1014 in federal court appropriate under Erie.
                                                                                          21
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                                     1
                                         JOHN C. MANLY, Esq. (State Bar No. 149080)
                                     2   VINCE W. FINALDI, Esq. (State Bar No. 238279)
                                         ALEX E. CUNNY (State Bar No. 291567)
                                     3
                                         JANE E. REILLEY (State Bar No. 314766)
                                     4   MANLY, STEWART & FINALDI
                                         19100 Von Karman Ave., Suite 800
                                     5   Irvine, CA 92612
                                         Telephone: (949) 252-9990
                                     6   Fax: (949) 252-9991
                                     7
                                         Attorneys of Record for Plaintiff, ALEXANDRA ROSE
                                     8   RAISMAN, an individual

                                     9
                                                                   UNITED STATES DISTRICT COURT
                                    10
                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA- SAN JOSE
                                    11
19100 Von Karman Av e., Suite 800




                                         ALEXANDRA ROSE RAISMAN, an                    Civil Case No. 5:18-cv-02479-BLF
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                                    12
                                         individual,
   Telephone: (949) 252 -9990
     Irvine, California 92612
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                                    13                                                 [The Honorable Beth Labson Freeman]
                                                      Plaintiff,
                                    14                                             DECLARATION OF ALEX E. CUNNY
                                               v.                                  IN SUPPORT OF PLAINTIFF
                                    15                                             ALEXANDRA RAISMAN’S
                                         UNITED STATES OLYMPIC COMMITTEE, OPPOSITION TO DEFENDANT STEVE
                                    16
                                         a Business Entity of Form Unknown; USA    PENNY’S MOTION TO DISMISS FOR
                                    17   GYMNASTICS, an Indiana Business Entity of LACK OF PERSONAL JURISDICTION
                                         Form Unknown; LARRY NASSAR, an            UNDER FEDERAL RULE OF CIVIL
                                    18   individual; STEVE PENNY, an individual;   PROCEDURE 12(B)(2); MEMORANDUM
                                         PAUL PARRILLA, an individual; and DOES 1 OF POINTS AND AUTHORITIES
                                    19   through 500.
                                    20                                             Hon. Judge Beth Labson Freeman

                                    21                                                 [Filed concurrently with Declaration of Alex
                                                                                       E. Cunny]
                                    22
                                                                                       Complaint filed: February 28, 2018
                                    23

                                    24                                                 Hearing: February 7, 2019
                                                                                       Time:     9:00 a.m.
                                    25                                                 Judge:    Honorable Beth Labson Freeman
                                                                                       Courtroom: 3
                                    26
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                                          DECLARATION OF ALEX E. CUNNY IN SUPPORT OF PLAINTIFF ALEXANDRA
                                         ROSE RAISMAN’S OPPOSITION TO USOC’S MOTION TO DISMISS PURSUANT TO
                                                                   FRCP 12(b)(2), (6)
                                         Case 5:18-cv-02479-BLF Document 102 Filed 11/21/18 Page 32 of 421



                                     1                               DECLARATION OF ALEX E. CUNNY

                                     2   I, ALEX E. CUNNY, hereby declare:

                                     3          1.      I am an attorney duly licensed to practice law in the State of California. I am an

                                     4   attorney with Manly, Stewart & Finaldi, attorneys of record for ALEXANDRA ROSE

                                     5   RAISMAN (hereinafter, the “Plaintiff”), in the above-entitled matter. I am personally familiar

                                     6   with the facts of this case and the contents of this Declaration, and if called upon, could and

                                     7   would competently testify as to its contents.

                                     8          2.      This Declaration is made in support of the Plaintiff’s Opposition to Defendant

                                     9   Stephen “Steve” Penny’s Motion to Dismiss pursuant to Federal Rule of Civil Procedure

                                    10   12(b)(2).

                                    11          3.      The deposition of Penny was planned to occur on October 23, 2018. After Penny
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                                    12   was indicted in the State of Texas, Walker County, in September, pertaining to the allegations in
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     Irvine, California 92612
      ATTORNEYS AT LAW




                                    13   the criminal indictment attached as Exhibit “15”, he was arrested just prior to his deposition that

                                    14   was scheduled and agreed to proceed. On October 18, 2018, Penny’s counsel indicated that he

                                    15   would not be appearing for deposition. Furthermore, Penny filed an ex parte Application to Stay

                                    16   these proceedings, based upon his Fifth Amendment rights. Plaintiff’s counsel was unable to

                                    17   obtain his testimony in this matter, despite the fact he was deposed in the Jane LM Doe matter

                                    18   prior to the filing of the instant case. As such, in the event the Court believes the evidence set

                                    19   forth is insufficient to develop the record, Plaintiff’s counsel requests leave to obtain the

                                    20   testimony of Penny, who will undoubtedly have relevant information pertaining to his claims that
                                    21   there is no jurisdiction in California, including cross-examination as to the declaration Penny

                                    22   subsequently filed in support of his Motion to Dismiss.

                                    23          4.      Counsel for the Plaintiff has given Penny notice of an FRCP 11 Motion, under the

                                    24   safe harbor requirements on October 22, 2018. This is, essentially, for Penny to withdraw his

                                    25   Motion, as the inequitable nature of his conduct makes his request for dismissal on jurisdictional

                                    26   grounds, made in bad-faith. Plaintiff’s counsel has not yet received any acknowledgment that the
                                    27   offending pleading will be withdrawn, though, the Plaintiff’s counsel requests leave in the event

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                                          DECLARATION OF ALEX E. CUNNY IN SUPPORT OF PLAINTIFF ALEXANDRA
                                         ROSE RAISMAN’S OPPOSITION TO USOC’S MOTION TO DISMISS PURSUANT TO
                                                                   FRCP 12(b)(2), (6)
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                                     1   there is a question as to the viability of Penny’s jurisdictional defense.

                                     2           5.      Attached hereto as Exhibit “1” is a true and correct copy of Plaintiff Alexandra

                                     3   Raisman’s Complaint, which is the operative complaint in the instant Matter.

                                     4           6.      Attached hereto as Exhibit “2” is a true and correct copy of Steve Penny’s

                                     5   Application for a Stay on an Ex Parte Basis, which was filed in this matter, as Docket No. 78.

                                     6           7.      Attached hereto as Exhibit “3” is a true and correct copy of the Declaration of

                                     7   Alexandra Raisman.

                                     8           8.      Attached hereto as Exhibit “4” is a true and correct copy of the relevant portions of

                                     9   the Deposition of Lee colaro.

                                    10           9.      Attached hereto as Exhibit “5” is a true and correct copy of the relevant portions of

                                    11   the Deposition of Kathy Scanlan.
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MANLY, STEWART & FINALDI




                                    12           10.     Attached hereto as Exhibit “6” is a true and correct copy of relevant portions of the
   Telephone: (949) 252 -9990
     Irvine, California 92612
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                                    13   Deposition (Vol. 2) of Robert Colarossi. This deposition was taken in a different matter, prior to

                                    14   this action being filed.

                                    15           11.     Attached hereto as Exhibit “7” is a true and correct copy of the relevant portions of

                                    16   the Deposition of Steve Penny. This deposition was taken in a different matter, prior to this action

                                    17   being filed.

                                    18           12.     Attached hereto as Exhibit “8” is a true and correct copy of the relevant portions of

                                    19   the Deposition of Paul Parilla, Volume II. This deposition was taken in a different matter, prior to

                                    20   this action being filed.
                                    21           13.     Attached hereto as Exhibit “9” is a true and correct copy of the Indianapolis Star

                                    22   Article (November 11, 2018) titled, “As evidence mounted, IMPD child abuse investigator

                                    23   defended USA Gymnastics.” This document was retrieved on November 20, 2018 from the

                                    24   following website:

                                    25           https://www.indystar.com/story/news/2018/11/11/usa-gymnastics-larry-nassar-sexual-

                                    26           abuse-scandal-impd-detective-bruce-smith-conduct-under-review/1693853002/
                                    27           14.     Attached hereto as Exhibit “10” is a true and correct copy of the Congressional

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                                          DECLARATION OF ALEX E. CUNNY IN SUPPORT OF PLAINTIFF ALEXANDRA
                                         ROSE RAISMAN’S OPPOSITION TO USOC’S MOTION TO DISMISS PURSUANT TO
                                                                   FRCP 12(b)(2), (6)
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                                     1   Hearing (July 24, 2018)—Testimony of Kerry Perry, Pg. 35-37. a true and correct copy of the

                                     2   Congressional Transcript for the Senate Commerce, Science and Transportation Subcommittee on

                                     3   Consumer Protection, Product Safety, Insurance and Data Security Holds Hearing on Protecting

                                     4   Amateur Athletes, from July 24, 2018. Pursuant to FRCP 201(b), the Plaintiff makes a request

                                     5   that the Court judicially notice this document as it is a Congressional Record that was published

                                     6   at one point in the Congressional Quarterly.

                                     7          15.     Attached hereto as Exhibit “11” is a true and correct copy of the relevant portions

                                     8   of the Deposition of Amy White. This deposition, considering the numerous instructions not to

                                     9   answer, is relevant to Plaintiff’s inability to obtain evidence surrounding the alleged concealment

                                    10   of records at the Karolyi Ranch, and necessity for the deposition testimony of Penny.

                                    11          16.     Attached hereto as Exhibit “12” is a true and correct copy of the Indictment of
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                                    12   Steve Penny. This indictment was obtained from the clerk of the Walker County Court, who
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     Irvine, California 92612
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                                    13   provided a certified copy of the document to my office. In light of the e-filing requirements, we

                                    14   have scanned a true and correct copy of that document that was received from Walker County, as

                                    15   well as the seal of that document. Pursuant to FRCP 201(b), the Plaintiff makes a request that the

                                    16   Court judicially notice this document as it is an official court record from the State of Texas and

                                    17   is not be reasonably questioned as to its accuracy.

                                    18          17.     Attached hereto as Exhibit “13” is a true and correct copy of the relevant portions

                                    19   of the Deposition of Rhonda Faehn. Though the face page of this document indicates that there

                                    20   are “confidential portions” of the transcript, none of those confidential portions have been
                                    21   attached hereto.

                                    22          18.     Attached hereto as Exhibit “14” is a true and correct copy of the Walker County

                                    23   Press Release sent after the arrest of Steve Penny by authorities. This release was obtained from

                                    24   the internet and is believed to have been sent by the Walker County District Attorney’s office.

                                    25          19.     Attached hereto as Exhibit “15” is a true and correct copy of the Declaration of

                                    26   Kathy Scanlan.
                                    27   ///

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                                          DECLARATION OF ALEX E. CUNNY IN SUPPORT OF PLAINTIFF ALEXANDRA
                                         ROSE RAISMAN’S OPPOSITION TO USOC’S MOTION TO DISMISS PURSUANT TO
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 1 ROBIE & MATTHAI
   A Professional Corporation
 2 EDITH R. MATTHAI, ESQ. (SBN 66730)
   LEIGH P. ROBIE, ESQ. (SBN 294688)
 3 500 South Grand Avenue, Suite 1500
   Los Angeles, California 90071
 4 Telephone: (213) 706-8000
   Facsimile: (213) 706-9913
 5 E-Mail:     ematthai@romalaw.com
               lrobie@romalaw.com
 6
   Attorneys for Specially Appearing Defendant
 7 STEVE PENNY
 8                          UNITED STATES DISTRICT COURT
 9                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
10 ALEXANDRA ROSE RAISMAN, an                       Case No.:   5:18-cv-02479-BLF
   individual,
11
                Plaintiff,                          EX PARTE APPLICATION OF
12                                                  SPECIALLY-APPEARING
         v.                                         DEFENDANT STEPHEN PENNY
13                                                  FOR A STAY OF THIS ACTION;
   UNITED STATES OLYMPIC                            DECLARATION OF LEIGH P.
14 COMMITTEE, a Business Entity of                  ROBIE
   form unknown; USA GYMNASTICS,
15 an Indiana Business Entity of Form
   Unknown; LARRY NASSAR, an                        DATE:
16 individual; STEVE PENNY, an                      TIME:
   individual, PAUL PARRILLA, an                    CTRM:       3
17 individual, and DOES 1 through 500,
18                Defendants.
19
20
     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
21
           PLEASE TAKE NOTICE that, specially-appearing defendant Stephen Penny
22
     moves ex parte for an order staying the case for a period of six-months, in order to
23
     protect his rights under the Fifth Amendment of the Constitution, and permitting Mr.
24
     Penny to request a further stay, if necessary.
25
           Mr. Penny’s counsel is aware that ex parte applications are solely for
26
     extraordinary relief and are discouraged by the Court. However, given the
27
     unexpected October 17, 2018 arrest of Mr. Penny, the upcoming February 7, 2019
28
                                                1               Civil Case No. 5:18-cv-02479-BLF
     EX PARTE APPLICATION OF SPECIALLY-APPEARING DEFENDANT STEPHEN PENNY;
                            FOR A STAY OF THIS ACTION     EXHIBIT 2
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 1 hearing on Mr. Penny’s 12(b)(2) motion, and Plaintiffs’ counsels’ indicated
 2 intention to take a non-appearance of Mr. Penny for a deposition on October 23,
 3 2018 and to file a Rule 11 motion with regard to his pending Rule 12(b)(2) motion,
 4 there is insufficient time for Mr. Penny to make this request via noticed motion.
 5         Because the facts relevant to the Texas criminal investigation overlap with the
 6 issues Plaintiffs are seeking to explore in jurisdictional discovery here, Mr. Penny’s
 7 Fifth Amendment rights may be adversely impacted if this case proceeds against
 8 him at this time. As such, if this action is not stayed, Mr. Penny will be unable to
 9 fully respond to and defend himself against the claims asserted, resulting in
10 substantial prejudice.
11         This application is based on this Notice; the accompanying Memorandum of
12 Points and Authorities; the Declaration of Leigh Robie; any reply papers filed by
13 Plaintiffs; all documents, pleadings and records on file with this Court; all materials
14 that may be properly considered in connection with this motion; and oral argument
15 at any hearing on this matter.
16         Plaintiffs are represented by:
17         John Manly, Esq.
           Vince Finaldi, Esq.
18
           Manly, Stewart & Finaldi
19         19100 Von Karman Ave., Suite 800
           Irvine, CA 92612
20
           Telephone: (949) 252-9990
21         E-mail:     jmanly@manlystewart.com, vfinaldi@manlystewart.com
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     EX PARTE APPLICATION OF SPECIALLY-APPEARING DEFENDANT STEPHEN PENNY;
                            FOR A STAY OF THIS ACTION     EXHIBIT 2
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1         On October 22, 2018, counsel for Mr. Penny conferred via email with
2 Plaintiffs’ counsel, and advised that Mr. Penny intended to bring this request for
3 stay. Declaration of Leigh P. Robie, ¶ 4. In response, Plaintiffs’ counsel advised
4 that Plaintiffs would not consent to a stay. Id.
5
6
7 DATED:        October 22, 2018       ROBIE & MATTHAI
8
9                                                    /s/ Leigh P. Robie
10                                     By:
                                             EDITH R. MATTHAI
11                                           LEIGH ROBIE
                                             Attorneys for Defendant
12
                                             STEVE PENNY
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                                             3                  Civil Case No. 5:18-cv-02479-BLF
     EX PARTE APPLICATION OF SPECIALLY-APPEARING DEFENDANT STEPHEN PENNY;
                            FOR A STAY OF THIS ACTION     EXHIBIT 2
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2             I.   INTRODUCTION
 3            From the initiation of this litigation, specially-appearing defendant Stephen
 4 Penny has contested the jurisdiction of State and Federal Courts in California over
 5 the claims made against him. Those jurisdictional issues remain before this Court,
 6 and Mr. Penny is confident he will ultimately prevail on those issues. Over a year
 7 ago Mr. Penny was deposed on jurisdictional issues in LM Doe v. Nassar, et al.,
 8 Case No. BC6387241 and he had twice been scheduled to appear for a deposition in
 9 the federal cases in which he is named as a party. Mr. Penny’s deposition on the
10 jurisdictional issues was initially set on August 14, 2018. After counsel for Mr.
11 Penny wrote to Plaintiffs’ counsel setting forth the limitations on jurisdictional
12 discovery, and discussed the issues with one of the Plaintiffs’ counsel, the
13 deposition was taken off calendar by Plaintiffs’ counsel with the concurrence of Mr.
14 Penny’s counsel. The deposition was rescheduled for October 23, 2018.
15            On September 28, 2018, Mr. Penny was indicted by the Grand Jury in Walker
16 County Texas on a charge of intentionally or knowingly destroying or concealing
17 records. Mr. Penny did not know of the indictment until after he was arrested on
18 October 17, 2018 by U.S. Marshalls, in the presence of his wife and children, while
19 on vacation in Tennessee. Had he known of the indictment, or had the Texas
20 authorities contacted one of his easily identifiable lawyers, he would have made the
21 appropriate arrangements to appear in Texas. Mr. Penny denies the charges.
22            The morning after the arrest, Mr. Penny’s counsel notified all other counsel in
23 the case that Mr. Penny’s deposition would not go forward on October 23, 2018.2
24
25   That matter has been removed to the United States District Court, Central District
     1

   of California, Western Division, Case No: 8:18-CV-01117-JLS-KES.
26 2 Because the indictment was in Texas and the arrest in Tennessee, it was unknown
27 on October 18 what process would be necessary or how long the process would take
   to secure the release of Mr. Penny.
28
                                           4                  Civil Case No. 5:18-cv-02479-BLF
     EX PARTE APPLICATION OF SPECIALLY-APPEARING DEFENDANT STEPHEN PENNY;
                            FOR A STAY OF THIS ACTION     EXHIBIT 2
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 1 Within forty-eight hours of Mr. Penny’s arrest, Plaintiffs’ counsel unequivocally
 2 showed their intent to use Mr. Penny’s indictment as a weapon in the jurisdictional
 3 stage of this litigation which would force Mr. Penny to choose between asserting his
 4 Fifth Amendment rights and contesting this Court’s jurisdiction as he has the right
 5 to do. A stay of this proceeding as to Mr. Penny until the resolution of the Texas
 6 charges against him would avoid forcing such a choice upon Mr. Penny while not
 7 prejudicing the interests of the Plaintiffs or others.
 8          II.   STATEMENT OF FACTS AND THE ISSUE PRESENTED
 9         On August 31, 2018, Mr. Penny filed a motion and memorandum detailing
10 why the Complaint supports neither general nor specific jurisdiction over him.
11 Raisman Docket Entry 49. In connection with that motion, Mr. Penny agreed to his
12 deposition on the jurisdictional issues. Mr. Penny was originally scheduled to be
13 deposed on such issues on August 14, 2018. That deposition was postponed after
14 discussions between counsels over the scope of the discovery; Plaintiff’s counsel
15 suggested the postponement and Mr. Penny’s counsel agreed. The deposition was
16 subsequently rescheduled for October 23rd.
17         On the evening of October 17th, Mr. Penny was arrested in Tennessee on
18 charges originating in Texas alleging his concealment or destruction of documents
19 related to Larry Nassar from the Karolyi Ranch in Walker County, Texas. On
20 October 18th, with Mr. Penny still in custody, Penny’s counsel informed Plaintiffs’
21 counsel that the deposition was “off calendar.” Plaintiffs’ counsel claimed that the
22 removal of the deposition from the schedule was “gamesmanship” and decried that
23 counsel “have not even attempted to provide any justification therefor.” Yet, they
24 knew the reason for removing the deposition was Mr. Penny’s arrest. Plaintiffs’
25 counsel had sent multiple tweets praising the arrest of Mr. Penny.
26         The following day, October 19th, Plaintiffs’ counsel served Mr. Penny’s
27 lawyers with a Rule 11 motion premised on the notion that the Texas indictment and
28 Plaintiffs’ counsels speculation about the existence and nature of those documents
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 1 rendered Mr. Penny’s pending Rule 12(b)(2) motion improper. Plaintiffs’ counsel
 2 assert that the documents Mr. Penny has been accused of destroying “would have
 3 been germane to Penny’s knowledge of Nassar as an abuser, and having
 4 purposefully targeted Nassar towards California and Californians, including the
 5 Plaintiff and others in the Related Actions.” (emphasis removed). Having
 6 themselves adjudged both that Mr. Penny is guilty and that the alleged documents
 7 contain the information necessary to cure the jurisdictional defects of the claims
 8 against Mr. Penny, Plaintiffs’ counsel deem that Mr. Penny’s pending Rule 12(b)(2)
 9 motion was made for an improper purpose and must be withdrawn. Quite simply,
10 Plaintiffs’ counsel are attempting to utilize the Texas indictment against Mr. Penny
11 as a cudgel to destroy his jurisdictional defenses in any way they can.3
12         Plaintiffs’ counsels’ Rule 11 motion makes clear that if discovery were
13 allowed to proceed against Mr. Penny, counsel would aggressively explore both the
14 existence and content of the documents that are the alleged basis of the Texas
15 criminal charges. If such questioning were allowed to proceed, Mr. Penny, in
16 accordance with the direction of his criminal counsel, would have to plead the Fifth
17 Amendment until such time as the Texas charges are resolved. As already laid out
18 by their Rule 11 motion, Plaintiffs’ counsel would then try to use Mr. Penny’s
19 invocations of his constitutional rights to assert that Mr. Penny could not proceed to
20 challenge jurisdiction. Indeed, Plaintiffs want to obtain a default against Mr. Penny
21 based on the indictment alone. Mr. Penny is innocent and by law innocent until
22 proven guilty. This Court should stay this matter as to Mr. Penny until the Texas
23 criminal case is resolved. At this time Mr. Penny requests a six-month stay of the
24
25
     As further evidence of Plaintiffs’ Counsel’s tactics, the primary case cited in their
     3

26 motion, Archdiocese of Milwaukee v. Superior Court, 112 Cal.App.4th 423 (2003)
   has no legal relevance to their argument and serves solely to reinforce a inferential
27
   link between the conduct alleged here and the abuse issues in the Catholic church.
28
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 1 action as to him with the right to request renewal of the stay depending upon the
 2 status of the Texas proceedings. If the Texas proceedings are more quickly
 3 resolved, Mr. Penny will notify this court of the resolution.
 4         III.   ARGUMENT
 5         The Fifth Amendment provides that “No person shall be . . . compelled in any
 6 criminal case to be a witness against himself.” U.S. Const. amend. V. “The
 7 Amendment not only protects the individual against being involuntarily called as a
 8 witness against himself in a criminal prosecution but also privileges him not to
 9 answer official questions put to him in any other proceeding, civil or criminal,
10 formal or informal, where the answers might incriminate him in future criminal
11 proceedings.” Lefkowitz v. Turley, 414 U.S. 70, 77 (1973).
12         When the Fifth Amendment is implicated in a civil case because of a pending
13 criminal prosecution, an appropriate remedy may be to “postpon[e] civil discovery
14 until termination of the criminal action.” United States v. Kordel, 397 U.S. 1, 9
15 (1970) (footnote omitted). And this Court has authority to stay civil proceedings
16 “when the interests of justice seem to require such action.” Keating v. Office of
17 Thrift Supervision, 45 F.3d 322, 324 (9th Cir. 1995). As explained in Keating, when
18 faced with a conflict between a civil litigation and a defendant’s Fifth Amendment
19 rights, the analysis should be conducted “in light of the particular circumstances and
20 competing interests involved in the case” and after contemplation of “the extent to
21 which the defendant’s fifth amendment rights are implicated.” Id. (citations
22 omitted). Each of the factors laid out in Keating are addressed below, and each
23 favors issuance of a stay for Mr. Penny.4
24
25  The factors laid out by the Keating case are: “(1) the interest of the plaintiffs in
     4

26 proceeding expeditiously with this litigation or any particular aspect of it, and the
   potential prejudice to plaintiffs of a delay; (2) the burden which any particular
27 aspect of the proceedings may impose on defendants; (3) the convenience of the
28 court in the management of its cases, and the efficient use of judicial resources; (4)
                                                7                Civil Case No. 5:18-cv-02479-BLF
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 1             a.     The Anticipated Invocation of Mr. Penny’s Fifth Amendment
                      Rights Warrants a Stay.
 2
 3          Mr. Penny is charged in a criminal indictment with conduct related to the
 4 maintenance of documents kept at the Karolyi Ranch in Walker County, Texas.
 5 Plaintiffs’ counsel has shown that allowing discovery to proceed against Mr. Penny
 6 at this time would represent a significant threat to Mr. Penny’s Fifth Amendment
 7 rights. Further, a stay as to Mr. Penny would not impede the advancement of the
 8 litigation against other parties.
 9            b.    The Remainder of the Keating Factors Favor A Stay.
10                   i.      Any Prejudice to Plaintiffs is Outweighed by Penny’s Fifth
                             Amendment Concerns.
11
12          A stay of civil proceedings frequently has the potential of working some
13 prejudice to the plaintiffs, yet Courts routinely issue such stays, frequently over the
14 totality of a litigation. See, e.g., Pacers, Inc. v. Superior Court, 162 Cal. App. 3d
15 686 (4th Dist. 1984). There is no way the requested stay would compromise
16 Plaintiffs’ positions as to Mr. Penny (other than by not allowing them to force him
17 to the choice between his rights and his defense). Here the requested stay only as to
18 Mr. Penny would not prevent Plaintiffs from developing the case as to the other
19 defendants, nor would it serve to prevent Plaintiffs from taking discovery from any
20 witnesses other than Mr. Penny. Moreover, the resolution of the criminal litigation
21 against Mr. Penny may serve to illuminate issues regarding the content and actual
22 relevance of the documents that serve as the basis of the Texas indictment. The
23 Texas proceedings are likely to dispel Plaintiffs’ counsel’s presently foundationless
24 speculation about the relevance of the documents to Mr. Penny’s jurisdictional
25 challenges.
26
     the interests of persons not parties to the civil litigation; and (5) the interest of the
27
     public in the pending civil and criminal litigation.” Keating at 325.
28
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 1                  ii.     Proceeding With This Case Severely Burdens Mr. Penny.
 2         As described above, proceeding with this case against Mr. Penny at this time
 3 would likely force him to choose between fully defending himself in this action and
 4 preserving his Fifth Amendment rights by refusing to answer questions pertaining to
 5 the Texas indictment. The extreme prejudice that will result from forcing this
 6 choice upon Mr. Penny, particularly at the jurisdictional stage of this litigation,
 7 outweighs any purported prejudice to Plaintiffs from a finite delay as to him in this
 8 matter.
 9                 iii.     The Convenience of the Court Weights in Favor of a Stay.
10         The Court has an interest in managing its cases efficiently. “Staying the case
11 makes efficient use of judicial resources by insuring that common issues of fact will
12 be resolved and subsequent civil discovery will proceed unobstructed by concerns
13 regarding self-incrimination.” Jones v. Conte, 2005 WL 1287017, *2 (N.D. Cal.
14 2005) (internal citations omitted). As evidenced by Plaintiffs’ counsel’s Rule 11
15 motion, it is hard to imagine that absent a stay, the parties will not ultimately be
16 back before this Court regarding a challenge to some element of Mr. Penny’s
17 invocation of his Fifth Amendment rights, likely in the form of Plaintiffs seeking an
18 adverse inference based on such a refusal to answer. The Court can avoid the
19 potential for such issues by granting the limited stay requested.
20                 iv.      No Interests of Persons Not Parties to the Action Will Be
                            Affected by a Stay.
21
22         The interests of persons not parties to this action will not be affected by a
23 stay. The case is currently in a phase of jurisdictional discovery. Since the Texas
24 case has just been filed against Mr. Penny, no representation can be made to the
25 court regarding the actual time it will take to resolve the charges. However, there is
26 a potential that the Texas criminal case will be resolved quickly. Once the Texas
27 case is resolved the jurisdictional discovery as to Mr. Penny can be concluded and
28 the jurisdictional motion heard. No non-party to this litigation would be affected by
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 1 the delay in the jurisdictional discovery. Mr. Penny’s criminal counsel certainly
 2 expects that the criminal indictment in Texas will be resolved sufficiently far in
 3 advance of the currently scheduled Non-Expert Discovery Cutoff of January 10,
 4 2020 to allow for complete exploration of the jurisdictional issues, and to the extent
 5 necessary, the merits of the complaint as to Mr. Penny within the existing case
 6 schedule. Consequently, a stay as to Mr. Penny will not prejudice any such persons’
 7 interests.
 8                   v.      The Interest of the Public Favors a Stay.
 9          The public has an interest in “ensuring that the criminal process is not
10 subverted by ongoing civil cases.” Douglas v. United States, 2006 WL 2038375
11 (N.D. Cal. July 17, 2006). Absent a stay as to Mr. Penny, this case will proceed
12 parallel to the Texas criminal case, potentially severely impacting Mr. Penny’s
13 reasonable opportunity to offer a defense here and potentially subjecting him to the
14 jurisdiction of a Court where it otherwise would not lie. This scenario does not
15 further the public’s interest in a justice system that provides for the fair resolution of
16 both civil and criminal matters. Conversely, a stay would promote the public
17 interest by providing Mr. Penny with a meaningful opportunity to exercise his
18 constitutional rights and to present a full and complete defense to the civil charges
19 against him here.
20              c.    The Action Can Proceed As To Other Defendants.
21          The crux of Plaintiffs’ allegations are against Dr. Nassar and USA
22 Gymnastics, not against Mr. Penny. The issuance of a stay as to Mr. Penny would
23 not stop Plaintiffs’ ability to proceed against the other defendants. The requested
24 stay would do nothing to prevent their development of such claims through
25 discovery both to other Defendants and to third-parties.5
26
27  Notably, the vast majority of any documents that Mr. Penny may have had that
     5

28 could relate to the merits of the litigation are not in his control but rather in the
                                               10                  Civil Case No. 5:18-cv-02479-BLF
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 1         IV.      CONCLUSION
 2         For the foregoing reasons, specially-appearing defendant Stephen Penny
 3 respectfully requests that this action be stayed as to him for six months. If the
 4 criminal case in Texas is resolved within the six months, Mr. Penny will notify this
 5 court of the resolution. If the criminal charges remain pending at the conclusion of
 6 the six month period, Mr. Penny will address the issue of any further stay by motion
 7 to this court.
 8
     DATED:         October 22, 2018       ROBIE & MATTHAI
 9
10
                                                       /s/ Leigh P. Robie
11                                         By:
                                                 EDITH R. MATTHAI
12
                                                 LEIGH ROBIE
13                                               Attorneys for Defendant
                                                 STEVE PENNY
14
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26 possession and control of other Defendants. Consequently, the effect of granting the
27 stay as to Penny will have an even lesser impact as to the advancement of discovery
   in the case than would otherwise be anticipated.
28
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 1                        DECLARATION OF LEIGH P. ROBIE
 2        I, Leigh P. Robie, declare as follows:
 3        1.     I am an attorney for specially-appearing defendant Stephen Penny in
 4 this action. I have personal knowledge of the facts stated in this declaration and
 5 would testify to them if called to do so. I make this declaration in support of
 6 Stephen Penny’s Motion for Stay.
 7        2.     Attached as Exhibit 1 are true and correct copies of email
 8 correspondence between counsel for Mr. Penny and Plaintiffs’ counsel regarding the
 9 scheduling of Mr. Penny’s deposition.
10        3.     Attached as Exhibit 2 is a true and correct copy of the Rule 11 Motion
11 served by Plaintiffs’ counsel on October 19, 2018.
12        4.     Attached as Exhibit 3 is a true and correct copy of the email
13 correspondence with Plaintiffs’ counsel on October 22, 2018 concerning Mr.
14 Penny’s intention to seek a stay.
15        I declare under penalty of perjury under the laws of the United States of
16 America that the foregoing is true and correct. Executed October 22, 2018, in Los
17 Angeles, California.
18
19                                              /s/ Leigh P. Robie
                                           __________________________
20
                                                LEIGH P. ROBIE
21
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Leigh Robie

From:                              Edith Matthai
Sent:                              Thursday, October 18,2018 8:09AM
To:                                'Alex Cunny'; Holm, Margaret; Daniel White; Leos, Melissa; Leigh Robie
Cc:                               ·John Manly; Vince Finaldi; Kathy Frederiksen; Kamin, Mitchell A; Chen, Mark Y; Jolley,
                                   David; Victoria Mery
Subject:                           RE: USAG - Depositions - Steve Penny and Others



The deposition of Steve Penny is off calendar.

Edith R. Matthai
ROBIE & MATTHAI
500 South Grand Ave.
Suite 1500
Los Angeles, CA 90071
213-706-8000
213-706-9913 (fax)

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From: Alex Cunny [mailto:acunny@manlystewart.com]
Sent: Tuesday, October 9, 2018 11:12 AM
To: Holm, Margaret; Daniel White; Edith Matthai; Leos, Melissa; Leigh Robie
Cc: John Manly; Vince Finaldi; Kathy Frederiksen; Kamin, Mitchell A; Chen, Mark Y; Jolley, David; Victoria Mery
Subject: USAG - Depositions - Steve Penny and Others

All,

Per Edith's offer, we will be noticing the deposition of Steve Penny for October 23, 2018 in Indianapolis. Dan/Peggy- We
still have not gotten any dates for Leslie King or Bitsy Kelley. We still need them, asked a while back, and will be sending
subpoenas today if we do not get any by the close of business tomorrow. Please advise of their availability.

Thank you,

Alex E. Cunny, Esq.
Attorney
MANLY, STEWART & FINALDI
19100 Von Karman Ave.
Suite 800
Irvine, CA 92612
p (949) 252-9990
F (949) 252-9991
acunny@man lystewart.com                                                                                  EXHIBIT 1
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From:                                Vince Finaldi <vfinaldi@manlystewart.com>
Sent:                                Thursday, October 18,2018 9:13AM
To:                                  Edith Matthai; Alex Cunny; Holm, Margaret; Daniel White; Leos, Melissa; Leigh Robie
Cc:                                  John Manly; Kathy Frederiksen; Kamin, Mitchell A; Chen, Mark Y; Jolley, David; Victoria
                                     Mery
Subject:                             RE: USAG - Depositions - Steve Penny and Others



Edith,

You can't just unilaterally take his deposition off calendar after already agreeing to it. Especially since this is the second
time you have done it. Talk about gamesmanship. Especially since you have not even attempted to provide any
justification therefor. Not a single sentence. Please advise because we intend to proceed with this deposition, as
scheduled. He has filed a dispositive motion and our clients are entitled to depose him regarding those issues so long as
that motion is still on calendar.

Awaiting your timely response .

Vince William Finald.i, Esq.
MANLY, STEWART & FINALDI
19100 Von Karman Avenue, Suite 800
Irvine, California 92612
Phone: (949) 252-9990
Direct: (949) 943-8423
Fax: (949) 252-9991
vflnaldi@ manlystewart.co m




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Sent: Thursday, October 18, 2018 8:09 AM
To: Alex Cunny <acunny@manlystewart.com>; Holm, Margaret <Margaret.Holm@clydeco.us>; Daniel White
<DWhite@WhiteAmundson.com>; Leos, Melissa <Melissa.Leos@clydeco.us>; Leigh Robie <LRobie@romalaw.com>
Cc: John Manly <jmanly@manlystewart.com>; Vince Finaldi <vfinaldi@manlystewart.com>; Kathy Frederiksen
<kfrederiksen@manlystewart.com>; Kamin, Mitchell A <MKamin@cov.com>; Chen, Mark Y <MYChen@cov.com>; Jolley,
David <djolley@cov.com>; Victoria Mery <VMery@bafirm.com>
Subject: RE: USAG - Depositions -Steve Penny and Others

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Edith R. Matthai
ROBIE & MATTHAI

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Thank you,

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Suite 800
Irvine, CA 92612
p (949} 252-9990
F (949} 252-9991
acunnv@man lystewart.com



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Leigh Robie

From:                                Vince Finaldi <vfinaldi@manlystewart.com>
Sent:                                Thursday, October 18, 2018 9:24AM
To:                                  Edith Matthai
Cc:                                  Alex Cunny; Holm, Margaret; Daniel White; Leos, Melissa; Leigh Robie; John Manly;
                                     Kathy Frederiksen; Kamin, Mitchell A; Chen, Mark Y; Jolley, David; Victoria Mery
Subject:                             RE: USAG - Depositions - Steve Penny and Others



Edith,

People get arrested all the time, for various reasons. Granted, they are not always hiding out in a cabin in the rural
Smoky Mountains of Tennessee when they are, but, nevertheless, it happens. Will he be released on bail by the time of
the deposition?

As to the substance of the motion, Mr. Penny's indictment states:

         "Upon indictment, the 278th Judicial District Court issued a warrant for Penny' s arrest in Cause Number
         28849. If convicted, the range of punishment is 2 to 10 years in prison and up to a $10000 fine.

         According to the indictment, Steve Penny,, the former president of USA Gymnastics, is alleged to have
         tampered with evidence during the investigation of sexual assault allegations against Dr. Larry Nassar.
         The indictment alleges that Penny ordered the removal of documents from the Karolyi Ranch iri Walker
         County, Texas that were related to the activities of Nassar at the ranch. The indictment further alleges
         that the removal of the documents was done for the purpose of impairing the ongoing investigation by
         destroying or hiding the documents. During the investigation by the Texas Rangers and the Walker
         County Sheriff's Office, several sources reported that Penny ordered the removal ofthe documents from
         the ranch after learning that an investigation was underway. The investigation revealed that the
         documents were delivered to Penny at the USAG Headquarters in Indianapolis, Indiana. To date, those
         records have not been recovered and the location of the records is unknown. The Texas Rangers and the
         detectives believe that those records are material to their investigation and that the removal of the
         records by Penny prevented them from reviewing documents that would have helped in their
         investigation of Nassar as well as assisted with the investigation of other offenses that may have
         occurred at the Karolyi Ranch."

Thus, how can Penny credibly argue that he is entitled to escape civil liability on jurisdiction grounds when he actively
destroyed the documents that are relevant thereto? This is not a simple jurisdictional opposition anymore. This is now a
Rule 11 issue.

I would like your substantive response to these issues, to which we are entitled. Your unilateral edict that "the
deposition will not go forward," which may be fine for some counsel, does not suffice for our office. Especially when we
have oppositions to these motions to dismiss, which attempt to erase our client's method of recovery against Mr. Penny,
to file .

Awaiting your timely substantive response .

Vince William Finaldi, Esq.
MANLY, STEWART & FINALDI
19100 Von Karman Avenue, Suite 800
Irvine, California 92612
Phone : (949) 252-9990
                                                                                                         EXHIBIT 1
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Direct: {949) 943-8423
Fax: (949) 252-9991
vfinaldi@manlystewart.com




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From: Edith Matthai [mailto:EMatthai@romalaw.com]
Sent: Thursday, October 18, 2018 9:17AM
To: Vince Finaldi <vfinaldi@manlystewart.com>
Cc: Alex Cunny <acunny@manlystewart.com>; Holm, Margaret <Margaret.Holm@clydeco.us>; Daniel White
<DWhite@WhiteAmundson.com>; Leos, Melissa <Melissa.Leos@clydeco.us>; Leigh Robie <LRobie@romalaw.com>;
John Manly <jmanly@manlystewart.com>; Kathy Frederiksen <kfrederiksen@manlystewart.com>; Kamin, Mitchell A
<MKamin@cov.com>; Chen, Mark Y <MYChen@cov.com>; Jolley, David <djolley@cov.com>; Victoria Mery
<VMery@bafirm.com>
Subject: Re: USAG- Depositions- Steve Penny and Others

Mr. Finaldi,
I know you are aware that Steve has been arrested. The deposition will not go forward.
Edith

Edith Matthai

Sent from my iPhone

On Oct 18, 2018, at 9:12AM, Vince Finaldi <vfinaldi@man lvstewart.co m> wrote :

        Edith,

        You can't just unilaterally take his deposition off calendar after already agreeing to it. Especially since
        this is the second time you have done it. Talk about gamesmanship. Especially since you have not even
        attempted to provide any justification therefor. Not a single sentence. Please advise because we intend
        to proceed with this deposition, as scheduled. He has filed a dispositive motion and our clients are
        entitled to depose him regarding those issues so long as that motion is still on calendar.

        Awaiting your timely response .

        Vince William Finaldi, Esq.
        MANLY, STEWART & FINALDI
        19100 Von Karman Avenue, Suite 800
        Irvine, California 92612
        Phone: {949) 252-9990
        Direct: (949) 943-8423
        Fax: (949) 252-9991
        vfinaldi@manlystewart.com
        <imageOOl.jpg>
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From: Edith Matthai [mailto:EMatthai@romalaw.com]
Sent: Thursday, October 18, 2018 8:09 AM
To: Alex Cunny <acunny@manlystewart.com >; Holm, Margaret <Margaret.Holm@clydeco.us>; Daniel
White <DWhite@WhiteAmundson.com >; Leos, Melissa <Melissa .Leos@clydeco .us>; Leigh Robie
<LRobie@romalaw.com>                                                              ·
Cc: John Manly <jmanly@manlystewart.com>; Vince Finaldi <vfinaldi@manlystewart.com >; Kathy
Frederiksen <kfrederiksen@manlystewart.com >; Kamin, Mitchell A <MKamin@cov.com>; Chen, Mark Y
<MYChen@cov.com >; Jolley, David <djolley@cov.com>; Victoria Mery <VMery@bafirm.com >
Subject: RE: USAG- Depositions- Steve Penny and Others

The deposition of Steve Penny is off calendar.

Edith R. Matthai
ROBIE & MATTHAI
500 South Grand Ave.
Suite 1500
Los Angeles, CA 90071
213-706-8000
213-706-9913 (fax)

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From: Alex Cunny [mailto:acunny@manlystewart.com]
Sent: Tuesday, October 9, 2018 11:12 AM
To: Holm, Margaret; Daniel White; Edith Matthai; Leos, Melissa; Leigh Robie
Cc: John Manly; Vince Finaldi; Kathy Frederiksen; Kamin, Mitchell A; Chen, Mark Y; Jolley, David; Victoria
Mery
Subject: USAG - Depositions - Steve Penny and Others

All,

Per Edith's offer, we will be noticing the deposition of Steve Penny for October 23, 2018 in Indianapolis.
Dan/Peggy- We still have not gotten any dates for Leslie King or Bitsy Kelley. We still need them, asked a
while back, and will be sending subpoenas today if we do not get any by the close of business tomorrow.
Please advise oftheir availability.

Thank you,

Alex E. Cunny, Esq.
Attorney
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       19100 Von Karman Ave.
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       acunny@manlystewart.com
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Leigh Robie

From:                               Leigh Robie
Sent:                               Thursday, October 18, 2018 9:24AM
To:                                 'Vince Finaldi'; Edith Matthai; Alex Cunny; Holm, Margaret; Daniel White; Leos, Melissa
Cc:                                 John Manly; Kathy Frederiksen; Kamin, Mitchell A; Chen, Mark Y; Jolley, David; Victoria
                                    Mery
Subject:                            RE: USAG - Depositions - Steve Penny and Others
Attachments:                        RE: Nassar Cases - Deposition of Steve Penny



Mr. Finaldi,
Our firm did not unilaterally take Mr. Penny's deposition off calendar in August. Please see the
attached correspondence between you and our office.

Leigh Robie
Robie & Matthai
500 South Grand Ave.
Suite 1500
Los Angeles, CA 90071
213-706-8000
213-706-9913 (fax)

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From: Vince Finaldi [mailto:vfinaldi@manlystewart.com]
Sent: Thursday, October 18, 2018 9:13AM
To: Edith Matthai <EMatthai@romalaw.com>; Alex Cunny <acunny@manlystewart.com>; Holm, Margaret
<Margaret.Holm@clydeco.us>; Daniel White <DWhite@WhiteAmundson.com>; Leos, Melissa
<Melissa.Leos@clydeco.us>; Leigh Robie <LRobie@romalaw.com>
Cc: John Manly <jmanly@manlystewart.com>; Kathy Frederiksen <kfrederiksen@manlystewart.com>; Kamin, Mitchell A
<MKamin@cov.com>; Chen, Mark Y <MYChen@cov.com>; Jolley, David <djolley@cov.com>; Victoria Mery
<VMery@ bafirm .com>
Subject: RE: USAG- Depositions- Steve Penny and Others

Edith,

You can't just unilaterally take his deposition off calendar after already agreeing to it. Especially since this is the second
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that motion is still on calendar.

Awaiting your timely response .


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                                                                            of47
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Vince William Finaldi, Esq.
MANLY, STEWART & FINALDI
19100 Von Karman Avenue, Suite 800
Irvine, California 92612
Phone: (949) 252-9990
Direct: (949) 943-8423
Fax: (949) 252-9991
vflnaldi@manlystewart.com




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To: Alex Cunny <acunny@manlystewart.com>; Holm, Margaret <Margaret.Holm@clydeco.us>; Daniel White
<DWhite@WhiteAmundson.com>; Leos, Melissa <Melissa.leos@clydeco.us>; leigh Robie <LRobie@romalaw.com >
Cc: John Manly < jmanly@manlystewart.com>; Vince Finaldi <vfinaldi@manlystewart.com >; Kathy Frederiksen
<kfrederiksen@manlystewart.com >; Kamin, Mitchell A <MKamin@cov.com>; Chen, Mark Y <MYChen@cov.com>; Jolley,
David <djolley@cov.com >; Victoria Mery <VMery@bafirm.com >
Subject: RE: USAG- Depositions- Steve Penny and Others

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Edith R. Matthai
ROBIE & MATTHAI
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213-706-8000
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From: Alex Cunny [mailto:acunny@manlystewart.com]
Sent: Tuesday, October 9, 2018 11:12 AM
To: Holm, Margaret; Daniel White; Edith Matthai; Leos, Melissa; Leigh Robie
Cc: John Manly; Vince Finaldi; Kathy Frederiksen; Kamin, Mitchell A; Chen, Mark Y; Jolley, David; Victoria Mery
Subject: USAG - Depositions - Steve Penny and Others

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subpoenas today if we do not get any by the close of business tomorrow. Please advise of their availability.

Thank you,

Alex E. Cunny, Esq.
Attorney
MANLY, STEWART & FINALDI
19100 Von Karman Ave.
Suite 800
Irvine, CA 92612
p (949) 252-9990
F (949) 252-9991
acu nny@man Iystewart.com




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                                                                    Page120
                                                                         26 of
                                                                            of47
                                                                               421


Leigh Robie

From:                                Vince Finaldi <vfinaldi@manlystewart.com>
Sent:                                Monday, August 13,2018 3:51 PM
To:                                  Edith Matthai
Cc:                                  Leigh Robie; DWhite@WhiteAmundson.com (DWhite@WhiteAmundson.com);
                                     SAMUNDSON@WhiteAmundson.com; rlack@WhiteAmundson.com; Holm, Margaret;
                                     Leos, Melissa; krista.gutierrez@clydeco.us; Rosenberg, Sheryl;
                                     Lorraine.Gallo@clydeco.us; Kamin, Mitchell A; TSpath@cov.com; mchen@cov.com;
                                     pslagter@cov.com; Kubota, Carolyn; Jolley, David; usood@cov.com;
                                     MJacobs@mrllp.com; apawlyk@mrllp.com; jkrompier@mrllp.com;
                                    jbooth@boothllp.com; ceaston@boothllp.com; prasmussen@boothllp.com;
                                    jpfeiffer@bafirm.com; dberg@bafirm.com; Gregory.Lee@wilsonelser.com;
                                     David.Eisen@wilsonelser.com; lalawSOO@gmail.com; kevinoconnell.law@gmail.com;
                                     kevin.minnick@skadden.com; abrubaker@wingertlaw.com; Mercedes Mendoza; Mark
                                    Johnson; John Manly
Subject:                             RE: Nassar Cases - Deposition of Steve Penny



Ok, we will regroup next week, meet and confer separately as to these issues, and then try to come to agreement on a
new date. Good?

Vince William Finaldi, Esq.
MANLY, STEWART & FINALDI
19100 Von Karman Avenue, Suite 800
Irvine, California 92612
Phone: (949) 252-9990
Direct: (949) 943-8423
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From: Edith Matthai [mailto:EMatthai@romalaw.com]
Sent: Monday, August 13, 2018 3:45 PM
To: Vince Finaldi <vfinaldi@manlystewart.com>
Cc: Leigh Robie <LRobie@romalaw.com>; DWhite@WhiteAmundson.com (DWhite@WhiteAmundson.com)
<DWhite@WhiteAmundson.com>; SAMUNDSON@WhiteAmundson.com; rlack@WhiteAmundson.com; Holm, Margaret
<Margaret.Holm@clydeco.us>; Leos, Melissa <Melissa.Leos@clydeco.us>; krista.gutierrez@clydeco.us; Rosenberg,
Sheryl <Sheryi.Rosenberg@clydeco.us>; Lorraine.Gallo@clydeco.us; Kamin, Mitchell A <MKamin@cov.com>;
TSpath@cov.com; mchen@cov.com; pslagter@cov.com; Kubota, Carolyn <ckubota@cov.com>; Jolley, David
<djolley@cov.com>; usood@cov.com; MJacobs@mrllp.com; apawlyk@mrllp.com; jkrompier@mrllp.com;
jbooth@boothllp.com; ceaston@boothllp.com; prasmussen@boothllp.com; jpfeiffer@bafirm.com; dberg@bafirm.com;
Gregory.Lee@wilsonelser.com; David.Eisen@wilsonelser.com; lalawSOO@gmail.com; kevinoconnell.law@gmail.com;
kevin.minnick@skadden.com; abrubaker@wingertlaw.com; Mercedes Mendoza <mmendoza@romalaw.com>; Mark
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                                                                             of47
                                                                                421

Johnson <MJohnson@romalaw.com>; John Manly <jmanly@manlystewart.com>
Subject: Re: Nassar Cases - Deposition of Steve Penny

We are in agreement on the postponement of the deposition .

Edith Matthai

Sent from my iPhone

On Aug 13, 2018, at 3:38 PM, Vince Finaldi <vfinaldi@manlyst ewart.com > wrote :

        Mrs. Matthai,

       I have read your letter. From our end, we are in the process of culling materials received from USAG,
       some of which pertain to Mr. Penny, and preparing for a mediation session on Friday. I believe it would
       probably be in our clients' collective interests to push this deposition out a few weeks. Perhaps we may
       be able t() reach agreement on some issues raised in your letter, and raised in the first session, in the
       interim. Please let me know whether you agree, and if so, we will continue the deposition. Because the
       deposition is set for tomorrow morning, however, time is of the essence.

       Thanks,

       Vince William Finaldi, Esq.
       MANLY, STEWART & FINALDI
       19100 Von Karman Avenue, Suite 800
       Irvine, California 92612
       Phone: (949) 252-9990
       Direct: (949) 943-8423
       Fax: (949) 252-9991
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       From: Mark Johnson [mailto :MJohnson@romalaw.com ]
       Sent: Monday, August 13, 201811 :51 AM
       To: John Manly <jmanly@manlystewart. com>; Vince Finaldi <vfinaldi@manlystewart.com>
       Cc: DWhite@WhiteAmundson.com (DWhite@WhiteAmundson .com ) <DWhite@WhiteAmundson .com>;
       SAMUNDSON@WhiteAmundson.com; rlack@Wh iteAmundson.com; Holm, Margaret
       <Margaret.Holm@clydeco.us>; Leos, Melissa <Melissa.Leos@clydeco .us>; krista .gutierrez@clydeco.us;
       Rosenberg, Sheryl <Shervi.Rosenberg@clydeco.us>; Lorraine.Gallo@clydeco.us; Kamin, Mitchell A
       <MKamin@cov.com>; TSpath@cov.com; mchen@cov.com; pslagter@cov ..com; Kubota, Carolyn
       <ckubota@cov.com >; Jolley, David <djolley@cov.com>; usood@cov.com; MJacobs@mrllp.com;
       apawlyk@mrllp.com; jkrompier@mrllp.com; jbooth@boothllp.com; ceaston@boothllp.com;
       prasmussen@boothllp.com; jpfeiffer@bafirm.com; dberg@bafi rm.com; Gregorv.Lee@wilsonelser.com;
       David.Eisen@wilsonelser.com; lalawSOO@gmail.com; kevinoconnell.law@gmail.com;
       kevin.minnick@skadden .com; abrubaker @wingertlaw.com; Edith Matthai <EMatthai@romalaw.com>;
       Leigh Robie <LRobie@romalaw.com >; Mercedes Mendoza <mmendoza@romalaw.com >
       Subject: Nassar Cases - Deposition of Steve Penny

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       Please see the attached letter of today's date from Edith Matthai.

       Mark Johnson I Assistant to
       Edith R. Matthai and Gabrielle M.
       Jackson
       ROBIE & MATTHAI I A
       Professional Corporation
       500 South Grand Avenue I 15th
       Floor I Los Angeles I California
       90071-3062
       Tel: (213) 706-8000 ext. 330 I Fax:
       (213) 706-9913 I www.romalaw.e0m
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Leigh Robie

From:                                                    Mark Johnson
Sent:                                                    Monday, August 13, 2018 11:51 AM
To:                                                      John Manly; Vince Finaldi
Cc:                                                      DWhite@WhiteAmundson.com (DWhite@WhiteAmundson.com);
                                                         SAMUNDSON@WhiteAmundson.com; rlack@WhiteAmundson.com; Holm, Margaret;
                                                         Leos, Melissa; krista.gutierrez@clydeco.us; Rosenberg, Sheryl;
                                                         Lorraine.Gallo@clydeco.us; Kamin, Mitchell A; TSpath@cov.com; mchen@cov.com;
                                                         pslagter@cov.com; Kubota, Carolyn; Jolley, David; usood@cov.com;
                                                         MJacobs@ mrllp.com; apawlyk@ mrllp.com; jkrompier@ mrllp.com;
                                                        jbooth@ booth II p.co m; ceaston@ booth II p.com; prasmussen@ booth II p.com;
                                                        jpfeiffer@bafirm.com; dberg@bafirm.com; Gregory.Lee@wilsonelser.com;
                                                         David.Eisen@wilsonelser.com; lalawSOO@gmail.com; kevinoconnell.law@gmail.com;
                                                         kevin.minnick@skadden.com; abrubaker@wingertlaw.com; Edith Matthai; Leigh Robie;
                                                         Mercedes Mendoza
Subject:                                                 Nassar Cases - Deposition of Steve Penny
Attachments:                                             ERM to Manly re scope of Penny depo.pdf



Please see the attached letter of to day's date from Edith Matthai.

Mark Johnson I Assistant to
Edith R. Matthai and Gabrielle M. Jackson
ROBIE & MATTHAI I A Professional Corporation
500 South Grand Avenue I 15th Floor I Los Angeles I
California 90071-3062
Tel: (213) 706-8000 ext. 330 I Fax: (213) 706-9913 I
www.romalaw.com
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A PROFESSIONAL_ CORPORATION

                                                                                                           James R Robie (1949-20111
                                                                                                           Edith R. Matthai *
                                                                                                           Kyle Kveton
                                                                                                           Natalie A. Kouyoumdjian • •
                                                                                                           Gabrielle M Jackson
                                                                                                           Marta A Alcumbrac
                                                    August 13,2018                                         Leigh P Robie
                                                                                                           T John Fitzgibbons
                                                                                                           Timothy W Bucknell


     Via Email
                                                                                                           ' CLtnr~c•d ~rco.1lr       :
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    John C. Manly, Esq.                                                                                    . . c.·rtPI.·;i Sp~·cr:dr• t' ''flp~·l l .lh' L\•.','
                                                                                                           nn· S: ~L·.' 1~.11 o! C.llil~'•ll::l n.,,rrd

    Vince Finaldi, Esq.
    Manly, Stewart & Finaldi
    19100 Von Karman Avenue, Suite 800
    I_rvine, Califorrtia 92612

              Re: Nassar Cases

    Gentlemen:

          I am writing in advance of tomorrow's deposition to advise you of our position
    concerning the scope of Mr. Penny's deposition.

           If you have legal authority or additional facts which contradict the following,
    please provide that infonnation to me in order that I might consider your position.

            The court orders and our agreement to produce Mr. Penny limit the deposition of
    Mr. Penny to the question of whether the courts in California, either state or federal, have
    jurisdiction over the following named defendants: 1

                  •   Steve Penny

                  •   The United States Olympic Committee

                  •   The Karolyis

                  •   Kathy Scanlan

              Mr. Penny will follow the orders of the courts.


    1
        We understand USA Gymnastics is no longer challenging jurisdiction in California.




                                                                                                               EXHIBIT 1
 500 South Grand Avenue, 15th Floor I Los Angeles, Califomia 90071-2609 I P 213.706.8000 l F 213.706,9913 1 www.romalaw.com

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Vince Finaldi, Esq.
August 13,2018
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       None of the listed defendants is subject to general jurisdiction in California. The
individuals do not reside in California. The United States Olympic Committee is not
incorporated in nor does it have its principal place of business in California; none of the
Karolyi entities are incorporated in California nor do they have their principal place of
business in California. Thus, under Daimler AG v. Bauman, 134 S. Ct. 746 (2013) and
Bristol-Myers Squibb v. Superior Court ofSan Francisco, 137 S. Ct. 1773 (2017), there is
no general jurisdiction over any of the defendants at issue.

        Thus, the questioning at Mr. Penny's deposition is limited to whether the
<;alifornia courts can exercise specific jurisdiction over any of these defendants.

       In Bristol-Myers Squibb v. Superior Court, supra, the United States Supreme
Court rejected the prior California authorities which applied a sliding scale approach to
specific jurisdiction and rejected the theory that wide-ranging contacts with the state can
establish specific jurisdiction. There must be specific tortious acts that impact the forum
state.

     Mr. Penny's deposition has been noticed in the LM Doe, AJ Doe, Wieber and
Raisman cases.

       Mr. Penny was previously deposed in the LM Doe case on jurisdictional issues.
Other than the two questions which Judge Susan Bryant Deason allowed in ruling on your
motion to compel, Mr. Penny will not be giving testimony with regard to jurisdiction in
                 2                       .
the LM Doe case.

       AJ Doe (Ms. Antolin) did not participate in any events in California during the
time that Mr. Penny was employed by USA Gymnastics.

       The only event in California in which Ms. Raisman and Ms. Wieber participated,
and at which we understand Nassar was present, in the timeframe in which they allege
molestation, was the 2012 Olympic trials held in San Jose from June 28 through July 1,
2012.




2
  Although we don't believe those questions remain relevant given USAG's waiver of any jurisdictional
challenge, Mr. Penny will follow the court order.



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Vince Finaldi, Esq.
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       In order for there to be specific jurisdiction, there must be forum-related acts
personally committed by the non-resident defendant. To establish specific jurisdiction the
plaintiff must show:

           •   The defendant committed an intentional tort;

           •   The plaintiff felt the brunt of the harm from that tort in the forum state such
               that the forum state was the focal point of the tortious injury; and

           •   The defendant expressly aimed the tortious conduct at the forum state such
               that the forum state was the focal point of the tortious activity.

       Burdick v. Superior Court of Orange, 233 Cal.App.4th 8 (2015)

      The relationship must arise out of the contacts that the defendant creates with the
forum state; the plaintiffs contacts with the forum state are not the issue.

       The Archdiocese of Milwaukee case frequently cited by you does not contradict
this analysis.

        We are unaware of any tortious acts targeted at California committed by any of the
defendants who are challenging jurisdiction. Nevertheless, we recognize that you are
entitled to inquire with regard to the existence of such tortious activities as it relates to the
only relevant event in California, the 2012 San Jose Olympic trials.

        I realize from past communications with your office that you will disagree with our
position. If you have legal authorities that I should review which contradict our analysis
of the scope of the jurisdictional discovery, please provide them so that I may consider




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John C. Manly, Esq.
Vince Finaldi, Esq.
August 13, 2018
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those authorities. Otherwise, we will limit the depositio   Jd that which is allowed under
the court orders and the authorities cited above.




                                          EDITH R. MATTHAI

ERM:mwj

cc: All Counsel




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Leigh Robie

From:                                Alex Cunny <acunny@manlystewart.com>
Sent:                                Friday, October 19, 2018 5:02 PM
To:                                  Edith Matthai; Leigh Robie
Cc:                                  Vince Finaldi; John Manly; Kathy Frederiksen
Subject:                             Jane LM Doe v. USAG, et al. - Notice of FRCP 11 Safe Harbor
Attachments:                         FRCP 11 - Def Penny - Service Only.pdf



Ms. Robie and Ms. Matthai,

Attached to this correspondence, please find our Motion, pursuant to FRCP 11. Pursuant to subsection (c)(2), please
provide a response on or before November 12, 2018.

Thank you,

Alex E. Cunny, Esq.
Attorney
MANLY, STEWART & FINALDI
19100 Von Karman Ave.
Suite 800
Irvine, CA 92612
p (949) 252-9990
F (949) 252-9991
acunny@manl ystewart.com




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                        1
                             JOl-IN C. MANL Y~Esq. (State Bar No. 149080)
                        2    VINCE W. FINALui, Esq. (State Bar No. 238279)
                             ALEX E. CUNNY (State Bar No. 291567)
                        3    JANEE. REILLEY(StateBarNo. 314766)
                             MANLY, STEWART & FINALDI
                        4    19100 Von Karman Ave., Suite 800
                             Irvine CA 92612         -
                        5    Telephone: (949) 252-9990
                             Fax: (949) 252-9991
                        6
                             Attorneys for Plaintiff, JANE LM DOE
                        7
                        8                         UNITED STATES DISTRICT COURT

                        9                       CENTRAL DISTRICT OF CALIFORNIA,

                       10                         SOUTHERN DIVISION SANTA ANA

                       11    JANE LM DOE, an individual,                  Civil Case No. 8:18-cv-01117-JLS-KES
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..l            0       12                Plaintiff,                       [The Honorable Josephine L Staton]
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r-.....1 ~~                        v.                                     NOTICE OF PLAINTIFF JANE LM
Oi!E-""'"'                                                                DOE'S MOTION AND MOTION
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~u:> .. :;.,.                DR. LARRY NASSAR, an individual;             FOR SANCTIONS PURSUANT TO
<:>- "'""'"'
~~s:.::~                     USA GYMNASTICS, an Indiana                   FEDERAL RULE OF CIVIL
f'i!Z'""' ..
   ~"'u"               15    business entity of form unknown;             PROCEDURE 11 MOTION AND
~o~.; §
   ~-==~.a                   ROBERT COLAROSS&.an individual;              MOTION TO DEFENDANT
;><E- 0·-""'
...:~...::>:::~
                       16    STEPHEN "STEVE" P nNNY an                    STEPHEN "STEVE" PENNY·
;z; g-~
<       ~              17    individual; BELA KAROLY(~                    MEMORANDUM OF POINTS AND
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        ~
                             individual; MARTHA KARO r L~ an              AUTHORITIES
                             individual· KAROLY! TRAININu
                       18    CAMPS, LLC, a Texas business entity
                             of form Unknown· KAROLYT WORLD               fNotice of Motion and Memorandum of
                       19    GYMNASTICS iNC., a Texas business            Points and Authorities]
                             entity of form unknown; KAROLYI'S
                       20    ELITE, a Texas business entity of form
                             unknown; AOGC ALL OLYMPIA                    Date:    TBD
                       21    GYMNASTIC CENTER INC., a                     Time:    TBD
                             California business entity of fonn
                       22    unknown· GALINA MARJNOVA, an
                             individual, ARTUR AKOPY AN, an
                       23    individual, and DOES 1 through 500.
        ·.
                       24                Defendants.
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                               NOTICE OF PLAINTIFF JANE LM DOE'S FEDERAL RULE OF CIVIL    34
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                    1          TO DEFENDANT STEPHEN "STEVE" PENNY AND HIS COUNSEL:
                    2          PLEASE TAKE NOTICE that Plaintiff Jane LM Doe ("Plaintiff') hereby
                    3    serves the instant Motion for Sanctions Pursuant to Federal Rule of Civil Procedure
                    4    11, As To Defendant Stephen "Steve" Penny ("Penny"). The instant Motion is
                    5    based upon the following facts and legal authorities:
                    6          1.) On October 17, 2018, Defendant Penny was arrested, based on an
                    7             indictment issued from Walker County, Texas, for "intentionally or
                    8             knowingly destroy[ing] or conceal[ing] records or documents, to wit:
                    9             records and documents related to Larry Nassar kept at the Karolyi Ranch
                   10             in Walker County, Texas, with intent to impair the availability as
                   11             evidence in the investigation." This conduct, based upon this charging
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             0     12             document, was alleged to have occurred "on or about the 11th day of
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~.-l ~~            13             November, 2016." See Indictment of Stephen D. Penny, Jr., to be filed
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E-o<<·;:;;;-       14             with the Motion.
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""~:Uu;,;          15          2.) The instant action was filed on October 27, 2016, two weeks prior to the
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 <:>>"             16             destruction date cited in the indictment. See Complaint, to be filed with
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< ;:: f-<                         the Motion.
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~ "'
        -                      3.) On March 6, 2017, Defendant Penny, through his prior counsel, filed a
                   18
                   19             Motion to Quash Service for Lack of Subject Matter Jurisdiction in the
                   20             Superior Court action, prior to this matter's removal to Federal Court. See
                   21             Motion to Quash in Superior Court, to be filed with the Motion.
                   22             Subsequent updated pleadings were filed both in state court, as well as the
                   23             pending Motion to Dismiss in the instant Action, which was filed on
                   24             August 31, 2018, which deals with the same issue;
                   25          4.) The instant Motion is based upon F.R.C.P. 11(b)(4) which specifically
                   26             provides that a Motion must be certified by the party's counsel that" .. .the
                   27             denials of factual contentions are warranted on the evidence or, if
                   28             specifically so identified, are reasonably based on belief or a lack of

                                                                  ii
                                                                               EXHIBIT 2
                          NOTICE OF PLAINTIFF J ANE LM DOE'S FEDERAL RULE OF CIVIL    35
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                       1             information." F.R.C.P. ll(b)(4). Subsequent to the filing of the instant
                       2             Matter, Defendant Penny destroyed and/or concealed documents
                       3             pertaining to the investigation of former, disgraced Doctor Larry Nassar
                       4             ("Nassar"). Upon destroying these documents, only months later, Penny
                       5             filed a Motion to Quash Service for Lack of Personal Jurisdiction; a
                       6             jurisdictional inquiry that has shown those records would have been
                       7             germane to Penny's knowledge of Nassar as an abuser, and having
                       8             purposefully targeted Nassar towards California and Californians,
                       9             including the Plaintiff and others in the Related Actions. See
                      10             Archdiocese ofMilwaukee v. Superior Court (2003) 112 Cal.App.4th 423,
                      11             441 ("Rather, the evidence supports the finding the Milwaukee
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                 0    12             Archdiocese sought to rid itself of Widera by intentionally sending him
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""-l ~~               13             into California.");
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.... ~..;::·;:;a;-                5.) Penny's pending Motion to Dismiss pursuant to F.R.C.P. 12(b)(2) is made
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~u<       E:; ~                      for an improper purpose, asserting a jurisdictional defense that would
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 ..E- 0::"'-"
><E-  0·- 0.          16             have been defeated outright, had the documents he destroyed/concealed
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<        :=.::   E-   17             been produced. As such, the Plaintiff will request that the Court strike
~
         -
         "'
                      18             Penny's pending Motion to Dismiss and impose sanctions in the amount
                      19             incurred by Plaintiffs counsel in conducting jurisdictional discovery
                      20             against him.
                      21          This Motion is grounded in this notice, the attached Memorandum of Points
                      22    and Authorities, the Declaration of Alex E. Cunny and exhibits attached thereto, the
                      23    records and files in this action, and upon such further evidence and argument as
                      24    may be presented prior to or at the time of hearing on the motion.
                      25    Dated: October 19,2018
                      26
                                                                  By:
                      27
                      28
                                                                                  EXHIBIT 2
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                              NOTICE OF PLAINTIFF JANE LM DOE'S FEDERAL RULE OF CIVIL    36
                                    PROCEDURE 11 MOTION TO DEFENDANT PENNY EXHIBIT  2
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                        1                   MEMORANDUM OF POINTS AND AUTHORITIES
                        2              A.     INTRODUCTION AND FACTUAL BACKGROUND
                        3           The instant Motion is based upon Federal Rule of Civil Procedure 11 (b)(4 ),
                        4    which was violated by Penny, in authorizing the filing of a Motion to Dismiss
                        5    under F.R. C.P. 12(b )(2), on the grounds that he destroyed and concealed evidence
                        6    that would have been germane to extinguishing that Motion. This is a Rule 11
                        7    violation considering that Penny has filed a motion alleging a defense to the case,
                        8    for which he has "knowingly and intentionally" destroyed or otherwise concealed
                        9    information. This Motion to Dismiss raises a defense that is known to be frivolous,
                       10    in light of the fact that Penny destroyed the very evidence that would have
                       11    supported the Motion. Moreover, Penny's counsel has recently informed my office
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                       12    that, "I know you are aware that Steve has been arrested. The deposition will not go
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"'...l       ~~        13    forward." See October 18, 2018 E-mail From Ms. Edith Matthai, to be filed with
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g::CI) s::    6-.;;t   14    Motion.
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r-lz~c.J <.;           15          The instant Motion sounds in F.R. C.P. 11, but also in F.R. C.P. 37 sanctions
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..... ...:;;.::~       16    for evidence spoliation, which we believe will be an issue to be dealt with once the
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< -                    17    instant Matter has been resolved. Notwithstanding the bearing of this spoliation on
~ "'
         -             18    any F.R.C.P. 37 Motion, the instant F.R.C.P. 11 Motion must be addressed first, as
                       19    hearing is fast approaching.
                       20          On this basis, the Plaintiff requests that Mr. Penny withdraw his F.R. C.P.
                       21    12(b)(2) Motion in this case, as well as in the Related Actions, as his actions in
                       22    destroying and concealing evidence, are in violation of F.R. C.P. 11 (b )(2).
                       23    A.    INDICTMENT           OF     PENNY        AND      TESTIMONY           OF   HIS
                                   DESTRUCTION OF EVIDENCE RELATED TO NASSAR.
                       24          On October 17, 2018, Defendant Penny was arrested based on an indictment
                       25    in Walker County of Texas. See Indictment from Walker County, to be filed with
                       26    the Motion. On October 17, 2018, Defendant Penny was arrested, based on an
                       27    indictment issued from Walker County, Texas, for "intentionally or knowingly
                       28    destroy[ing] or conceal[ing] records or documents, to wit: records and documents
                                                                                  EXHIBIT 2
                                                                       1
                              PLAINTIFF JANE LM DOE'S FEDERAL RULE OF CIVIL PROCEDURE    37
                                           11 MOTION TO DEFENDANT PENNY      EXHIBIT 2
                                                                                  039
                           Case
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                       1    related to Larry Nassar kept at the Karolyi Ranch in Walker County, Texas, with
                       2    intent to impair the availability as evidence in the investigation." This conduct,
                       3    based upon this charging document, was alleged to have occurred "on or about the
                       4    11th day of November, 2016." See Indictment of Stephen D. Penny. Jr., to be filed
                       5    with the Motion.
                       6          The instant action was filed on October 27, 2016, two weeks prior to the
                       7    destruction date cited in the indictment. See Complaint, to be filed with the Motion.
                       8          On March 6, 2017, Defendant Penny, through his prior counsel, filed a
                       9    Motion to Quash Service for Lack of Subject Matter Jurisdiction in the Superior
                      10    Court action, prior to this matter's removal to Federal Court. See Motion to Quash
                      11    in Superior Court, to be filed with the Motion. Subsequent updated pleadings were
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                      12    filed both in state court, as well as the pending Motion to Dismiss in the instant
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~..l ~~               13    Action, which was filed on August 31, 20 18, which deals with the same issue.
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    .,.,C'l
f-<<C~;:; ;;-                                                II.   ARGUMENT
~""r::;'<t-           14
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  p::'"  -·
         .,           15    A.    RULE 11 MOTIONS ARE PROPER AGAINST AN ATTORNEY OR A
~0::.::,;;                        PAR'I'fj FOR FILING CLAIMS OR ASSERTING DEF'ENSES
   .... r: <= ..<::
;;..<-- o -- ""       16          WITH U'I' MERIT OR OTHERWISE IMPROPERLY,
....:~<:>::~
z       ~-~                       The instant Motion is based upon F.R.C.P. ll(b)(4) which specifically
< -                   17
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        -
        "'
                            provides that a Motion must be certified by the party's counsel that" ... the denials
                      18
                      19
                            of factual contentions are warranted on the evidence or, if specifically, so identified,

                      20
                            are reasonably based on belief or a lack of information." F.R.C.P. ll(b)(4).

                      21
                            Subsequent to the filing of the instant Matter, Defendant Penny destroyed and/or

                      22
                            concealed documents pertaining to the investigation of former, disgraced Doctor

                      23
                            Larry Nassar ("Nassar"). Upon destroying these documents, only months later,

                      24
                            Penny filed a Motion to Quash Service for Lack of Personal Jurisdiction; a

                      25
                            jurisdictional inquiry that has shown those records would have been germane to

                      26
                            Penny's knowledge of Nassar as an abuser, and having purposefully targeted

                      27
                            Nassar towards California and Californians, including the Plaintiff and others

                      28
                            in the Related Actions. See Archdiocese of Milwaukee v. Superior Court (2003)
                                                                                 EXHIBIT 2
                                                                      2
                             PLAINTIFF JANE LM DOE'S FEDERAL RULE OF CIVIL PROCED URE   38
                                          11 MOTION TO DEFENDANT PENNY      EXHIBIT 2
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                          Case
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                      1    112 Cal.App.4th 423, 441 ("Rather, the evidence supports the finding the
                      2    Milwaukee Archdiocese sought to rid itself of Widera by intentionally sending him
                      3    into California."). As such, the evidence that was concealed and destroyed by
                      4    Penny, for which he is facing criminal prosecution, is germane to the dispositive
                      5    Motion that Penny filed and is attempting to have the instant Matter dismissed.
                      6           Plaintiff specifically requests that Penny withdraw his 12(b)(2) Motion, as
                      7    maintaining a baseless claim, as a result of his own misfeasance, runs afoul of Rule
                      8    11. Furthermore, Plaintiff reserves the right to obtain her reasonable costs and fees
                      9    as a result of conducting jurisdictional discovery on Penny's 12(b)(2) Motion.
                     10    B.    RE:aUEST TO WITHDRAW F.R.C.P. 12(b)(2) MOTION AND
                                 SP CIF'Ic NOTICE.
                     11          The Plaintiff specifically requests that Penny withdraw his F.R. C.P. 12(b)(2)
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                     12    Motion within 21 days of today's date and under the requirement of F.R.C.P.
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'"'>-< ~~            13
o(l~""'"'
                           11(c)(2); specifically, on or before November 12, 2018. In the event Penny has
~~<-2
~{/}~~....,..
               ;;-   14    not agreed to withdraw his 12(b)(2) Motion at that point, my office will file the
  "'""' 0\
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r.:~~ :Uu ;,;        15    instant Motion (or one more thoroughly examining these points, and proceed with
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               c.    16    our request for sanctions.
Z        o-"
~        ::    ~
                     17
::; "'                     C.    RESERVATION OF MORE DETAILED BRIEFING IF "SAFE
         -                       HARBOR" WARNING IS NOT HEEDED.
                     18
                                 The Plaintiff serves the instant "Motion" in order to give proper warning to
                     19
                           Defendant Penny (21 days, in fact) to withdraw his 12(b)(2) Motion. See F.R.C.P.
                     20
                           11(c)(2)("The motion must be served under Rule 5, but it must not be filed or be
                     21
                           presented to the court if the challenged paper, claim, defense, contention, or denial
                     22
                           is withdrawn or appropriately corrected within 21 days after service or within
                     23
                           another time the court sets.") The instant Motion is more than sufficient to apprise
                     24
                           Mr. Penny of the basis for the sanctions sought, and apprises him of the information
                     25
                           underlying such Motion. Matrix IV, Inc. v. American Nat. Bank and Trust Co. of
                     26
                           Chicago (7th Cir. 2011) 649 F.3d 539, 552(" ... we have held that a letter informing
                     27
                           the opposing party of the intent to seek sanctions and the basis for the imposition of
                     28
                                                                                EXHIBIT 2
                                                                    3
                            PLAINTIFF JANE LM DOE'S FEDERAL RULE OF CIVIL PROCEDURE    39
                                         11 MOTION TO DEFENDANT PENNY      EXHIBIT 2
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                   1    sanctions-like the one Gateway sent in this case-is sufficient for Rule 11
                   2    purposes.") As such this notice is sufficient, and the depth of the Motion will likely
                   3    increase, upon public filing, in the event Mr. Penny does not heed this warning.
                   4                                   III.   CONCLUSION
                   5          The Plaintiff respectfully requests that Defendant Penny withdraw his
                   6    Motion made pursuant to Rule 12(b)(2), in order to avail himself of the Safe Harbor
                   7    provision of Rule 11.
                   8
                   9    Dated: October 19, 2018
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                      EXHIBIT 3




                                                             EXHIBIT 2
                                                                  043
                                        Case 5:18-cv-02479-BLF Document 102 Filed 11/21/18 Page 138 of 421



                                    1   JOHN C. MANLY, Esq. (State Bar No. 149080)
                                        VINCE W. FINALDI, Esq. (State Bar No. 238279)
                                    2   ALEX E. CUNNY (State Bar No. 291567)
                                    3   JANE E. REILLEY (State Bar No. 314766)
                                        MANLY, STEWART & FINALDI
                                    4   19100 Von Karman Ave., Suite 800
                                        Irvine, CA 92612
                                    5   Telephone: (949) 252-9990
                                        Fax: (949) 252-9991
                                    6

                                    7   Attorneys of Record for Plaintiff, ALEXANDRA ROSE
                                        RAISMAN, an individual
                                    8

                                    9

                                   10                             UNITED STATES DISTRICT COURT
                                   11              FOR THE NORTHERN DISTRICT OF CALIFORNIA- SAN JOSE
19100 Von Karman Ave., Suite 800
MANLY, STEWART & FINALDI




                                   12
   Telephone: (949) 2 52-9990




                                        ALEXANDRA ROSE RAISMAN, an                    Civil Case No. 5:18-cv-02479-BLF
     Irvine, California 92612
      ATTORNEYS AT LAW




                                   13   individual,
                                                                                      [The Honorable Beth Labson Freeman]
                                   14                Plaintiff,
                                                                                  DECLARATION OF PLAINTIFF
                                   15
                                              v.                                  ALEXANDRA RAISMAN IN SUPPORT
                                   16                                             OF PLAINTIFF’S OPPOSITION TO
                                        UNITED STATES OLYMPIC COMMITTEE, DEFENDANTS STEVE PENNY AND
                                   17   a Business Entity of Form Unknown; USA    UNITED STATES OLYMPIC
                                        GYMNASTICS, an Indiana Business Entity of COMMITTEE’S MOTION TO DISMISS
                                   18   Form Unknown; LARRY NASSAR, an            FOR LACK OF PERSONAL
                                        individual; STEVE PENNY, an individual;   JURISDICTION UNDER FEDERAL
                                   19
                                        PAUL PARRILLA, an individual; and DOES 1 RULE OF CIVIL PROCEDURE 12(B)(2)
                                   20   through 500.
                                                                                  Hon. Judge Beth Labson Freeman
                                   21
                                                                                      [Filed concurrently with Declaration of Alex
                                   22                                                 E. Cunny]
                                   23
                                                                                      Complaint filed: February 28, 2018
                                   24
                                                                                      Hearing: February 7, 2019
                                   25                                                 Time:     9:00 a.m.
                                                                                      Judge:    Honorable Beth Labson Freeman
                                   26                                                 Courtroom: 3
                                   27

                                   28
                                                                                  1
                                         DECLARATION OF ALEXANDRA RAISMAN IN SUPPORT OF OPPOSITIONS TO
                                                      FRCP 12(B) MOTIONS BY USOC AND PENNY
                                        Case 5:18-cv-02479-BLF Document 102 Filed 11/21/18 Page 139 of 421



                                    1                           DECLARATION OF ALEXANDRA RAISMAN

                                    2   I, ALEXANDRA “ALY” RAISMAN, hereby declare:

                                    3          1.      I am the Plaintiff in the action now-pending before the Northern District of

                                    4   California, in and for the San Jose Division, Case Number 5:18-cv-02479-BLF.

                                    5          2.      This Declaration is made in support of Plaintiff’s Opposition to Defendant Stephen

                                    6   “Steve” Penny’s Motion to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(2) and in

                                    7   support of Defendant United States Olympic Committee’s (“USOC”) Motion to Dismiss pursuant

                                    8   to Federal Rule of Civil Procedure 12(b)(2), (6).

                                    9          3.      In 2012, I attended the Olympic Trials for Women’s Gymnastics (“2012 Trials”),

                                   10   which was held in San Jose, California. I competed at this event and earned a spot on the 2012

                                   11   Olympic Team for Women’s Gymnastics, which was subsequently held in London, England.
19100 Von Karman Ave., Suite 800
MANLY, STEWART & FINALDI




                                   12          4.      During the 2012 Olympic Trials, while I was in San Jose, California, Dr. Lawrence
   Telephone: (949) 2 52-9990
     Irvine, California 92612
      ATTORNEYS AT LAW




                                   13   Nassar (“Nassar’) provided treatment to me as a doctor affiliated with USAG and USOC. During

                                   14   these treatments, Nassar sexually abused me by touching, penetrating and fondling my vagina,

                                   15   genital area, and anus with his ungloved hand, for his sexual pleasure.

                                   16          5.      In 2011, when I was in Japan for the 2011 World Championships, I was in a car

                                   17   with the Olympic Team Coach, John Geddert, and my teammate, McKayla Maroney. During the

                                   18   car ride, McKayla began discussing how she felt uncomfortable with how Nassar had touched

                                   19   her, and she stated that Nassar was “fingering” her, meaning placing his fingers into her vagina.

                                   20   McKayla made this statement in front of John Geddert who clearly heard the statement. To my
                                   21   knowledge, no report was made about what McKayla stated in the car that day.

                                   22          I hereby declare under penalty of perjury under the laws of the state of California that the

                                   23   foregoing is true and correct.

                                   24          Executed this November 21, 2018 at Irvine, California.

                                   25                                                By:     _____________________________
                                   26                                                        ALEXANDRA ROSE RAISMAN
                                                                                             Declarant
                                   27

                                   28
                                                                                        2
                                          DECLARATION OF ALEXANDRA RAISMAN IN SUPPORT OF OPPOSITIONS TO
                                                       FRCP 12(B) MOTIONS BY USOC AND PENNY
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Leigh Robie

From:                             Alex Cunny <acunny@manlystewart.com>
Sent:                             Monday, October 22, 2018 1:00 PM
To:                               Leigh Robie
Cc:                               Edith Matthai; Vince Finaldi; John Manly
Subject:                          Re: Stay as to Mr. Penny (Wieber, LM, and Raisman)



No, we don't consent to a stay.

Alex E. Cunny, Esq.
Attorney
Manly, Stewart & Finaldi
19100 Von Karman Ave.
Suite 800
Irvine, CA 92612
p (949) 252-9990
F (949) 252-9991
Dnlvstewart.com



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On Oct 22, 2018, at 12:58 PM, Leigh Robie <LRobie@ro malaw.com > wrote :

        Gentlemen,
        In light of Mr. Penny's arrest and the Texas Indictment, we intend to seek a six-month
        stay of the civil actions (Wieber, LM, and Raisman) as to Mr. Penny in order to protect
        his Fifth Amendment rights . Please advise if you will consent to a stay.

        Best,
        Leigh

        Leigh Robie
        Robie & Matthai
        500 South Grand Ave.
        Suite 1500
        Los Angeles, CA 90071
        213-706-8000
        213-706-9913 (fax)

        WARNING: This e-mail is covered by the Electronic Communications Privacy Act, 18
        U.S.C. 2510-2521 and is legally privileged. It contains information from the law firm of
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        Robie & Matthai, which may be privileged, confidential and exempt from disclosure
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 1                                ELECTRONIC SERVICE LIST

 2 Alexander E. Cunny: acunny@manlystewart.com
 3 Carolyn Kubota:        ckubota@cov.com; rtoombs@cov.com
 4 David M. Jolley:       djolley@cov.com, echiulos@cov.com, eerlich@cov.com
 5 Edith R. Matthai:      ematthai@romalaw.com, mmendoza@romalaw.com
 6
     John Clinton Manly: jmanly@manlystewart.com
 7
     Kevin J. Minnick:    Kevin.Minnick@skadden.com, dlmlclac@skadden.com
 8
     Leigh P. Robie:      lrobie@romalaw.com, mmendoza@romalaw.com
 9
     Margaret M. Holm:    margaret.holm@clydeco.us, krista.gutierrez@clydeco.us,
10                        lorraine.gallo@clydeco.us, melissa.leos@clydeco.us
11 Mark Y. Chen:          mychen@cov.com
12
     Mitchell A. Kamin:   mkamin@cov.com, mitchell-kamin-1218@ecf.pacerpro.com,
13                        tspath@cov.com
14 Paulina Slagter:       pslagter@cov.com
15 Sheryl Rosenberg:      sheryl.rosenberg@clydeco.us
16 Udit Sood:             usood@cov.com
17
     Vince W. Finaldi:    vfinaldi@manlystewart.com
18
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                                                  44                  Civil Case No. 5:18-cv-02479-BLF
     EX PARTE APPLICATION OF SPECIALLY-APPEARING DEFENDANT STEPHEN PENNY;
                            FOR A STAY OF THIS ACTION     EXHIBIT 2
                                                                                        047
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   EXHIBIT “4”
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                                                                Nassar Cases


                  SUPERIOR COURT OF CALIFORNIA
                        COUNTY OF ORANGE

   COORDINATION PROCEEDINGS          ) HON. RANDALL J. SHERMAN
   Special Title (Rule 3.550)        ) DEPT. CX105
                                     ) JCCP NO. 4943
   NASSAR CASES                      )

   ******************************************************

                 UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE

   ALEXANDRIA ROSE RAISMAN, an   )
   individual,                   )
                                 )
                Plaintiff,       )
                                 )
            -v-                  ) CAUSE NO.
                                 ) 5:18-cv-02479-BLF
   UNITED STATES OLYMPIC         )
   COMMITTEE, a Business Entity )
   of form unknown, et al.,      )
                                 )
                Defendants.      )
   ******************************************************
                 UNITED STATES DISTRICT COURT
      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

   JANE PCNE DOE, an            )
   individual; and JOHN PCNE    )
   DOE, an individual,          )
                                )
                Plaintiffs,     )
                                )
            -v-                 ) CAUSE NO.
                                ) 2:18-cv-03464-JLS-KES
   USA GYMNASTICS, a Business   )
   Entity of form unknown, et   )
   al.,                         )
                                )
                Defendants.     )
   ****************************************************


                                                                         1
                          Jilio-Ryan Court Reporters
                     ph. 714.424.9902 info@jilioryan.com
                                                            EXHIBIT 4
                                                                 001
               Case 5:18-cv-02479-BLF Document 102 Filed 11/21/18 Page 146 of 421
                                                                               Johnson, Lee
                                                                               Nassar Cases


10:37:24   1                 MR. JOLLEY:   Objection, vague and ambiguous.
10:37:28   2      Q   So other than the jobs we've just gone through,
10:37:32   3          have you had any other jobs in the field of sports
10:37:37   4          marketing that we haven't discussed yet?
10:37:41   5      A   Minor consulting over the years.
10:37:47   6      Q   For whom?
10:37:49   7      A   University of Kansas.
10:37:53   8      Q   Was that during the time that you were with USAG?
10:37:57   9      A   No, I don't believe so.
10:38:03 10       Q   All right.    So going back to your time at USAG,
10:38:09 11           when you were first hired, who was the individual
10:38:11 12           that hired you?
10:38:14 13       A   Steve Penny.
10:38:15 14       Q   And prior to that, did you know Steve Penny?
10:38:19 15       A   I did not.
10:38:24 16       Q   Had you ever met him before that?
10:38:25 17       A   I had never met him.
10:38:27 18       Q   And during your time as the marketing -- either
10:38:30 19           senior marketing director or -- was it vice
10:38:34 20           president of marketing?
10:38:35 21       A   Yes.
10:38:37 22       Q   Steve Penny oversaw all of your work there?
10:38:39 23       A   Yes.
10:38:41 24       Q   So specifically going to the 2012 Olympic Trials
10:38:48 25           for gymnastics, those were held in San Jose;



                                                                                       28
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                                                                           EXHIBIT 4
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                                                                               Johnson, Lee
                                                                               Nassar Cases


10:38:53   1          correct?
10:38:55   2      A   Yes.
10:38:55   3      Q   And you were responsible for marketing at that
10:38:57   4          event?
10:38:58   5      A   Yes.
10:38:58   6      Q   And did you actually attend that event?
10:39:02   7      A   Yes.
10:39:04   8      Q   Was Steve Penny at that event?
10:39:06   9      A   Yes.
10:39:07 10       Q   And when I say "that event," it's actually a whole
10:39:11 11           weekend long; correct?
10:39:12 12       A   Yes.
10:39:18 13       Q   And are you and the rest of, I'll just term it, the
10:39:20 14           senior management team at that event; in terms of
10:39:23 15           the COO, the CFO, is everybody at the event?
10:39:27 16       A   No.
10:39:29 17       Q   Who are the personnel that are at that event,
10:39:32 18           generally speaking?
10:39:35 19       A   Chief operating officer, chief executive officer,
10:39:41 20           vice president of marketing.      And I don't remember
10:39:52 21           seeing -- it would be my staff that would have been
10:39:58 22           there that I would have seen the most, head of
10:40:01 23           women's program, head of men's program.
10:40:06 24       Q   Leading up to that event, I assume there's quite a
10:40:08 25           bit of preparation that goes into it?



                                                                                       29
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                                                                               Nassar Cases


10:40:10   1      A   Yes.
10:40:11   2      Q   Are you conducting meetings in California for that
10:40:16   3          event in terms of sponsorships, meeting with local
10:40:19   4          agencies, things like that?
10:40:22   5      A   Not exactly.
10:40:24   6      Q   Okay.   What do you mean "not exactly"?        Are
10:40:28   7          these --
10:40:29   8      A   Yes, we would have a meeting or there would be
10:40:31   9          planning meetings.     But it wouldn't be pitching --
10:40:37 10           I wouldn't be pitching local sponsors.
10:40:43 11       Q   Okay.   So when you have these planning meetings,
10:40:45 12           who is in these planning meetings, generally?
10:40:50 13       A   USA Gymnastics staff, building staff, the local
10:40:56 14           sports commission staff.
10:41:02 15       Q   Are these meetings held in California?
10:41:04 16       A   Yes.
10:41:05 17       Q   Do you know approximately how many planning
10:41:07 18           meetings there were prior to the 2012 Trials in San
10:41:10 19           Jose?
10:41:11 20       A   No.
10:41:12 21       Q   Do you have an estimate?      Was it more than five,
10:41:14 22           less than three?
10:41:17 23       A   I can estimate.     More than five, less than ten.
10:41:24 24       Q   And in these meetings, is Steve Penny present?
10:41:29 25       A   At some.



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10:51:37   1          and/or feedback to someone on my staff.
10:51:40   2      Q   When you say "creative," is that a term of art in
10:51:43   3          marketing?
10:51:44   4      A   Yes.
10:51:45   5      Q   What does that mean?
10:51:47   6      A   The actual piece that has been created that would
10:51:52   7          at some point be placed in digital media, in
10:51:56   8          traditional media, printed out as a banner or a
10:52:00   9          flyer.   And that would -- if you use the term
10:52:04 10           creative, it would encompass those things, those
10:52:07 11           elements.
10:52:09 12       Q   So would it be fair to say that for the 2012 Trials
10:52:15 13           for USAG, whenever you wanted to use a USOC
10:52:22 14           insignia, logo, trademark, you had to submit it
10:52:25 15           through that process?
10:52:26 16       A   Yes.
10:52:40 17       Q   The marketing materials that you created or your
10:52:44 18           team created for the 2012 Trials, were those also
10:52:48 19           approved by Steve Penny before they went out?
10:52:50 20       A   Yes.
10:52:51 21       Q   And was there a formal approval process with
10:52:54 22           Mr. Penny; or was it just kind of show it to him,
10:52:58 23           make sure it looks good, and send it out?
10:52:59 24       A   Yes.
10:53:00 25       Q   Yes, as to --



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10:55:47   1      A   Yes.
10:55:49   2      Q   Do you know if -- do you know who that was?
10:55:52   3      A   Yes.
10:55:53   4      Q   Who was it?
10:55:54   5      A   The director of marketing, Justin Hirnisey.
10:56:00   6      Q   And did that have with it a budget as well as an
10:56:05   7          outline of what marketing was going to be
10:56:08   8          happening?
10:56:09   9      A   Yes.
10:56:10 10       Q   Was that approved by Steve Penny?
10:56:11 11       A   Yes.
10:56:11 12       Q   And do you know when that was approved or generally
10:56:18 13           when that was created?
10:56:21 14       A   No.
10:56:22 15       Q   Did you have any oversight over making that plan or
10:56:26 16           critiquing that plan?
10:56:28 17       A   I would have had input.
10:56:34 18       Q   Did that plan have any consideration for the USOC
10:56:41 19           in it to your memory?     Meaning, you know, part of
10:56:45 20           the marketing budget is going to be split with
10:56:50 21           USOC, the materials are going to contain USOC
10:56:53 22           information, anything of that nature?
10:56:56 23                  MR. JOLLEY:   Objection, vague and ambiguous.
10:56:57 24           Objection, document speaks for itself.
10:57:00 25       A   I don't recall.



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11:13:05   1          at 11:13 a.m.
11:13:07   2      BY MR. CUNNY:
11:13:08   3      Q   All right, sir.    You understand you're still under
11:13:11   4          oath?
11:13:12   5      A   Yes.
11:13:13   6      Q   During the 2012 Olympic Trials that were held in
11:13:16   7          San Jose, did you actually attend the events
11:13:19   8          themselves?
11:13:20   9      A   Yes.
11:13:21 10       Q   And was Steve Penny with you at those events?
11:13:29 11       A   Steve Penny attended the event.       I wouldn't say he
11:13:34 12           attended the event with me.
11:13:36 13       Q   Okay.    Was there a box for all of the USAG
11:13:41 14           executives or higher-ups, for lack of a better
11:13:44 15           term?
11:13:44 16       A   No.
11:13:45 17       Q   During those events, what would you be doing?
11:13:48 18       A   I would be hosting corporate partners, sponsors.
11:13:56 19       Q   And during those events, what would Steve Penny be
11:14:00 20           doing?
11:14:01 21       A   Typically he would be sitting on the production
11:14:03 22           table.
11:14:06 23       Q   And explain for me what the production table is.
11:14:10 24       A   It would be the table that returns parallel to the
11:14:14 25           vault runway where various elements of TV



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11:14:20   1          production, various employees may sit.        Special
11:14:30   2          guests may sit on the production table.
11:14:33   3      Q   Is that where Martha Karolyi would sit during those
11:14:39   4          events?
11:14:40   5      A   I believe so, yes.
11:14:41   6      Q   And is that at the actual -- I don't want to call
11:14:47   7          it a playing field -- but is that at the floor
11:14:51   8          height?
11:14:51   9      A   Yes.
11:14:55 10       Q   And are you interacting with Steve Penny at that
11:14:57 11           time in any way saying, oh, I'm talking to this
11:15:01 12           sponsor or I'm doing this?
11:15:04 13       A   Typically, no.
11:15:06 14       Q   Do you know what he's doing at those events, in
11:15:09 15           terms of his job and role?
11:15:11 16       A   No.
11:15:15 17       Q   Was it your understanding that Steve Penny was
11:15:18 18           overseeing Kathy Kelly at that point?
11:15:25 19       A   That would be my understanding.
11:15:26 20       Q   And do you know who Kathy Kelly is?
11:15:28 21       A   Yes.
11:15:30 22       Q   What was her job title in 2012 at the Trials --
11:15:34 23           during the time of the Trials, I should say?
11:15:45 24       A   I believe vice president of women's program.
11:15:49 25       Q   So I assume Steve Penny, at that point, had a whole



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11:15:56   1          host of job duties that he was performing at that
11:16:02   2          event?
11:16:02   3      A   I would guess, yes.
11:16:05   4      Q   Was Steve Penny interacting with any of the
11:16:08   5          gymnasts at that event, to your knowledge?
11:16:13   6      A   Not to my knowledge.
11:16:14   7      Q   Was he doing press at that event, meaning, was he
11:16:19   8          giving on-camera interviews?
11:16:23   9      A   I don't recall seeing him do interviews.
11:16:28 10       Q   Would it be common for Steve Penny, during events
11:16:32 11           such as the Olympic Trials, U.S. Nationals, the
11:16:36 12           Secret Classic, to give on-camera interviews?
11:16:40 13       A   Yes.
11:16:41 14                  MS. ROBIE:   Objection, beyond the scope of the
11:16:43 15           jurisdiction in the case in which Steve Penny is
11:16:47 16           involved.
11:17:10 17       Q   So during the 2012 Olympic Trials, Martha's sitting
11:17:15 18           at that production table; correct?
11:17:18 19       A   To the best of my recollection, yes.
11:17:19 20       Q   Okay.    And what's your understanding --
11:17:20 21                  MR. PFEIFFER:   And I would object just that
11:17:21 22           it's beyond the scope of the cases she's involved,
11:17:24 23           just to put that on the record.
11:17:26 24       Q   And what is she doing at that time, based on your
11:17:29 25           understanding?



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                   SUPERIOR COURT OF CALIFORNIA
                          COUNTY OF ORANGE


   Coordination Proceeding         )Hon. RANDALL J. SHERMAN
   Special Title (Rule 3.550)      )DEPT. CX105
                                   )JCCP NO. 4943
                                   )
   NASSAR CASES                    )
                                   )
   ________________________________)




   _______________________________________________________


         DEPOSITION UPON ORAL EXAMINATION BEFORE TRIAL
                                OF
                         KATHY SCANLAN
   _________________________________________________________

                             2:12 P.M.
                          August 6, 2018
                  1700 Seventh Avenue, Suite 2100
                        Seattle, Washington




    Deanna M. Ellis, CCR No. 2511



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1       If you think I'm violating the Court's order -- you've
2       already proved you know where the judge is -- go deal
3       with it, okay?
4             Q.    All right.     So you hired Mr. Agnew because you
5       believed there was a problem with abuse at USA
6       Gymnastics, correct?
7             A.    Yes.
8             Q.    All right.     And that became apparent to you
9       immediately -- almost immediately upon you taking over,
10      correct?
11            A.    No.
12                          MS. KUBOTA:    Objection; misstates
13      testimony.
14            A.    It -- no.     It became --
15                          THE WITNESS:     Am I answering?
16                          MR. BRUBAKER:     Yes.
17            Q.    Sure.
18            A.    You asked -- the original question was when
19      did I become aware there was abuse?          And that was upon
20      my immediate hiring.       The fact that we -- the extent of
21      the problem didn't become clear to me until probably
22      into 1995, when I'd been there six to eight months.
23            Q.    Okay.    And when you became aware of it, what
24      did you do to address it?
25                          MR. BRUBAKER:     That's where I think for



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1             Q.    -- in charge --
2             A.    -- Kelly or Ron Galimore.
3             Q.    So when you -- when you left USA Gymnastics,
4       at national and international events who was in charge
5       of the safety of the female gymnasts, both at the event
6       and at their place where they were staying?
7             A.    Well, in some cases I can tell you that
8       ultimately I was.      And I recall this particularly at the
9       Junior Pan American Games in -- wherever we were --
10      Venezuela, I think, or perhaps this was the event in
11      Columbia.
12            At any rate, we were somewhere in South America,
13      and we had a minor, she was a minor member -- a minor,
14      she was under 18, and she wanted to stay at an event and
15      come home later with somebody, a man.          And so I
16      exercised my authority as president to say, no, you're
17      not, essentially, young lady.
18            Q.    Wait.    She wanted to come home with a man?
19            A.    (Shakes head up and down.)
20            Q.    Okay.
21            A.    Yeah.    We're like, no.     You're coming with the
22      team right now.
23            Q.    And why did you do that?
24            A.    Well, because, of course, it was unsafe, I
25      mean, potentially.



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1             So in some cases, even as president, I would.          But
2       if you're asking the question in terms of a more typical
3       safety question --
4             Q.    Yeah.    Let me just be clear.       I know
5       ultimately -- and I appreciate you saying that -- I
6       guess, you're in charge, okay?         I think you've made that
7       clear, and I appreciate that.
8             My question's a little different:          From a practical
9       level, who was in charge of just making sure that the
10      conditions were safe at the event and the conditions
11      were safe where they stayed?         Who would --
12            A.    The program director, Kathy --
13            Q.    So that --
14            A.    -- Kelly, Ron Galimore.
15            Q.    Now, in terms of income from California --
16      well, let me ask it a different way.
17            What is the -- did California have the most members
18      of USA Gymnastics when you were there?
19            A.    I don't know.
20            Q.    Okay.    Do you remember the state where you had
21      the most members?
22            A.    No.
23            Q.    Okay.    It's been a while, right?
24            A.    (Shakes head up and down.)
25            Q.    All right.



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1                           MR. MANLY:    This is the most ridiculous
2       set of objections I've ever heard, and you're just
3       trying to interrupt my questioning.          You better stop.
4                           MS. KUBOTA:    I beg to differ.
5                           MR. MANLY:    Okay.
6                           MS. KUBOTA:    If you say "most" of them,
7       if you don't think that's vague, then we have a
8       disagreement.
9             Q.    All right.     Were most of the -- the members of
10      USA Gymnastics under 18?
11            A.    The athlete members?
12            Q.    Yes.
13                          MS. KUBOTA:    Same objection.
14            A.    On the woman's side, yes.
15            Q.    Okay.
16            A.    On the men's side, I would think the answer
17      would be yes.
18            Q.    Okay.
19            A.    Um-hum.
20            Q.    And you understood as the president that part
21      of your job was to keep them safe, whatever state they
22      were in, including California, correct?
23                          MS. KUBOTA:    Objection; beyond --
24                          MR. BRUBAKER:     I'm concerned --
25                          MS. KUBOTA:    -- the scope.



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1                           MR. BRUBAKER:     -- about the scope of the
2       inquiry.
3             Q.    Go ahead.
4             A.    Yes.
5             Q.    Okay.    And when you became aware, as you've
6       testified, that there was a problem with sexual abuse at
7       USA Gymnastics, other than sending out a couple of
8       articles and changing the ethics code, did you do
9       anything California-focused to try and keep kids safe
10      from that?
11                          MS. KUBOTA:    Objection; beyond the
12      scope, compound, argumentative.
13            A.    No.
14            Q.    Okay.    Did you do anything on a national basis
15      that would have implicated California, other than what I
16      mentioned, to keep children safe?
17                          MR. BRUBAKER:     Other -- and other than
18      what's been testified to in the articles?
19                          MR. MANLY:    Correct.
20                          MS. KUBOTA:    Same objections.
21                          MR. PFEIFFER:     Join.
22            A.    Well, what we did to keep people safe was to
23      publish in USA Gymnastics magazine, which did go to
24      parents, our list of terminated members, as well as in
25      Technique.    In addition, I wrote the articles that I've



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1       questions.    Thank you so much.
2                           MS. KUBOTA:    I have some questions.
3                                CROSS-EXAMINATION
4       BY MS. KUBOTA:
5              Q.   Ms. Scanlan, I introduced myself at the
6       beginning of this deposition, but that was a while ago.
7       My name's Carolyn Kubota, and I represent the US Olympic
8       Committee.    So I just had a few follow ups on some of
9       your testimony.
10             You testified about a dispute between USA
11      Gymnastics and the US Olympic Committee about the
12      circumstances under which you were allowed to discipline
13      a coach; do you remember that?
14             A.   A professional member?
15             Q.   A professional member.
16             A.   Yes.
17             Q.   Okay.    So did you -- is it your recollection
18      that that had to do with compliance with the Ted Stevens
19      Act?
20             A.   I don't know why they objected.         I -- I don't
21      recall.
22             Q.   Okay.    And do you -- you don't remember anyone
23      from the US Olympic Committee saying that it was their
24      understanding of the Ted Stevens Act that it had to be
25      done -- discipline had to be done a certain way?



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1             A.    Not that I remember.
2             Q.    Were you the person who was principally
3       handling that issue for USA Gymnastics?
4             A.    Yes.
5             Q.    Okay.    All right.    And do you remember, were
6       there letters exchanged back and forth?
7             A.    I don't remember that.
8             Q.    Okay.    All right.
9             Now, you also testified about Larry Nassar's
10      involvement in I believe it was the 1996 Olympic Games;
11      is that right?
12            A.    Yes.
13            Q.    And I may have misunderstood you, but did you
14      say that the US Olympic Committee first -- was the first
15      or sort of led to the first introduction of Larry Nassar
16      to USA Gymnastics?
17            A.    To the best of my knowledge.
18            Q.    Okay.    Do you know whether Larry Nassar had
19      involvement as far back as '86 and '87 --
20            A.    And the --
21            Q.    -- with USA Gymnastics?
22            A.    Not -- not that I'm aware of --
23            Q.    Okay.
24            A.    -- no.
25            Q.    So what you're saying, then, is to your



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               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  IN AND FOR THE COUNTY OF LOS ANGELES
                                  --o0o--

     JANE LM DOE, an individual,      )
                                      )
              Plaintiff,              )
                                      )
          v.                          ) CASE NO. BC638724
                                      )
     DR. LARRY NASSAR, an individual, )
     et al.,                          )
                                      )
              Defendants.             )
     _________________________________)



                         Videotaped Deposition of
                              ROBERT COLAROSSI
                                 VOLUME II
                         Monday, August 28, 2017




           Reported by Christine Vandermeer, CSR No. 11110



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                                                                     Doe v. Nassar


1                                    APPEARANCES:
2
3         Appearing for the Plaintiff:
4                   Manly, Stewart & Finaldi
                    BY: JOHN C. MANLY and VINCE W. FINALDI
5                        Attorney At Law
                         19100 Von Karman Avenue, Suite 800
6                        Irvine, California 92612
                         (949) 252-9990
7
8         Appearing for Defendants All Olympia Gymnastics Center,
          Inc., Galina Marinova, and Artur Akopyan:
9
                    Michelman & Robinson, LLP
10                  BY: CRYSTAL FRYMAN (appearing telephonically)
                         Attorney At Law
11                       10880 Wilshire Boulevard, 19th Floor
                         Los Angeles, California 90024
12                       (310) 564-2670
13
          Appearing for Defendants USA Gymnastics, Robert Colarossi,
14        and Kathy Scanlan:
15                  Sedgwick
                    BY: ALISON BEANUM (appearing telephonically)
16                       Attorney At Law
                         2020 Main Street, Suite 1100
17                       Irvine, California 92614
                         (949) 852-8200
18
19        Appearing for Defendants USA Gymnastics and Robert
          Colarossi:
20
                    White & Amundson
21                  BY: DANIEL M. WHITE
                         Attorney At Law
22                       402 W. Broadway, Suite 1140
                         San Diego, California 92101
23                       (619) 239-0300
24
25



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1                             APPEARANCES (Continued):
2
3         Specially Appearing for Defendant Steve Penny:
4                   Robie & Matthai
                    BY: LEIGH P. ROBIE (appearing telephonically)
5                        Attorney At Law
                         500 South Grand Avenue, 15th Floor
6                        Los Angeles, California 90071
                         (213) 706-8000
7
8         Also Present:
9                   MATT MILLER, VIDEOGRAPHER
10
11
12
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10:33:47   1        against coaches or professional members or staff?
10:33:50   2            A     Not if it was investigated and found -- and found
10:34:02   3        that something had happened.         We actually published our
10:34:05   4        terminated members list.
10:34:08   5            Q     Okay.    So now, you said -- you've said -- you used
10:34:20   6        the term "corroborated" or in terms like that about
10:34:24   7        allegations.
10:34:26   8                  Can you give me an example of something you
10:34:29   9        recall, without naming names, that was corroborated?
10:34:32 10             A     Yeah.    There was a particular case of -- I believe
10:34:38 11         it was in Texas.       There was a coach who was accused of
10:34:44 12         sexually molesting some of his athletes, and the girls got
10:34:52 13         together and signed a complaint and sent it in to the
10:34:52 14         office, and it was investigated, it was adjudicated, and
10:34:56 15         he was terminated.
10:34:57 16             Q     So unless a child signed a complaint, unless a
10:35:05 17         minor signed a complaint, USAG would not report it nor
10:35:09 18         investigate it; is that correct?
10:35:10 19                   MR. WHITE:     Objection; lack of foundation, it was
10:35:14 20         -- excuse me, it misstates the witness's --
10:35:14 21                   MR. MANLY:     Well, please correct me if I'm wrong.
10:35:16 22                   MR. WHITE:     Well, John, let me finish my
10:35:18 23         objection.
10:35:18 24                   MR. MANLY:     Sorry.    I thought you were done.
10:35:21 25                   MR. WHITE:     No.   That's fine.     I hesitated.      Lack



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11:11:46   1            Q     All right.
11:11:46   2            A     It just wasn't prevalent.
           3            Q     Okay.
11:11:48   4            A     And the majority of the time when we had -- when
11:11:51   5        we were made aware of an issue, it was not us reporting to
11:11:55   6        law enforcement, it was law enforcement reporting to us.
11:11:58   7            Q     So you didn't think this was a -- I'm not saying
11:12:03   8        you didn't think it was important, but you didn't think it
11:12:06   9        was that big of an issue in the sport, correct?
11:12:09 10                   MR. WHITE:     Objection; misstates the witness's
11:12:10 11         testimony, it's argumentative as phrased.
11:12:12 12                   Go ahead.
11:12:13 13                   THE WITNESS:     I think it's horrible if one person
11:12:15 14         is abused.    I think it's -- it's absolutely horrible.              And
11:12:23 15         but what I'm -- what I'm saying is that it wasn't
11:12:26 16         prevalent enough that it was happening, you know,
11:12:33 17         frequently when I was -- when I was in charge.             We just
11:12:36 18         didn't get that many complaints that came out of the
11:12:39 19         general public or out of the professional ranks.
11:12:42 20         BY MR. MANLY:
11:12:42 21             Q     Okay.    If that's true, why did you write the
11:12:49 22         letter to the USOC about it?
11:12:52 23             A     That's a different question.
11:12:57 24             Q     Well, I know that.       That's why I asked it.
11:12:59 25             A     Yeah.    That's a different question.         We wrote the



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11:13:01   1        letter to the USOC because we wanted -- we wanted to be
11:13:09   2        able to suspend a membership without a hearing, and that
11:13:15   3        was our policy at that time, until we could fully
11:13:22   4        investigate and decide if this member's conduct was such
11:13:27   5        that he needed to -- he or she needed to be terminated as
11:13:31   6        a member of USA Gymnastics.         And the membership and
11:13:35   7        credentials committee told us that we couldn't do that
11:13:39   8        because of the Ted Stevens Amateur Sports Act.
11:13:43   9            Q     Okay.    And you sent an e-mail to the president of
11:13:47 10         the USOC, right?
11:13:47 11             A     A letter.
11:13:48 12             Q     A letter.     And you included Scott Blackman,
11:13:50 13         correct?
11:13:51 14             A     Um-hmm.
11:13:52 15             Q     Yes?
11:13:52 16             A     Yes.
11:13:52 17             Q     Did you talk to Mr. Blackman about this issue?
11:13:54 18             A     I did.
11:13:56 19             Q     Okay.    And you're friends, right?
11:14:00 20             A     I haven't seen Scott in a long time, but.
11:14:04 21             Q     Well, you were friends?
11:14:04 22             A     Yeah, we were, of sorts.
11:14:06 23             Q     And he -- well, are you not friends anymore?
11:14:09 24             A     No.    I worked for Scott.
11:14:10 25             Q     I understand.



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11:14:11   1            A     Yeah.
11:14:11   2            Q     You were colleagues.
           3            A     Yeah, we were colleagues.
11:14:13   4            Q     Let me put it that way.        Okay.
11:14:15   5                  And he thought enough of you he offered you a job,
11:14:18   6        which is why you left USA Gymnastics, right?
11:14:21   7            A     That's correct.
11:14:21   8            Q     Okay.    So when you talked to him about it, you
11:14:22   9        know, did you say, listen, this is a big deal, we need to
11:14:24 10         deal with this?
11:14:24 11             A     So the first time I spoke to Scott about this was
11:14:29 12         actually onsite in Colorado Springs.           And we had sent the
11:14:36 13         letter that we sent to Dick Schultz and Bill Hybl.              And --
11:14:42 14         and Bill said -- he pulled me aside and said, "Membership
11:14:47 15         and credentials are going to make a motion tomorrow to
11:14:50 16         decertify USA Gymnastics."         And I said to Bill, "If you
11:14:56 17         want to have a conversation about being -- you know, about
11:15:01 18         not letting us enforce what we think is a really important
11:15:06 19         thing to be able to protect our athletes, and you want to
11:15:09 20         have that conversation in front of God, country, and the
11:15:13 21         national media, I'll see you tomorrow morning."             And Bill
11:15:15 22         turned to Scott Blackman and said, "Scott, you need to get
11:15:21 23         this resolved tonight so that membership and credentials
11:15:26 24         will withdraw their motion to decertify us."
11:15:30 25             Q     So who at membership and credentials was driving



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11:51:56   1            Q     Okay.    But if there were, would it be reason -- if
11:51:58   2        there were such an unsafe situation and USA Gymnastics
11:52:01   3        became aware of that, you would expect -- it would not be
11:52:06   4        unreasonable in your view for a parent to expect that you
11:52:09   5        would notify them of that, correct?
11:52:13   6            A     That's correct.
11:52:14   7            Q     Okay.    All right.    Now, Larry Nassar was licensed
11:52:18   8        to practice medicine -- practice osteopathic medicine
11:52:23   9        where?
11:52:23 10             A     I believe in Michigan, but I'm not sure.
11:52:26 11             Q     Okay.    So he was routinely at the camps?
11:52:33 12             A     I don't recall.
11:52:35 13             Q     Okay.    Well, let me just represent to you that my
11:52:39 14         clients will testify that he was -- they -- they recall
11:52:42 15         him being at every camp, okay?
11:52:45 16             A     Okay.
11:52:47 17             Q     If that's so, let's assume for purposes that it --
11:52:49 18         that it -- that is, those camps from '99 on were to -- all
11:52:52 19         occurred in Texas, right?
11:52:54 20             A     That's correct.
11:52:57 21             Q     Okay.    So to your knowledge, did Larry Nassar have
11:52:59 22         a license to practice osteopathic medicine or a license of
11:53:05 23         any type to practice medicine in Texas?
11:53:06 24                   MR. WHITE:     Objection; lack of foundation, calls
11:53:08 25         for speculation, it's also irrelevant for the purposes of



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           SUPERIOR COURT OF THE STATE OF CALIFORNIA
               IN AND FOR THE COUNTY OF LOS ANGELES


   JANE LM DOE, an individual,       ) CASE NO.:BC638724
                                     )
                 Plaintiff,          )
                                     )
              v.                     )
                                     )
   DR. LARRY NASSAR, an individual, )
   et al.,                           )
                                     )
                 Defendants.         )
   __________________________________)




                      VIDEOTAPED DEPOSITION OF
                             STEVE PENNY
                               VOLUME I
                        MONDAY, JUNE 5, 2017
                              10:05 A.M.




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1               SUPERIOR COURT OF THE STATE OF CALIFORNIA
2                   IN AND FOR THE COUNTY OF LOS ANGELES
3
4       JANE LM DOE, an individual,       ) CASE NO.:BC638724
                                          )
5                     Plaintiff,          )
                                          )
6                  v.                     )
                                          )
7       DR. LARRY NASSAR, an individual, )
        et al.,                           )
8                                         )
                      Defendants.         )
9       __________________________________)
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21            The deposition of STEVE PENNY, taken on behalf of
22      the Plaintiffs, before Louann Thibert, CSR No. 8152 for
23      the State of California, at 10:05 a.m., on Monday, June
24      5, 2017 at Manly, Stewart & Finaldi, 19100 Von Karman,
25      Suite 800, Irvine, California.



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                                                                                Doe v. Nassar


02:55:45   1       while I was CEO or while I was at USA Gymnastics.
           2             Q     Okay.    How about before; do you know?
           3             A     I don't know.
           4             Q     What's the next competition that's held
02:55:58   5       annually?
           6             A     The next big event?
           7             Q     Yes.
           8             A     The next big event would be the national
           9       championships.
02:56:03 10              Q     Okay.    And that has been held in California,
           11      correct?
           12            A     Yes, it has.
           13            Q     And it's going to be held here this year,
           14      correct?
02:56:09 15              A     That's correct.
           16            Q     In Anaheim?
           17            A     That's correct.
           18            Q     All right.     And at the Honda Center, right?
           19            A     That's correct.
02:56:15 20              Q     And has it been held at other locations in
           21      California besides Anaheim?
           22            A     Yes, it has.
           23            Q     Where else?
           24            A     It was held in San Jose in 2007.
02:56:33 25              Q     Okay.    Have you ever heard San Jose called



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02:56:36   1       Gymnastics City USA?
           2             A     Yes, I have.
           3             Q     Why is it called that?
           4             A     It was a branding term that the city created to
02:56:48   5       demonstrate its commitment to hosting the Olympic trials.
           6             Q     Well, it's hosted the national champions -- the
           7       Olympic national championships, the Olympic trials and
           8       what else?
           9             A     It hosted the Pacific Alliance Gymnastics
02:57:06 10        Championships in 2008.
           11            Q     Okay.    All right.    What's the next event after
           12      the national championship?
           13            A     That USA Gymnastics hosts?
           14            Q     Of the year.     Where the national team would go
02:57:27 15        and compete, either domestically or internationally?
           16            A     It would be the world championships.
           17            Q     Okay.    Is that held annually?
           18            A     Yes, it is.
           19            Q     Okay.    And have the world championships ever
02:57:40 20        been held in California?
           21            A     Yes, they have.
           22            Q     In Anaheim in 2004, right -- or '3?
           23            A     2003, that's correct.
           24            Q     Did you attend that?
02:57:57 25              A     Yes.



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04:20:35   1       the question.
           2                    THE WITNESS:     I believe we had a responsibility
           3       to do our best to protect the athlete in that
           4       environment, yes.
04:21:03   5       BY MR. MANLY:
           6             Q      Okay.    You thought about that answer a long
           7       time.     Was there something that was confusing you?
           8                    MS. MATTHAI:     I'm going to object to that as
           9       argumentative.
04:21:14 10                     MR. MANLY:     I'm not trying to be argumentative.
           11      I'm just curious.
           12                   THE WITNESS:     No.
           13      BY MR. MANLY:
           14            Q      Okay.    So -- and you would agree it would not
04:21:23 15        be unreasonable for Jamie's mom and dad to expect that,
           16      for example, you weren't going to permit somebody to be
           17      in their -- a man to be in their daughter's room with
           18      them with her alone or with another little girl, correct?
           19                   MS. MATTHAI:     Vague, ambiguous, argumentative.
04:21:42 20                     THE WITNESS:     Could I ask you to be more
           21      specific about the question and the use of the word
           22      "you"?     You --
           23      BY MR. MANLY:
           24            Q      Okay.    Let me rephrase it.
04:21:52 25              A      Please.    Thank you.



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           SUPERIOR COURT OF THE STATE OF CALIFORNIA
               IN AND FOR THE COUNTY OF LOS ANGELES


   JANE LM DOE, an individual,       ) CASE NO.:BC638724
                                     )
                 Plaintiff,          )
                                     )
              v.                     )
                                     )
   DR. LARRY NASSAR, an individual, )
   et al.,                           )
                                     )
                 Defendants.         )
   __________________________________)




                      VIDEOTAPED DEPOSITION OF
                             PAUL PARILLA
                               VOLUME II
                    FRIDAY, SEPTEMBER 15, 2017
                               8:47 A.M.




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2                   IN AND FOR THE COUNTY OF LOS ANGELES
3
4       JANE LM DOE, an individual,       ) CASE NO.:BC638724
                                          )
5                     Plaintiff,          )
                                          )
6                  v.                     )
                                          )
7       DR. LARRY NASSAR, an individual, )
        et al.,                           )
8                                         )
                      Defendants.         )
9       __________________________________)
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21            The deposition of PAUL PARILLA, taken on behalf of
22      the Plaintiff, before Louann Thibert, CSR No. 8152 for
23      the State of California, at 8:47 a.m., on Friday,
24      September 15, 2017 at Manly, Stewart & Finaldi, 19100 Von
25      Karman, Suite 800, Irvine, California.



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01:57:47   1       not just with him but with -- with other references to
           2       it.   So that -- and, of course, that's the information
           3       that -- that I was given that he had shipped this
           4       material to our lawyer Scott Himsel and it's my
01:58:04   5       understanding he got that material just a number of days
           6       before we went to the FBI on July 28th.
           7             Q     Okay.    Well, how did you -- how did Steve Penny
           8       describe that video to the FBI, if at all?
           9                   MR. WHITE:     Objection; lack of foundation,
01:58:19 10        speculation.
           11                  THE WITNESS:     I don't recall him actually --
           12                  MR. WHITE:     Assuming facts not in evidence.             Go
           13      ahead.
           14                  THE WITNESS:     I don't recall him actually
01:58:26 15        describing the video.       There were a number of things.
           16      Some of them were kind of on irrelevant materials.                I
           17      think he gave -- you know, there were like 10 or 11
           18      things that were transmitted to Scott Himsel and which I
           19      ended up putting on the hard drive to give to the FBI in
01:58:48 20        Los Angeles.    But Steve Penny and Scott Himsel had given
           21      the information to the FBI in Indianapolis.               I didn't do
           22      that.
           23      BY MR. MANLY:
           24            Q     Okay.    And did anybody after that report ever
01:59:03 25        follow up with the Indiana office of the FBI?



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01:59:08   1             A     I was -- Mr. Penny told me on several occasions
           2       that he attempted and did follow up.
           3             Q     With whom?
           4             A     With --
01:59:18   5             Q     Jay Abbott?
           6             A     With Jay Abbott.
           7             Q     Did anybody -- Mr. Abbott ever tell you or Mr.
           8       Penny in your presence that you were not to tell anybody
           9       about this?
01:59:30 10              A     I heard Mr. Abbott say several times during the
           11      course of the July 28th meeting that they did not want
           12      USA Gymnastics or any of its personnel to take any action
           13      that would interfere with their investigation that they
           14      were going to launch based upon our report.
01:59:50 15              Q     Okay.    Did you tell them that he was still
           16      treating USAG members at Michigan State and at Twistars?
           17            A     We told the FBI.      I wasn't aware at the time
           18      that he treated or even worked at Twistars.               It was just
           19      totally unknown to me.       What we told the FBI that -- that
02:00:18 20        he had -- after we received the -- the June 2015 inquiry
           21      about an athlete's concern between then and July 28th,
           22      that Dr. Nassar had not performed any services for USA
           23      Gymnastics.
           24                  We -- we -- he was going to attend the Secret
02:00:40 25        Classic meet in Chicago as a spectator, not as a -- as a



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02:00:44   1       medical personnel and we asked him not to even do that
           2       and he said -- he complied and didn't go.         And then he
           3       was supposed to work as a medical provider at the
           4       championships and we told him he was not to do that and
02:00:59   5       he complied.    Then, within days or right after we met
           6       with the FBI, we told him that he was not going to
           7       receive any further assignments from USA Gymnastics.
           8             Q     Why did you tell him that?
           9             A     Because he had been wanting to know what the
02:01:16 10        future was going to be with respect to him because
           11      remember, we had asked him not to go to the Secret and
           12      then we asked him not to go to the championships and, you
           13      know, it was kind of like one assignment at a time.             And
           14      then we told him, no, you're not going to be doing
02:01:34 15        anything further for us.
           16            Q     So did you tell him why?
           17            A     I didn't.   I had no communications with him.
           18      This was all being handled by Steve Penny and Scott
           19      Himsel, so I don't know what they told him.
02:01:47 20              Q     So what is your understanding of the reason he
           21      was no longer going to get assignments from USA
           22      Gymnastics?
           23            A     Because he was under -- going to be under
           24      investigation by the FBI.
02:02:00 25              Q     For what?



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                         CERTIFICATION

                                  OF

                CERTIFIED SHORTHAND REPORTER




             The undersigned certified shorthand reporter

of the state of California does hereby certify:

             That the foregoing deposition was taken before

me at the time and place therein set forth, at which

time the witness was duly sworn by me;

            That the testimony of the witness and all

objections made at the time of the deposition were

recorded stenographically by me and thereafter

transcribed, said transcript being a true copy of my

shorthand notes thereof.

            In witness whereof, I have subscribed my name

this date          SEP 2 8 2017




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   EXHIBIT “9”
11/20/2018                                 USA Gymnastics
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                                                                 102 IMPD    detective’s
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         As evidence mounted, IMPD child abuse investigator
         defended USA Gymnastics
             Marisa Kwiatkowski,Tim Evans and Tony Cook, Indianapolis Star   Published 6:00 a.m. ET Nov. 11, 2018 | Updated 1:29 p.m. ET Nov. 11, 2018



                                                Indianapolis police are investigating the conduct of a detective who worked behind the scenes to defend USA
                                                Gymnastics while it was in the midst of a broadening child sexual abuse scandal.


                                                He was not just any detective.

                                                Bruce Smith was supervisor of the Indianapolis Metropolitan Police Department’s Child Abuse Unit at the time.
                                                He also is a friend of then-USA Gymnastics President and CEO Steve Penny.

                                                Emails, texts and other communications obtained by IndyStar reveal Smith collaborated with Penny to deflect
                                                criticism of USA Gymnastics in 2016 and 2017 — as a growing number of survivors claimed the national
             Buy Photo                          governing body failed to protect them from child sexual abuse.

             (Photo: Vic Ryckaert/IndyStar)     USA Gymnastics probe: ‘Missing’ records may have been found in Indianapolis
                                                (/story/news/investigations/2018/11/08/usa-gymnastics-larry-nassar-sexual-abuse-scandal-steve-penny-
 missing-records-maybe-found/1932219002/)
 A blind eye to sex abuse: How USA Gymnastics failed to report cases (/story/news/investigations/2016/08/04/usa-gymnastics-sex-abuse-protected-
 coaches/85829732/)

 Even after Smith disclosed the friendship as a conflict of interest in 2015 and recused himself from investigating USA Gymnastics, he tried to influence
 the public’s understanding of the situation, pushing his version of the story to reporters. He went as far as writing a press release defending USA
 Gymnastics — even sending draft language to Penny prior to forwarding it to officials at IMPD and the prosecutor’s office.


 He told a reporter that IndyStar was "barking up the wrong tree" as it was preparing to write about Penny’s four-year delay
 (/story/news/investigations/2016/08/04/usa-gymnastics-sex-abuse-protected-coaches/85829732/) in reporting sexual abuse allegations against
 Indianapolis coach Marvin Sharp. In those unsolicited text messages, Smith dismissed the paper’s source as "disgruntled."


 Smith also assisted a Virginia lawyer USA Gymnastics had hired "to help combat some of the unfair and negative media that the organization has been
 getting."


 Smith denies any wrongdoing.


 And IMPD officials didn’t rein Smith in. Instead, the department and the Marion County prosecutor's office sometimes turned to him on questions related
 to USA Gymnastics and allowed him to communicate directly with Penny on IMPD's behalf. Other times, Smith inserted himself into the conversation.
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                                                                                                                                              EXHIBIT 9
https://www.indystar.com/story/news/2018/11/11/usa-gymnastics-larry-nassar-sexual-abuse-scandal-impd-detective-bruce-smith-conduct-under-review…            1/7
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  Police and         local
             prosecutors insistjournalism       today
                                Smith's actions did not influence their decision not to investigate or prosecute USA Gymnastics officials. But lawyers
 representing abuse survivors suing USA Gymnastics aren't buying it. They are critical of what they see as Indianapolis law enforcement’s lack of interest
         99¢ per month. Save 90%.
 in holding gymnastics officials accountable.

         (https://subscribe.indystar.com/?
              Subscribe
 Law enforcement           Now
                    officials                                  (/)
                              in Michigan and Texas were more aggressive  in seeking information about individual and institutional failures that may have led
         gps-
         source=CPCAMBARD&utm_campaign=2018THANKS&utm_content=freearticlesleft&utm_medium=ONSITE&utm_source=CPCAMBARD&o
 to widespread abuse problems in gymnastics. But officials in Indianapolis — the city that calls itself the amateur sports capital of the world —
         gymnastics-larry-
 acknowledged    they did not so much as visit USA Gymnastics’ downtown headquarters to investigate the organization’s sexual abuse reporting practices.
         nassar-sexual-abuse-
 No search  warrants
         scandal-impd- were sought. No questions asked.
         detective-bruce-
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 Even after it was publicly revealed that USA Gymnastics had quietly reviewed allegations against former team doctor Larry Nassar for five weeks before
         review%2F1693853002%2F)
 reporting him to the FBI, IMPD did not investigate the national governing body.


 When confronted with details of Smith's interactions, Police Chief Bryan Roach directed Internal Affairs to investigate Smith "to ensure the department's
 standard of conduct was followed as it relates to protecting and serving the people of Indianapolis." IMPD also noted the press release drafted by Smith
 defending USA Gymnastics was never issued.


 Roach declined an interview for this story, and provided a statement: "We take all allegations of misconduct seriously and will immediately begin an
 internal review of this information."
                                                                                                                                            Buy Photo




           IMPD Chief of Police Bryan Roach has ordered a review of Lt. Bruce Smith's conduct. (Photo: Matt Kryger/IndyStar)




 Smith said he welcomes the investigation. He said he has an exemplary record (https://www.documentcloud.org/documents/5031664-Bruce-Smith-
 personnel-file.html) with IMPD. He said he recused himself from investigating or discussing whether USA Gymnastics violated the law in 2011 by not
 reporting a complaint against Sharp. Smith said his support for USA Gymnastics was limited to its handling of Sharp, who was arrested for sexual
 misconduct in 2015 after a second complaint emerged, and killed himself in jail (/story/news/crime/2015/12/21/indianapolis-gymnastics-coach-marvin-
 sharpe-died-suffocation/77691840/).


 "I stand by how I conducted myself during these events and so do my supervisors," Smith said in response to IndyStar questions.

 But involvement by an officer who has recused himself due to a conflict of interest is "highly unusual" and ill-advised, according to Tom Tremblay, a former
 police chief who trains and advises police, prosecutors and others on issues related to sexual violence.


 "Once he’s recused himself from this," Tremblay said, "there is absolutely no way that as a police leader I would want him commenting on this in any way,
 shape or form."


         Marvin Sharp 'has a problem'

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https://www.indystar.com/story/news/2018/11/11/usa-gymnastics-larry-nassar-sexual-abuse-scandal-impd-detective-bruce-smith-conduct-under-review…         2/7
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  Police and prosecutors in Indianapolis had an opportunity to look into USA Gymnastics' handling of sexual abuse complaints in August 2015. That’s when
 Penny reported an abuse allegation against Sharp directly to his friend Smith — and revealed he had not reported another allegation against Sharp four
 years earlier.

 Penny and Smith knew each other through their daughters, who attended school together and were on the same gymnastics team.


 Days later, IMPD arrested Sharp. The coach faced charges of sexual misconduct with a minor and possessing child pornography. He was accused of
 touching a gymnast’s vagina and taking sexually explicit pictures of her beginning when she was 12 years old, police records show.

 During the investigation of the 2015 case, Smith said detectives asked if USA Gymnastics had received any other complaints about Sharp.


 Penny retrieved an email from the USA Gymnastics headquarters, and he and his attorney turned it over to Smith. The email had been sent to Penny in
 2011 by longtime gymnastics judge Pat Warren. Yet, instead of forwarding it to authorities, Penny had filed it away.

 Indiana law requires people to immediately report allegations of child abuse to police or the Department of Child Services. That raised a question: Had
 Penny violated the law?


 Smith said he recused himself from that decision. But by the time of the 2015 investigation — four years after Penny received the 2011 email — it was a
 moot point. The two-year statute of limitations on Indiana’s failure-to-report law had passed. So, prosecutors could not file a charge.

 Authorities could, however, have investigated whether USA Gymnastics failed to report any other abuse allegations.


 An examination might have revealed that USA Gymnastics had conducted its own investigation for five weeks before reporting Nassar to the FBI in
 Indianapolis. And that USA Gymnastics executives had a policy of not reporting child abuse allegations unless they were submitted in writing and signed
 by a survivor or survivor’s parent.

 But IMPD officials chose not to investigate. Later, they went further. They defended Penny’s decision not to report the 2011 email.

 Smith told IndyStar the allegations in Warren’s email were "very vague" and did not provide adequate detail to justify an investigation. By 2011, Sharp had
 already made more than 100 pornographic images of six underage girls from his gym, federal court records
 (https://www.documentcloud.org/documents/5031666-Sharp-federal-records-2.html) show.


 "We all have the benefit of hindsight now," Smith said, "but in real time there was no specific abuse allegation, no specific victim, and no detailed
 explanation on what was observed."

 Smith said the email "essentially called Sharp creepy, the girls didn’t like him, and the way he handled the girls in front of the parents was creepy."

 But Warren's email, which was obtained by IndyStar (https://www.documentcloud.org/documents/5031668-Warren-letter-about-Marvin-Sharp.html), did
 provide several specific details. She described an incident she had witnessed and other situations. She included dates and names of the minors involved
 and other witnesses.


 Warren’s email described Sharp’s treatment of one preteen girl: "Marvin literally put her on the podium, stomach down and her legs hanging over the
 edge … and picked her leotard up, put it in her crack and ice massaged her hamstring."

 The email also said the mother of another girl told her Sharp instructed her 13-year-old daughter "to go into his office, take her leo off" and put on a T-
 shirt so he could massage her pelvic area to treat a pulled groin. Warren said the girl was uncomfortable with the request and called her mother, who
 picked up the girl and moved her to a new gym the next day.

 "He has a problem," Warren told Penny in the email, "and should not be coaching children!"


 Tremblay, the police consultant, said he disagrees with Indiana officials' contention that Warren's email was vague and lacked the detail needed to justify
 an investigation.


 He said if he had been with a police department that received the email, it would have sparked an investigation. At the very least, he would have
 interviewed Warren and looked into the suspect.

 Tremblay said the email described behaviors that are typical of child predators, including grooming, testing and isolation. And it was written by someone
 who appeared to have extensive experience in gymnastics.


 "She’s outlining, again, this long pattern of concerning behavior," Tremblay said, "and for me that’s a big red flag."
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                                                  Bruce Smith says IndyStar reporters 'barking up the wrong
                                                  tree'
                                                  In the summer of 2016, Smith took the lead in defending USA Gymnastics' handling of Warren's allegations
                                                  against Sharp.


                                                  The first contact IndyStar reporters had with Smith came after they emailed then-Chief Troy Riggs about the
                                                  Sharp case. Smith sent an unsolicited text message to a reporter who was not involved in IndyStar's gymnastics
                                                  investigation.


                                                  "So whoever is doing the story on USA Gymnastics and Marvin Sharp is barking up the wrong tree," Smith wrote
                                                  in a July 12, 2016, text message.
             Marvin Sharp faced charges of
             sexual misconduct with a minor
             and possessing child                 Smith’s text said "the lady" who had written the email was "disgruntled."
             pornography. (Photo: Provided by
             Marion County Prosecutor’s Office)
                                                  When asked this year why he had reached out to IndyStar, Smith initially claimed it was because IndyStar had
                                                  published unfair stories about USA Gymnastics. But the newspaper had not yet published its first gymnastics
 article. When that was pointed out, Smith acknowledged he was not sure what had prompted his text.

 Referring to Penny, however, he said: "I absolutely did not get direction from Steve to intervene."

 Penny's attorney did not respond to questions for this article.


 Emails between Smith, Penny and others at IMPD reveal that, despite his recusal, Smith continued working behind the scenes in support and defense of
 USA Gymnastics.

 After IndyStar published its first story (/story/news/investigations/2016/08/04/usa-gymnastics-sex-abuse-protected-coaches/85829732/) on USA
 Gymnastics in August 2016, Smith emailed Kendale Adams, then a public information officer with IMPD. He complained that IndyStar hadn’t detailed the
 extent of USA Gymnastics' cooperation in the 2015 investigation that led to Sharp’s arrest.


 "I guess what we had to say just didn’t fit their smear agenda," Smith said in the email (https://www.documentcloud.org/documents/5031671-IMPD-
 emails-3.html).

                                                  Adams, now a top aide to Police Chief Bryan Roach, responded: "Not at all. They had an agenda from day 1."

                                                  A day later, Smith emailed Penny (https://www.documentcloud.org/documents/5032147-Bruce-Smith-
                                                  emails.html) what he called a "rough draft" of a press release Smith said he was writing for the IMPD media
                                                  office. Smith’s draft referred to the 2011 email as "so vague it would not have generated an investigation."

                                                  He went on to praise the organization. "USA Gymnastics response to the Marvin Sharp investigation reduced
                                                  obsticals (sic) often present in child abuse cases," Smith wrote. "We would encourage others (sic) organizations
                                                  to respond similarly."

             Buy Photo
                                                  Penny emailed his friend back.
             "They had an agenda from day 1,"
             Lt. Kendale Adams said in an         "Thanks. This is very helpful," Penny wrote. "If there is any chance to add a comment about IMPD impressions of
             email regarding IndyStar. (Photo:    our practices in a favorable manner, that would be great but if not, no worries. Thanks so much."
             Kelly Wilkinson /IndyStar)




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             Former USA Gymnastics President Steve Penny and Smith were friends. (Photo: Carolyn Kaster, AP)




 This year, Smith told IndyStar he sent the draft to Penny "to ensure my description of his actions were accurate." He said he did not make Penny's
 suggested revisions. But he did add one sentence (https://www.documentcloud.org/documents/5031670-IMPD-emails-2.html): "The procedures
 employed by USA Gymnastics regarding this matter was consistent with our expectations and best practices."

 The emails obtained by IndyStar reveal Smith also sent the draft to Jeff Knoop at the Marion County prosecutor's office.

 "Prosecutor agreed," Smith wrote in the Aug. 6, 2016, email (https://www.documentcloud.org/documents/5031670-IMPD-emails-2.html) to IMPD Major
 Richard Riddle. "Adjust whatever you need to."

 Tremblay, the law enforcement consultant, said it was unusual that Smith would be allowed to draft the release "applauding" USA Gymnastics for its
 handling of the Sharp case. It "sounds like good judgment" on Smith’s part to recuse himself in 2015 from any discussions about the situation, Tremblay
 said.


                                                 "And what he should’ve done," Tremblay added, "was continue to recuse himself from commenting about this."


                                                 Aliya Wishner, the IMPD spokesperson, told IndyStar that Smith's work "drafting the document was outside of his
                                                 official capacity as an investigator and not a standard IMPD practice."


                                                 "The draft was not considered in the best interest of the department and IMPD’s internal processes ensured that
                                                 the release was never issued," Wishner said.

                                                 Smith moved out of the Child Abuse Unit after being promoted from sergeant to lieutenant in January 2017.
             Tom Tremblay, a former police
             chief who trains and advises
                                                 That was the month an attorney hired by USA Gymnastics reached out to Smith via email
             police, prosecutors and others on
             issues related to sexual            (https://www.documentcloud.org/documents/5032197-Email-with-USA-Gymnastics-attorney.html). The attorney
             violence. (Photo: Provided by Tom   said Penny suggested Smith might have information "to help combat some of the unfair and negative media."
             Tremblay)
                                                 Smith agreed to help. The attorney, who no longer represents USA Gymnastics, later interviewed him by phone.


         Steve Penny admits delay in reporting Larry Nassar
 IMPD had another opportunity to investigate USA Gymnastics a few weeks later, but again chose not to do so.


 On Feb. 16, 2017, Penny and then-USA Gymnastics board Chairman Paul Parilla acknowledged publicly they had waited more than five weeks to report
 Nassar to the FBI. Again, Indiana law requires immediate reporting, and in one case, the Indiana Supreme Court decided a school principal who waited
 four hours violated the law.


 Larry Nassar’s cover story: 'Can we just say i am sick?' (/story/news/2018/05/24/larry-nassar-being-investigated-sexual-abuse-usa-gymnastics-
 agreed-cover/599381002/)
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  By early 2017, there was growing evidence of a pattern of USA Gymnastics not immediately reporting sexual abuse allegations. It included the delay in
 reporting Nassar, the four-year delay in reporting the first complaint against Sharp and other failures revealed by an IndyStar investigation.

 Yet Smith seemed incredulous when asked if IMPD investigated Penny's delay in reporting Nassar.

 "You have got to be kidding me with this Larry Nassar question," Smith responded.


 "IMPD did not investigate Larry Nassar. It was reported to the FBI. You know this! How would we have any knowledge of how long USA Gymnastics
 'studied' the Larry Nassar case if we were not part of the investigation or have jurisdictional authority?"


 IMPD’s spokeswoman cited similar reasons.


 "We are not aware of any report or allegation brought to IMPD or made publicly that indicates Larry Nassar committed any offense within IMPD's
 jurisdiction," Wishner told IndyStar in an email. "The Larry Nassar investigation was conducted by the FBI and agencies outside of the State of Indiana."

 Wishner acknowledged that IMPD "does not need an official complaint, but there would need to be leading information to cause an investigation to be
 opened."


 Other jurisdictions found such information in public statements.


 In Texas, for example, officials said they decided to investigate Penny based on another former USA Gymnastics official's testimony at a congressional
 hearing. Penny was later indicted on a felony charge of tampering with evidence. He denies he broke the law.


 Yet, IMPD told IndyStar it hasn't gone to USA Gymnastics' headquarters, sought a search warrant or questioned Penny or any other USA Gymnastics
 officials about anything other than the 2015 Sharp case.


 The prosecutor's office also limited its focus to Sharp. In 2017, IndyStar asked the Marion County prosecutor's office whether it planned to investigate
 USA Gymnastics officials for not immediately reporting Nassar. The request for comment included a copy of USA Gymnastics' own timeline that showed
 the five-week delay.


 "It would not be appropriate for our office to comment on this matter," spokeswoman Peg McLeish replied in a Feb. 17, 2017, email.

 The statute of limitations expired that summer.


 In 2018, IndyStar asked McLeish again about USA Gymnastics' delay in reporting Nassar. This time, she cited jurisdictional issues.


 "In this particular instance we do not read the Indiana statute as requiring individuals to report alleged abuse which occurred in another state to the
 Indiana Department of Child Services or Indiana law enforcement," she said. "Our assumption is that USA Gymnastics operates nationwide and would
 have been subject to the jurisdiction of the state where the alleged abuse occurred."

 A law professor at the Indiana University Robert H. McKinney School of Law in Indianapolis said Indiana's child abuse reporting law is vague on that
 point.


 "There is nothing in the statute that makes it clear either way," said Shawn Marie Boyne. "As a matter of policy, I would think that mandatory reporters
 would have to report no matter where the child is located."


          Aly Raisman's mom: 'It's disgusting'
 When the allegations against Sharp became public in 2015, Lynn Raisman said she thought for sure police and the FBI would connect the dots between
 Sharp and Nassar.


 Raisman said her daughter, Olympic gold medalist Aly, attended camps where Sharp was coaching, and it appeared Sharp and Nassar were friends.


 Knowing what she knows now, Raisman said she feels angry, horrified and betrayed.

 "I don't understand the police officer," she said. "I don't understand the FBI."


 IndyStar previously reported (/story/news/investigations/2018/10/18/usa-gymnastics-chief-steve-penny-approached-head-fbi-agent-job/1687527002/) that
 Penny had discussed a job opportunity with then-FBI agent W. "Jay" Abbott as the agency's Nassar investigation languished. Penny told Abbott the head
  of security for the U.S. Olympic Committee would be retiring and suggested Abbott might be interested in the position.
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  Penny’s attorney Edith Matthai previously told IndyStar that "any suggestion that Steve had the conversation with Abbott in order to impact the FBI
 investigation is false and defamatory." She did not respond to questions about Penny’s relationship with Smith.

 Jon Little, an Indianapolis-based attorney whose practice is focused on representing abused athletes in Olympic sports, told IndyStar he has begged
 local officials for years to pursue an investigation into USA Gymnastics and Penny.


 He pointed out that dozens of sexual misconduct complaint files compiled by USA Gymnastics are kept in Indiana. He said it is "appalling" that no one in
 Indiana has been prosecuted for failure to report.

 "It's just insane to me," Little said. "So, yes, I think that there's for some reason, a complete lack of will, interest, whatever, at the Marion County
 prosecutor’s office."


 John Manly, a California attorney who represents 180 Nassar survivors in lawsuits against the organization, said it is "despicable" that no one from IMPD
 or the prosecutor’s office has knocked on USA Gymnastics' door to ask for a single document.

 "I find that disturbing and not a coincidence," Manly said. "And either they’re incompetent or they’re looking the other way. And either way, frankly,
 somebody ought to investigate them. Because, you know, every other jurisdiction — even tiny Walker County, Texas — has shown interest."


 Raisman said she feels there still are people working at USA Gymnastics who knew about Nassar.


 "It's disgusting that the police and the FBI aren’t doing something to get to the bottom of who knew what when, who helped cover it up," Raisman said.
 "They shouldn’t be working anymore. They shouldn't be working with children, period."

 Call IndyStar reporter Marisa Kwiatkowski at 317-444-6135. Follow her on Twitter: @IndyMarisaK.


 Call IndyStar reporter Tim Evans at 317-444-6204. Follow him on Twitter: @starwatchtim.


 Call IndyStar reporter Tony Cook at 317-444-6081. Follow him on Twitter: @indystartony.

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Senate Commerce, Science and
Transportation Subcommittee on
Consumer Protection, Product Safety,
Insurance and Data Security Holds
Hearing on Protecting Amateur Athletes
LIST OF PANEL MEMBERS AND WITNESSES

MORAN:


Our Subcommittee will come to order. Again, the Ranking Member, Senator
Blumenthal is enroute. We've been joined by couple of our colleagues. I'm going to
begin with my opening statement.

I apologize to our witnesses and to our audience for tardiness in start time. We had
two votes on the Senate floor. I don't think there are further votes this afternoon, so I
doubt that we would be intruded any additional time from the Committee.

So, good afternoon. Welcome to today's Subcommittee hearing.

In January, this Subcommittee launched an investigation to examine cultural and
systemic issues regarding abuse in the Olympic movement following the horrific
revelations that former USA Gymnastics team doctor Larry Nassar sexually abused
and assaulted hundreds of athletes over a span of two decades, even well after
numerous survivors alerted authorities about his actions.

This Subcommittee, which exercises jurisdiction over the U.S. Olympic Committee
and amateur sports, is fully committed to ensuring the health and safety of all
American athletes, and today marks the third hearing in our ongoing investigation.




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I'd like to first acknowledge the incredible statement made at last week's ESPY
Awards, watching over 100 survivors take the stage to accept the Arthur Ashe
Courage Award. If any of you haven't had a chance to see that ceremony, I encourage
you to do so.

The actions, these brave actions of our young athletes who shed light on their painful
pasts have invigorated a national calling for change. And I'm glad to have so many of
them with us this afternoon.

Since initiating our bipartisan investigation, this Subcommittee has held two critical
hearings in which the Members of the Committee and the American public heard from
distinct witness panels on their experiences related to procedural missteps and cultural
inaction experienced within these troubled organizations.

In the first hearing, we heard testimony from four survivors of abuse across different
Olympic sports who shared personal experiences about the systemic practices that
have safeguarded perpetrators - have safeguarded perpetrators, have both inhibited
victims from coming forward, and have prevented victims' reports from coming to
light.

All of the survivors we've met have highlighted the institutional failures that have
allowed these heinous acts to continue, which we recommit ourselves to fixing by
being here today.

Once again, I'd like to echo my appreciation for those survivors and the many others
who've spoken to us and to our staff regarding their painful experiences.




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Their insightful recommendations on what needs to be done to correct these failures
are certainly appreciated and continue to be considered as this Committee works
toward thoughtful and lasting change.

In the second hearing, we called on former USA Gymnastics CEO Steve Penny,
former Women's Program Director of USA Gymnastics, Rhonda Faehn, and former
Michigan State University President Dr. Lou Anna (ph) Simon to provide testimony
and answer questions on how rampant abuse that took place in the hands of Nassar
was able to perpetuate for as long as it did.

I would also like to note that Scott Blackmun, the former President of U.S. Olympic
Committee, and Martha Karolyi, the former National Team Coordinator for USA
Gymnastics, were invited to attend but declined for medical reasons.

There were a number of significant details that came to light from the questions this
Committee posed in that hearing, including USA Gymnastics' mishandling of critical
medical records, lack of communication to and within Michigan State University
related to sexual abuse reports against their employee, and most significant, the
complete lack of cooperation demonstrated by Mr. Penny in his refusal to answer
questions.

From these findings, along with continued analysis of lengthy documentation
produced by USA Gymnastics, U.S. Olympic Committee and Michigan State
University, we continue to pursue answers to many serious questions that remain for
the current executives of these organizations.

Most importantly, we expect to hear today which aspects of their systems and cultures
have changed, and how they plan to implement serious reforms moving forward.




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Joining us today is Mr. John Engler, Interim President of Michigan State University,
Ms. Susanne Lyons, the Acting CEO of U.S. Olympic Committee, Ms. Kerry Perry,
President and CEO of USA Gymnastics, and Mr. Xiao, Chair of the U.S. Olympic
Committee Athlete Advisory Council.

It is my expectation we will receive full cooperation of today's panel in answering the
Subcommittee's questions to the best of their abilities.

We are also honored to welcome the Chairman and Ranking Member of the Senate
Judiciary Committee, Senator Chuck Grassley of Iowa and Senator Dianne Feinstein
of California, to the Subcommittee to provide opening testimony.

Given their leadership and work with Chairman Thune of the Commerce Committee
to enact the Protecting Young Victims from Sexual Abuse and SafeSport
Authorization Act of 2017, let me also add the Ranking Member of the Commerce
Committee, Senator Nelson, their testimony today will be invaluable in helping this
Subcommittee further raise awareness and identify solutions that will make a
difference.

We have explored U.S. Center for SafeSports in our conversations and we appreciate
the role that they do and may play. Let me thank you, Senators, Senator Grassley and
Senator Feinstein for your efforts in this regard in the past and the time you've taken
to prepare and present your testimony today.

I conclude my opening remarks by emphasizing the bipartisan approach that this
Subcommittee has taken in its comprehensive investigation. With the consultation of
law enforcement, survivors and advocates, we have worked closely together to
identify meaningful reforms in the best interests of athletes and their families.




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During Aly Raisman's powerful speech last week at the ESPY Awards, she reminded
survivors of abuse. She said "You are not alone."

We are here today to remind all survivors this. We are listening. We are committed to
change and we'll make certain the next generation of athletes are free to compete and
represent our nation without fear of abuse.

In regard to that bipartisanship, I want to recognize my Ranking Member, Senator
Blumenthal and his willingness to work closely with me and Members of this
Committee to see that our work is well done.

With that, I recognize Senator Blumenthal for his opening statement.


BLUMENTHAL:


Thank you Senator Moran and thank you for your leadership on this Subcommittee
and, most particularly, on this issue.

We had a remarkable event this morning.

We heard voices and saw faces of young athletes of all different ages, all different
parts of the country who suffered at the hands of Larry Nassar but equally so at the
hands of the United States Olympics Committee and USA Gymnastics and Michigan
State University, not only the immediate perpetrator of this unspeakably cruel and
brutal criminal conduct but also all of the organizations and individuals who were
complicit by their silence or by their looking the other way, which was much easier to
do.




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Last week, similarly in a remarkable display of unity, resilience, strength, more than a
140 heroic survivors came to the ESPY Awards and they were honored with the
Arthur Ashe Award for Courage.

No one better deserves it than they.

These young women have come forth bravely, sacrificing their privacy, fighting
through efforts to silence them directly and overtly, stop their voices and then, in
effect, re-victimize them.

That's a term of scientific art that has very apt application here. They have been re-
victimized by this whole process. And they have risked their athletic careers and
reputations to shed light on the heinous crimes committed by Nassar.

But he is only one of numerous perpetrators here.

And the main point is that USOC and USAG in effect prioritized medals and money
over athlete safety. They concealed the shocking pervasiveness of abuse across many
sports as well as their own woefully inadequate systems to address and prevent it.

And Michigan State University - officials looked the other way while athletes reported
abuse over two decades. I am concerned that there has been continuing failure,
loopholes and lapses.

And I am also concerned about the efficacy and independence of the U.S. Center for
SafeSports, the lack of transparency and responsibility on the part of USOC and
USAG, at the most basic level, the amount of empathy and support that officials at
MSU have shown for survivors.




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At the last press conference we had, before this one, one of the survivors said to me
when I asked her, what she would ask if she were sitting here.

And she said she would want to know why wasn't one enough? Why was it two or
three or 140 or more, hundreds around the country? Why wasn't one enough for these
organizations to take action? And the fact is that there were many, many more than
one.

These institutions have to answer to themselves, their own constituencies. They have
to answer to history for their glaring failure. The system continues to be badly broken.
And now we are at a turning point.

I said this morning when 80 of these wonderful, smart, accomplished athletes each
said in introducing herself, USOC and USAG and MSU failed me that I don't want to
be at an event in a year or three or five years from now and have the refrain be (ph)
and Congress failed me.

We have an obligation to do more and do better.

So we're going to continue with these hearings. And we are going to support action.
More than words, action is necessary. As the saying goes, actions speak louder than
words. In fact, in this instance, words are not enough. You are not alone but we need
to honor your pain with action.

And I want to thank all of you. I look at this audience and I see many of you, the
survivors here again. You have not only been brave and passionate but you have been
so patient and energetic in this cause.




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I also want to mention again, as I did this morning, the role of the press in giving
voice to these survivors, organizations like the IndyStar, the New York Times, USA
Today deserve our thanks at a time when we need that free press more than ever.

And finally, my thanks again to Senator Moran for his leadership, Chairman Thune,
and Ranking Member Nelson and, of course, to the two of our colleagues who will
begin today because Senator Feinstein and Senator Grassley have helped to lead this
effort.


MORAN:


Senator Blumenthal, thank you very much.

We do now turn to the two senators from the Judiciary Committee, the Chairman,
Senator Grassley and the Ranking Member Senator Feinstein.

Senator Grassley, you're recognized for your testimony.


GRASSLEY:


Yes. Well, of course good afternoon and thank you, Mr. Chairman, for convening this
hearing and giving Senator Feinstein and me the opportunity to participate.

From my part, as a parent, and as a grandparent, I can think of no issue of greater
importance than keeping children safe from sexual predators. The abuse scandal that's
the focus of today's hearing is a grim reminder of that fact.

Unfortunately, USA Gymnastics and Michigan State University aren't the only
institutions that have made headlines over the years due to sexual abuse of young
athletes. Other institutions also have struggled with this issue.



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Sexual abuse, in any form, is an especially troubling crime because its victims suffer
both physical and mental trauma that can last a lifetime. When the abuse is by a coach
or a team doctor and the victim is a minor, the betrayal of the trust is even greater.

When as here, there were adults who were in a position to intervene, but they failed to
act, it's a particularly tragic situation.

The doctor you've referred to, Dr. Nassar, the former National Team Doctor for USA
Gymnastics, abused hundreds of victims over the period of years. The significant
sentences he received ensure that he'll never again hurt a young gymnast or any other
child.

But we must do more to prevent these horrific crimes from happening again.
Congressional oversight of the FBI falls within the jurisdiction of Senator Feinstein
and my Committee.

And after hearing one gymnast's complaint about the FBI's handling of the allegations
against Nassar, I wrote the FBI Director to request a briefing on the Bureau's
involvement in this case.

My Committee staff spoke with the FBI yesterday, and we were advised that the FBI's
handling of this investigation has been referred to the Justice Department Office of
Inspector General.

And where I have of - particularly in this office, have respect for the Inspector
General, sometimes I see this as a move maybe to protect the FBI from some
embarrassment, at least immediate embarrassment.




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Our Committee convened its own hearing on the importance of protecting amateur
athletes last year. Also last year, I joined Senator Feinstein in introducing the bill
entitled Protecting Young Victims from Sexual Abuse and Safe Sports Authorization
Act.

This new law requires amateur athletics governing bodies to immediately report
suspected sexual abuse to the authorities. Our Judiciary Committee approved this
measure and then worked closely with your Committee and Chairman Thune for on
additional changes, before the President signed the final version in February.

And I thank this Committee for that cooperation.

The new law also authorizes the U.S. Center for SafeSports to respond to instances of
sexual misconduct within the U.S. Olympics and Paralympic community. And since
its inception, SafeSport has fielded more than 1,200 misconduct allegations and issued
sanctions against 300 individuals.

Its website, safesports.org, has a searchable database that enables the public to find
out if someone's been banned from a sport or otherwise disciplined.

Just in the last month, I've convened two other Judiciary Committee hearings on the
topic of sexual violence. I've learned that we still need to do more to educate adults
who are in a position to protect children. We also must reduce opportunities for
predators to exploit victims.

For example, in many or most instances, adult coaches, trainers, and doctors shouldn't
be left alone while working with young athletes.




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I'll conclude by thanking you again, Chairman Moran, for your leadership on the
Consumer Affairs Subcommittee. In holding several hearings on this issue, you've
given a voice to people that until lately didn't have a voice or sexual abuse victims.

Thank you.


MORAN:


Senator Grassley, thank you very much. Thank you for your appearance today and
your words. Senator Feinstein.


FEINSTEIN:


Thanks very much, Mr. Chairman. Members, thank you for being here.

It was about or it's (ph) well over a year ago that I had a meeting in my conference
room with a group of women. And I walked in and Senator Grassley, I looked at faces
with expressions that I had never seen before.

And I realized that it was something really serious. And in the course of that
discussion, events were related we did a bill. Others joined. That bill has passed and
we have taken a giant step forward.

Last week in an extraordinary moment broadcast for the whole world to see, U.S.
Olympic Gymnasts, Aly Raisman, Jordyn Wieber, Jamie Dantzscher, along with a
100 athletes took the stage at the ESPY Awards to accept the Arthur Ashe Courage
Award. It was an incredibly moving presentation.




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And I thought about that time in my office when these frightened faces were in front
of me and the survivors, many of whom are here today, radiate today remarkable
grace, beauty, and strength.

I wonder if they would stand so that we might recognize them in this hearing room.

(APPLAUSE)

Thank you.

(APPLAUSE)

These Sister Survivors took the stage after having endured hellish abuse over many
years. This abuse was compounded by the toll it has taken on them to come forward to
tell their story, tell their truth despite certain institutions' repeated attempts to silence
them.

Their solidarity and courage in coming forward, I marvel at it.

I've worked with Chairman Grassley, Chairman Thune, Ranking Member Nelson to
protect future victims through the Protecting Victims from Sexual Abuse Act. And I
so appreciate the support of my colleagues.

But the fact is revelations regarding institutional failures continue to force these
victims from having to relive their experience over and over again.

There must be a full and transparent accounting of what Michigan State University,
the U.S. Olympic Committee, USA Gymnastics and the FBI all knew and did about
Dr. Larry Nassar while he continued to abuse young girls.




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Earlier this month, Judiciary Chairman Chuck Grassley, Senator Blumenthal and I
wrote a letter to the FBI Director Chris Wray requesting information about why after
the FBI received information about Dr. Nassar in July of 2015, the FBI failed to
intervene while dozens of athletes continued to be treated and abused by Dr. Nassar.

Similarly, despite reports that officials within Michigan State University, the U.S.
Olympic Committee and USA Gymnastics knew that Dr. Nassar was alleged to have
abused athletes he was allowed to continue to treat and molest young victims.

Even after Dr. Nassar was finally arrested and prosecuted, hundreds of victims and
their parents were never notified, contacted, or informed by these institutions about
how they could obtain information about all that had happened to their children.

To this day, many families of these survivors have yet to be contacted by officials at
these institutions.

Indeed, it appears that these institutions undertook massive public relations campaigns
to preserve themselves rather than rallying to the side of these survivors and their
families.

And let me say that is unacceptable.

Last year, when we worked on the Protecting Victims from Sexual Abuse Act, the
overarching principle for me was the question of how can we best support and
empower survivors.

I believe each of the bill's supporters had the same intention.




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Tragically, it does not appear that Michigan State, the USOC, USA Gymnastics or
even the FBI adhered to the same guiding principle. Instead there have been
disturbing revelations of cover-up and trying to silence vulnerable victims.

Some victims were pressured to sign non-disclosure statements to silence them from
coming forward. I and other senators are looking closely at this issue.

Ultimately, these institutions must all continue to re-examine their mission and focus
to truly serve as a beacon to lift up the wellbeing of athletes rather than to profit off
them and protect the bottom line.

Who can forget when Jessica Howard testified last year in our Committee, Mr.
Chairman, that USA Gymnastics officials stated its priority was "Money and medals"
and not the wellbeing of young athletes in their care.

As lawmakers, we must make sure, Mr. Chairman, that these institutions are held
accountable. So again, I would like to thank you Mr. Chairman, Ranking Member
Blumenthal, and particularly, those Members who've taken the time to be here today,
and to the Sister Survivors here with us again, I want to say thank you to them.

Thank you, Mr. Chairman.


MORAN:


Senator Feinstein, thank you very much.

I know you and Senator Grassley have a lot on your plate today and I appreciate the
emphasis you've placed on the topic that this Subcommittee is paying a lot of attention
to (ph).




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FEINSTEIN:


Thank you, thanks very much.


MORAN:


You're welcome.

We'll call our other witnesses to the table please.

I call the Honorable John Engler, the Interim President of Michigan State University,
Ms. Susanne Lyons, the Acting Chief Executive Officer of the United States Olympic
Committee and Ms. Kerry Perry, President and Chief Executive Officer of USA
Gymnastics, Mr. Han Xiao, the Chairman of the Athletes' Advisory Council.


(UNKNOWN)


Hi.


MORAN:


Welcome. (OFF-MIKE) President Engler - Governor Engler, we'll start with you.
Welcome.


ENGLER:


Well, thank you Mr. Chairman and Ranking Member Blumenthal and Members of the
Subcommittee, thank you for your invitation to discuss the important matter of
protecting young athletes.




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For me, next week will mark six months of service as Interim President, Michigan
State. When I arrived on campus, Nassar was already behind bars. His crimes had
shocked the MSU community and the nation.

The statements and testimony of survivors before your Subcommittee and the courts
have saddened all of us. Our hearts go out to them and we are truly sorry for that a
former faculty member perpetrate these crimes through his associations with MSU,
USA Gymnastics, the U.S. Olympic Committee and others.

We all failed the survivors.

At MSU, my commitment is to make sure this never happens again. We are seeking to
simultaneously deliver what justice and healing we can for the survivors and put
strong accountability measures in place to ensure that MSU is safe.

As Senator Blumenthal just stated, actions are critical. I made clear from day one that
we would do everything we could to cooperate with the several investigations and to
seek to resolve the numerous legal claims.

In May, I was pleased to announce that the MSU Board of Trustees and the many law
firms representing more than 300 survivors had agreed to an historic $500 million
global settlement. The MSU parties have signed the agreement and it is now being
finalized with the signatures of the survivors.

We are proud of this settlement but we have always believed that the legal settlement
is only one part of the necessary response. From the start, we've made organizational
changes geared toward improving safety and accountability.




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Our goal is to make Michigan State a campus that works aggressively to prevent
sexual misconduct and assault and if prevention fails, has appropriate procedures in
place to respond.

My written testimony details many of the actions we've taken and the progress we are
making. Today, I'll touch on some of the most salient points.

Very early on and as a direct response to the abuse Nassar perpetrated, we put strong
emphasis on ensuring the protection of minors and indeed everyone that comes to our
clinics.

We strengthened and standardized protocols for patient consent for informing patients
and parents of their rights and for requiring chaperones in the examination room.

In my first week, I acted to revoke the tenure of William Strampel, the former Dean
who failed to supervise Nassar and failed to ensure compliance. Earlier this month, we
reached an agreement, severed all of the former Dean's ties to our university.

We realigned our medical education and clinical operations to foster a healthy culture
of safety and accountability. One important change, for example, the athletic trainers
now report to the medical staff.

In the area of prevention, while MSU policies were found to be comprehensive and
robust, we have followed through on a number of expert recommendations to improve
the Title IX program as detailed in, again, my written testimony.

Early on, I appointed a Relationship Violence and Sexual Misconduct Expert
Advisory Working Group consisting of nationally-recognized faculty and staff subject
matter experts on our campus.




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The Work Group has been soliciting inputs from across the university community,
assessing ideas for improving services and making very specific recommendations
that we have already implemented including strengthening our policy on mandatory
reporting obligations.

Most recently, I created a new Office of Enterprise Risk Management, Ethics and
Compliance. It is charged with overseeing the development of a framework for
identifying, prioritizing and managing risk and ensuring that those who are in charge
of compliance are doing their job.

For new students, we've improved our summer (ph) orientation programs to focus on
the prevention of sexual misconduct. Over 7,400 students have already - incoming
students have already been trained.

We also hope to reach into Michigan's high schools with prevention program in the
coming school year.

In terms of personnel, we've added or budgeted for more than 30 (ph) new staff
positions at the Title IX Office, Counseling and Psychiatric Services, the MSU Sexual
Assault Program, Campus Police, and our new Office of Enterprise Risk
Management, among others.

Let me just close by saying I'm proud of the way Michigan State community, my alma
mater, have come together in this unbelievably difficult time to respond not only in
support of the survivors but also to address the urgent issue of sexual misconduct and
assault that is a serious challenge not just on every campus but in so many workplaces
across America.




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MSU is a great global institution, more than 50,000 students, all 50 states, 133
countries. This fall, we will welcome our largest most diverse freshman class in our
university's history. While they're settling in the Board of Trustees Search Committee
will be moving forward to identify a new President.

In my remaining time, I pledge to continue to implement meaningful reforms,
administrative changes that increase safety, accountability and respect on the
Michigan State campus.

I hope that our experiences, the lessons we have learned and the solutions we have
identified may help other institutions a reckoning with the persistent problems of
sexual assault and harassment is clearly enhanced (ph) for many institutions. We owe
it to all survivors of the abuse everywhere to dedicate ourselves to finding effective
solutions.

Thank you, Mr. Chairman, Ranking Member and Members for the opportunity to be
with you today.


MORAN:


Thank you. Ms. Lyons.


LYONS:


Good afternoon Chairman Moran, Ranking Member Blumenthal, and the Members of
the Subcommittee.

Last February, I agreed to serve as the Acting CEO of the U.S. Olympic Committee
because I felt an obligation to help the organization address the critically important
issues of athlete safety and empowerment.


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Two weeks ago, we announced that Sarah Hirshland will be the next CEO of the
Olympic Committee. She's joining us in the audience today because of the importance
of this issue. And she looks forward to working with Congress as she leads and
implements the reforms and the initiatives that the Olympic Committee has currently
begun.

Like all of you, I was deeply saddened and angered by Larry Nassar's abuse. I heard
the stories of victims and survivors in court, before this Committee, and last week in
the moving ceremony at the ESPY's and as recently as the press conference today and
many of those same athletes, as you know, are joining us in this room.

Some survivors shared stories of seeking help from the Olympic community and
finding it unresponsive, needlessly complex, and fraught with risks to their Olympic
dreams.

This is appalling and unacceptable. The Olympic community failed the people it was
supposed to protect, and I apologize again to each and every one of them, and their
families.

I want you to know your voices have been raised and we hear you. We have an
obligation to do better and we will do better

When I became CEO, I announced a series of initiatives to address issues of abuse and
other structural weaknesses and I'd like to update you on our efforts.

First, we accelerated our efforts with the Center for SafeSport and our own athlete
safety programs. We doubled our grant to the Center enabling it to build on its
investigative capabilities.




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We also instituted new reporting requirements of our own requiring national
governing bodies to report to us on ongoing investigations, unresolved complaints and
banned and suspended members.

Second, we are working to increase the voice and the power of athletes. We engaged
with the Athletes' Advisory Council to understand its priorities and recommendations.
We are proposing changes to the role of the Athlete Ombudsman and we are creating
a new athlete services department to assist with athlete grievances.

Third, we announced a governance review and launched a commission to study and
report on engagement with athletes and with the national governing bodies.

This commission is headed by WNBA President, Lisa Borders. The commission will
provide recommendations on potential changes to the Ted Stevens Act, the bylaws of
the Olympic organizations as well as other policies.

Rebuilding USA Gymnastics is our fourth category of focus. And after we insisted
that the previous CEO and then the entire board resign, we helped USA Gymnastics
implement governance changes and elect a permanent board with a majority of
independent directors.

USA Gymnastics has now completed all of the immediate requirements that we set in
January for it to maintain its certification as a National Governing Body.

They know they still have a long way to go.

We will continue to support USA Gymnastics on its way to implementing a true
change in culture.




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A fifth category will develop when we receive the report of the independent
investigation. The investigation focuses on both the Olympic Committee and USA
Gymnastics. And we will make the report public in its entirety and take whatever
actions are appropriately based on whatever the findings may be.

As Congress considers additional solutions I'd respectfully ask to offer some input.

First, Congress can support further funding of the Center for SafeSport. The Center's
independence is critical to its success and expanding its sources of funding will
strengthen that independence.

Second, the Olympic Committee encourages the Congress to look closely at the
recommendations that will come from the Athlete and NGB Engagement
Commission.

Third, the Safe Sport Act provides the Center with liability protection for sharing
information on bans and suspensions. We ask Congress to consider extending those
protections to bans and suspensions imposed by National Governing Bodies.

We have begun to make significant progress in strengthening protections for athletes
but our collective efforts must not cease. We must support the victims and survivors,
and honor those who have stood up against abuse. We promise to lead the Olympic
community to bring real and lasting change.

I would be happy to answer your questions.


MORAN:


Thank you. Ms. Perry.




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PERRY:


Chairman Moran, Ranking Member Blumenthal, and Members of the Subcommittee,
thank you for inviting me to testify today.

I want to commend the Subcommittee for their excellent work aimed at preventing
amateur athletes from abuse. This is your third hearing in the series, and it is
incredibly important, because today we focus on what we are doing to provide a safe
and empowered environment for our athletes.

As I have said before the House, I will say again today, on behalf of USA
Gymnastics, I apologize to our athletes, many of whom are here today. What Larry
Nassar did to these incredibly brave women is unconscionable.

I joined USA Gymnastics in December 2017 from outside the sport and the Olympic
movement. My primary focus is to transform USA Gymnastics into an athlete-centric
organization with a supportive and empowering culture that helps our athletes achieve
their gymnastic dreams in a safe environment.

I have heard the heart-wrenching stories of these courageous athletes who have been
harmed by those that should have been - they should have been able to trust.

I commit to you that I will keep their words and experiences at the core of every
decision I make, every day, as the leader of this organization. Their stories have
broken my heart, but also strengthened my resolve.

USA Gymnastics is on a new path, with new leadership, and a commitment to
creating a culture that puts athletes first. Here are just a few of our decisive actions to
put USA Gymnastics on a new course in the past months.




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We closed the National Training Center at the Karolyi Ranch, and we are seeking
proposals on a new high performance training and wellness facility.

We hired a new High Performance Team Coordinator for the Women's Program
through a selection process that involved both athletes and coaches.

We created an Athlete Task Force where our former athletes are helping to shape our
organization's future. Just last week, we announced the five core members, one of
whom is a survivor of sexual abuse.

We expanded our Safe Sport department to include new regional positions to better
support, train, educate and serve our members.

We are extensively revising our Safe Sport Policy.

We are educating and training our staff, Board, and members on the new Safe Sport
Policy and a new Ethical Code of Conduct.

I am pleased to report that our staff and Board are 100 percent compliant with both.
And beginning this season, all professional members must be Safe Sport certified as a
condition of membership.

We continue to implement the Deborah Daniels recommendations. 86 percent of the
recommendations are either implemented or in progress. Today, I'm announcing that
we are making publicly available on our website exactly what we have done to
implement these recommendations.

We made reporting of abuse easier with a dedicated toll-free number and online
reporting.




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We are participating in mediation in order to resolve the athletes' claims fairly and
expeditiously.

We created an Athlete Assistance Fund, in cooperation with the National Gymnastics
Foundation that provides the survivors of abuse with the needed financial resources
for counseling and medical services.

These changes and others we have made are part of a cultural shift that reflects our
commitment to prioritize the safety of all of our athletes and members and to become
the standard-bearer of change.

At the same time, I have ideas that I would be happy to share with the Subcommittee
regarding what changes Congress might consider to help USOC and all National
Governing Bodies do more to further protect athletes.

I have traveled the country, listening to athletes, listening to survivors, listening to
parents and listening to coaches. My mission is to ensure that USA Gymnastics
emerges as a stronger, more empowered organization that is focused on our athletes,
so that generations to come will be able to share their stories of how gymnastics
positively impacted their lives.

I am testifying today on behalf of the new USA Gymnastics. Our incredible athletes
have always been, and will continue to be, a great source of national pride.

We will be there for them to help them realize their potential in a safe and supportive
environment. Athlete safety must be at the forefront of everything we do, every day.

Thank you. And I am happy to answer your questions.


MORAN:



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Thank you. Mr. Han Xiao.


XIAO:


Chairman Moran, Ranking Member Blumenthal, and Members of the Committee,
good afternoon and thank you for inviting me to testify here today.

My name is Han Xiao and I'm the elected Chair of the US Olympic Committee
Athletes' Advisory Council, also known as the AAC.

In 1978, the U.S. Congress enshrined the AAC into U.S. law and designated it as the
voice of the athletes of the United States. I am here before you today as the official
spokesperson for elite athletes under the USOC umbrella, including U.S. Olympians
and Paralympians.

My testimony will reflect what I believe is the most accurate opinion of the athletes
who comprise Team USA. On behalf of these athletes, I want to thank you for
exercising oversight of the Olympic and Paralympic system during this critical
juncture.

America's gymnasts and their courageous testimony at the Nassar hearings have
brought the national media and all of you in the Senate here today.

While establishing the U.S. Center for SafeSport is an important step in the right
direction it should not be the only outcome of their suffering.

First, we cannot allow the U.S. Center for SafeSport to fail in its mission. The athlete
abuse problem is far bigger than the USOC or any of us anticipated. The Center
received its 1000th complaint of sexual abuse after just 15 months of opening its




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doors. The Center needs increased funding so that it has the capacity to handle this
case load as well as embark on critical education efforts.

To be successful SafeSport must have the technical expertise to conduct investigations
and hearings and it must be able to preserve its full independence to retain the trust of
athletes in the public.

The adjudication process for complaints must improve with input from subject matter
experts. Right now, I fear that none of those criteria are being fully met. The sexual
abuse of athletes is just one symptom of broader systemic issues that must be
addressed to substantially empower and protect U.S. athletes moving forward.

Individual athletes have almost no power in our system, instead the USOC and
National Governing Bodies hold the dreams of our athletes in their hands and athletes
fear these coaches and administrators, armed with congressionally granted monopoly
power will retaliate if they protest or dissent.

One failure to be compliant or obedient could mean the end of that athletic future.
There is no other Olympic committee or Paralympic committee to appeal to, to get a
chance to compete for America.

Our athletes aren't just powerless to remedy sexual abuse, they're also powerless to
address financial injustices and many serious government issue - governance issues.

To combat this problem, I have made two major recommendations. First, I
recommend establishing autonomous Inspector General's office reporting to Congress
and the ASC.




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The role of this office would be to hear athlete concerns confidentially without fear of
retaliation about the governance and operation of the USOC and NGBs to
independently investigate issues in the Olympic and Paralympic movements and so to
determine necessary corrective actions.

Establishing this office and providing additional oversight would contribute greatly to
a necessary cultural shift within our movement towards a focus on serving our - our
country's athletes.

I also recommend the establishment of an athlete advocate. In 1998, Congress
amended the Sports Act to require a new position, the athlete ombudsman. The
position was meant to solve the recurring problem of athlete conflicts with their NGB
or the USOC.

However, the ombudsman's office currently only advises of their rights, directs them
to available resources and provides mediation services in most individual athlete's
cases.

These are essential and invaluable functions for the athlete body. However, individual
athletes and the ASC need independent legal advice and sophisticated, professional
athlete advocacy. The athlete's Advocate's role would be to provide confidential legal
advice to athletes and actively advocate for their rights and interests on a full time
basis.

In addition to directly represents an athletes when necessary with a client attorney
relationship, the athlete Advocate would work with other athlete representatives in the
movement to raise repetitive issues with the USOC , NGBs and other organizations.




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I've presented several other governance problems in my written statement along with
more detailed information supporting my remarks today. I'd like to note however that
we've been down this road many times before. In 1978, the amateur Sports Act was
established imports to provide athletes with rights, however it also set up an
unregulated monopoly.

In the 40 years since the 1978 Act, we have seen a cycle of scandals followed by
internal USOC reforms. Now is the time to implement significant structural reforms to
increase transparency and accountability, limit unnecessary bureaucratic expansion
and shift power to athletes.

The USOC must reorient its primary mission for supporting the nation's Olympic and
Paralympic athletes in service to this nation. Today's problems are not merely bad PR
for the Olympic and Paralympic movement. Instead, it is time for Congress to enact
structural changes that can bring about a cultural change.

If in another decade, with the Olympic and Paralympic Games coming back to the
U.S., we find ourselves here again asking the same questions and searching for the
same answers, we will have failed team USA athletes again, including the heroic
gymnasts who have brought these issues for attention for now. Thank you for your
time.


MORAN:


Mr. Xiao, thank you very much, I think, your testimony was very valuable to me, you
and I've not met, we've not had a conversation, I didn't know, what you were going to
say until I read your testimony and I find it valuable and useful and a good admonition
that it's not a path we want to go down again.




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We - we need to solve the problems today, thank you for being here. Let me start with
the Ms. Lyon, excuse me, Ms. Lyons, Congress gave the Olympic committee, the
NGBs and the U. S. Center for SafeSport immunity from defamation lawsuits unless a
witness or entity speaks or acts with malice.

Congress clearly wants SafeSport to be able to publish the names of banned members
who abuse children and I believe, if athletes and parents are to know they are safe in
the knowledge of who has been banned, is absolutely essential.

When will USOC require that all NGB's make the list of their banned members
public?


LYONS:


We also agree that one of the most powerful things that we can do is get the names of
people who are banned and suspended in the public domain for parents, for potential
employers, for anyone who works with the athletes community.

The Center for SafeSport is beginning serious work on this, they already have a
searchable database for the cases that they personally have adjudicated, one of the
many things that I mentioned in my opening statement and perhaps there's
misunderstanding about this is the NGBs do not believe that they have that same
limited liability that would protect them, if they make their names public and that's
causing a bit of a road block at the moment.

So I think we need to investigate is that true and perhaps Congress can assess by
ensuring that the NGB's feel that they do have that - that liability protection as well,
they are in general very, very willing to make this information public and transparent




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and they're working right now with us and with the Center to figure out how the
database systems will work, to allow us all to seamlessly share that information.

But that is a stumbling block we'd like to overcome.


MORAN:


So today the - the database only includes at say - at U.S. SafeSport, those individuals
that are involved in cases that have been referred to U.S. SafeSport since its creation?


LYONS:


That's correct and we also have, that the Center's publishing on a bi-weekly basis is
what they're calling an adjudication log, that's actually a written log of all of the
banned and suspended individuals that the NGVs have reported.

We know who they are and that's being updated every two weeks but it's not yet
public.


MORAN:


So are - there is a list of banned coaches and employees?


LYONS:


Correct.


MORAN:


And who knows about that list?




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LYONS:


At the moment, that's an internal list between the NGBs and the Center for SafeSport
but the system that we're hoping to develop would allow that to become public.


MORAN:


Would there still be coaches who were on that banned list who are coaching or
employees who are still employed?


LYONS:


Well, there certainly should not be and I think we just discovered, just in the past few
days that there are still some weaknesses in the communication system that when
someone is banned, not only does that individual needs to be notified immediately but
anywhere where they are currently employed that we could possibly be aware of, also
needs to be simultaneously advised.

We've discovered that there has been some lag in timing in that system that needs to
be close.


MORAN:


So the point you're making is that if - if someone is banned, only the banned person,
the coach or employee gets notified, not simultaneously is the employer notified?


LYONS:


The - the employer should be notified simultaneously. I read an article and I don't
know, if this is factual that the employer of one of those individuals did not receive



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notification until a few days later and that individual was still coaching in that interim
period.


MORAN:


To your knowledge, what FBI checks have been run on current coaches or
employees? Current process by which someone is investigated by the FBI?


LYONS:


Well, we have background checks, all of - all of these individuals go through
standardized background checks and we have a standard list of things that needed to
be checked. I'm not entirely sure if the FBI is a part of that.


MORAN:


When you say, all these folks, does that mean every coach, I don't what the - what the
category would be of what type of employees but all NGBs.


LYONS:


For all NGBs, anyone who is authorized to have contact with athletes, it could be
medical staff, it could be coaches, it could be trainers, they are all required every two
years to undergo a background check.


MORAN:


Has there been any anonymous inquires, requesting anonymous information from
athletes in which they can provide information about experiences they've had that are
inappropriate?



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LYONS:


I'm sorry, could you rephrase your question?


MORAN:


Has - has the athletes involved in the U.S. Olympics been - has there been enquiry by
which they can anonymously respond about any experiences they've had, that would
reflect the sexual abuse or other bad behavior?


LYONS:


Right, within the USOC and adjacent to the ASC, there's an athlete ombudsman who
has a strong relationship with the ASC, any information that's provided to them is
confidential, it does not have to be shared with the USOC as an entity.

And an athlete has the opportunity to reach out to the ombudsman and make known to
them any information they have. If that information involves sexual abuse the
ombudsman as required by law to report that to the Center immediately.


MORAN:


The questions I just ask you about banning coaches, investigations background checks
and anonymous ability to report something to an ombudsman. When did that come
into existence?


LYONS:


Well, the ombudsman has been in existence for quite a long time, it's been -




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MORAN:


Including the times in which Nassar was doing the things he was doing.


LYONS:


Yes. One of the issues that I think, we need to all work on is education amongst the
athlete population to even know that there is an ombudsman. We recently did some
research that shows that many athletes are unaware of that position, not necessarily
sure how to reach out to them.

Similarly they need to know how to reach out to the Center.


MORAN:


Ms. Perry, at our last hearing, Rhonda Faehn testified that Amy White, an employee
of USA gymnastics was directed by Steve Penny, her boss to go to the curly ranch
into take documents from the national training Center back to USAG headquarters in
Indianapolis. Have - have you seen those documents?


PERRY:


Thank you Senator Moran so what I know is that that instruction, it was - it was told
to me that that that instruction was given to Ms. White that Ms. White came back to
the office with a suitcase and some boxes.

Where those documents went from there, I don't know, I was also told that there was
not a sort of logging in, if you will, of those documents in the organization but those
documents were given to then CEO, Steve Penny.




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MORAN:


Do you know that those documents were given to - to Mr. Penny?


PERRY:


Of course, I wasn't there, Senator Moran, but that's what I was told.


MORAN:


And we've made enquiry of USA gymnastics so with an extensive request for
documents, those documents have not been provided.


PERRY:


I know we've produced close to a million documents in production so those
documents could be in there, they may not be but I - I don't know -I don't know where
those documents are.

Miss - Steve Penny would know where those documents are.


MORAN:


There would be no chance of those documents exist within your custody at USA
gymnastics unless they were provided to us unless they're included in the list that you
- the million documents that you provided us?


PERRY:


Right.




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MORAN:


Otherwise you can assure me that they don't exist within your custody?


PERRY:


To my knowledge, they do not exist in our custody.


MORAN:


Sir Blumenthal.


BLUMENTHAL:


Thanks Mr. Chairman. Mr. Engler, are you familiar with Kelly Lawrence.


ENGLER:


Yes.


BLUMENTHAL:


She's here today and she remembers a conversation with you in which you said, and
I'm quoting her, ' Mr. Engler then looked directly at me and asked, quote, right now, if
I wrote you a check for $250,000 would you take it? When I explained that it's not
about the money for me and I just want to help, he said quote, well, give me a number,
end quote', that's accurate, correct?


ENGLER:


No Sir, it is not.



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BLUMENTHAL:


Well, you offered her money, did you not?


ENGLER:


No Sir.


BLUMENTHAL:


You never spoke to her about money?


ENGLER:


No Sir.


BLUMENTHAL:


Did you meet with her absent her attorney?


ENGLER:


Yes, at her request, at her mother's request.


BLUMENTHAL:


And there was no discussion of money at that meeting?


ENGLER:


There was not any discussion of any settlement, she is now part of the settlement that
has been requested -


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BLUMENTHAL:


Was there in another meeting, discussion about paying her individually, in connection
with her assailant?


ENGLER:


No.


BLUMENTHAL:


Let me ask you, Ms Lyons. You know, I've - I've listened to your apologies and I
would have found them more credible if today were Thursday before the filing of an
answer by your organization in court.

That answer in effect disclaimed any and all responsibility. Did you authorize the
filing of that answer?


LYONS:


I did and -


BLUMENTHAL:


And are you aware, that in effect, it denies that the USOC had any responsibility for
Larry Nassar?


LYONS:




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That is not our intent, as publicly stated and I will state again that we believe we do
have responsibility and accountability along with the rest of the movement in failings
these athletes.

The questions in the motion to dismiss are a different set of questions about the legal
liabilities and our relationship with Larry Nassar's different than the relationship of -


BLUMENTHAL:


The contention in your - excuse me for interrupting but my time is limited. In those
court papers, your organization stated that there was no legal grounds to sue because.
Nassar never worked for the federation nor were his crimes foreseeable?

In other words you couldn't anticipate, couldn't expect or suspect any crimes by him.
Is that's the position of your organization?


LYONS:


Yes and I'm not a lawyer, that is the legal term whether something can be foreseeable
and I think that the courts will have to determine if we have legal liability, we
certainly have social and ethical liability.


BLUMENTHAL:


Well, in effect, you have said you have no reason and the plaintiffs have no reason to
hold you accountable in a court of law, that's correct, right?


LYONS:


That's correct, from a legal perspective and the court can determine if -



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BLUMENTHAL:


So in effect you've washed your hands off.


LYONS:


I'm sorry, if it would appear that that's the impression you've gotten, that is certainly
not our intent, we are actively engaged in everything we can do to help keep athletes
safe.


BLUMENTHAL:


Except being part of the legal process that will impose any sort of court orders,
impose any kind of accountability or responsibility?


LYONS:


I think the court will determine, if we need to be part of those proceedings and if they
determine we should be, we absolutely will be.


BLUMENTHAL:


Let me ask you, Ms. Perry, because your organization filed a similar filing. And I
think in your case it was a motion to dismiss and that was on behalf of the new - the
new USA gymnastics.

You said, in one of the parts of that motion to dismiss, when the issue was whether
Nassar was - was a certified athletic trainer, osteopathic physician, national medical
director and national team physician? The response was denied, that correct?




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PERRY:


Senator Blumenthal, I'm not sure what motion to dismiss you're referring to or the
timing of that or the timing of that statement.


BLUMENTHAL:


Well, it may have been an answer, I'm not sure whether it was an answer or a motion
to dismiss but in either event you denied that contention, correct?


PERRY:


I don't - I'm not familiar with that, if there's a document that I can look at, I'm happy
to read that and provide answers to you. I do know Senator Blumenthal -


BLUMENTHAL:


Well, let me ask you a different -


PERRY:


Yes.


BLUMENTHAL:


- way, isn't it true that he was a certified athletic trainer, Osteopathic physician,
national medical director and national team physician?


PERRY:


I don't know all of his designations but I will say -



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BLUMENTHAL:


But you work there, correct?


PERRY:


Yes, he - he was a volunteer and he had -


BLUMENTHAL:


But when you say, he was a volunteer, he was compensated, correct?


PERRY:


I - he was compensated for - from what I've been told, he was compensated for
expenses and travel and they're like -


BLUMENTHAL:


And he received fringe benefits?


PERRY:


I don't know what fringe benefits that would have been but -


BLUMENTHAL:


And he received the stature and prestige of being announced as and I'm quoting, part
of the USA gymnastics medical task force, to provide leadership and oversight of
USA gymnastics practices procedures and protocols.




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PERRY:


Senator Blumenthal, that was before my time, that designation and - but I - but here's
what I think is important, is that from day one when I came on board, I made it very
publicly known, that this organization is going to be making our every attempt we
can, to resolve the situation.

The survivors are the most important thing and reason that I took this job because
their voices and their courage moved me so much -


BLUMENTHAL:


And I'm out of time.


PERRY:


But I -


BLUMENTHAL:


And I accept your words.


PERRY:


Yes.


BLUMENTHAL:


But just last Friday, you filed this answer that strikes me as a blatant falsehood.


PERRY:




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I'm not familiar with that action, Senator Blumenthal.


BLUMENTHAL:


Didn't you authorize it?

Perry: I not familiar with that - I would like to see that and be able to answer your
question.


BLUMENTHAL:


Well -


PERRY:


A motion to dismiss -


BLUMENTHAL:


Are you here with counsel today.


PERRY:


I am.


BLUMENTHAL:


I would suggest that maybe your counsel should show it to you because you are
testifying here. And both you and Ms. Lyons are responsible for those filings in court,
not just for the legal position but the factual assertions.




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And I hope that you will review them before you leave here.


BLUMENTHAL:


I will and Mr. Engler, I'm not sure, how to follow up on your denial of any
conversation with Ms. Kelly Lawrence but I'm going to do so. Thank you Mr.
Chairman.


MORAN:


Senator Peters.


PETERS:


Thank you Mr. Chairman, Ranking member, thank you again for this hearing, been to
others hearing. You know, this morning I had an opportunity to hear directly from a
number of very courageous survivors. And many of them are - are here in the in the
audience for this hearing, right now.

Mr. Engler, in talking to them, they feel very strongly that you have not listened to
them and if you have listened to them, you certainly haven't heard, what they have to
say and the concerns that they've expressed.

And so today, as their Senator, I want to amplify their voices and ask some of the
questions that they raised. First off, the - the Detroit news has reported that in the past
20 years - 20 years, at least 14 people, most of whom are or were MSU employees
were notified of Nassar's behavior.

So in - in the interest of time, I'm just going to ask some yes or no questions, if you'd
answer, yes or no, I'd appreciate it.



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First yes or no have you subjected any of these individuals to any disciplinary action?


ENGLER:


Yes. The immediate action that I took with regard to Dean Strampel was an indication
of my assessment that his leadership as Chair - as the Head of the -as Dean of the
college of Osteopathic medicine fell far short of appropriate performance standards.


PETERS:


So you have one - just in time - when you had one individual you took the disciplinary
action is Mr. Strampel?


ENGLER:


Well, I think, all of these happened, I arrived in February of 18 -


PETERS:


So no, you haven't, that's fine, so no is the answer. Mr. Strampel, I understand, you
called in February for a revocation of his tenure.


ENGLER:


That's correct.


PETERS:


But that did not happen, he is actually allowed to retire according to -


ENGLER:




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No, his tenure - that's correct his retirement has separated him from the University and
so he is no longer connected anyway to the University.


PETERS:


Right, so he was allowed to retire and I was - he received $175,000 as well as part of
the settlement, I understand -


ENGLER:


That was the settlement that we judged as more in the interests of the University and
the survivors to have him gone and separated, versus a tenure proceeding which I
hear, administrative procedures could run more than a year and would have cost much
more than $170,000.


PETERS:


So that was - that situation, yes or no, beyond Nassar and Strampel, so no - no - no
other person has been fired?


ENGLER:


And there is an ongoing investigation, I would - would remind the Senator, by the
Attorney General of the State of Michigan, at the request of the Board of trustees, to
see if anyone else should be subject to sanctions.


PETERS:


So all these individuals will be interviewed?




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ENGLER:


I believe, they have been.


PETERS:


And that's done by the Attorney General's office?


ENGLER:


That is correct.


PETERS:


Yes or no, do you believe that there was a culture of enabling and covering up of the
actions of a predator over 20 years, in MSU.


ENGLER:


Well, I wasn't there until February of 2018 but when I arrived, I felt that there are
weaknesses in procedures and protocols. I felt that the shared governance model at
University didn't lead to specific accountability and so I thought those weaknesses -


PETERS:


So there were problems, I need to keep moving if I could President.


ENGLER:


OK, but I would - if I can't answer the questions, I'm not allowed but -




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PETERS:


Well, that was a yes or no and if you were not there, you think, yes, there were some
issues, you -


ENGLER:


Well, there are issues for sure.


PETERS:


So you answered a yes, do you believe there's a job is to instill trust?


ENGLER:


Oh absolutely, I think trust and trust is done by accountability and people accepting
responsibility for their roles, be that someone in charge of compliance in a medical
school or someone in charge of you know, assuring that an investigation is done
properly at the police department.


PETERS:


And I appreciate that and in addition to the - the - the - making sure there's
accountability, it's also the people you put in place to instill trust, one thing that the
survivors felt very strongly about, I think many of us believe is - is true, is that, you
should bring outside perspective into the leadership, fresh eyes are very important.

Having national searches to bring in folks who are going to bring a different view on
how things are happening in Michigan state it's important. We have seen you have




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pledged or you pledged to do that for a national - for your athletic director, have a
national search, that didn't happen.

You hired somebody from within the University, you also hired a Head of the Office
for Civil rights and - and Title 9, someone who was actually assigned to defend
Michigan State University against sexual assault lawsuits as opposed to being
someone traditionally in many universities, someone who works with diversity and
working with students is really a defender and a champion for students as opposed to
the University.

So I - I think, for what came out very clear to me is in addition to some of your hiring
decisions that I mentioned briefly, your lack of empathy and respect to survivors,
especially for Kelly Lawrence which I think, Senator Blumenthal in your remaining
time are going to ask more questions about that.

We also have a situation with Rachael Denhollander who you accused of receiving
kickbacks for manipulating other survivors, are you willing to apologize to her?


ENGLER:


Oh, I've already done so.


PETERS:


Have you done that publicly, verbally?


ENGLER:


Yes, I have.




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PETERS:


So Mr, Chairman, I'd like to enter into the record, a letter signed by over 120
survivors, written to members of the MSU's Board of trustees into the committee
record, if I may.


MORAN:


Without objection.


PETERS:


I'd like to read a couple of brief passages, first passage in this letter signed by 120
survivors, we recognize that the greatest measure of an abusive culture is how
survivors are viewed and whether perpetrators and enablers will be held accountable
and that the environment in which they thrive remediated.

On all of these metrics, President Engler has only reinforced the culture of abuse at
MSU and now they go on to say, we are here to tell you that all the organizational
changes in policy and procedure enhancements in the world mean nothing, if there is
not leadership that creates an environment where survivors feel safe to speak up and it
is our position that MSU cannot move forward and become an institution of integrity
and safety, until John Engler is no longer President and a new interim leader who will
stand against the abusive culture is found.

And Mr. Chairman, I just have one last question and this is a question that came from
Jessica Smith, who I met with, this morning, another one of courageous survivors and
she had one question for you and I would like you to - to ask, especially after hearing
excerpts from this letter, from 120 survivors and there's much more in that letter.



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Her question was, if your presence is so harmful to survivors, why should you keep
your job? Would you answer that, please?


ENGLER:


Absolutely, be happy to, under my leadership, accountability is being instilled across
the University, we're seeing the number of complaints coming forward, people are
being willing to bring complaints to the office of - is to select tighter line of
investigation.

We have fixed the problems of the medical clinic now by strengthening the protocols,
strengthening the Chaperone Policy, strengthened the billing and reporting procedures
in the department, strengthened the evaluation of deans and the key personnel
themselves.

Arrived at a $500 billion settlement to put some of the litigation behind, fully
cooperate with all the investigations and we're also starting a process to bring a new
President in.

You mentioned earlier appointment, you mentioned only two but there is a national
search under way for the head of the title in office, you neglected to mention that, man
is in interim there.

The Athletic Director was somebody chosen from outside the Athletic department,
yes, he was part of the university but he was chosen with the strong support of your
constituents in Michigan.

Constituents who include not only the football and the basketball and soccer and the
golf coaches of the men's and the women's side but alumni supporters and everybody




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who views that this man who has a legal degree and a Master's degree from
Northwestern University has a strong commitment to compliance is exactly the right
person to come in and be strong as a leader of the department.

And in having a national search, we would have found an outsider just as I found an
insider of the department but we could not do a better job and he deserves your
support and mine.


PETERS:


So the national search wasn't conducted, you said, you will do one for this other
individual -


ENGLER:


I said, it is being done, Senator.


PETERS:


It is being done, yes, but that has been done and there is now a national search for a
permanent President?


ENGLER:


Yes.


PETERS:


My understanding you will not be part of that search and if offered the position, you
will not take it?




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ENGLER:


I've got a candidate and I strongly support the Board's decision to move forward,
they're in the process of hiring the search for and compiling the search committee. I
would hope that they would have somebody very quickly and when that person
arrives, you give them your support.


PETERS:


All right, thank you.


MORAN:


Senator Cortez Masto.


CORTEZ MASTO:


Thank you, Mr. Chair and - and Ranking member Blumenthal. Thank you for
continuing your work and leadership to bring witnesses before this committee that can
provide us real answers.

I know that members of the committee take this very seriously and are hard at work to
provide more structured safeguards for Olympic athletes and then to the survivors in
this room, I want to personally thank those who have stood together to present an
image for the world and are standing up and telling their story.

I know it's not easy, but you are athletes with unimaginable strength and courage and I
thank you for everything you do every day, for using your voices.




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As elected leaders, we must remain committed to our obligation to demand reforms
and provide for real thoughtful solutions that will make positive change. I remain
committed to working with my colleagues, survivors, advocacy groups and many
others to make fundamental changes to the governance and oversight of the amateur
sport in this country.

And so, Ms. Lyons, let me start with you and I want to follow-up in a conversation
with the Chair that you started with regarding the ban list. Can I ask you what are the
consequences that the USOC outlines if a member club hires a coach or an individual
on the banned list.


LYONS:


That's an excellent question. To my knowledge, we do not - we have the USOC do not
have anything that is written as to what would happen if an outside club hired
someone on the banned list.

Typically, the USOC is not aware of which coaches are at which clubs. That's
generally something that the NGBs are much more aware of, but I think you point out
a structural issue that is something we should look at.


MASTO:


So, Ms. Perry let me ask you this. What actions is USA Gymnastics taking to identify
and remove coaches, athlete, directors, employees and officials who witnessed
emotional and physical abuse of athletes and did not report child abuse to the
authorities and did nothing to stop it.


PERRY:




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So, we have made both are permanently ineligible list and are suspension list public
on our website. There are several ways that we communicate that information out. Of
course, we provide notice to the adverse party and we provide notice to the club
owners and we also ask the club owner to provide notice to the membership in their
club area.

And so ...


MASTO:


Let me ask you this, so you are actually taking action to identify and remove coaches,
athlete, directors, employees and officials who witnessed emotional and physical
abuse of these athletes and did not report the child abuse to authorities.


PERRY:


As long as we have a report and we're made aware of it, we are going to follow our
safe sport policy and our bylaws, which allows us to take action. And again,
depending on the nature of the misconduct if it's sexual misconduct that goes to the
center if it's non-sexual misconduct that stays presently with the national governing
body. And so, we have specific processes that we follow, some of that of course is
governed by not only our bylaws and our safe sport policy but by the Ted Stevens
Act. And so, we follow all of those processes to find it at the end of a hearing panel.
For example, what their decision is and based on their decision in that hearing panel
the action is taken.


MASTO:




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So are you currently taking any actions to identify or remove current employees who
knew about the sexual views and didn't do anything to report it and stayed silent.


PERRY:


Did you say current employees?


MASTO:


Yes.


PERRY:


So, right now, we are going through an independent investigation, the Ropes and Gray
and that information I think is not only critical for this body and all of the
investigations that are going on, but it's very critical for us, because it's important that
we learn the facts around this and so you know if there are ...


MASTO:


All right. So, let me stop you there.


PERRY:


Sure.


MASTO:


I appreciate the filibuster, but I've only got five minutes and we'll follow-up with you.
In the testimony offered by Mr. Rick Adams of the USOC in March of 2017. He
testified that there was "an environment that discouraged victims from reporting



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abuse" at NGBs including the USA. Do you agree with Mr. Adams' assessment of the
culture at USA gymnastics prior to your tenure.


PERRY:


Senator, I saw immediately that we had to become an athlete centric organization.


MASTO:


Does that mean yes?


PERRY:


I saw immediately that this organization and probably very much other organizations
need to focus their priorities on the safety of the athletes.


MASTO:


So, let me ask, is it Mr. Xiao, thank you very much. You've heard the opening
statements of the individuals that are on the panel with you. Let me ask you this, is
there anything that they have said that satisfies your concern that structural changes is
going to occur.


XIAO:


I think that we're engaging in this process in good faith from the Athletes Advisory
Council and will continue to provide our suggestions for structural changes. But in the
end, as I said in my testimony, I do think that we've done this before. I think we've
done independent commissions. We've done sweeping governance changes. We've
done the tag (ph) commission not too long ago and here we are today.



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MASTO:


That's my concern. So, did you hear anything different today that's going to change
your mind - make you - or at least satisfy concerns that change ...


XIAO:


Personally, I don't think so. I think that there is not a feeling necessarily of the
organization. I think it's a feeling of the entire system the way it is set up.


MASTO:


Thank you. I know my time has run out. Thank you.


MORAN:


Mr. Xiao, Ms. Cortez Masto went down a path that I was intending to go. Let me take
what you just said, a step further. My question was and perhaps is, so we've heard
testimony from Mr. Engler, Ms. Lyons, Ms. Perry. I would summarize their testimony
and what we've heard from them in other meetings is that things are different today
than they were. We take sexual abuse seriously. We put protocols in place. We have
reporting requirements. We've created safe sport.

You were on the advisory committee, I would guess prior to Ms. Lyons, it would be
about the same time of her arrival but is the world of Olympic athletes and the
relationship between USA Olympics and the governing bodies, is it different today
than it was at the time of Larry Nassar or is the only thing that's different today is that
Larry Nassar is in prison.


XIAO:



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I don't think that the only thing that's different is that Larry Nassar is in prison. I do
think that in many cases, the presence of safe sport has pushed certain national
governing bodies to do more to protect athletes. But I don't think that there has been
necessarily a see change in the relationship between athletes and the NGBs or the
athletes in the USOC.


MORAN:


And my understanding of your testimony is maybe putting words in your mouth, but
part of that significant problem is the monopolistic nature of the U.S. Olympic
Committee. So, when you say that there is things wrong that hasn't changed in the
way that it needs to, the structure is flawed. The problem is the relationship between
athletes and the U.S. Olympic Committee, which is their only option to compete and
to perform. That's the story. I mean that's your testimony.


XIAO:


I think that's accurate.


MORAN:


Thank you. Let me ask Ms. Lyons, former president Scott Blackmun of the U.S.
Olympic Committee stated in his written responses to questions for the record that a
confidential memo summarizing the chronology of events relating to the athletes
report of abuse in the summer of 2015 and the actions taken by USA Gymnastics
including its engagement with the FBI was drafted by USAG. and forwarded to
USOC in September 2015.




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So, Mr. Blackmun's written response, his testimony was that there was a report
forwarded from USAG. to the U.S. Olympic Committee in September of 2015 and
that report indicated referral or conversation, engagements with the FBI. This
document has not been provided to the Subcommittee for our review. Are you aware
of the existence of this document and why was it not provided in our request of the
USOC for documentation.


LYONS:


I am not aware of the existence of that document. I have not seen it. My understanding
was that that initial - it was a conversation that informed Mr. Blackmun that USAG
was informing the FBI and that was back I believe in July. I have not seen any
document that would be a chronology of events that was produced in September.


MORAN:


If that document exists, would you know about it? If that document exists within your
custody of the U.S. Olympic Committee would you know about it?


LYONS:


We would think from all of the search that we have done on keywords and the like
that something that contain any of those keywords about gymnastics, Nassar et cetera
should have been revealed if it existed.


MORAN:


Just like with the documents that were retrieved from the Crowley Ranch, we've yet to
see - this is a document that I think would be very valuable to us and I would ask you




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to pursue the possibility that it exists within your custody and provided if it does that I
assume you're willing to do.


LYONS:


Absolutely, willing to do that.


MORAN:


Ms. Perry, do you know anything about that document?


PERRY:


I do not.


MORAN:


So, I suppose a copy could exist, it was forwarded from U.S. Gymnastics to the U.S.
Olympic Committee. One would think there might be a document again. Same story
with the Crowley Ranch documents, if it's in your custody, I assume you will pursue it
further and provided if it exists.


PERRY:


Yes, sir.


MORAN:


Thank you.


PERRY:




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Senator Moran, may I add because my attorney has just advised me of which
document we're talking about.


MORAN:


Yes, ma'am.


PERRY:


I believe there was a document sent from Steve Penny to us at the time of Chief of
Security Larry Bondar. And my understanding is that that document has been
provided.


MORAN:


That is the document, it was provided to your security director, your security chief. I
don't believe we have that document. And if again, I would ask you if you'd provided,
if it does exist and apparently it does, so thank you for checking with your attorney
and we would appreciate you providing it to the committee. Thank you.

Senator Blumenthal.


BLUMENTHAL:


Thanks Mr. Chairman. Mr. Engler, I want to be fair to you and give you a chance to
go back to your previous answer. The comments made by Caeli Lawrence were in a
public comment session. He recounted that conversation. And you deny that the
meeting with her without her attorney in which you offered money took place.
Correct.




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ENGLER:


I did not deny there was a meeting. She waited for some 45 minutes with her mother
to meet with me and I along with two women were on my staff, Carol that the family
did meet with her.


BLUMENTHAL:


But there was no discussion. You deny any discussion of ...


ENGLER:


No. Our discussion was about, what is it among all of the actions we've taken, many
of which were in my written testimony, is there anything else that from the survivor
perspective could be done and the discussion was how do we hear from people about
what is it that might help.


BLUMENTHAL:


So, no discussion of money. I want to be absolutely ...


ENGLER:


No discussion, yes, we were in settlement talks or no point in having a settlement with
a single ...


BLUMENTHAL:


Did you consider it proper to meet with her without her attorney present. You need
she was representing.




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ENGLER:


That was up to her. I asked that question to her and her mother, if they could meet
with me. It's appropriate, I could meet with them. But could they meet with me and
they ask that would this be done privately that nothing be said, they could get in big
trouble. It was not a problem on my side. It was an issue for them and I have met with
others and ...


BLUMENTHAL:


You made no offer of money as she very specifically said, she didn't.


ENGLER:


No, I was not doing settlement negotiations with one plaintiff that would be.


BLUMENTHAL:


So, are you saying that she lied when she made that comment.


ENGLER:


I have said publicly, we have very different recollections. The people in the room that
were part of the university have different recollections of that conversation that she
has.


BLUMENTHAL:


Did you comment on the Williams Rampal (ph) in that meeting with her.




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ENGLER:


I don't remember. I might have, because I think I might have mentioned the fact that
we had already begun the tenure revocation. Did you say about the charges of
misconduct against him that they were "no big deal".


BLUMENTHAL:


No, you deny that you said that.


ENGLER:


Absolutely. I mean we're revoking a gentleman's tenure. That's a big deal. And the
actions that the failures of his leadership were a very big deal.


BLUMENTHAL:


Ms. Perry, earlier I referred to the answer that was filed on Thursday. And I also made
mention of the motion to dismiss filed by the United States Olympic Committee.

I want to be clear, you are saying that Larry Nassar never worked for USA
Gymnastics in a way that would make you in anyway legally responsible.


PERRY:


No. Senator Blumenthal, I'm not saying that at all. What I'm saying is that he was not
an employee of USA Gymnastics. Of course, as the team doctor. Yes, there was
definitely a relationship there with USA Gymnastics at the time and of course, I
wasn't there. But that he was known as the team doctor for USA Gymnastics.




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BLUMENTHAL:


But that seems contrary to what you have said in court. I mean in court you said, he in
effect was like a volunteer who just happened to be there, and you have no
responsibility for anything you did.


PERRY:


Senator.


BLUMENTHAL:


By the way that contention is belied by your own documents. I'm going to ask that the
Chairman put in a record a statement of July 11, 2014, which describes "services" I
mentioned it earlier.


MORAN:


Without objection.


PERRY:


Senator Blumenthal I've joined USA Gymnastics in December of 2017. So, I've been
with USA Gymnastics for seven months. The legal actions and the statements that I
believe you referred to, based on the date were made prior to my becoming the CEO
of USA Gymnastics.


BLUMENTHAL:


Well, the court filing was on Thursday.




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PERRY:


I have to look at that. Yes.


BLUMENTHAL:


Well, I would look at it really hard. Yes. And I would decide and I'm being very
serious, whether your organization really wants to stand by that representation which
in my view is entirely disingenuous and false and I want to add one more point. I don't
know how athletes, parents or communities can trust an organization that says, Larry
Nassar wasn't employed when in fact he was the team doctor.


PERRY:


Absolutely. He was - the only clarification I made was that he wasn't an employee. He
was an employee of Michigan State. But I will find out about that. I have counsel
here. I'm not aware of a motion to dismiss by USA Gymnastics, but I will get to the
bottom of that and I do want to say this Senator Blumenthal that really from day ...


BLUMENTHAL:


I want to correct your misimpression, just to be clear. USA Gymnastics filed an
answer. I'm not familiar with Michigan civil procedure.


PERRY:


OK.


BLUMENTHAL:




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And apparently it was in the state court. But just so the record is clear. It was an
answer. U.S. Olympic Committee filed a motion to dismiss.


PERRY:


OK.


BLUMENTHAL:


Ask about that.


PERRY:


Great. Thank you for clarifying that.


BLUMENTHAL:


Ms. Perry in a letter dated February 9, 2018 to Chairman Moran and me. You denied
that USA Gymnastics used non-disclosure agreements as part of your investigations.
Do you recall that letter?


PERRY:


Senator Blumenthal, I would have to look at that letter, but I don't recall denying.


BLUMENTHAL:


I have copies of it, I'm sure your counsel does.


PERRY:




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Yes. So, there was a non-disclosure agreement that I think everybody is aware of that
was put in place a few years ago prior to my being the CEO. And when I found out
about that non-disclosure, I immediately instructed our legal team to release that
individual from any non-disclosure agreement as I will not tolerate the silencing of
any sexual abuse victims. And from that point on as well as I'm the new CEO, I said,
there will not be any non-disclosure agreements that silence sexual victims as long as
I'm leader of this organization.


BLUMENTHAL:


There was in fact with McKayla Maroney, a non-disclosure agreement which
contained a clause that would find her $100,000 if she were to speak out about her
abuse and are there any others.


PERRY:


I am not aware of any others prior to my being CEO, Senator Blumenthal, but again
it's very important that everybody understands that that is not acceptable, and I
released and made very public that this organization will not stand by that.


BLUMENTHAL:


And you would commit here that if there are any other agreements, you will release
on behalf of your organization those individuals from that command.


PERRY:


I will not allow a survivor or a victim of sexual abuse to be silenced to be able to
speak out about their sexual abuse. I absolutely commit to that.




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BLUMENTHAL:


Going forward and retrospectively.


PERRY:


Absolutely.


BLUMENTHAL:


Have you ever discussed with - Mr. Perry - I'm sorry Mr. Perilla - Paul Perilla, the
former USAG. board chairman, his involvement in the use of that non-disclosure
agreement?


PERRY:


I was aware that he was involved in that situation, but to the extent that he made the
decision or who made the decision. I'm not aware.


BLUMENTHAL:


Did you ever talk to him about it?


PERRY:


I asked him about it. Absolutely.


BLUMENTHAL:


And what did he say?




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PERRY:


It was his recollection that that was something that was agreed upon by both parties.
And that's pretty much the information he shared with me.


BLUMENTHAL:


And I have one last couple of questions. One last ...


MORAN:


One last couple of questions. Just so you know you're not putting one over on.


BLUMENTHAL:


You know I told the survivors this morning that I had a lot of questions. But I warned
that we had only limited amounts of time. So, I thank the Chairman for allowing me
unlimited remaining questions. No, I'm just kidding Mr. Chairman.

Are you familiar with a report in the Orange County Register of last. Well, actually of
yesterday with regard to two coaches, two suspended coaches still working in
Southern California Gymnastics Club. Their names are Colden Racier (ph) and Terry
Gray (ph).


PERRY:


I am.


BLUMENTHAL:


Can you explain how they can be suspended, but USA Gymnastics still permits them.



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PERRY:


Senator Blumenthal, I believe that the individual that wrote the article was absolutely
correct in that. And I think to Mr. Xiao, am I pronouncing - Xiao. His point is, this
illustrates a systemic and structural challenge that we have. And again, I look at it
from outside the Olympic movement. But here's what happened with Mr. Gray (ph).
Mr. Gray (ph) was a U.S. senator for Safe Sport case. And when the USA Gymnastics
was instructed of the allegation, USA Gymnastics act acted swiftly and put that
individual on an interim suspension. That interim suspension is on our website. So, it's
public.

There was - I was told, there was notice given to the parties that should have been
given to under the Ted Stevens Act. When you take anybody out of the field of play
that individual is entitled to a hearing panel. That hearing panel heard the - so he was
on interim suspension and USA Gymnastics acted swiftly.

So, the hearing panel occurred, and they reduced the consequence if you will down to
no contact with a minor child.


BLUMENTHAL:


They're coaching minors now.


PERRY:


I'm sorry.


BLUMENTHAL:


They are coaching minors, aren't they?



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PERRY:


So, this illustrates Senator Blumenthal one of the areas where I think Congress can
really help us.


BLUMENTHAL:


And Mr. Xiao highlighted one of those areas. Mr. Xiao have you talked to Ms. Lyons
about the structural reforms that you've suggested?


XIAO:


Some of them. Some of them are issues that the AAC has raised before and continues
to brainstorm.


BLUMENTHAL:


And how has the U.S. Olympic Committee received those suggestions?


XIAO:


Ms. Lyons has engaged on many of those reforms.


BLUMENTHAL:


Have they adapted any?


XIAO:




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Not fully. I think we are waiting for the athlete and NGB engagement working group
to begin, which has been assembled, but I have not received information about when
it's going to start work.


BLUMENTHAL:


So, nothing's happened.


XIAO:


Not that I've seen on most of the - most of the large-scale reforms.


BLUMENTHAL:


Thank you.


MORAN:


Senator Hassan. We're going to try to conclude this hearing in the near future and
Senator Hassan you are recognized.


HASSAN:


Well, thank you very much, Mr. Chair. I want to thank you and Ranking Member
Blumenthal for your continued attention to the issue of sexual abuse in the Olympic
system. And I also just want to thank all of the survivors again for not only being here
today, but for everything you've done to really focus the greater public on this horror.
And on the treatment, you've all experienced. And I am grateful that you're
extraordinarily harrowing stories are finally being heard. Thank you.




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Thanks to the persistence of these young men and women. I'll start with a question to
you Ms. Perry, and thanks to the tireless work of journalists like those at the
Indianapolis Star Tribune. They made sure that these stories were heard when they
published their expose in 2016.

But let's not forget that these athletes and their families have been trying to protect
themselves and each other for a long time. And even today certain individuals are still
attacking these men and women for sharing these incidents and for pursuing legal
action.

USA Gymnastics engaged in an egregious response over the course of decades,
keeping a file of complaints against more than 50 coaches hidden away in a drawer
and refusing to report these complaints of sexual abuse, misconduct and potential
child abuse to authorities.

Now, your testimony today focused on the very many things you're doing to
reorganize leadership and structure. But I would like to hear from you Ms. Perry, what
exactly are you planning to do to ensure that transparency, reporting and disclosure
policies are in place, so young athletes are protected from this kind of abuse, so not
just reorganizing, but how are you going to make sure that when somebody comes
forward, not only are they respected, not only is there a process, but there is the kind
of transparency is reporting and disclosure that we all know is so necessary in this
area.


PERRY:


Thank you, Senator. I think that it is a - not only incredibly important that we address
all of the things in an organization, the structure as you mentioned the systems, the




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policies, but also the culture. And it's unacceptable. It's absolutely unacceptable that
our athletes at any point in time could feel that their voices weren't important. And so,
one of the things that - a lot of the things that we've done in a very short period of
time is we've - not only through just the actions that I've taken speaking to survivors,
asking them what do we do. And quite frankly, I'm very hopeful that more survivors
will join our efforts.

But we are looking at everything from top to bottom. One of the things that I notice
right away is that there was very inadequate trackings mechanisms in place. So, we
began keeping track and a database of all complaints that came into the organization.
And then we went and we're not - we're not going to wait, we're not going to wait for
others, we're not going to wait. Whether the center takes on all forms of misconduct
which quite frankly I think is a great idea. We started looking at investing in software
programs similar to the center to say, we've got to get our handle on this.

So, we are launching the Maxine (ph) software program which is similar to what it's
exactly what the center is using and it's my hope that they will talk, because I think
one of the greatest challenges we have as a national governing body is our ability to
understand what's going on at the center.


HASSAN:


So, I thank you for that. And I'm going to stop you there. I have one other question I
want to ask and I'm sensitive to the length of the afternoon for everybody, but it's also
really important that adults understand that they will be held legally responsible.


PERRY:


Absolutely.



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HASSAN:


If they fail to report and disclose and take action.


PERRY:


Absolutely.


HASSAN:


And that is at the core of much of this, right.


PERRY:


Yes.


HASSAN:


So that it's not just about tracking. It's about letting people know that they have an
obligation it's not optional.


PERRY:


Yes.


HASSAN:


Right. And that even if it damages the institution or other people's reputations. It's not
optional, because protecting our athletes has to be the priority.


PERRY:




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Absolutely, Senator. And I want you to know that the things that we're doing as an
organization to make sure that that is not only our actions, but at each time a member -
a professional member for example is registering for their - either a new application or
renewing as a condition of their membership, they go through the Safe Sport course,
which talks to them about those kinds of things.


HASSAN:


All right. Thank you. I want to just turn and with a little bit of indulgence from the
Chair. Last question to Mr. Engler, please. One of the things that concerns me the
most. It has been shocking, and saddening is that the individuals have come forward
and they've not only had to relive their worst nightmares to tell their stories, but when
they do they are often still not being believed or their motives and personal character
are attacked. And I am sorry to say that you recently made remarks doing just that.

I am appalled by the email you sent earlier this year disparaging Ms. Van Hollander
(ph), a gymnast who was abused by Dr. Larry Nassar under the watch of Michigan
State and others. Your treatment of this issue raises concerns about how MSU will
move forward here. Even with all the evidence, why did you doubt Ms. Van
Hollander (ph)?


ENGLER:


The email of course was in the midst of our very difficult negotiation and it was
private, it was never public, and it reflected, I guess just the passions of the moment
about whether or not there were referral fees being paid. The reality is that our actions
today I think have consistently shown our support for the survivors and that is what
we have to create. We have to have a culture.




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HASSAN:


I'm going to interrupt you Mr. Engler. I'm sorry. When you write an email referring to
athletes as being manipulated. Not only are these strong accomplished smart athletes
who have overcome enormous barriers in their lives to reach the pinnacle of their
sport. They have survived unspeakable abuse and the notion that you would think they
could be manipulated by trial lawyers and that you would speak of them that way. Is
just deeply, deeply offensive. Private email or not, it reflects an attitude at the top of
the institution that you are asking this committee, your current students, your current
athletes, your alumni to trust. And I think you have some repair work today to put it
mildly.


ENGLER:


Well, I think you're right. That's why I apologized.


HASSAN:


Well, thank you for the apology. I just - I want to know that we keep applauding
survivors of abuse for coming forward. And then even though we say the right words,
we haven't yet really taken a look at the adults in institutions who were in-charge and
held them accountable. And what we do is we keep trying to make excuses for this
unbelievable horror that these young people have experienced, and it really needs to
stop. We need to take responsibility here. Michigan State needs to take responsibility.
The committees need to take responsibility and we need to change laws and hold
people accountable.

And I know that that's what this hearing is about. I know that that's what we're trying
to do here. But at the end of the day, private email or not disparaging these survivors


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takes all of the good work that so many people are trying to do to make sure this never
happens again and moves us backwards.


ENGLER:


Senator, I appreciate that. As I said, that is why I apologize. I have three daughters
aged 23, the exact same age as many of the survivors. And I know exactly what you're
talking about. I recognize that my own family what could have happened. And I feel
very deeply that's why we work so hard over the nearly six months I've been at
Michigan State to fix the problem.

When you're in litigation with 11 firm's emotions, you'll get high instead of
adversarial process. And I confess to getting very frustrated, but at the end of the day,
we did get the settlement done. We have fixed the policies. We've strengthened
accountability. Ms. Trevor I'd like to submit for the record, an executive order that I
did create the Office of Risk Management, Ethics and Compliance. It's exactly - it's
part of the actions that this Senator Blumenthal said, there is a lot of talk out there.
There is a lot of support, but at Michigan State we are fixing the problem and you
could not have a Larry Nassar again at Michigan State.

You've got a challenge I think on the part of all universities and a lot of organizations
to fix the relationship between the sexes and how do we deal with assault and
misconduct. But I would argue that we're done. We hope that what we've done at
Michigan State can be a model for others. And I brought also two articles that are
excellent articles one from Midland Daily News, a local paper, my own district. One
from the Bleacher Report. These are survivor's testimonies just as you said were the
media told the story. They got it out and it helps to explain how challenging this is to
fix. But I feel this deeply from a personal standpoint and my actions have been



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consistent with my belief that this should never ever happen again. None of these
women should have to or no future women's will have to go through what these
women have gone through.


HASSAN:


One might suggest that they never should have needed to sue the university in the first
place. Thank you very much.


ENGLER:


I would agree with that. Thank you. Mr. Chairman may I submit these for the record?


MORAN:


Senator Hassan, thank you. The documents will be submitted to the record without
objection.


ENGLER:


All right.


MORAN:


I'm going to try to ask just a couple of questions. Senator Blumenthal has agreed that I
have now equal time to his excessive questions. But first of all, let me go back to
Senator Blumenthal's question to you, Ms. Perry. I don't understand the flaw in the
system that the two people that are coaching in Southern California, the flaw that
allows them to do that is what?




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PERRY:


So, the example that I gave Senator Moran is with the coach, his last name is Gray
(ph). And we have our bylaws allow us to invoke immediate action called Interim
suspension when we feel that our membership is in harm's way. In the Ted Stevens
Act, anybody that is removed from the field of play is entitled to a hearing. So, we
invoked the Interim suspension immediately. The hearing panel heard the interim
suspension and said, we come back with this finding. We're going to reduce it from
suspension to no contact with minor children.

So, you've got that at play and you also have the center which also is problematic in
terms of this whole scenario that is in-charge of investigating and has complete
jurisdiction over sexual misconduct. So, the information they give to us to present to
the hearing panel is very limited.

So, you've got this system that's in place.


MORAN:


Is it a gymnastics club in Southern California that has allowed these coaches to coach.


PERRY:


That's correct. It's a member club.


MORAN:


A member of the USA gymnastics. Is that way to say that.


PERRY:




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Yes.


MORAN:


OK. Apparently not. You were hesitant to agree with me.


PERRY:


Member of USA Gymnastics.


MORAN:


OK.


PERRY:


The coach. Right.


MORAN:


So, they've been notified that the restrictions on the coach is reduced to no contact
with minors, but they're still coaching and at least according to Senator Blumenthal
they're coaching minors.


PERRY:


They have to be according to the hearing panel recommendation that individual is still
allowed to coach but has to have supervision.


MORAN:




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Supervision.


PERRY:


Right.


MORAN:


So, they can coach with supervision. Why would any gymnastics group want that
circumstance to be the case?


PERRY:


And this is exactly Senator Moran why we have such challenges, is that number one,
we've got the U.S. Center for Safe Sport who has jurisdiction but cannot tell us the
facts in great detail about that situation. So, if it's a misconduct, it goes right to the
center. They inform us about it. USA Gymnastics makes a decision based on the
limited information that the center has given to us. And we're going to err on the side
of athlete safety every time. And so, this - so, we made a decision as an organization
to put that individual on interim suspension, so they get removed from coaching.
Right.


MORAN:


I understand the scenario.


PERRY:


Right.




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MORAN:


I don't understand why the person is still coaching at the gymnastics club in Southern
California. Having been censured in a way that prohibits him or her from having
contact without supervision with young athletes.


PERRY:


But that's one of the challenges with the Ted Stevens Act is that prior to us, our ability
to invoke interim measures that an individual that goes through the process if you
will, an adverse party is entitled to a hearing.


MORAN:


All of which I understand the hearing occurred. The findings were held in the sense
that something bad had happened or some reason for restricting this coach's
capabilities to have contact with minors.


PERRY:


So, the hearing panel found that that they lessened the consequence from suspension
and not ...


MORAN:


I understand all the facts. As you described.


PERRY:


Right.




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MORAN:


But what keeps you from making certain that that group. First of all, I don't
understand why a group would take the risk of hiring somebody in that circumstance.
But secondly, what is your authority to do something about it when they do. And your
answer to that is nothing, because the person presumably is being supervised.


PERRY:


No. So, our answer, USA Gymnastics answer is to put an individual on interim
suspension. This is a sexual misconduct case. So, there is a lot of things that fall under
sexual misconduct. So, when the center tells us about this case, the case went to the
center and the center tells us about a case. We have very limited information given
from the center and we have to make a decision at that point in time. Our decision is,
do you put that individual on interim suspension or do you wait until the hearing
process goes through at the center, because that's where it occurs.

And once the investigation and the disciplinary hearing takes place then if the center
says - comes back and says, we're done with our finding, this is how we resolve this
situation. All throughout that process, we don't know what's going on. And for the
most part we have no idea how long it's going to take. So, in the meantime, we have
this ...


MORAN:


So, these individuals or this individual can be there until there is a final determination
by ...


PERRY:




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By the center.


MORAN:


Center for Safe Sports.


PERRY:


That's true.


MORAN:


And that's what you're waiting on now.


PERRY:


And they're still in that process.


MORAN:


And when that finding occurs then what's your enforcement against the clubs?


PERRY:


So, then depending on the facts and I don't - we don't - I don't know the facts in this
case.


MORAN:


Make this one more hypothetical.


PERRY:



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Yes.


MORAN:


So, you have somebody who has been determined to be - it's inappropriate for them to
be coaching the Center for Safe Sports. Hypothetically, a case has determined that,
what prohibits a club from continuing to hire people who they should not hire.


PERRY:


So, there is two things. One is as a requirement of their membership, they have to. For
example, in this case. If another club looks at hiring this individual and they're on a
permanently an eligible list or they're on the suspension - they have to look at those
lists that's a requirement of their continued membership. They have to do background
screening. They have to get references. There is a series of things that that club owner
has to do. And if for any reason they've hired somebody on a permanently eligible list
in this situation, the organization has the right to revoke their membership as a club
owner.


MORAN:


And the consequence of being a club that's no longer has membership with USAG is
what?


PERRY:


The membership is a privilege that club still can operate their business, they just can't
participate, and USA Gymnastics sanctioned kinds of events.


MORAN:



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You were asked Ms. Perry about non-disclosure agreements. Ms. Lyons, any non-
disclosure agreements at work at the USA Olympics, at U.S. Olympics.


LYONS:


No, I've asked that question and none to our knowledge.


MORAN:


And Mr. Engler, President Engler at Michigan State?


ENGLER:


No non-disclosure agreements. We don't disclose this leak.


MORAN:


In regard to reports about next steps, Ms. Lyons, the U.S. Olympic Committee has
hired outside folks to review process procedure, find out the facts. I assume make
recommendations to improve the circumstance. Is that all accurate? I'm describing
that correctly?


LYONS:


Yes, we have a number of initiatives in the house.


MORAN:


When will we the public be able to see the results of that study for those studies.


LYONS:




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There is a lot of interim things that will happen before those studies are completed, as
you know we're doing a lot of interim steps, but the commission that is looking at the
governance will begin and probably begin early September. We finalized - pretty
much are finalizing the membership of that committee and I know that seems slow
and moving as quickly as we can, but we want to make sure we have the right people
we are looking at.


MORAN:


Is this the committee that Mr. Xiao was speaking of.


LYONS:


Yes, and he will be a member of that committee as well.


MORAN:


but you've hired a law firm to evaluate process and procedure. And when we last
visited, I think we were expecting a report from that effort this summer.


LYONS:


I think you're referring to the Ropes and Gray investigation, which is not so much
looking policies and procedures, it's looking at the who knew what when.


MORAN:


Yes.


LYONS:




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And we expect probably in September. Our understanding is they've pretty much
completed their investigations at the USOC. I think also that the USAG, they have a
few more interviews to do a Center for Safety Sports. I believe they are almost close
to finishing their investigation and then they would write their report. They've given
us to understand probably early September is when we would look at.


MORAN:


Mr. Engler, there was conversations about the Michigan State Attorney General, the
state of Michigan's Attorney General. I also think was there a legislative inquiry.


ENGLER:


There were a couple of different committees. They've wrapped up their work.


MORAN:


So, you're who what when where reports have been completed and are known
publicly?


ENGLER:


That's correct. The attorney general we think is nearing the end. They've interviewed,
I believe more than 100 people on campus. We don't know when that report will be
done. We hope soon and that should be it for the state level reporting.


MORAN:


And Michigan State didn't hire anybody separate from the state efforts.




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ENGLER:


We did not.


MORAN:


OK. And Ms. Perry at USA Gymnastics?


PERRY:


There are several investigations that are ongoing. One includes the Ropes and Gray,
independent investigation. There are of course the congressional investigations and
others. And according to Ms. Lyons and what we've been informed that Ropes and
Gray should near its end around - and beginning of the fall.


MORAN:


In my view, certainly it would not be able to conclude our work until we see the who
what when and where reports from your organizations. Let me - I think this is it,
Senator Blumenthal for me. Center for Safe Sports. Just to want to give you further
license.

Center for Safe Sports, I want to talk about it for a moment. This would be to Mr.
Xiao and Ms. Lyons. One of the primary concerns that we've heard through are my
conversations with athletes and our investigation is the belief or concern that the
center is not truly independent from USOC. There is a resulting lack of trust on the
part of the athletes, so they see the center as something created by the U.S. Olympic
Committee and I'd like to hear from - I am going to start with you Mr. Xiao, is that an
accurate assessment of where we are and what can we do about it.




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XIAO:


As a collective I think there is a little bit of a concern, not necessarily with the board
of the center of Safe Sports, but a little bit of the funding model, because to be honest
not many entities have been interested in funding the Center for Safe Sports, as I
understand. And so, a lot of the funding comes from the USOC and the national
governing bodies.


MORAN:


And athletes I've talked to have expressed concern because the funding of the U.S.
Olympic Committee of Safe Sports, but I also would say what you just said which is
in the absence of the funding of the U.S. Olympic Committee. I doubt that the funding
is there for Safe Sports.


XIAO:


And that's certainly a challenge and I think that's fair. The other issue that we're
concerned about is the presence of former USOC staff members still operating in a
staff capacity at the Center for Safe Sports, which raises some concerns for some
people.


MORAN:


Say that sentence again. Make sure I understand.


XIAO:




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There are staff members at Safe Sports, who were formerly staff members at the
USOC committee. I can think of one. I don't know if there are others, but that
certainly raised concerns within the community as well.


MORAN:


Ms. Lyons.


LYONS:


Just comment on the same question?


MORAN:


Yes.


LYONS:


Let me first say that I separate two parts of independence in terms of the
investigations of the Center for Safe Sport is 100 percent independent. We have no
insight into that and it is all completely confidential and there is no USOC employee
who has any involvement with any of the ongoing investigations in any way.

There are areas where I think in the interest of all the athletes, the NGBs, the USOC
and the center need to collaborate and that is things like creating these databases so
that we can provide information and I think it is in helping to find additional funding,
because they don't have enough to be successful at their mission. And much like you
saw that which had its origins within the USOC, but then became a fully independent
organization with not just funding from the USOC, but also from the government. We




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think that that is really the evolution that the center needs to have so that it can truly
become independent of any influence from us or anyone else.


MORAN:


Senator Blumenthal.


BLUMENTHAL:


I want to ask Mr. Chairman that we put in the record the article I referenced it earlier
from the Orange County Register, dated yesterday.


MORAN:


Without objection.


BLUMENTHAL:


And just to point out that Ms. Perry it says that no notice of these individual's
suspension was provided, is that true?


PERRY:


Senator Blumenthal, I checked into that this morning and I was told that notice was
given through both an email and a first-class mail.


BLUMENTHAL:


So, you're saying that Terry Gray (ph) worked with the CIGA club in Southern
California. And did so with notice despite Cathy (ph), the Director of that club saying,




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"no notice was given to us nor Terry from USA Gymnastics prior to the list going out
on line".


PERRY:


That individual. Yes. I'm sorry. I apologize Senator. I was told this morning because I
quickly checked into that to make sure that notice was because that's part of our
procedure. And I was told positively that both an e-mail and a letter was sent out.


BLUMENTHAL:


That's just not true. That's fake.


PERRY:


I was told I was told that they were sent out.


BLUMENTHAL:


You know we seem to have differences in accounts here. Mr. Engler I am not going to
let this issue go.


PERRY:


I think it goes to the heart of why we're here in part because the survivors were
disbelieved for so long. And I just want to say for the record, I believe Caylee
Lawrence (ph) in her account - I regret that we're at this point in the testimony where
there are differences in factual accounts of what happened. And I want to say, and I
mean this as a lawyer and as a traveler, there are all kinds of defenses that the parties
can make in court. But there is also a moral responsibility here.



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And if the U.S. Olympic Committee and USA Gymnastics are really serious and
sincere, they will put aside this characterization of Larry Nassar relationship to your
organization that very respectfully let me say, disingenuously disclaim any legal
responsibility. If you're serious and sincere, you will withdraw that answer and motion
to dismiss, because you need to be part of the legal solution, not just come here and
apologize and say, there is a new USA Gymnastics, because it is the new USA
Gymnastics that file that answer and motion to dismiss on the part of the U.S.
Olympic Committee.


PERRY:


Senator Blumenthal I am not aware of a motion to dismiss and I think you corrected
that that it wasn't USA Gymnastics, but I will be very, and I want to reassure all of the
senators and all of the survivors and everybody in this room that USA Gymnastics is
absolutely dedicated and committed to legal resolution. And we've gone through
mediation. We're going to continue until we get resolution. And you're absolutely
right, we have a moral obligation.


BLUMENTHAL:


You have a moral obligation, but you also have a legal obligation.


PERRY:


And we have a legal obligation.


BLUMENTHAL:




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And you will withdraw that answer and correct it or amend it, whatever the correct
procedure is under those rules and you will accept that Larry Nassar worked for, was
employed by, was an agent of, and therefore imposes that legal responsibility on USA
Gymnastics.


PERRY:


And Senator Blumenthal, Larry Nassar was absolutely an agent of USA Gymnastics.
I've never said any different than that as a team doctor and I will find out what that is
that you're referring to. I don't know what legal action. I know that there wasn't a
motion to dismiss, but I will find out what that was about it. It could be a lot of ...


BLUMENTHAL:


I am not saying that was a motion to dismiss.


PERRY:


Could it be a lot of different things.


BLUMENTHAL:


It was an answer. And I want to make clear, I'm not trying to impose pressure on you
from this position, because you're entitled to your legal rights. Your lawyer is entitled
to advise you as to those rights, you're entitled to assert those rights. But as part of
your moral responsibility, in my view, with all due respect, it is also to accept legal
responsibility because that will make you a part of the solution that will make you part
of any court order. The same goes for United States Olympic Committee.


PERRY:



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And Senator Blumenthal, I want to reinforce to you again that this organization under
my leadership has and will be committed to legal resolution with our survivors. These
are our athletes and we will do whatever it takes to get to that point.


BLUMENTHAL:


Thank you. And again, I want to thank the survivors who are here today. Your
presence sends a powerful message and is an important statement. And again, my
thanks to the Chairman of the Subcommittee, Senator Moran.


MORAN:


Senator Blumenthal, thank you very much. Let me as I have - never hearing that I've
chaired ask the witnesses if they have anything they'd like to put on the record that
they were unable to do so that they want to correct something they said or felt like
there is something we need to know that we didn't ask about.


ENGLER:


I would simply say Mr. Chairman that I appreciate the opportunity to come here to
clarify the issues. I understand there might be differences in interpretation, but the
opportunity come here and talk about the changes we have made to put those on the
record to talk about a $500 billion settlement. That's part of the healing is an
opportunity that we very much appreciate. We're proud of what we've done. We're
proud of what we're doing, and we think when we're done, universities around the
country are going to look to Michigan State to say, what policies did you put in place
and how might they help us.


MORAN:




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Anyone else?


PERRY:


Senator Moran and Senator Blumenthal and all Senators, I want to thank you. This is
an incredibly important time for our organization and we take it very seriously. These
are our athletes and we're going to do whatever we can to earn back their trust. And I
want to say that coming from outside the Olympic movement, there are things that I
think we can address moving forward with the help of Congress and the funding of
the center that will help us do everything we can in our power to prevent what
happened. Thank you.


LYONS:


Mr. Chairman, I just like to say, I am coming to the end of my tenure as the CEO at
the USOC. And I hope that in some way we have begun a journey that will get us to a
new culture that is all about the athletes that they are the center of that and the reason
that's happening is because of the brave voices of the women behind in this room and
I hope that small amount of time that I've been able to devote to them yield some
results in the future. Thank you.


XIAO:


I just like to say from the Athletes Advisory Council, we'll continue to do our job.
We're going to continue to engage in good faith and all of the reform efforts here. But
I also wanted to point out that the core problem here until that solves, there are just
going to be more problems, more different symptoms that are going to arise. And the
core problem being athlete representatives have heard administrators, staffers,




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coaches, sometimes expressed the same sentiment which is athletes come and go, and
athletes are replaceable. I'm told that changes were never going to get anywhere.


MORAN:


Thank you. Again, we thank you all for being here today. Thank you for testifying.
We appreciate those in the audience today including the survivors. The hearing record
will remain open for two weeks, during that time senators are asked to submit any
questions for the record upon receipt. This will be questions to you or witnesses that
witnesses are requested to submit their written answers to the committee as soon as
possible, but no later than August 21st of 2018. This concludes the hearing and the
hearing is now adjourned.

List of Panel Members and Witnesses
PANEL MEMBERS:


SEN. JERRY MORAN, R-KAN., CHAIRMAN

SEN. DEAN HELLER, R-NEV.

SEN. ROY BLUNT, R-MO.

SEN. TED CRUZ, R-TEXAS

SEN. DEB FISCHER, R-NEB.

SEN. JAMES M. INHOFE, R-OKLA.

SEN. MIKE LEE, R-UTAH

SEN. SHELLEY MOORE CAPITO, R-W.VA.




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SEN. TODD YOUNG, R-IND.

SEN. JOHN THUNE, R-S.D., EX OFFICIO

SEN. RICHARD BLUMENTHAL, D-CONN., RANKING MEMBER

SEN. AMY KLOBUCHAR, D-MINN.

SEN. EDWARD J. MARKEY, D-MASS.

SEN. TOM UDALL, D-N.M.

SEN. TAMMY DUCKWORTH, D-ILL.

SEN. MAGGIE HASSAN, D-N.H.

SEN. CATHERINE CORTEZ MASTO, D-NEV.

SEN. BILL NELSON, D-FLA., EX OFFICIO

SEN. CHARLES E. GRASSLEY, R-IOWA

SEN. DIANNE FEINSTEIN, D-CALIF.

WITNESSES:


FORMER GOV. JOHN ENGLER, R-MICH., INTERIM PRESIDENT OF
MICHIGAN STATE UNIVERSITY

SUSANNE LYONS, ACTING CEO OF THE U.S. OLYMPIC COMMITTEE

KERRY PERRY, PRESIDENT AND CEO OF USA GYMNASTICS




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AND HAN XIAO, CHAIRMAN OF THE ATHLETES' ADVISORY COUNCIL,
TESTIFY




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 EXHIBIT “11”
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                  UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE

   ALEXANDRIA ROSE RAISMAN, AN  )
   INDIVIDUAL,                  )
                                )
                Plaintiff,      )
                                )
            -v-                 ) CAUSE NO.
                                ) 5:18-cv-02479-BLF
   UNITED STATES OLYMPIC        )
   COMMITTEE, A BUSINESS ENTITY )
   OF FORM UNKNOWN, USA         )
   GYMNASTICS, AN INDIANA       )
   BUSINESS ENTITY OF FORM      ) The Honorable
   UNKNOWN; LARRY NASSAR, AN    ) Beth Labson Freeman
   INDIVIDUAL; STEVE PENNY, AN )
   INDIVIDUAL; PAUL PARRILLA, AN)
   INDIVIDUAL; AND DOES 1       )
   THROUGH 500,                 )
                                )
                Defendants.     )
   _____________________________)


            The telephonic videotaped deposition upon oral
   examination of AMY SUE WHITE, a witness produced and
   sworn before me, Elizabeth T. Lindner, RPR, Notary
   Public in and for the County of Hendricks, State of
   Indiana, taken on behalf of the Plaintiffs at Stewart
   Richardson Deposition Services, One Indiana Square,
   Suite 2425, Indianapolis, Indiana, on November 13,
   2018, at 10:33 a.m., pursuant to all applicable rules.




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10:48:32   1      A   For which work?
10:48:34   2      Q   For the elementary school that you --
10:48:40   3      A   No.
10:48:40   4      Q   Do you know if you were trained as a mandatory
10:48:43   5          reporter when you worked at that school?
10:48:47   6      A   I do not know that.
10:48:50   7      Q   Do you know what a mandatory reporter is, or does
10:48:56   8          that term --
10:48:58   9      A   I've heard the term.      The exact definition of that
10:49:01 10           term, I couldn't repeat verbatim, no.
10:49:05 11       Q   Okay.   And where had you heard that term before?
10:49:12 12       A   We did some work at USA Gymnastics with a child
10:49:21 13           advocacy center recently, and I remember that term
10:49:25 14           coming up.
10:49:26 15       Q   Okay.   And how recently are we talking?
10:49:31 16       A   I respectfully decline to answer that pursuant to
10:49:35 17           the Fifth Amendment to the United States
10:49:37 18           Constitution that protects -- protections provided
10:49:41 19           to me by Ohio and Reiner.
10:49:43 20                 MR. CUNNY:    Okay.   And just to simplify
10:49:46 21           things -- I can work this out with your counsel --
10:49:48 22           there will probably be several questions you're
10:49:52 23           going to be invoking the Fifth Amendment on, I
10:49:55 24           would presume.     In the event you do wish to invoke
10:49:58 25           the Fifth Amendment, I would stipulate that she can



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10:50:01   1          just say "Fifth" to memorialize what she just said
10:50:06   2          so she doesn't have to say that a hundred times.
10:50:10   3                MR. DOWNEY:    Understood.    Yeah, you can just
10:50:10   4          say --
10:50:10   5                THE WITNESS:    I just say "the Fifth."
10:50:13   6                MR. DOWNEY:    Well, I'd just say, "I'll assert
10:50:15   7          the Fifth."    I.
10:50:16   8                THE WITNESS:    Okay.
10:50:16   9                MR. DOWNEY:    Okay?
10:50:17 10                 THE WITNESS:    Yes.
10:50:17 11       BY MR. CUNNY:
10:50:19 12       Q   Great.    I'll go back in time a little bit where
10:50:21 13           this might not be relevant, but you were at
10:50:23 14           Plainfield elementary for about a year you said?
10:50:27 15       A   One school calendar.
10:50:29 16       Q   Okay.    Where did you go after that?
10:50:33 17       A   National Travel Systems.
10:50:37 18       Q   Okay.    And was that a pre-existing company, or,
10:50:40 19           again, did you create the company?
10:50:41 20       A   No, it's a company located in Lubbock, Texas.
10:50:49 21       Q   Gotcha.    And you worked remotely from Indiana?
10:50:51 22       A   No.   I worked in Gymnastics' office for National
10:50:55 23           Travel Systems.
10:50:56 24       Q   Oh, okay.    So when you were at National Travel
10:51:02 25           Systems, that company dealt with in some way USA



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10:51:07   1          Gymnastics?
10:51:10   2      A   Yes, that is their client.
10:51:11   3      Q   Oh, okay.    Gotcha.
10:51:13   4                 Do you know what year you started at National
10:51:15   5          Travel Systems?
10:51:18   6      A   2007.
10:51:18   7      Q   Okay.    And was USAG your client when you first
10:51:25   8          started at National Travel Systems?
10:51:27   9      A   Yes, among others.
10:51:31 10       Q   Okay.    In your role at National Travel Systems, you
10:51:35 11           serviced multiple clients?
10:51:38 12       A   Yes.
10:51:39 13       Q   And what would you do in terms of providing
10:51:41 14           services to those clients?
10:51:49 15       A   Book air, book car, hotel contracting, setting up
10:51:53 16           transportation movements, as far as busing goes,
10:51:59 17           for events.
10:52:01 18       Q   And how long did you work for National Travel
10:52:03 19           Systems?
10:52:08 20       A   I came on to USA Gymnastics' payroll six years ago,
10:52:22 21           roughly.
10:52:23 22       Q   Okay.    So would it be fair to say somewhere between
10:52:27 23           2007 and maybe 2012, 2013 that you worked for
10:52:30 24           National Travel Systems?
10:52:30 25       A   Yes.



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10:52:31   1      Q   Okay.    And after you worked at National Travel
10:52:35   2          Systems, were you doing the same job for USA
10:52:42   3          Gymnastics?
10:52:44   4      A   Yes --
10:52:46   5               MR. DOWNEY:    We're going to assert the Fifth
10:52:47   6          on the USA Gymnastics.
10:52:51   7      A   I assert the Fifth.
10:52:53   8      Q   Who hired you at USA Gymnastics?
10:52:58   9      A   I assert the Fifth.
10:52:59 10       Q   Who was your direct supervisor when you first began
10:53:01 11           at USA Gymnastics?
10:53:02 12       A   I assert the Fifth.
10:53:04 13       Q   Did your direct supervisor change over time while
10:53:08 14           you were at USA Gymnastics?
10:53:09 15       A   I assert the Fifth.
10:53:11 16       Q   Was Steve Penny your supervisor at USA Gymnastics
10:53:14 17           when you first began?
10:53:16 18       A   I assert the Fifth.
10:53:18 19       Q   Was Steve Penny your supervisor the entire time you
10:53:20 20           were at USA Gymnastics?
10:53:21 21       A   I assert the Fifth.
10:53:23 22       Q   Are you still employed at USA Gymnastics?
10:53:26 23       A   I assert the Fifth.
10:53:28 24       Q   What was your job title when you first began at USA
10:53:32 25           Gymnastics?



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10:53:33   1      A   I assert the Fifth.
10:53:36   2      Q   When you first began at USA Gymnastics, were you
10:53:39   3          provided mandatory reporter training?
10:53:43   4      A   I assert the Fifth.
10:53:44   5      Q   When you first arrived at USA Gymnastics, were you
10:53:47   6          provided any training regarding document retention
10:53:50   7          policies?
10:53:52   8      A   I assert the Fifth.
10:53:52   9      Q   Do you know if USA Gymnastics had document
10:53:56 10           retention policies?
10:53:57 11       A   I assert the Fifth.
10:53:59 12       Q   Specifically, do you know if there were retention
10:54:02 13           policies for medical records at USA Gymnastics when
10:54:04 14           you first began?
10:54:05 15       A   I assert the Fifth.
10:54:07 16       Q   Did your understanding change over the years as to
10:54:09 17           that document retention policy for medical records,
10:54:13 18           specifically?
10:54:13 19       A   I assert the Fifth.
10:54:16 20       Q   Did USA Gymnastics keep medical records for the
10:54:19 21           girls who competed in their programs?
10:54:22 22       A   I assert the Fifth.
10:54:23 23       Q   Did you book any travel for Larry Nassar?
10:54:26 24       A   I assert the Fifth.
10:54:28 25       Q   Did you book any travel for Steve Penny?



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10:54:31   1      A   I assert the Fifth.
10:54:32   2      Q   Did you book any travel for McKayla Maroney?
10:54:34   3      A   I assert the Fifth.
10:54:36   4      Q   Did you book any travel for Aly Raisman?
10:54:39   5      A   I assert the Fifth.
10:54:40   6      Q   Did you book any travel for Jordyn Wieber?
10:54:42   7      A   I assert the Fifth.
10:54:42   8      Q   Did you book any travel for Mattie Larson?
10:54:43   9      A   I assert the Fifth.
10:54:45 10       Q   Do you know who any of those individuals are with
10:54:47 11           relation to USA Gymnastics or the United States
10:54:50 12           Olympic Committee?
10:54:52 13       A   I assert the Fifth.
10:54:57 14       Q   Did USA Gymnastics provide you any sort of training
10:55:00 15           regarding the retention of records at the company?
10:55:06 16       A   I assert the Fifth.
10:55:07 17       Q   Did USA Gymnastics provide you any sort of training
10:55:09 18           on how to report suspected child abuse?
10:55:14 19       A   I assert the Fifth.
10:55:16 20       Q   Did you ever speak to Steve Penny about processes
10:55:20 21           for reporting suspected child abuse at USA
10:55:22 22           Gymnastics?
10:55:23 23       A   I assert the Fifth.
10:55:24 24       Q   Did Steve Penny ever tell you not to report
10:55:27 25           suspected child abuse at USA Gymnastics?



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10:55:29   1      A   I assert the Fifth.
10:55:30   2      Q   Did you ever speak to Steve Penny about suspected
10:55:33   3          child abuse at USA Gymnastics?
10:55:35   4      A   I assert the Fifth.
10:55:36   5      Q   Did you ever speak to Steve Penny about complaints
10:55:39   6          he had received about Larry Nassar prior to June of
10:55:43   7          2015?
10:55:44   8      A   I assert the Fifth.
10:55:44   9      Q   Did you ever speak to Steve Penny about complaints
10:55:47 10           that Larry Nassar was photographing young, minor
10:55:52 11           girls at the Karolyi Ranch in excess?
10:55:56 12       A   I assert the Fifth.
10:55:56 13       Q   Did you ever learn from any source that Larry
10:56:01 14           Nassar was photographing -- taking hundreds of
10:56:04 15           photographs of little girls at the ranch while he
10:56:05 16           was providing medical care for those girls?
10:56:10 17       A   I assert the Fifth.
10:56:11 18       Q   Did you ever speak to Steve Penny about Marvin
10:56:12 19           Sharp and any relation to Larry Nassar?
10:56:18 20       A   I assert the Fifth.
10:56:18 21       Q   Did you speak to Steve Penny whatsoever about
10:56:22 22           Marvin Sharp?
10:56:24 23       A   I assert the Fifth.
10:56:25 24       Q   Do you know who Marvin Sharp is?
10:56:31 25       A   I assert the Fifth.



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10:56:31   1      Q   When's the last time you've spoke with Steve Penny?
10:56:37   2      A   I assert the Fifth.
10:56:37   3      Q   Do you know why Steve Penny was in California
10:56:40   4          yesterday?
10:56:42   5      A   I assert the Fifth.
10:56:52   6      Q   Have you spoken with Steve Penny since
10:56:55   7          September 2016 about Larry Nassar?
10:56:58   8      A   I assert the Fifth.
10:56:58   9      Q   Have you spoken with Steve Penny since
10:57:01 10           September 2016 about the FBI's handling of the
10:57:06 11           Larry Nassar matter?
10:57:07 12       A   I assert the Fifth.
10:57:08 13       Q   Have you spoken with Steve Penny between June of
10:57:12 14           2015 and September of 2016 regarding allegations
10:57:16 15           that Larry Nassar was abusing young girls?
10:57:20 16       A   I assert the Fifth.
10:57:20 17       Q   Have you spoken with the FBI regarding the
10:57:22 18           investigation into Larry Nassar?
10:57:25 19       A   I assert the Fifth.
10:57:26 20       Q   Have you spoken with anybody from law enforcement
10:57:30 21           regarding the investigation of Larry Nassar?
10:57:33 22       A   I assert the Fifth.
10:57:33 23       Q   Have you spoken with anybody from the Indianapolis
10:57:36 24           Police Department regarding Larry Nassar?
10:57:38 25       A   I assert the Fifth.



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10:57:40   1      Q   Have you spoken with anybody from the Department of
10:57:41   2          Child and Family Services regarding Larry Nassar?
10:57:45   3      A   I assert the Fifth.
10:57:46   4      Q   Have you spoken with anybody from Ropes & Gray
10:57:48   5          regarding Larry Nassar?
10:57:51   6      A   I assert the Fifth.
10:57:52   7      Q   Have you spoken with Debra Daniels regarding Larry
10:57:55   8          Nassar?
10:57:55   9      A   I assert the Fifth.
10:57:56 10       Q   Have you ever been to the Karolyi Ranch?
10:58:03 11       A   I assert the Fifth.
10:58:04 12       Q   Did you -- after the Larry Nassar allegations broke
10:58:09 13           in September of 2016, did you travel to the Karolyi
10:58:12 14           Ranch?
10:58:15 15       A   I assert the Fifth.
10:58:15 16       Q   Did Steve Penny instruct you to travel to the
10:58:19 17           Karolyi Ranch?
10:58:21 18       A   I assert the Fifth.
10:58:22 19       Q   Did USA Gymnastics pay for your travel to the
10:58:24 20           Karolyi Ranch?
10:58:25 21       A   I assert the Fifth.
10:58:27 22       Q   Did Steve Penny instruct you to go to the ranch to
10:58:30 23           retrieve documents after the Larry Nassar scandal
10:58:34 24           had broken in September of 2016?
10:58:37 25       A   I assert the Fifth.



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10:58:37   1      Q   Did you, in fact, go to the ranch to retrieve those
10:58:41   2          documents as requested by Steve Penny?
10:58:43   3      A   I assert the Fifth.
10:58:45   4      Q   Were you made aware that the Texas Rangers had
10:58:51   5          approached the ranch in attempts to find documents
10:58:55   6          that Steve Penny wanted you to retrieve from the
10:58:57   7          ranch?
10:58:58   8      A   I assert the Fifth.
10:58:59   9      Q   Who made you aware of the fact that the Texas
10:59:01 10           Rangers wanted documents at the ranch?
10:59:04 11       A   I assert --
10:59:07 12                MS. MATTHAI:     Lacks foundation.
10:59:10 13       A   I assert the Fifth.
10:59:12 14       Q   Did Bela Karolyi call you after the Texas Rangers
10:59:16 15           had arrived at the ranch?
10:59:19 16       A   I assert the Fifth.
10:59:20 17       Q   Did Gary Warren call you after the Nassar scandal
10:59:25 18           broke to inform you that the Texas Rangers had
10:59:29 19           approached the ranch and wanted documents from that
10:59:32 20           facility?
10:59:33 21       A   I assert the Fifth.
10:59:34 22       Q   Did Kathy Kelly contact you or speak with you in
10:59:37 23           any way to indicate that the Texas Rangers had come
10:59:41 24           to the ranch and were looking for documents?
10:59:45 25       A   I assert the Fifth.



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10:59:45   1      Q   Did any of those individuals indicate to you that
10:59:49   2          they told the Texas Rangers to go away because they
10:59:53   3          didn't have a search warrant?
10:59:54   4      A   I assert the Fifth.
11:00:02   5      Q   Did Steve Penny instruct you to go to the ranch
11:00:05   6          expediently such that you could get the documents
11:00:08   7          before the Rangers could obtain a search warrant?
11:00:13   8      A   I assert the Fifth.
11:00:14   9      Q   Did Steve Penny give you money to buy suitcases to
11:00:18 10           bring back those documents?
11:00:21 11       A   I assert the Fifth.
11:00:21 12       Q   How many documents did you go to the ranch to
11:00:24 13           obtain?
11:00:26 14       A   I assert the Fifth.
11:00:27 15       Q   Where did you buy the suitcases in order to bring
11:00:31 16           the documents back from the ranch?
11:00:33 17       A   I assert the Fifth.
11:00:33 18       Q   What date did you go to the ranch to retrieve the
11:00:37 19           documents that Steve Penny instructed you to bring
11:00:39 20           back?
11:00:40 21       A   I assert the Fifth.
11:00:42 22       Q   Did Gary Warren pull the documents together for you
11:00:46 23           at the ranch for you to bring back to Indianapolis?
11:00:50 24       A   I assert the Fifth.
11:00:50 25       Q   What were your instructions in bringing those



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11:00:53   1          documents back to Indianapolis?
11:00:56   2      A   I assert the Fifth.
11:00:56   3      Q   Were you instructed to preserve those documents at
11:00:59   4          any point by Steve Penny?
11:01:02   5      A   I assert the Fifth.
11:01:04   6      Q   Did you ever bring those documents back to
11:01:06   7          Indianapolis?
11:01:07   8      A   I assert the Fifth.
11:01:09   9      Q   Did Steve Penny tell you to destroy those documents
11:01:12 10           at the ranch?
11:01:13 11       A   I assert the Fifth.
11:01:14 12       Q   Was Gary Warren destroying any documents when you
11:01:18 13           got to the ranch?
11:01:19 14       A   I assert the Fifth.
11:01:20 15       Q   Was anybody destroying documents when you got to
11:01:22 16           the ranch?
11:01:23 17       A   I assert the Fifth.
11:01:24 18       Q   Did you speak to Gary Warren about the documents
11:01:27 19           that you were to obtain from the ranch?
11:01:31 20       A   I assert the Fifth.
11:01:31 21       Q   Did you speak with Rhonda Faehn prior to going to
11:01:35 22           the ranch about the documents that you would
11:01:37 23           retrieve?
11:01:39 24       A   I assert the Fifth.
11:01:41 25       Q   When you got to the ranch, where did you get the



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11:01:44   1          documents from?    Meaning, where were they located
11:01:48   2          specifically at the ranch?
11:01:53   3      A   I assert the Fifth.
11:01:53   4      Q   Did the ranch have depositories for medical records
11:01:57   5          that were on the premises?
11:01:59   6      A   I assert the Fifth.
11:02:00   7      Q   Were there any garages or sheds that you searched
11:02:02   8          in to obtain those documents?
11:02:05   9      A   I assert the Fifth.
11:02:05 10       Q   Did Kathy Kelly or Gary Warren assist you in
11:02:09 11           obtaining the documents from the ranch?
11:02:11 12       A   I assert the Fifth.
11:02:12 13       Q   Were you on any mutual communications, meaning
11:02:17 14           either copied or a direct recipient of emails, text
11:02:23 15           messages, between Gary Warren and Steve Penny about
11:02:26 16           what documents should be taken from ranch?
11:02:30 17       A   I assert the Fifth.
11:02:31 18       Q   Were those documents that were to be taken from the
11:02:33 19           ranch specifically pertaining to Larry Nassar and
11:02:37 20           his abusive medical treatments of little girls?
11:02:40 21       A   I assert the Fifth.
11:02:41 22       Q   What specific instructions regarding Larry Nassar's
11:02:43 23           documents did Steve Penny give you in retrieving
11:02:47 24           those from the ranch?
11:02:48 25       A   I assert the Fifth.



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11:02:50   1      Q   How many documents did you take from the ranch?
11:02:52   2      A   I assert the Fifth.
11:02:53   3      Q   Did you review those documents before you put them
11:02:57   4          into receptacles to bring them back to
11:02:59   5          Indianapolis?
11:03:00   6      A   I assert the Fifth.
11:03:01   7      Q   Did you in fact bring those documents in
11:03:03   8          receptacles back to Indianapolis?
11:03:05   9      A   I assert the Fifth.
11:03:08 10       Q   Did Martha Karolyi ever speak to you regarding the
11:03:11 11           documents that were to be removed from the Karolyi
11:03:15 12           Ranch?
11:03:16 13       A   I assert the Fifth.
11:03:17 14                MS. MERY:    Objection, assumes facts not in
11:03:19 15           evidence.
11:03:20 16                MR. CUNNY:    What was the objection?
11:03:23 17                MS. MERY:    Lacks foundation.
11:03:24 18                MR. CUNNY:    Oh, sorry.    Didn't hear it.
11:03:27 19       Q   Okay.    Did Martha Karolyi help you in searching for
11:03:34 20           documents located at the ranch?
11:03:36 21       A   I assert the Fifth.
11:03:37 22                MS. MERY:    Objection, lack of foundation.
11:03:39 23       Q   Did Bela assist you --
11:03:42 24                MS. MATTHAI:     Alex, I'm going to --
11:03:46 25       Q   -- in searching for documents that were located at



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11:03:46   1         the ranch?
11:03:46   2               MS. MATTHAI:     I'm going to ask to interrupt
11:03:46   3         for a second.
11:03:46   4               Alex, obviously the witness is going to be
11:03:49   5         taking the Fifth to all of these questions that you
11:03:51   6         are asking.     You are making a large number of
11:03:55   7         assumptions in your questions that are not true and
11:03:59   8         for which there are no foundations.
11:04:02   9               I think it just is going to clutter this
11:04:04 10          record if we all jump in as to every one of those
11:04:05 11          questions and assert the lack of foundation.             So
11:04:08 12          given the fact that the witness is not going to be
11:04:10 13          providing substantive answers, it seems to me we
11:04:14 14          should just agree there is a running objection on
11:04:17 15          this.    So if these questions ever come back at a
11:04:20 16          time when the issue in Texas has been cleared up
11:04:22 17          and they're actually going to be asked and
11:04:25 18          answered, we can reserve our foundation objections
11:04:27 19          to that period -- or at that time.
11:04:31 20                MR. CUNNY:    Yeah.   And I'd posit to you that
11:04:34 21          most of those objections -- lacks foundation, calls
11:04:36 22          for speculation -- those are preserved for the
11:04:39 23          record regardless of you making them.         So I'm fine
11:04:43 24          with that.
11:04:44 25                MS. MATTHAI:     Yeah.   Okay.   Thanks.       Because I



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11:04:46   1          just don't want to be objecting every time you're
11:04:47   2          saying something that I know is just not right.
11:04:50   3                 MR. CUNNY:    Okay.
11:04:53   4                 MS. MERY:    This is Victoria Mery.    I agree
11:04:54   5          with Edith.    You know, there are certain questions
11:04:57   6          I have to object to.      But if we have a running
11:04:59   7          objection on lack of foundation to this inquiry,
11:05:02   8          then that's fine with me.
11:05:04   9                 MR. CUNNY:    Yeah, that's fine.
11:05:07 10                  MS. HOLM:    This is Margaret Holm.    I agree.
11:05:09 11                  MS. KIES:    This is Marianne Kies.    I agree.
11:05:13 12                  MR. CUNNY:    Okay.   Is that good with you?
11:05:14 13                  MR. DOWNEY:    That's fine with me.
11:05:18 14                  MR. CUNNY:    Okay.
11:05:18 15                  MR. AMUNDSON:    Alex, this is Steve Amundson.
11:05:20 16           As I was trying to ask, can we have the running
11:05:23 17           foundation that Edith just proposed retroactive to
11:05:27 18           when the witness started asserting the Fifth?
11:05:31 19                  MR. CUNNY:    That's fine.   I mean, they're
11:05:32 20           preserved for the record anyway.       That's fine.
11:05:38 21                  MR. AMUNDSON:    Well, I'm not so clear on that,
11:05:40 22           but let's -- we've got it on this record, so thank
11:05:44 23           you.
11:05:44 24       BY MR. CUNNY:
11:05:44 25       Q   Okay.    When you arrived at the ranch to obtain



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11:05:48   1          documents per the orders of Steve Penny, who met
11:05:52   2          you at the ranch?
11:05:52   3      A   I assert the Fifth.
11:05:54   4      Q   Did that person direct you to locations at the
11:05:57   5          ranch where those documents were held?
11:06:00   6      A   I assert the Fifth.
11:06:01   7      Q   Who was that individual that met you?
11:06:04   8      A   I assert the Fifth.
11:06:05   9      Q   How long, in terms of hours, days, were you at the
11:06:09 10           ranch collecting documents?
11:06:12 11       A   I assert the Fifth.
11:06:13 12       Q   Did you speak to whoever was gathering the
11:06:16 13           documents, if it wasn't you, about what the
11:06:23 14           documents contained?
11:06:25 15       A   I assert the Fifth.
11:06:25 16       Q   Were those medical records that you were collecting
11:06:29 17           at the ranch?
11:06:31 18       A   I assert the Fifth.
11:06:31 19       Q   Was it any records specifically pertaining to Jamie
11:06:35 20           Dantzscher that you obtained from the ranch?
11:06:39 21       A   I assert the Fifth.
11:06:39 22       Q   Was there any records specifically regarding Mattie
11:06:43 23           Larson that you were obtaining from the ranch?
11:06:45 24       A   I assert the Fifth.
11:06:46 25       Q   Were there any records specifically pertaining to



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11:06:49   1          McKayla Maroney that you were obtaining from the
11:06:53   2          ranch?
11:06:55   3      A   I assert the Fifth.
11:06:55   4      Q   Were there any records specifically relating to
11:06:58   5          Jordyn Wieber that you obtained from the ranch?
11:07:03   6      A   I assert the Fifth.
11:07:04   7      Q   How many pounds of documents were removed from the
11:07:07   8          ranch?
11:07:08   9      A   I assert the Fifth.
11:07:09 10       Q   When you traveled to the ranch, did USAG pay for
11:07:14 11           your trip there and back, or did you pay for it
11:07:16 12           through your own funds?
11:07:19 13       A   I assert the Fifth.
11:07:19 14       Q   Did Steve Penny instruct you to pay for it through
11:07:21 15           your own funds so it wouldn't be traced back to
11:07:25 16           USAG?
11:07:26 17       A   I assert the Fifth.
11:07:29 18       Q   Did anybody instruct you to pay for your travel or
11:07:30 19           the suitcases with your own money or cash such that
11:07:34 20           it wouldn't be traced back to USA Gymnastics?
11:07:38 21       A   I assert the Fifth.
11:07:39 22       Q   When you got to the ranch, who were the identities
11:07:43 23           of the individuals that you spoke with?
11:07:47 24       A   I assert the Fifth.
11:07:48 25       Q   Did you speak with any gymnasts at the ranch?



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11:07:52   1      A   I assert the Fifth.
11:07:52   2      Q   Was it during a national training camp that you
11:07:55   3          went to the ranch?
11:07:57   4      A   I assert the Fifth.
11:07:58   5      Q   Was it some other training camp at the ranch that
11:08:00   6          you attended?
11:08:01   7      A   I assert the Fifth.
11:08:04   8      Q   Did you speak with any of the medical staff when
11:08:07   9          you were at the ranch collecting documents?
11:08:09 10       A   I assert the Fifth.
11:08:10 11       Q   How many times had you been to the ranch prior to
11:08:13 12           the occasion that you traveled to the ranch to get
11:08:16 13           those documents?
11:08:17 14       A   I assert the Fifth.
11:08:18 15       Q   When I say "prior to the occasion," the occasion
11:08:20 16           where Steve Penny had directed you to go to the
11:08:23 17           ranch.
11:08:24 18       A   I assert the Fifth.
11:08:29 19       Q   Did any of the documents relate to Nassar's
11:08:33 20           volunteer background?
11:08:36 21       A   I assert the Fifth.
11:08:36 22       Q   Did any of the documents you were instructed to
11:08:39 23           look for pertain to Larry Nassar whatsoever?
11:08:43 24       A   I assert the Fifth.
11:08:45 25       Q   Did Steve Penny explain the reasons for which you



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11:08:47   1          were going to the ranch to get documents?
11:08:49   2      A   I assert the Fifth.
11:08:51   3      Q   Prior to you actually bringing the documents back,
11:08:55   4          did Steve Penny tell you what he was going to do
11:08:56   5          with the documents?
11:08:57   6      A   I assert the Fifth.
11:08:58   7      Q   Did Steve Penny tell you to bring him the
11:09:00   8          documents, or did he tell you to bring them to
11:09:02   9          somebody else at USAG?
11:09:06 10       A   I assert the Fifth.
11:09:07 11       Q   Did anybody review the documents before they were
11:09:08 12           gathered from the ranch?
11:09:10 13       A   I assert the Fifth.
11:09:19 14       Q   What date did you bring the documents back from the
11:09:22 15           ranch?
11:09:24 16       A   I assert the Fifth.
11:09:25 17       Q   Did all the documents come back at one time or did
11:09:30 18           you ship documents first and then bring documents
11:09:32 19           with you on the plane?
11:09:35 20       A   I assert the Fifth.
11:09:40 21       Q   Are you aware of there being a fire pit at the
11:09:43 22           ranch?
11:09:44 23       A   I assert the Fifth.
11:09:44 24       Q   Do you know if any documents were thrown into that
11:09:47 25           fire pit?



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11:09:48   1      A   I assert the Fifth.
11:09:48   2      Q   Do you know if anyone destroyed documents at the
11:09:52   3          ranch prior to you bringing certain documents back?
11:09:56   4      A   I assert the Fifth.
11:09:58   5      Q   At any point are you aware of documents that were
11:10:01   6          taken from the ranch being destroyed?
11:10:08   7      A   I assert the Fifth.
11:10:08   8      Q   Do you remember what time of day your flight was
11:10:10   9          back from the ranch with documents?
11:10:13 10       A   I assert the Fifth.
11:10:14 11       Q   Did you fly back into Indianapolis?
11:10:17 12       A   I assert the Fifth.
11:10:19 13       Q   When you flew back into Indianapolis and got your
11:10:22 14           luggage that contained the documents, where's the
11:10:27 15           first place that those documents were taken?
11:10:31 16       A   I assert the Fifth.
11:10:31 17       Q   Were those documents taken directly to USAG
11:10:37 18           headquarters?
11:10:38 19       A   I assert the Fifth.
11:10:38 20       Q   After you brought those to USAG headquarters,
11:10:43 21           assuming you did, did you review those documents?
11:10:47 22       A   I assert the Fifth.
11:10:47 23       Q   When those documents were brought back to USAG
11:10:50 24           headquarters, were you aware that the Texas Rangers
11:10:52 25           were conducting an ongoing investigation of the



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11:10:59   1          Karolyi Ranch?
11:11:00   2      A   I assert the Fifth.
11:11:00   3      Q   Were you aware of who at USAG, if anyone, reviewed
11:11:03   4          those documents once they were brought back to the
11:11:05   5          USAG headquarters?
11:11:10   6      A   I assert the Fifth.
11:11:12   7      Q   When you brought those documents back to USAG
11:11:15   8          headquarters, where specifically in the building
11:11:17   9          did you bring them?
11:11:20 10       A   I assert the Fifth.
11:11:20 11       Q   Did you bring them into Steve Penny's office?
11:11:23 12       A   I assert the Fifth.
11:11:24 13       Q   Did Steve Penny tell you where to bring those
11:11:25 14           documents?
11:11:26 15       A   I assert the Fifth.
11:11:33 16       Q   Did you speak with Steve Penny when you came back
11:11:36 17           to the USAG headquarters with those documents?
11:11:39 18       A   I assert the Fifth.
11:11:39 19       Q   Were those documents cataloged into any USAG
11:11:45 20           databases or other document filing programs?
11:11:51 21       A   I assert the Fifth.
11:11:51 22                MR. CUNNY:    I want to take a quick break.
11:11:59 23                THE VIDEOGRAPHER:     It's 11:11.     Off the
11:12:01 24           record.
11:12:02 25                (A brief recess was taken.)



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11:21:14   1                 THE VIDEOGRAPHER:   We're now back on the
11:21:16   2          record, 11:21.
11:21:17   3      BY MR. CUNNY:
11:21:18   4      Q   All right.    Miss, do you understand you're still
11:21:24   5          under oath?
11:21:26   6      A   Yes.
11:21:26   7      Q   When we left off, we were talking about -- so when
11:21:29   8          the documents were returned to Indianapolis, were
11:21:32   9          they returned to a specific room at USAG
11:21:37 10           headquarters?
11:21:38 11       A   I assert my Fifth.
11:21:41 12       Q   When they were returned to Indianapolis, did Steve
11:21:45 13           Penny tell you what to do with them?
11:21:49 14       A   I assert the Fifth.
11:21:49 15       Q   Were those documents given directly to Steve Penny
11:21:53 16           when they were returned to Indianapolis?
11:21:57 17       A   I assert the Fifth.
11:21:58 18       Q   When you gave those records either to Steve Penny
11:22:01 19           or you lodged them in some sort of filing room or
11:22:05 20           room at USA Gymnastics, did Steve Penny tell you
11:22:10 21           what he was going to do with those documents?
11:22:13 22       A   I assert the Fifth.
11:22:13 23       Q   Did he tell you whether or not he was going to have
11:22:16 24           anybody review those documents?
11:22:19 25       A   I assert the Fifth.



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11:22:19   1      Q   Did he tell you he was going to destroy those
11:22:22   2          documents?
11:22:23   3      A   I assert the Fifth.
11:22:23   4      Q   Do you know if those documents exist as of today's
11:22:26   5          date?
11:22:26   6      A   I assert the Fifth.
11:22:28   7      Q   Did anybody do an accounting of which documents
11:22:31   8          were retrieved when they were brought back to
11:22:35   9          Indianapolis?
11:22:37 10       A   I assert the Fifth.
11:22:37 11       Q   Is there any way of knowing, based on either
11:22:41 12           recordkeeping by you, by Steve Penny, by USA
11:22:45 13           Gymnastics, of whether all the documents you
11:22:49 14           brought back to the headquarters still exist?
11:22:53 15       A   I assert the Fifth.
11:22:53 16       Q   Were those documents ever given to Deborah Daniels?
11:22:57 17       A   I assert the Fifth.
11:22:58 18       Q   Were those documents ever given to Ropes & Gray?
11:23:03 19       A   I assert the Fifth.
11:23:03 20       Q   Were those documents ever given to Congress?
11:23:06 21       A   I assert the Fifth.
11:23:07 22       Q   Whose job was it to compile those documents for
11:23:13 23           Congress?
11:23:14 24       A   I assert the Fifth.
11:23:24 25       Q   Was it anybody's responsibility to look after those



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11:23:33   1          documents once they were brought back to USAG
11:23:36   2          headquarters?
11:23:37   3      A   I assert the Fifth.
11:23:38   4      Q   Do you know why Steve Penny wanted you to bring
11:23:40   5          those documents back to the USAG headquarters?
11:23:44   6      A   I assert the Fifth.
11:23:45   7      Q   Did Steve Penny indicate to you that there was
11:23:47   8          information in those documents about Larry Nassar?
11:23:50   9      A   I assert the Fifth.
11:23:52 10       Q   Did you speak with anybody at USA Gymnastics who
11:23:57 11           had reviewed those documents who told you that they
11:24:01 12           concerned Larry Nassar?
11:24:05 13       A   I assert the Fifth.
11:24:06 14       Q   Does anybody currently working at USA Gymnastics,
11:24:11 15           to your knowledge, know the contents of those
11:24:17 16           documents?
11:24:19 17       A   I assert the Fifth.
11:24:20 18       Q   Why weren't those documents produced to Congress
11:24:23 19           the first time they were requested?
11:24:28 20       A   I assert the Fifth.
11:24:28 21       Q   Were those documents produced to Congress the first
11:24:31 22           time they were requested?
11:24:33 23       A   I assert the Fifth.
11:24:34 24       Q   Did you ever speak with Rhonda Faehn about those
11:24:40 25           documents?



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11:24:40   1      A   I assert the Fifth.
11:24:40   2      Q   Did you tell Rhonda Faehn that you gave those
11:24:46   3          documents to Steve Penny?
11:24:49   4      A   I assert the Fifth.
11:24:50   5      Q   Did you tell Rhonda Faehn that you brought those
11:24:53   6          documents into Steve Penny's office?
11:24:55   7      A   I assert the Fifth.
11:25:09   8      Q   Did you ever speak with Kerry Perry about those
11:25:13   9          documents?
11:25:14 10       A   I assert the Fifth.
11:25:14 11       Q   When you spoke to Kerry Perry about those
11:25:17 12           documents, did you tell her that those documents
11:25:20 13           were no longer in possession of USA Gymnastics?
11:25:23 14       A   I assert the Fifth.
11:25:25 15       Q   If they weren't in possession of USA Gymnastics
11:25:27 16           when you spoke with Kerry Perry, where were those
11:25:32 17           documents, if you know?
11:25:34 18       A   I assert the Fifth.
11:25:34 19       Q   Who would have known where those documents were if
11:25:37 20           you didn't prior to the time you spoke with Kerry
11:25:43 21           Perry?
11:25:44 22       A   I assert the Fifth.
11:25:45 23       Q   Were you aware that Kerry Perry was going to
11:25:47 24           testify in front of Congress regarding those
11:25:50 25           documents?



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11:25:51   1      A   I assert the Fifth.
11:25:52   2      Q   Did you have any meetings with Kerry Perry to
11:25:55   3          prepare her for that testimony to Congress?
11:25:58   4      A   I assert the Fifth.
11:25:59   5      Q   When Kerry Perry testified to Congress, she stated
11:26:02   6          that USA Gymnastics did not have those documents
11:26:06   7          unequivocally.    Did you tell her after that hearing
11:26:09   8          that USA Gymnastics did in fact have those
11:26:12   9          documents?
11:26:13 10       A   I assert the Fifth.
11:26:14 11       Q   Did Kerry Perry know that those documents were in
11:26:16 12           possession of USA Gymnastics prior to going to that
11:26:20 13           hearing?
11:26:22 14       A   I assert the Fifth.
11:26:22 15       Q   Did you tell Kerry Perry that those documents were
11:26:25 16           in the possession of USA Gymnastics prior to Kerry
11:26:27 17           Perry going to that hearing?
11:26:32 18       A   I assert the Fifth.
11:26:35 19       Q   Did Steve Penny tell you to tell Kerry Perry that
11:26:39 20           the documents no longer existed?
11:26:42 21       A   I assert the Fifth.
11:26:43 22       Q   When Steve Penny resigned, did he take those
11:26:46 23           documents with him?
11:26:47 24       A   I assert the Fifth.
11:26:50 25       Q   Who was Steve Penny's assistant just prior to the



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11:26:56   1          time he resigned?
11:26:58   2      A   I assert the Fifth.
11:26:58   3      Q   Did you ever speak with Renee Jamison about those
11:27:01   4          documents that you took from the ranch and brought
11:27:04   5          to the USAG headquarters?
11:27:10   6      A   I assert the Fifth.
11:27:10   7      Q   Did you ever tell Rhonda Faehn that Steve Penny had
11:27:15   8          instructed you to bring the documents back from the
11:27:18   9          ranch?
11:27:19 10       A   I assert the Fifth.
11:27:26 11       Q   Did Steve Penny keep those documents under lock and
11:27:29 12           key?
11:27:30 13       A   I assert the Fifth.
11:27:31 14       Q   Were those documents maintained by Steve Penny at
11:27:34 15           the USAG office or at some other location such as a
11:27:39 16           storage unit or his home?
11:27:42 17       A   I assert the Fifth.
11:27:43 18       Q   Did you ever email with Steve Penny about those
11:27:46 19           documents?
11:27:46 20       A   I assert the Fifth.
11:27:47 21       Q   Did you ever send text messages to Steve Penny
11:27:50 22           about those documents?
11:27:53 23       A   I assert the Fifth.
11:27:54 24       Q   You understand that when I say "those documents,"
11:27:58 25           I'm referring to the documents removed from the



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11:27:59   1          ranch and brought back to USA Gymnastics.           Did you
11:28:04   2          ever text Steve Penny about those documents?
11:28:06   3      A   I assert the Fifth.
11:28:07   4      Q   Or email Steve Penny about those documents?
11:28:10   5      A   I assert the Fifth.
11:28:12   6      Q   Did you ever email Gary Warren about those
11:28:14   7          documents?
11:28:15   8      A   I assert the Fifth.
11:28:17   9      Q   Did you ever email Rhonda Faehn about those
11:28:19 10           documents?
11:28:20 11       A   I assert the Fifth.
11:28:22 12       Q   Did you ever email Renee Jamison about those
11:28:25 13           documents?
11:28:26 14       A   I assert the Fifth.
11:28:26 15       Q   Did you ever email Kerry Perry about those
11:28:28 16           documents?
11:28:30 17       A   I assert the Fifth.
11:28:30 18       Q   Did you ever text message Kerry Perry about those
11:28:34 19           documents?
11:28:34 20       A   Yes.
11:28:35 21       Q   Did you ever text message Rhonda Faehn about those
11:28:39 22           documents?
11:28:39 23       A   I assert the Fifth.
11:28:40 24       Q   Did you ever text message Renee Jamison about those
11:28:43 25           documents?



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11:28:44   1      A   I assert the Fifth.
11:28:45   2      Q   Did you frequently interact with Renee Jamison
11:28:48   3          regarding USA Gymnastics matters?
11:28:51   4      A   I assert the Fifth.
11:28:53   5      Q   Did you ever speak with Renee Jamison about Larry
11:28:56   6          Nassar?
11:28:56   7      A   I assert the Fifth.
11:28:56   8      Q   Did you ever speak with Renee Jamison about Steve
11:29:00   9          Penny's handling of the complaints about Larry
11:29:04 10           Nassar?
11:29:04 11       A   I assert the Fifth.
11:29:06 12                MR. CUNNY:    Are you okay?
11:29:08 13                MR. DOWNEY:    Just sneeze.     Yep.
11:29:10 14       Q   Did you ever speak with Gary Warren about the
11:29:15 15           complaints about Larry Nassar?
11:29:16 16       A   I assert the Fifth.
11:29:17 17       Q   When were you first made aware of the complaints of
11:29:20 18           Larry Nassar?
11:29:20 19       A   I assert the Fifth.
11:29:23 20       Q   Did you ever contact anyone at the USOC regarding
11:29:26 21           the complaints about Larry Nassar?
11:29:29 22       A   I assert the Fifth.
11:29:29 23       Q   Did you ever speak with anyone at the USOC
11:29:32 24           regarding the documents that were taken from the
11:29:35 25           ranch?



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11:29:36   1      A   I assert the Fifth.
11:29:38   2      Q   Did you ever speak with any of the attorneys for
11:29:41   3          the USOC about the documents that were taken from
11:29:45   4          the ranch?
11:29:48   5      A   I assert the Fifth.
11:29:56   6      Q   Did you ever speak with local law enforcement
11:29:58   7          regarding Steve Penny's involvement with them in
11:30:04   8          reporting allegations of sexual abuse?
11:30:09   9      A   I assert the Fifth.
11:30:10 10       Q   Do you know an FBI agent named Jay Abbott?
11:30:15 11       A   I assert the Fifth.
11:30:15 12       Q   Were you on any calls or any -- were you on any
11:30:24 13           calls or any emails regarding an FBI agent named
11:30:30 14           Jay Abbott?
11:30:34 15       A   I assert the Fifth.
11:30:34 16       Q   Do you know any local law enforcement that Steve
11:30:37 17           Penny would interact with regarding allegations of
11:30:41 18           sexual abuse?
11:30:42 19       A   I assert the Fifth.
11:30:44 20       Q   Do you know if Steve Penny reviewed the documents
11:30:50 21           that were brought back to the USA Gymnastics
11:30:56 22           headquarters for information regarding Larry
11:30:58 23           Nassar?
11:30:59 24       A   I assert the Fifth.
11:31:00 25       Q   Did the documents retrieved from the Karolyi Ranch



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11:31:04   1          and brought to USA Gymnastics concern sexually
11:31:07   2          abusive treatments that Nassar was performing on
11:31:10   3          young girls?
11:31:11   4      A   I assert the Fifth.
11:31:13   5      Q   When Steve Penny reviewed those documents, if he
11:31:14   6          did, do you know if he made a report to law
11:31:17   7          enforcement?
11:31:19   8      A   I assert the Fifth.
11:31:20   9      Q   Do you know if Steve Penny promptly transmitted
11:31:23 10           those documents to law enforcement?
11:31:25 11       A   I assert the Fifth.
11:31:26 12       Q   Do you know if Steve Penny promptly transmitted
11:31:28 13           those documents to Congress?
11:31:31 14       A   I assert the Fifth.
11:31:32 15       Q   Do you know if Steve Penny spoke with Jay Abbott
11:31:37 16           about those documents?
11:31:39 17       A   I assert the Fifth.
11:31:40 18       Q   Do you know if Steve Penny was trying to keep it
11:31:42 19           quiet that those documents existed?
11:31:44 20       A   I assert the Fifth.
11:31:45 21       Q   Do you know if Steve Penny was enlisting the help
11:31:48 22           of local law enforcement to help him keep it quiet?
11:31:52 23       A   I assert the Fifth.
11:31:53 24       Q   Do you know which local law enforcement agency
11:31:56 25           Steve Penny would work with in reporting sexual



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11:31:58   1          abuse of minors that occurred in USA Gymnastics?
11:32:03   2      A   I assert the Fifth.
11:32:05   3      Q   Were you at all involved in the handling of the
11:32:08   4          Marvin Sharp matter?
11:32:10   5      A   I assert the Fifth.
11:32:10   6      Q   Did Steve Penny indicate that there was any
11:32:12   7          connection between Larry Nassar and Marvin Sharp at
11:32:16   8          any point to you?
11:32:17   9      A   I assert the Fifth.
11:32:23 10       Q   Did any of the records at the ranch pertain to
11:32:26 11           Marvin Sharp?
11:32:28 12       A   I assert the Fifth.
11:32:33 13       Q   Did you ever speak to Gary Warren about Marvin
11:32:37 14           Sharp?
11:32:40 15       A   I assert the Fifth.
11:32:42 16       Q   Did you ever speak to Rhonda Faehn about Marvin
11:32:49 17           Sharp?
11:32:51 18       A   I assert the Fifth.
11:32:52 19       Q   Did Steve Penny ever indicate to you that he didn't
11:32:54 20           want information about Larry Nassar getting into
11:32:56 21           the hands of law enforcement?
11:33:02 22       A   I assert the Fifth.
11:33:03 23       Q   Did Steve Penny ever indicate to you that he had
11:33:06 24           destroyed any records pertaining to Larry Nassar?
11:33:10 25       A   I assert the Fifth.



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11:33:11   1      Q   Did Steve Penny ever indicate to you that he had
11:33:13   2          instructed anyone at USAG to destroy records
11:33:19   3          relating to Larry Nassar?
11:33:20   4      A   I assert the Fifth.
11:33:21   5      Q   Did Steve Penny ever indicate to you that he had
11:33:28   6          individuals at the ranch destroy records pertaining
11:33:32   7          to Larry Nassar?
11:33:34   8      A   I assert the Fifth.
11:33:34   9      Q   When you got those records from the ranch, do you
11:33:38 10           know if records had been destroyed prior to you
11:33:40 11           obtaining that subset of documents you received?
11:33:43 12       A   I assert the Fifth.
11:33:50 13       Q   Were you aware that there was an ongoing criminal
11:33:53 14           investigation by the Walker County Rangers when you
11:33:58 15           obtained those records from the ranch?
11:34:01 16       A   I assert the Fifth.
11:34:03 17       Q   Did Steve Penny make you aware of this?
11:34:07 18       A   I assert the Fifth.
11:34:09 19       Q   Have you spoken with Steve Penny since he's been
11:34:12 20           indicted?
11:34:15 21       A   I assert the Fifth.
11:34:16 22       Q   Have you spoken with any of Steve Penny's lawyers
11:34:19 23           since he's been indicted?
11:34:22 24       A   I assert the Fifth.
11:34:22 25       Q   Have you provided any statements to representatives



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11:34:28   1          of Steve Penny since he's been indicted?
11:34:31   2      A   I assert the Fifth.
11:34:33   3      Q   At any point did you provide a statement to anyone
11:34:36   4          at USA Gymnastics regarding your involvement with
11:34:40   5          the records taken from the ranch?
11:34:42   6      A   I assert the Fifth.
11:34:46   7      Q   Is it your understanding that the criminal charges
11:34:51   8          of Steve Penny stem from him having instructed you
11:34:55   9          to go to the ranch?
11:34:59 10       A   I assert the Fifth.
11:35:02 11       Q   Did you ever provide any statement to Walker County
11:35:09 12           Texas Rangers?
11:35:11 13       A   I assert the Fifth.
11:35:12 14       Q   Have you ever spoken with the Marion County
11:35:14 15           prosecutor regarding Steve Penny?
11:35:18 16       A   I assert the Fifth.
11:35:20 17       Q   Have you ever spoken with any local law enforcement
11:35:24 18           regarding Steve Penny?
11:35:26 19       A   I assert the Fifth.
11:35:36 20       Q   After Kerry Perry testified, did you contact her
11:35:40 21           and indicate to her that the documents still
11:35:43 22           existed that she testified about?
11:35:47 23       A   I assert the Fifth.
11:35:48 24       Q   All right.   When Ms. Perry was asked that there
11:36:19 25           would be no chance that those documents exist



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11:36:21   1          within your custody at USA Gymnastics unless they
11:36:22   2          were provided to us -- unless they're included in
11:36:26   3          the list -- in the million documents you provided
11:36:28   4          us.
11:36:28   5                And Ms. Perry responded, Right.
11:36:31   6                Senator Moran then said, Otherwise, you can
11:36:35   7          assure me that they don't exist within your
11:36:36   8          custody?
11:36:37   9                Perry then said, To my knowledge, they do not
11:36:38 10           exist in our custody.
11:36:40 11                 When Kerry Perry made those statements, were
11:36:44 12           you aware that those were not true statements
11:36:48 13           regardless of whether Ms. Perry knew them to be
11:36:50 14           true or not?
11:36:52 15       A   I assert the Fifth.
11:36:57 16       Q   When certain documents were subsequently discovered
11:37:02 17           in the last couple weeks, do you know if those were
11:37:07 18           the same documents that you took from the ranch?
11:37:09 19       A   I assert the Fifth.
11:37:10 20       Q   Do you know if there's any way of knowing whether
11:37:11 21           those are the same documents you took from the
11:37:13 22           ranch?
11:37:14 23       A   I assert the Fifth.
11:37:21 24       Q   Were you contacted after the discovery of those
11:37:23 25           documents by anyone at USA Gymnastics?



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11:37:27   1      A   I assert the Fifth.
11:37:28   2      Q   Were you the person who discovered those documents?
11:37:31   3      A   I assert the Fifth.
11:37:32   4      Q   Did you always know where those documents were?
11:37:35   5      A   I assert the Fifth.
11:37:49   6      Q   Prior to March of 2018, did you speak with anybody
11:37:58   7          at USOC and tell them that those documents existed?
11:38:03   8      A   I assert the Fifth.
11:38:11   9      Q   When, to your knowledge, was the USOC made aware
11:38:16 10           that those documents were taken from the ranch?
11:38:19 11       A   I assert the Fifth.
11:38:20 12                MS. KIES:    This is Marianne.     I know we have a
11:38:23 13           running objection as to foundation, but I'd like to
11:38:25 14           specifically insert an objection here.
11:38:29 15       A   I assert the Fifth.
11:38:30 16       Q   Okay.   I just want to make sure the record's clear.
11:38:35 17                When those records were taken from the ranch,
11:38:37 18           were you aware that the ranch was an Olympic
11:38:42 19           training site?
11:38:43 20       A   I assert the Fifth.
11:38:44 21       Q   Was anyone from the USOC present at the ranch when
11:38:50 22           those documents were taken?
11:38:51 23       A   I assert the Fifth.
11:38:52 24       Q   Did anyone from the USOC assist in gathering those
11:38:56 25           documents from the ranch?



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11:38:57   1      A   I assert the Fifth.
11:38:58   2      Q   Do you know if Gary Warren was in contact with
11:39:00   3          anyone from the USOC regarding the gathering of
11:39:04   4          those documents?
11:39:04   5      A   I assert the Fifth.
11:39:05   6      Q   Do you know if Steve Penny was in contact with
11:39:08   7          anybody from USOC regarding the gathering of the
11:39:10   8          documents from the ranch?
11:39:12   9      A   I assert the Fifth.
11:39:14 10       Q   Do you know if Steve Penny ever spoke with Scott
11:39:18 11           Blackman about the gathering of documents from the
11:39:21 12           ranch?
11:39:22 13       A   I assert the Fifth.
11:39:23 14       Q   Do you know if that conversation ever happened,
11:39:25 15           meaning, happened when the documents were
11:39:27 16           instructed to be taken or at some time after?
11:39:31 17       A   I assert the Fifth.
11:39:37 18       Q   Did you ever speak with employees of the USOC
11:39:39 19           regarding those documents that were taken from the
11:39:42 20           ranch?
11:39:43 21       A   I assert the Fifth.
11:39:47 22       Q   Did you ever speak with Sarah Hirschland regarding
11:39:52 23           those documents?
11:39:52 24       A   I assert the Fifth.
11:39:54 25       Q   Do you know if a request was ever made by



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11:39:56   1          Ms. Hirschland to speak about those documents
11:40:00   2          removed from the ranch?
11:40:02   3      A   I assert the Fifth.
11:40:08   4      Q   Had you ever been involved in another -- or a
11:40:13   5          report of childhood sexual abuse that was reported
11:40:17   6          to USA Gymnastics or Steve Penny?
11:40:19   7      A   I assert the Fifth.
11:40:22   8      Q   Were you ever in any way made aware of the
11:40:31   9          practices by which Steve Penny would report
11:40:34 10           childhood sexual abuse?
11:40:36 11       A   I assert the Fifth.
11:40:37 12       Q   Were you aware of whether Steve Penny had a point
11:40:40 13           person at the local police department in which he
11:40:45 14           could report childhood sexual abuse?
11:40:50 15       A   I assert the Fifth.
11:40:51 16       Q   Do you have any knowledge of that relationship?
11:40:53 17       A   I assert the Fifth.
11:40:57 18       Q   What was USAG's travel budget in March of 2018?
11:41:04 19       A   I assert the Fifth.
11:41:05 20       Q   What was its travel budget in the year prior, 2017?
11:41:09 21       A   I assert the Fifth.
11:41:09 22       Q   What's its travel budget in 2016?
11:41:13 23       A   I assert the Fifth.
11:41:16 24       Q   Did you pay for any travel of any Californians to
11:41:21 25           go to the Karolyi Ranch?



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11:41:23   1      A   I assert the Fifth.
11:41:25   2      Q   Did you ever coordinate or pay for the travel of
11:41:28   3          Larry Nassar to go to California?
11:41:31   4      A   I assert the Fifth.
11:41:31   5      Q   Did you ever pay for travel of Aly Raisman to go to
11:41:36   6          the ranch?
11:41:39   7      A   I assert the Fifth.
11:41:39   8      Q   Did you ever pay for any travel of Jordyn Wieber to
11:41:43   9          go to the ranch?
11:41:43 10       A   I assert the Fifth.
11:41:44 11       Q   Did you ever pay for any travel of Mattie Larson to
11:41:47 12           go to the ranch?
11:41:48 13       A   I assert the Fifth.
11:41:48 14       Q   Did you ever pay for any travel of Jamie Dantzscher
11:41:52 15           to go to the ranch?
11:41:53 16       A   I assert the Fifth.
11:42:02 17       Q   Aside from the Texas Rangers, were you aware of any
11:42:09 18           other ongoing criminal investigations involving USA
11:42:16 19           Gymnastics or USA Gymnastics' agents besides from
11:42:19 20           the Walker Texas Rangers?
11:42:23 21       A   I assert the Fifth.
11:42:25 22       Q   Do you know if the FBI was looking into USAG's
11:42:31 23           handling of the Larry Nassar matter?
11:42:32 24       A   I assert the Fifth.
11:42:34 25       Q   Did Steve Penny ever talk to you about his fears



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11:42:35   1          about the FBI handling the Larry Nassar matter?
11:42:39   2      A   I assert the Fifth.
11:42:43   3      Q   Did Steve Penny ever indicate to you that he was
11:42:45   4          concerned that offices outside of Indianapolis --
11:42:49   5          the Indianapolis FBI office would be handling the
11:42:53   6          Larry Nassar matter?
11:42:55   7      A   I assert the Fifth.
11:42:59   8      Q   Did Steve Penny ever discuss with you the prospect
11:43:03   9          of Jay Abbott taking over Larry Buendorf's role at
11:43:10 10           the USOC?
11:43:12 11       A   I assert the Fifth.
11:43:13 12       Q   Do you know if that was ever discussed with Scott
11:43:15 13           Blackman?
11:43:16 14       A   I assert the Fifth.
11:43:16 15       Q   Do you know if Jay Abbott was in any way handling
11:43:26 16           the Larry Nassar matter?
11:43:27 17       A   I assert the Fifth.
11:43:32 18       Q   Do you know if there was any policies by which all
11:43:39 19           reports of childhood sexual abuse were to flow
11:43:44 20           through Steve Penny before going to law
11:43:46 21           enforcement?
11:43:48 22       A   I assert the Fifth.
11:43:48 23       Q   Was that what Steve Penny required is that all
11:43:51 24           reports of sexual abuse go through him prior to
11:43:54 25           being reported to law enforcement?



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11:43:57   1      A   I assert the Fifth.
11:44:07   2      Q   Did Steve Penny warn you that when he was sending
11:44:10   3          you to the Karolyi Ranch that he was putting you in
11:44:15   4          jeopardy criminally?
11:44:16   5      A   I assert the Fifth.
11:44:19   6      Q   Did anybody at USAG inform you that you were being
11:44:25   7          placed into jeopardy criminally by going to the
11:44:29   8          ranch and obtaining those documents?
11:44:32   9      A   I assert the Fifth.
11:44:32 10       Q   Did Steve Penny indicate to you that those
11:44:35 11           documents concern the Larry Nassar matter
11:44:48 12           whatsoever?
11:44:49 13       A   I assert the Fifth.
11:44:50 14                  MR. CUNNY:   I might take another quick break,
11:44:52 15           and I don't think I have a ton more.
11:44:54 16                  THE VIDEOGRAPHER:   Okay.    It's 11:44.     Off the
11:44:58 17           record.
11:44:58 18                  (A brief recess was taken.)
11:49:10 19                  THE VIDEOGRAPHER:   It's now 11:49.     We're back
11:49:11 20           on the record.
11:49:12 21       BY MR. CUNNY:
11:49:13 22       Q   All right.    Miss, you understand you're still under
11:49:17 23           oath?
11:49:17 24       A   Yes.
11:49:18 25       Q   Still pledge to tell the truth?



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11:49:20   1      A   Yes.
11:49:20   2      Q   All right.   Have you ever heard of a local Indiana
11:49:24   3          law enforcement officer named Bruce Smith?
11:49:27   4      A   I assert the Fifth.
11:49:28   5      Q   Are you aware that Mr. Penny had a personal
11:49:33   6          relationship with this law enforcement officer?
11:49:35   7      A   I assert the Fifth.
11:49:36   8      Q   Did Mr. Penny and this officer work together to
11:49:39   9          lessen the public backlash against USA Gymnastics
11:49:44 10           relating to the Nassar scandal?
11:49:49 11       A   I assert the Fifth.
11:49:49 12       Q   Were you made aware of the reasons for which Rhonda
11:49:53 13           Faehn was fired?
11:49:54 14       A   I assert the Fifth.
11:49:54 15       Q   Were you made aware that Rhonda's firing had
11:49:57 16           anything to do with the Larry Nassar scandal?
11:50:02 17       A   I assert the Fifth.
11:50:06 18       Q   When Ms. Faehn testified in front of Congress that
11:50:11 19           you were asked to bring back medical records from
11:50:15 20           the ranch, was she telling the truth?
11:50:18 21       A   I assert the Fifth.
11:50:22 22       Q   Specifically, did you ever speak with Ms. Faehn
11:50:28 23           about those comments that she made to Congress?
11:50:33 24       A   I assert the Fifth.
11:50:33 25       Q   When's the last time you spoke with Rhonda Faehn?



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11:50:38   1      A   I assert the Fifth.
11:50:41   2      Q   Were you aware of any internal investigations going
11:50:47   3          on within USA Gymnastics about the Larry Nassar
11:50:52   4          matter when you went to obtain the records from the
11:50:56   5          ranch?
11:50:57   6      A   I assert the Fifth.
11:51:15   7      Q   Were the records that were brought back from the
11:51:19   8          ranch brought back under the policies and
11:51:22   9          procedures of USA Gymnastics?
11:51:25 10       A   I assert the Fifth.
11:51:26 11       Q   Meaning, were there periodic times where you or
11:51:30 12           someone else from USA Gymnastics would go to the
11:51:32 13           ranch, gather all the documents, and bring them
11:51:35 14           back to the ranch?
11:51:36 15       A   I assert the Fifth.
11:51:36 16       Q   Bring them back to USA Gymnastics' headquarters, I
11:51:41 17           mean.
11:51:42 18       A   I assert the Fifth.
11:51:42 19       Q   Those documents that were at the ranch, do you know
11:51:45 20           how far back they dated?
11:51:47 21       A   I assert the Fifth.
11:51:48 22       Q   Did they date back prior to the year 2000?
11:51:52 23       A   I assert the Fifth.
11:51:52 24       Q   Did they date back prior to the year 1994?
11:51:55 25       A   I assert the Fifth.



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11:52:12   1      Q   Did Steve Penny instruct any individuals at USA
11:52:17   2          Gymnastics to triage documents pertaining to,
11:52:22   3          specifically, inappropriate medical procedures
11:52:24   4          provided by Larry Nassar?
11:52:27   5      A   I assert the Fifth.
11:52:29   6      Q   Did Steve Penny ever indicate to you that he was
11:52:31   7          working with local law enforcement to keep the
11:52:35   8          Nassar scandal quiet?
11:52:41   9      A   I assert the Fifth.
11:52:45 10       Q   Do you know how Steve Penny met Bruce Smith?
11:52:49 11       A   I assert the Fifth.
11:52:50 12       Q   Do you know how Steve Penny met Jay Abbott?
11:52:54 13       A   I assert the Fifth.
11:52:56 14       Q   Did you ever speak with either of those law
11:52:58 15           enforcement agents?
11:52:59 16       A   I assert the Fifth.
11:53:07 17       Q   Did Steve Penny ever indicate to you that he was
11:53:09 18           concerned in November of 2016 that mandatory
11:53:16 19           reports of suspected sexual abuse were not made by
11:53:21 20           Larry Nassar -- were not made by USA Gymnastics
11:53:23 21           officials regarding Larry Nassar?
11:53:25 22       A   I assert the Fifth.
11:53:27 23       Q   Did Steve Penny indicate to you that the reason you
11:53:29 24           were being sent to the ranch was to get evidence
11:53:32 25           that would have shown that USA Gymnastics had a



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11:53:36   1          reasonable suspicion to report abuse?
11:53:38   2      A   I assert the Fifth.
11:53:40   3      Q   Was Steve Penny also instructing you to go to the
11:53:43   4          ranch in order to obtain documents for which would
11:53:49   5          have shown that USOC, being an official training
11:53:54   6          site at the Karolyi Ranch, also had a reasonable
11:53:57   7          suspicion to report suspected abuse about Larry
11:54:00   8          Nassar?
11:54:01   9      A   I assert the Fifth.
11:54:03 10                MS. KIES:    This is Marianne.     Again, I'd like
11:54:05 11           to interpose specifically an objection here as to
11:54:08 12           form and foundation.
11:54:09 13       Q   Okay.   Did the USOC -- were there specific records
11:54:15 14           kept at the ranch for the USOC for Olympians and
11:54:20 15           other Olympic athletes?
11:54:24 16       A   I assert the Fifth.
11:54:25 17       Q   If there were, were those documents, too, taken
11:54:28 18           when you brought them back to USA Gymnastics?
11:54:31 19       A   I assert the Fifth.
11:54:32 20       Q   Did you bring any documents to Colorado Springs
11:54:34 21           regarding USOC?
11:54:36 22       A   I assert the Fifth.
11:54:38 23       Q   Do you know if those documents were ever
11:54:39 24           transmitted from the USAG headquarters to Colorado
11:54:45 25           Springs?



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11:54:46   1      A   I assert the Fifth.
11:54:46   2      Q   And when I say "Colorado Springs," I'm specifically
11:54:50   3          referring to the USOC's headquarters in Colorado
11:54:54   4          Springs.
11:54:55   5               Do you know if that transfer of documents ever
11:54:56   6          occurred from USAG to USOC?
11:55:01   7      A   I assert the Fifth.
11:55:01   8      Q   Were there any medical professionals at the ranch
11:55:04   9          that you interacted with when you went to go get
11:55:07 10           those records?
11:55:08 11       A   I assert the Fifth.
11:55:08 12       Q   Did you ever speak with Debbie Van Horn about those
11:55:11 13           records?
11:55:12 14       A   I assert the Fifth.
11:55:12 15       Q   Have you spoken with Debbie Van Horn since she's
11:55:15 16           been indicted?
11:55:17 17       A   I assert the Fifth.
11:55:18 18       Q   Have you ever spoken with Debbie Van Horn?
11:55:23 19       A   I assert the Fifth.
11:55:24 20       Q   Have you ever spoken with Larry Nassar?
11:55:26 21       A   I assert the Fifth.
11:55:27 22       Q   When's the first time you spoke with Larry Nassar?
11:55:30 23       A   I assert the Fifth.
11:55:31 24       Q   When is the last time you've spoken with Larry
11:55:33 25           Nassar?



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11:55:34   1      A   I assert the Fifth.
11:55:35   2      Q   Did you ever travel with Larry Nassar to events?
11:55:38   3      A   I assert the Fifth.
11:55:39   4      Q   Did you ever travel with Larry Nassar to any events
11:55:42   5          in California?
11:55:43   6      A   I assert the Fifth.
11:55:44   7      Q   Do you know if Steve Penny and Larry Nassar ever
11:55:47   8          traveled to events together?
11:55:51   9      A   I assert the Fifth.
11:55:52 10       Q   Do you know if Steve Penny was -- had any concerns
11:55:56 11           about Larry Nassar prior to June of 2015?
11:56:00 12       A   I assert the Fifth.
11:56:07 13       Q   Do you know if Steve Penny was ever made aware,
11:56:11 14           prior to June of 2015, of any complaints of sexual
11:56:15 15           misconduct about Larry Nassar?
11:56:21 16       A   I assert the Fifth.
11:56:21 17       Q   Did Steve Penny ever indicate to you that he had
11:56:23 18           called Michigan State University regarding Larry
11:56:26 19           Nassar?
11:56:27 20       A   I assert the Fifth.
11:56:33 21       Q   Did Steve Penny ever indicate to you that he had
11:56:35 22           called Michigan State and been apprised of any
11:56:38 23           complaints at Michigan State about Larry Nassar?
11:56:41 24       A   I assert the Fifth.
11:56:43 25       Q   Did Steve Penny ever tell you that he was going to



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11:56:45   1          call Michigan State in June of 2015 to warn them
11:56:52   2          about Larry Nassar?
11:56:54   3      A   I assert the Fifth.
11:56:54   4      Q   Did Steve Penny ever instruct you not to tell
11:56:57   5          anyone about the complaints involving Larry Nassar
11:56:59   6          in June of 2015?
11:57:01   7      A   I assert the Fifth.
11:57:02   8      Q   In June of 2015, were you made aware that there
11:57:04   9          were complaints involving Larry Nassar?
11:57:07 10       A   I assert the Fifth.
11:57:08 11       Q   In June of 2015, were you instructed not to give
11:57:11 12           Larry Nassar any further travel expenses or
11:57:15 13           schedule any further travel for him?
11:57:18 14       A   I assert the Fifth.
11:57:18 15       Q   Did you, in fact, schedule any travel for Larry
11:57:23 16           Nassar after June of 2015?
11:57:24 17       A   I assert the Fifth.
11:57:25 18       Q   If you did schedule travel, were you made aware
11:57:28 19           whatsoever of any complaints involving Larry
11:57:32 20           Nassar?
11:57:33 21       A   I assert the Fifth.
11:57:36 22       Q   Did you ever speak with Ron Galimore about Larry
11:57:39 23           Nassar?
11:57:39 24       A   I assert the Fifth.
11:57:40 25       Q   Do you know who Ron Galimore is?



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11:57:43   1      A   I assert the Fifth.
11:57:46   2      Q   Did you ever speak with Ron Galimore about Larry
11:57:52   3          Nassar in June of 2015 about Larry Nassar?
11:57:55   4      A   I assert the Fifth.
11:57:57   5      Q   Were you ever in a joint meeting between any USAG
11:58:05   6          executives and any USOC executives regarding Larry
11:58:08   7          Nassar?
11:58:09   8      A   I assert the Fifth.
11:58:10   9      Q   Did any USOC executives ever come to a USAG board
11:58:16 10           meeting to discuss Larry Nassar and the Larry
11:58:18 11           Nassar scandal?
11:58:19 12       A   I assert the Fifth.
11:58:22 13       Q   Did you ever go to a USOC board meeting with Steve
11:58:26 14           Penny to discuss the Larry Nassar scandal?
11:58:31 15       A   I assert the Fifth.
11:58:32 16       Q   Have you ever traveled with Steve Penny to
11:58:34 17           California?
11:58:35 18       A   I assert the Fifth.
11:58:41 19       Q   Have you ever attended a competition in California
11:58:46 20           for USA Gymnastics where Steve Penny was also
11:58:49 21           present?
11:58:49 22       A   I assert the Fifth.
11:58:52 23       Q   Did you attend the 2012 Olympic Trials in San Jose
11:58:58 24           with Steve Penny?
11:58:59 25       A   I assert the Fifth.



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11:59:00   1      Q   Did you schedule the travel for Steve Penny to that
11:59:03   2          event?
11:59:04   3      A   I assert the Fifth.
11:59:06   4      Q   Did you schedule the travel for Larry Nassar to
11:59:09   5          that event?
11:59:09   6      A   I assert the Fifth.
11:59:10   7      Q   Did you schedule the travel for Jordyn Wieber to
11:59:15   8          that event?
11:59:17   9      A   I assert the Fifth.
11:59:17 10       Q   Did you schedule the travel for McKayla Maroney to
11:59:21 11           that event?
11:59:22 12       A   I assert the Fifth.
11:59:22 13       Q   Did you schedule the travel for Aly Raisman to that
11:59:26 14           event?
11:59:27 15       A   I assert the Fifth.
11:59:33 16       Q   Did Steve Penny ever tell you not to discuss the
11:59:36 17           allegations about Larry Nassar?
11:59:38 18       A   I assert the Fifth.
11:59:39 19       Q   Did Steve Penny ever tell you not to discuss the
11:59:41 20           allegations about Marvin Sharp?
11:59:43 21       A   I assert the Fifth.
11:59:44 22       Q   Did Steve Penny try to keep the allegations
11:59:46 23           regarding Larry Nassar quiet?
11:59:49 24       A   I assert the Fifth.
11:59:49 25       Q   Did you want to report the allegations about Larry



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11:59:52   1          Nassar but Steve Penny told you not to?
11:59:54   2      A   I assert the Fifth.
11:59:55   3      Q   Did you believe that it was your mandated duty
12:00:00   4          under the law of the state of Indiana to make
12:00:03   5          reports of suspected abuse if you received them?
12:00:07   6      A   I assert the Fifth.
12:00:09   7      Q   Did Steve Penny ever tell you not to uphold that
12:00:12   8          duty?
12:00:13   9      A   I assert the Fifth.
12:00:14 10       Q   Were you worried that if you didn't follow Steve
12:00:16 11           Penny's instructions, either to go to the ranch or
12:00:18 12           any other instructions, that your job would be in
12:00:21 13           jeopardy?
12:00:22 14       A   I assert the Fifth.
12:00:30 15       Q   Has Steve Penny ever offered you anything -- has he
12:00:39 16           ever offered you anything in order to go to the
12:00:41 17           ranch in order to obtain those documents, meaning,
12:00:44 18           anything monetarily or any tangible items?
12:00:48 19       A   I assert the Fifth.
12:01:09 20       Q   Are you currently the national teams
12:01:13 21           manager/program travel manager at USAG?
12:01:22 22       A   I assert the Fifth.
12:01:23 23       Q   Is your office at the USA Gymnastics headquarters?
12:01:27 24       A   I assert the Fifth.
12:01:29 25       Q   Do you have an office at the USAG headquarters?



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12:01:33   1      A   I assert the Fifth.
12:01:33   2      Q   Did Steve Penny require you to keep those documents
12:01:35   3          we talked about from the ranch in your office at
12:01:37   4          the USAG headquarters?
12:01:39   5      A   I assert the Fifth.
12:01:39   6      Q   Did you ever speak with Steve Penny's attorneys?
12:01:47   7      A   I assert the Fifth.
12:01:47   8      Q   Have you ever had a meeting with Steve Penny and
12:01:50   9          Scott Blackman?
12:01:53 10       A   I assert the Fifth.
12:01:53 11       Q   Have you ever had a meeting with Steve Penny and
12:01:57 12           Paul Parilla?
12:01:58 13       A   I assert the Fifth.
12:01:59 14       Q   Did you travel to California with Steve Penny in
12:02:01 15           2016 regarding allegations about a California
12:02:06 16           gymnast being abused by Larry Nassar?
12:02:09 17       A   I assert the Fifth.
12:02:10 18       Q   Did you schedule that travel for Steve Penny?
12:02:14 19       A   I assert the Fifth.
12:02:14 20       Q   Do you know if Steve Penny's travel in 2016 to
12:02:18 21           California where he met with Paul Parilla was paid
12:02:24 22           for by USAG?
12:02:26 23       A   I assert the Fifth.
12:02:29 24       Q   Have you ever been at a board meeting where Larry
12:02:31 25           Nassar was discussed in the presence of Steve



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12:02:35   1          Penny?
12:02:36   2      A   I assert the Fifth.
12:02:37   3      Q   Were you ever at a board meeting where Steve Penny
12:02:40   4          urged individuals not to report Larry Nassar?
12:02:43   5      A   I assert the Fifth.
12:02:44   6      Q   And what I mean, "not report Larry Nassar," not
12:02:48   7          report him to the proper law enforcement
12:02:50   8          authorities?
12:02:50   9      A   I assert the Fifth.
12:02:52 10       Q   Did Steve Penny intentionally report the
12:02:57 11           allegations involving Larry Nassar to individuals
12:03:01 12           he knew within the FBI?
12:03:05 13       A   I assert the Fifth.
12:03:06 14       Q   Do you know if any local law enforcement knew of
12:03:12 15           allegations about Larry Nassar in June of 2015?
12:03:16 16       A   I assert the Fifth.
12:03:16 17       Q   Do you know if Steve Penny ever made any
12:03:18 18           communications to those local law enforcement
12:03:21 19           agencies in 2015?
12:03:22 20       A   I assert the Fifth.
12:03:24 21       Q   Do you know if Steve Penny was ever given any
12:03:26 22           advice from the local law enforcement agencies in
12:03:28 23           June of 2015?
12:03:30 24       A   I assert the Fifth.
12:03:32 25       Q   Do you know if Steve Penny ever had any in-person



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12:03:40   1          meetings with law enforcement, local law
12:03:43   2          enforcement, in June of 2015?
12:03:45   3      A   I assert the Fifth.
12:03:46   4      Q   Did Steve Penny ever have any communications,
12:03:49   5          meaning emails or text messages, that you were
12:03:53   6          copied on or privy to regarding Larry Nassar?
12:03:57   7      A   I assert the Fifth.
12:03:59   8      Q   Did Steve Penny -- did you have Mr. Smith's
12:04:03   9          number -- or Detective Smith, I believe?            Do you
12:04:12 10           have Bruce Smith's number?
12:04:14 11       A   I assert the Fifth.
12:04:15 12       Q   Do you have Jay Abbott's number?
12:04:17 13       A   I assert the Fifth.
12:04:18 14       Q   Did you ever coordinate any meetings between
12:04:22 15           Detective Smith or Agent Abbott regarding Larry
12:04:25 16           Nassar?
12:04:27 17       A   I assert the Fifth.
12:04:33 18       Q   Have you been interviewed by anyone in a federal
12:04:37 19           prosecutor's office about the Larry Nassar
12:04:39 20           investigation?
12:04:41 21       A   I assert the Fifth.
12:04:42 22       Q   Have you ever been interviewed by any federal
12:04:44 23           prosecutor about your involvement in taking records
12:04:49 24           from the ranch?
12:04:49 25       A   I assert the Fifth.



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12:04:50   1      Q   Have you ever told anyone what you believed were
12:04:52   2          contained in those records from the ranch?
12:04:54   3      A   I assert the Fifth.
12:04:57   4      Q   Did you speak with anyone other than your attorney
12:05:00   5          today to prep for your deposition?
12:05:03   6      A   I assert the Fifth.
12:05:08   7      Q   Did you review any documents in preparation for
12:05:10   8          your deposition here today?
12:05:15   9      A   I assert the Fifth.
12:05:31 10       Q   If you did review documents, did they refresh your
12:05:32 11           recollection as to the subject matter contained in
12:05:35 12           those documents?
12:05:37 13       A   I assert the Fifth.
12:05:46 14       Q   Were you ever given sexual harassment training at
12:05:50 15           USA Gymnastics?
12:05:50 16       A   I assert the Fifth.
12:05:51 17       Q   Were you ever given training on how to identify
12:05:57 18           suspected childhood sexual abuse while at USA
12:06:03 19           Gymnastics?
12:06:04 20       A   I assert the Fifth.
12:06:05 21       Q   Did you ever tell Steve Penny in June of 2015 that
12:06:07 22           he needed to report to law enforcement prior to
12:06:11 23           enlisting Fran Sepler?
12:06:16 24       A   I assert the Fifth.
12:06:17 25       Q   Do you know who Fran Sepler is?



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12:06:20   1      A   I assert the Fifth.
12:06:22   2      Q   Have you ever spoken with Fran Sepler?
12:06:25   3      A   I assert the Fifth.
12:06:27   4      Q   Have you ever spoken with Fran Sepler about Larry
12:06:30   5          Nassar?
12:06:30   6      A   I assert the Fifth.
12:06:32   7      Q   Have you ever been on a call with Fran Sepler and
12:06:34   8          Steve Penny?
12:06:35   9      A   I assert the Fifth.
12:06:37 10       Q   Have you ever spoken with Fran Sepler and Steve
12:06:40 11           Penny regarding Larry Nassar in the same meeting?
12:06:44 12       A   I assert the Fifth.
12:06:45 13       Q   Did you have any involvement with enlisting Fran
12:06:49 14           Sepler's services to investigate Larry Nassar?
12:06:52 15       A   I assert the Fifth.
12:06:53 16       Q   Did you personally ever speak with anybody at
12:06:58 17           Michigan State regarding the travel of Larry
12:07:00 18           Nassar?
12:07:00 19       A   I assert the Fifth.
12:07:01 20       Q   Did anyone at Michigan State ever make you aware of
12:07:05 21           complaints they had about Larry Nassar?
12:07:08 22       A   I assert the Fifth.
12:07:08 23       Q   If they did, in fact, make you aware of those
12:07:11 24           complaints, did you communicate those to anyone at
12:07:16 25           USA Gymnastics?



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12:07:16   1      A   I assert the Fifth.
12:07:23   2      Q   Despite the news report about documents being
12:07:27   3          found, do you have -- do you know if those are the
12:07:30   4          same documents you took from the ranch?
12:07:35   5      A   I assert the Fifth.
12:07:37   6      Q   Do you know if those documents were recently
12:07:39   7          created or when those documents were created?
12:07:42   8      A   I assert the Fifth.
12:07:43   9      Q   Do you know who authored those documents?
12:07:45 10       A   I assert the Fifth.
12:07:50 11       Q   Were those USAG forms or some other forms that were
12:07:52 12           located?
12:07:53 13       A   I assert the Fifth.
12:07:54 14       Q   Who discovered those forms?
12:07:56 15       A   I assert the Fifth.
12:07:57 16       Q   Where did they discover those forms?
12:07:59 17       A   I assert the Fifth.
12:08:11 18       Q   Did you ever assist any -- assist Steve Penny,
12:08:17 19           Rhonda Faehn, or anyone from USA Gymnastics in
12:08:21 20           gathering documents to be given to Congress?
12:08:26 21       A   I assert the Fifth.
12:08:28 22       Q   Did you ever help gather documents to be given to
12:08:32 23           Congress?
12:08:33 24       A   I assert the Fifth.
12:08:34 25       Q   Regardless of whether you were told whether the



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12:08:37   1          documents were going to go to Congress or somewhere
12:08:39   2          else, did you ever assist in the preparation of
12:08:42   3          compiling documents to be sent to a third party
12:08:45   4          regarding the Larry Nassar scandal?
12:08:48   5      A   I assert the Fifth.
12:08:54   6      Q   Prior to sending those documents to Congress, did
12:08:58   7          you give notice to any of the individuals whose
12:09:01   8          records those were?
12:09:03   9      A   I assert the Fifth.
12:09:05 10       Q   Did USAG transmit any of my clients' records to
12:09:09 11           Congress?
12:09:10 12       A   I assert the Fifth.
12:09:10 13       Q   Specifically, did USAG send any of Aly Raisman's
12:09:16 14           records to Congress?
12:09:18 15       A   I assert the Fifth.
12:09:18 16       Q   Did USAG ever send Jordyn Wieber's records to
12:09:23 17           Congress?
12:09:24 18       A   I assert the Fifth.
12:09:25 19       Q   Did USAG ever send McKayla Maroney's records to
12:09:30 20           Congress?
12:09:31 21       A   I assert the Fifth.
12:09:32 22       Q   Did USAG ever send Mattie Larson's records to
12:09:32 23           Congress?
12:09:34 24       A   I assert the Fifth.
12:09:35 25       Q   Did USAG ever send Jamie Dantzscher's records to



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12:09:40   1          Congress?
12:09:41   2      A   I assert the Fifth.
12:09:41   3      Q   Who at USA Gymnastics would be most informed about
12:09:44   4          the records that were sent to Congress?
12:09:47   5      A   I assert the Fifth.
12:09:49   6      Q   Does USA Gymnastics have a records depository at
12:09:54   7          its headquarters?
12:09:55   8      A   I assert the Fifth.
12:09:55   9      Q   Is there a basement or storage structure where all
12:09:58 10           records are kept?
12:10:00 11       A   I assert the Fifth.
12:10:00 12       Q   When hard records are kept nowadays, are they
12:10:04 13           scanned into a system for USA Gymnastics and
12:10:07 14           maintained at the facility or are they kept in hard
12:10:10 15           form only?
12:10:12 16       A   I assert the Fifth.
12:10:12 17       Q   If they are, in fact, scanned into a system to be
12:10:16 18           kept at USA Gymnastics, are the hard records then
12:10:21 19           destroyed?
12:10:22 20       A   I assert the Fifth.
12:10:23 21       Q   Is there any record-keeping process for insuring
12:10:28 22           that no records are destroyed before they're
12:10:31 23           preserved electronically?
12:10:33 24       A   I assert the Fifth.
12:10:33 25       Q   Does USA Gymnastics have servers at the



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12:10:37   1          headquarters for electronic documents?
12:10:39   2      A   I assert the Fifth.
12:10:40   3      Q   Do you have access to that server?
12:10:41   4      A   I assert the Fifth.
12:10:42   5      Q   If you don't have access, who has access to that
12:10:45   6          server?
12:10:46   7      A   I assert the Fifth.
12:10:46   8      Q   Did Steve Penny have access to that server?
12:10:49   9      A   I assert the Fifth.
12:10:50 10       Q   Does Steve Penny still have access to that server?
12:10:54 11       A   I assert the Fifth.
12:10:54 12       Q   To your knowledge, has USA Gymnastics been in
12:10:57 13           contact with Steve Penny in the last few months
12:10:59 14           regarding Larry Nassar?
12:11:02 15       A   I assert the Fifth.
12:11:03 16       Q   Do you know if USA Gymnastics is paying for Steve
12:11:06 17           Penny's defense, criminal defense?
12:11:10 18       A   I assert the Fifth.
12:11:15 19       Q   Do you know if the USOC has any ability to audit
12:11:20 20           the records maintained by USAG?
12:11:24 21       A   I assert the Fifth.
12:11:25 22                MS. KIES:    This is Marianne.     I'd just like to
12:11:26 23           specifically interpose an objection here as to
12:11:28 24           beyond the scope of the deposition.
12:11:30 25       Q   Do you know if USOC had access to the records at



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12:11:36   1          USA Gymnastics prior to June of 2015?
12:11:39   2      A   I assert the Fifth.
12:11:39   3      Q   Are you aware of any records maintained by USA
12:11:42   4          Gymnastics denoting that Larry Nassar was not
12:11:44   5          allowed at the ranch for a period of time?
12:11:48   6      A   I assert the Fifth.
12:11:49   7      Q   Are you aware of any records at USA Gymnastics
12:11:51   8          indicating that Larry Nassar was taking an
12:11:54   9          excessive amount of photographs of little girls at
12:11:57 10           the ranch?
12:11:58 11       A   I assert the Fifth.
12:11:59 12       Q   Were you ever made aware of any records that
12:12:02 13           contained information that Larry Nassar was taking
12:12:04 14           an excessive amount of photographs of little girls
12:12:07 15           at foreign competitions?
12:12:09 16       A   I assert the Fifth.
12:12:10 17       Q   Were those records also made available to USOC?
12:12:14 18       A   I assert the Fifth.
12:12:15 19       Q   Did the USOC, in fact, audit those records and view
12:12:19 20           those records prior to June of 2015?
12:12:22 21       A   I assert the Fifth.
12:12:27 22                MR. CUNNY:    I'll take one more quick break,
12:12:29 23           but I'm about done.
12:12:31 24                THE VIDEOGRAPHER:     Okay.    It's 12:12.     Off the
12:12:34 25           record.



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12:12:34   1                 (A brief recess was taken.)
12:18:23   2                 THE VIDEOGRAPHER:    It's now 12:18.     We're back
12:18:25   3          on the record.
12:18:26   4      BY MR. CUNNY:
12:18:27   5      Q   All right.    Miss, you understand you're still under
12:18:30   6          oath?
12:18:30   7      A   Yes.
12:18:31   8      Q   Still pledge to tell the truth?
12:18:34   9      A   Yes.
12:18:35 10       Q   All right.    So prior to the Larry Nassar scandal,
12:18:39 11           had you been involved in the handling of any
12:18:42 12           childhood sexual abuse by USAG members?
12:18:47 13       A   I assert the Fifth.
12:18:49 14       Q   Was it part of your job duty to assist Steve Penny
12:18:54 15           in the investigation of childhood sexual abuse
12:18:58 16           allegations?
12:19:00 17       A   I assert the Fifth.
12:19:01 18       Q   Did you have any role on the disciplinary board or
12:19:04 19           committee, or however it's named, at USA Gymnastics
12:19:09 20           in revoking the membership of ineligible members?
12:19:16 21       A   I assert the Fifth.
12:19:18 22       Q   Were those proceedings ever instituted against
12:19:22 23           Larry Nassar prior to September of 2016?
12:19:25 24       A   I assert the Fifth.
12:19:27 25       Q   Did Steve Penny ever indicate to you that he had no



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12:19:30   1          intention of instituting formal proceedings against
12:19:35   2          Larry Nassar to make him on the permanently
12:19:37   3          ineligible list?
12:19:40   4      A   I assert the Fifth.
12:19:40   5      Q   Do you know why there wasn't an action instituted
12:19:43   6          against Larry Nassar being made permanently
12:19:48   7          ineligible to compete -- or treat USAG members?
12:19:52   8      A   I assert the Fifth.
12:19:52   9      Q   Was it because Steve Penny did not want that
12:19:56 10           information to become public after June of 2015?
12:20:02 11       A   I assert the Fifth.
12:20:04 12       Q   Was it -- did Steve Penny ever express to you that
12:20:07 13           it was the intention -- that it was his intention
12:20:10 14           to ensure that the allegations against Larry Nassar
12:20:16 15           were never made public?
12:20:18 16       A   I assert the Fifth.
12:20:19 17       Q   Did Steve Penny ever indicate to you whose idea it
12:20:23 18           was to make the settlement agreement with McKayla
12:20:27 19           Maroney confidential?
12:20:29 20       A   I assert the Fifth.
12:20:33 21       Q   Have you been made aware in your role at USA
12:20:35 22           Gymnastics of any other confidential settlements
12:20:39 23           regarding claims against Larry Nassar?
12:20:42 24       A   I assert the Fifth.
12:20:42 25       Q   If you have, when have those confidential



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12:20:45   1          settlements been entered into?
12:20:47   2      A   I assert the Fifth.
12:20:48   3      Q   Do any of those confidential settlements predate
12:20:52   4          June of 2015?
12:20:54   5      A   I assert the Fifth.
12:20:54   6      Q   Is it a USAG policy that any claim of sexual abuse
12:21:01   7          gets settled confidentially?
12:21:04   8      A   I assert the Fifth.
12:21:04   9      Q   If that is the case, is that the policy so that USA
12:21:09 10           Gymnastics won't face public scrutiny for childhood
12:21:14 11           sexual abuse occurring by its staff or agents?
12:21:19 12       A   I assert the Fifth.
12:21:26 13       Q   Do you know how Larry Nassar was compensated by USA
12:21:31 14           Gymnastics?
12:21:31 15       A   I assert the Fifth.
12:21:31 16       Q   Did you work at all with the USOC in arranging the
12:21:34 17           travel of Larry Nassar for Olympic or Pan American
12:21:39 18           events?
12:21:40 19       A   I assert the Fifth.
12:21:42 20       Q   Did USOC pay for Larry Nassar to attend any of
12:21:45 21           those events, or was that solely at the expense of
12:21:48 22           USOC?
12:21:49 23       A   I assert the Fifth.
12:21:49 24       Q   Did the USOC pay for any of Larry Nassar's travel
12:21:53 25           to the state of California, to your knowledge?



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12:21:56   1      A   I assert the Fifth.
12:21:58   2               MS. KIES:    Object to foundation.
12:22:01   3      Q   Did the USOC ever indicate to you that they would
12:22:04   4          be paying the expenses for Larry Nassar when he
12:22:08   5          traveled to California?
12:22:09   6      A   I assert the Fifth.
12:22:16   7      Q   Did USOC, to your knowledge and given that you
12:22:20   8          handle travel arrangements for USAG staff, did the
12:22:24   9          USOC ever pay for Debbie Van Horn to go to
12:22:28 10           California to provide medical treatment at an
12:22:31 11           event?
12:22:32 12       A   I assert the Fifth.
12:22:33 13       Q   Specifically, did the USOC pay for Debbie Van Horn
12:22:36 14           to go to the 2012 Olympic Trials in San Jose?
12:22:42 15       A   I assert the Fifth.
12:22:43 16       Q   And prior to that and based on your position at
12:22:46 17           USAG, were you ever made aware that Debbie Van Horn
12:22:51 18           had viewed the treatments Larry Nassar was
12:22:55 19           performing on these girls?
12:22:58 20       A   I assert the Fifth.
12:22:59 21       Q   At any point were you made aware of the
12:23:01 22           treatments -- the category of treatments that Larry
12:23:05 23           Nassar was providing to gymnasts at USAG?
12:23:10 24       A   I assert the Fifth.
12:23:10 25       Q   Did anyone at USAG, to your knowledge, have any



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12:23:17   1          information that Larry Nassar was performing an
12:23:21   2          intravaginal adjustment on these girls?
12:23:24   3      A   I assert the Fifth.
12:23:25   4      Q   Was there ever a review by a medical committee at
12:23:28   5          USAG or medical doctors volunteering with USAG of
12:23:33   6          these intravaginal treatments to your knowledge?
12:23:36   7      A   I assert the Fifth.
12:23:36   8      Q   Did Steve Penny ever discuss these intravaginal
12:23:39   9          treatments with you?
12:23:41 10       A   I assert the Fifth.
12:23:42 11       Q   Are you aware of any claims that Steve Penny had
12:23:53 12           obfuscated an investigation regarding childhood
12:23:56 13           sexual abuse in the past?
12:23:59 14       A   I assert the Fifth.
12:23:59 15       Q   Are you aware of any claims that Steve Penny had
12:24:03 16           hindered police investigations for childhood sexual
12:24:06 17           abuse in the past?
12:24:07 18       A   I assert the Fifth.
12:24:11 19       Q   Did Steve Penny ever indicate to you that he wanted
12:24:15 20           to hinder or otherwise hamper police investigations
12:24:20 21           into Larry Nassar?
12:24:21 22       A   I assert the Fifth.
12:24:22 23       Q   Was Steve Penny friends with Larry Nassar?
12:24:24 24       A   I assert the Fifth.
12:24:24 25       Q   Was Steve Penny friends with Marvin Sharp?



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12:24:27   1      A   I assert the Fifth.
12:24:27   2      Q   Did anybody ever look into a connection between
12:24:32   3          those two individuals?
12:24:34   4      A   I assert the Fifth.
12:24:35   5      Q   Are you aware of when Marvin Sharp was first
12:24:39   6          reported to USA Gymnastics for sexual misconduct?
12:24:45   7      A   I assert the Fifth.
12:24:45   8      Q   Are you aware of when he was then finally reported
12:24:48   9          to law enforcement?
12:24:50 10       A   I assert the Fifth.
12:24:54 11       Q   Have you ever met Don McPherson?
12:24:57 12       A   I assert the Fifth.
12:24:57 13       Q   Did Don McPherson ever discuss with you allegations
12:25:02 14           about Larry Nassar?
12:25:04 15       A   I assert the Fifth.
12:25:06 16       Q   Did Don McPherson ever make you aware or Steve
12:25:09 17           Penny aware, to your knowledge, about allegations
12:25:13 18           pertaining to Larry Nassar that predated June of
12:25:15 19           2015?
12:25:16 20       A   I assert the Fifth.
12:25:18 21       Q   Do you know who Don McPherson is?
12:25:21 22       A   I assert the Fifth.
12:25:22 23       Q   Does Don McPherson have any role with USA
12:25:24 24           Gymnastics, to your knowledge?
12:25:28 25       A   I assert the Fifth.



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12:25:42   1      Q   Have you been asked to testify before Congress?
12:25:46   2      A   I assert the Fifth.
12:25:50   3      Q   Have you been asked to testify at the trial of
12:25:52   4          Steve Penny?
12:25:54   5      A   I assert the Fifth.
12:25:58   6      Q   Have you been asked to testify at a preliminary
12:26:01   7          hearing or anything of that nature regarding Steve
12:26:03   8          Penny?
12:26:04   9      A   I assert the Fifth.
12:26:06 10       Q   Did you provide any documentation to law
12:26:08 11           enforcement at any point?
12:26:11 12       A   I assert the Fifth.
12:26:13 13       Q   Do you have emails regarding Larry Nassar?
12:26:15 14       A   I assert the Fifth.
12:26:16 15       Q   Do you have text messages regarding Larry Nassar?
12:26:18 16       A   I assert the Fifth.
12:26:19 17       Q   Do any of those emails or text messages have other
12:26:26 18           USAG personnel as the recipient?
12:26:28 19       A   I assert the Fifth.
12:26:29 20       Q   Do any of those text messages or emails have any
12:26:34 21           USOC, meaning U.S. Olympic Committee, as the
12:26:40 22           recipients?
12:26:43 23       A   I assert the Fifth.
12:26:43 24       Q   Have you received any emails or text messages from
12:26:46 25           the USOC regarding Larry Nassar?



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12:26:48   1      A   I assert the Fifth.
12:26:51   2      Q   As you sit here today, do you know where the
12:26:55   3          documents are that you took from the ranch?
12:26:59   4      A   I assert the Fifth.
12:27:00   5      Q   As you sit here today, do you know what was
12:27:03   6          contained in those documents that you took from the
12:27:06   7          ranch?
12:27:06   8      A   I assert the Fifth.
12:27:07   9      Q   As you sit here today, do you know if those
12:27:10 10           documents are just a couple miles away at the USAG
12:27:14 11           headquarters?
12:27:18 12       A   I assert the Fifth.
12:27:18 13       Q   Did you review those documents before your
12:27:21 14           deposition today?
12:27:22 15       A   I assert the Fifth.
12:27:24 16       Q   Have those documents been sent to Ropes & Gray, to
12:27:35 17           your knowledge?
12:27:36 18       A   I assert the Fifth.
12:27:37 19       Q   Do you know if those documents -- I think I asked
12:27:41 20           you if they were sent to Deborah Daniels, but do
12:27:44 21           you know if those documents were sent to Deborah
12:27:46 22           Daniels?
12:27:48 23       A   I assert the Fifth.
12:27:48 24       Q   Do you know if USAG, if in fact they were sent to
12:27:52 25           Deborah Daniels, if they were returned in the same



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12:27:55   1          condition they were sent?
12:27:56   2      A   I assert the Fifth.
12:27:57   3      Q   Did Deborah Daniels take any of those documents and
12:28:02   4          not return them, to your knowledge?
12:28:05   5      A   I assert the Fifth.
12:28:05   6      Q   Are those documents reflected anywhere in Deborah
12:28:08   7          Daniels' report, to your knowledge?
12:28:10   8      A   I assert the Fifth.
12:28:11   9      Q   Did Deborah Daniels speak to you about those
12:28:14 10           documents and the removal from the ranch?
12:28:17 11       A   I assert the Fifth.
12:28:18 12       Q   To your knowledge, when did Deborah Daniels become
12:28:21 13           aware of those documents still existing?
12:28:25 14       A   I assert the Fifth.
12:28:31 15       Q   Do you know who Deborah Daniels is?
12:28:34 16       A   I assert the Fifth.
12:28:37 17       Q   Did you provide any written statements or
12:28:39 18           audio-recorded statements to Deborah Daniels?
12:28:43 19       A   I assert the Fifth.
12:28:44 20       Q   Or video recorded statements?
12:28:45 21       A   I assert the Fifth.
12:28:46 22       Q   Did you provide any audio or video-recorded
12:28:50 23           statement to any law enforcement agency?
12:28:54 24       A   I assert the Fifth.
12:28:54 25       Q   Did any of those statements concern Larry Nassar?



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12:28:57   1      A   I assert the Fifth.
12:29:01   2      Q   Are you aware of the reasons why Steve Penny
12:29:04   3          resigned his position at USA Gymnastics?
12:29:08   4      A   I assert the Fifth.
12:29:10   5      Q   Did Steve Penny's resignation have to do with the
12:29:16   6          removal of documents from the ranch to your
12:29:18   7          knowledge?
12:29:18   8      A   I assert the Fifth.
12:29:19   9      Q   Did Steve Penny's resignation from USA Gymnastics
12:29:22 10           have to do with allegations of sexual abuse at USA
12:29:27 11           Gymnastics?
12:29:30 12       A   I assert the Fifth.
12:29:31 13       Q   Did Steve Penny's resignation from USA Gymnastics
12:29:34 14           have anything to do with him being forced out by
12:29:36 15           the USOC?
12:29:38 16       A   I assert the Fifth.
12:29:38 17       Q   Are you aware of any communications between Steve
12:29:40 18           Penny and the board at the USOC, wherein the board
12:29:48 19           conditions USAG's certification as an NGB on Steve
12:29:54 20           Penny resigning?
12:29:56 21       A   I assert the Fifth.
12:29:57 22       Q   Were you made aware of the reasons for which USAG
12:30:03 23           was attempting to decertify USA Gymnastics?
12:30:06 24       A   I assert the Fifth.
12:30:12 25       Q   Did USOC specifically call you into a meeting



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12:30:18   1          regarding their decision to attempt to decertify
12:30:24   2          USAG?
12:30:24   3      A   I assert the Fifth.
12:30:24   4      Q   Did you ever speak with any of the board at USAG
12:30:32   5          regarding the decertification of USAG?
12:30:37   6      A   I assert the Fifth.
12:30:41   7      Q   Were there any discussions that, if decertified,
12:30:46   8          USAG would not be able to maintain its business?
12:30:50   9      A   I assert the Fifth.
12:30:55 10       Q   Was it ever discussed that the only way USAG could
12:31:00 11           stay in business is if it was an NGB?
12:31:04 12       A   I assert the Fifth.
12:31:04 13       Q   Are you present at board meetings?
12:31:12 14       A   I assert the Fifth.
12:31:13 15       Q   When's the last time you talked with Paul Parilla?
12:31:17 16       A   I assert the Fifth.
12:31:18 17       Q   Do you know who Paul Parilla is?
12:31:20 18       A   I assert the Fifth.
12:31:21 19       Q   When's the last time you've talked with Jay Binder?
12:31:24 20       A   I assert the Fifth.
12:31:25 21       Q   Have you ever talked with Jay Binder?
12:31:27 22       A   I assert the Fifth.
12:31:27 23       Q   When's the last time you spoke with Peter Vidmar?
12:31:31 24       A   I assert the Fifth.
12:31:31 25       Q   Did you ever speak with Peter Vidmar about Larry



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12:31:34   1          Nassar?
12:31:36   2      A   I assert the Fifth.
12:31:36   3      Q   Did you ever speak with Jay Binder about Larry
12:31:40   4          Nassar?
12:31:40   5      A   I assert the Fifth.
12:31:49   6      Q   Did you ever speak with any other board members at
12:31:52   7          USAG regarding Larry Nassar?
12:31:53   8      A   I assert the Fifth.
12:31:54   9      Q   And when I say "other board members," I mean
12:31:58 10           anybody other than those that I just mentioned.
12:32:01 11       A   I assert the Fifth.
12:32:03 12       Q   Did you ever speak with any past presidents about
12:32:05 13           Larry Nassar?
12:32:06 14       A   I assert the Fifth.
12:32:07 15       Q   Did you ever speak with Kathy Scanlan about Larry
12:32:11 16           Nassar?
12:32:13 17       A   I assert the Fifth.
12:32:17 18       Q   Do you know what Steve Penny's role at USAG was
12:32:21 19           before he was president?
12:32:22 20       A   I assert the Fifth.
12:32:23 21       Q   Do you know if he received any complaints about
12:32:25 22           Larry Nassar in that role?
12:32:26 23       A   I assert the Fifth.
12:32:28 24       Q   Was it Steve Penny's custom and practice to
12:32:33 25           document reports about Larry Nassar or complaints



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12:32:36   1          about any USAG member?
12:32:40   2      A   I assert the Fifth.
12:32:41   3      Q   If he did document those allegations or complaints
12:32:45   4          about USAG members, where would Steve Penny keep
12:32:49   5          those documents?
12:32:50   6      A   I assert the Fifth.
12:32:51   7      Q   Do you know if they're handwritten or typewritten?
12:32:54   8      A   I assert the Fifth.
12:33:15   9      Q   Since you went to the ranch and retrieved those
12:33:19 10           documents, I believe in or around November of 2016,
12:33:26 11           have you been back to the ranch?
12:33:27 12       A   I assert the Fifth.
12:33:31 13       Q   Have you spoken to Martha or Bela Karolyi since
12:33:35 14           that time?
12:33:37 15       A   I assert the Fifth.
12:33:37 16       Q   Since this information came to light about your
12:33:39 17           removal of documents from the ranch as evidenced in
12:33:42 18           the congressional testimony, have you spoken with
12:33:46 19           anybody at the Karolyi Ranch regarding those
12:33:48 20           documents?
12:33:52 21       A   I assert the Fifth.
12:33:53 22       Q   Have you spoken with Kathy Kelly about the removal
12:33:57 23           of documents from the ranch?
12:33:59 24       A   I assert the Fifth.
12:33:59 25       Q   Have you spoken with Gary Warren about the removal



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12:34:04   1          of documents from the ranch?
12:34:05   2      A   I assert the Fifth.
12:34:13   3      Q   Do you know if the documents from the ranch were
12:34:15   4          destroyed?
12:34:16   5      A   I assert the Fifth.
12:34:16   6      Q   Do you know how they were destroyed?
12:34:18   7      A   I assert the Fifth.
12:34:19   8      Q   Were they burned?
12:34:20   9      A   I assert the Fifth.
12:34:21 10       Q   Were they shredded?
12:34:22 11       A   I assert the Fifth.
12:34:24 12       Q   Were they just thrown into a trash receptacle?
12:34:29 13       A   I assert the Fifth.
12:34:40 14       Q   Have you ever been instructed by Steve Penny, prior
12:34:41 15           to going to the ranch to obtain records, to go to
12:34:48 16           any other locations to obtain records for any
12:34:51 17           purpose?
12:34:52 18       A   I assert the Fifth.
12:34:54 19       Q   Did Steve Penny ever send you to Michigan State to
12:34:56 20           obtain records for Larry Nassar?
12:35:00 21       A   I assert the Fifth.
12:35:00 22       Q   Do you know if Steve Penny ever did get records
12:35:03 23           from Michigan State regarding Larry Nassar?
12:35:05 24       A   I assert the Fifth.
12:35:13 25       Q   Do you know if the records you took from the ranch



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12:35:18   1          were ever given to the Indianapolis Police
12:35:22   2          Department prior to March of 2017?
12:35:28   3      A   I assert the Fifth.
12:35:30   4      Q   Do you know if the records that were taken from the
12:35:33   5          ranch were ever given to the Indianapolis FBI prior
12:35:37   6          to March of 2017?
12:35:41   7      A   I assert the Fifth.
12:35:42   8      Q   Is it your understanding that Steve Penny resigned
12:35:44   9          in March of 2017 from USA Gymnastics?
12:35:47 10       A   I assert the Fifth.
12:35:50 11       Q   Did Steve Penny, to your knowledge, take those
12:35:52 12           documents with him after he resigned?
12:35:55 13       A   I assert the Fifth.
12:35:56 14       Q   Did Steve Penny write any memoranda to subsequent
12:36:01 15           leadership regarding those documents?
12:36:05 16       A   I assert the Fifth.
12:36:06 17       Q   Were you instructed to inform leadership of the
12:36:10 18           existence of those documents?
12:36:12 19       A   I assert the Fifth.
12:36:13 20       Q   Do you have any understanding of why Kerry Perry
12:36:15 21           didn't know where those documents were when she
12:36:18 22           testified to Congress?
12:36:19 23       A   I assert the Fifth.
12:36:24 24                MR. CUNNY:    I think I'm about done.          Does
12:36:26 25           anybody on the phone have further questions?



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12:36:35   1               MR. AMUNDSON:     None.
12:36:39   2               THE REPORTER:     Anyone else?
12:36:45   3               MR. CUNNY:    Okay.    Hearing no requests for
12:36:48   4         further questions, obviously we're going to have to
12:36:52   5         bring a motion on the deposition transcript.
12:36:55   6         However, for handling of the transcript in the
12:36:59   7         meantime, I'd request that the court reporter be
12:37:01   8         relieved of her duties under the rules.         She will
12:37:05   9         prepare and bind a transcript, and she can send it
12:37:09 10          to counsel.
12:37:10 11                MR. DOWNEY:    Sure.
12:37:11 12                MR. CUNNY:    Counsel will receive that
12:37:12 13          transcript and make sure that the deponent reviews
12:37:16 14          it.
12:37:16 15                You'll have 30 days to review, and you can
12:37:19 16          make any changes you want to the transcript when
12:37:22 17          you get it.     However, I must caution you, if you
12:37:24 18          make a substantive change like you change a yes to
12:37:28 19          a no or the light was green and not red when I
12:37:33 20          drove through the intersection, something like
12:37:34 21          that, it can reflect negatively on your
12:37:37 22          credibility, and it can be commented upon at the
12:37:40 23          time of trial.     Okay?
12:37:41 24                THE WITNESS:     Okay.
12:37:43 25                MR. CUNNY:    Nevertheless, you can make any



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12:37:46   1         changes you see fit thereto.       There will be an
12:37:48   2         errata sheet that comes with the transcript.           It
12:37:52   3         should probably only be 100 pages or so, which
12:37:55   4         should be a pretty quick reading.        Make any changes
12:37:58   5         you want on the errata sheet.        Put the page, the
12:37:59   6         line, and what the change is.
12:38:01   7               You'll transmit the original transcript to
12:38:03   8         your counsel.     The court reporter will provide your
12:38:07   9         counsel with a self-addressed stamped envelope that
12:38:10 10          will send the original transcript to my office.
12:38:13 11                My office will retain custody of the original
12:38:15 12          transcript, and we'll lodge it upon reasonable
12:38:20 13          request for all purposes, including trial.           If the
12:38:22 14          original is lost, stolen, misplaced, or otherwise
12:38:24 15          unavailable, a certified copy can be used in lieu
12:38:27 16          thereof for all purposes, including trial.
12:38:29 17                If the transcript goes unsigned within the
12:38:31 18          30-day period, a certified copy of that transcript
12:38:36 19          can be used at the time of trial.
12:38:40 20                THE WITNESS:     Okay.
12:38:42 21                MR. CUNNY:    So stipulated on the phone?
12:38:46 22                MR. AMUNDSON:     Yeah, this is Steve Amundson.
12:38:49 23          So stipulated, and I don't need a copy.
12:38:55 24                MS. MATTHAI:     Edith Matthai.    So stipulated to
12:38:58 25          the extent that this transcript could ever be used



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12:39:01   1          for anything.
12:39:03   2                MS. HOLM:    Margaret Holm.     So stipulated.         I
12:39:07   3          would like a copy of the transcript as well as the
12:39:12   4          video.
12:39:12   5                MS. KIES:    This is Marianne Kies from
12:39:17   6          Covington & Burling for USOC.        So stipulated.       I
12:39:19   7          would also like a copy of the transcript.
12:39:22   8                MR. CUNNY:    And I do want to put on the
12:39:23   9          record, I think it's apparent, but we will be
12:39:26 10           bringing a motion on this given the numerous
12:39:29 11           instructions not to answer.
12:39:30 12                 I understand counsel's position with -- in
12:39:34 13           light of the criminal proceedings.        However, we do
12:39:36 14           believe there are non-inculpatory areas of inquiry
12:39:42 15           which we are entitled to get evidence upon.             So
12:39:45 16           we'll take that up at a later time, I presume?
12:39:49 17                 MR. DOWNEY:    Certainly.
12:39:50 18                 MR. CUNNY:    All right.
12:39:50 19                 THE VIDEOGRAPHER:     It is now 12:39.         We are
12:39:52 20           off the record.
           21               (A discussion was held off the record.)
           22               MS. MERY:    This is Victoria Mery.      We will
           23         stipulate.
           24               MS. ADAME:    Vivian Adame.     We will stipulate.
           25         And we don't need a copy of the transcript.



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1                MS. MERY:    The Karolyis will take a copy of
2          the transcript.     Thank you.
3                THE REPORTER:     Anyone else?    Mr. Downey, would
4          you like a copy of the transcript?
5                MR. DOWNEY:    Of course, electronic.
6                THE REPORTER:     Is there any rush?
7                MR. CUNNY:    Actually, yes.     I'll need to put
8          an expedite on that.
9                THE REPORTER:     When would you like the
10         transcript?
11               MR. CUNNY:    Can I get it on the 19th?
12               THE REPORTER:     Yes.
13               (The deposition concluded at 12:39 p.m.)
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10                I, AMY SUE WHITE, state that I have read the
11      foregoing transcript of the testimony given by me at
12      my deposition on November 13, 2018, and that said
13      transcript constitutes a true and correct record of
14      the testimony given by me at said deposition except as
15      I have so indicated on the errata sheets provided
16      herein.
17
18      DATED:______________
19                                       _________________________
                                         AMY SUE WHITE
20
21
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                  UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE


   ALEXANDRA ROSE RAISMAN, AN   )
   INDIVIDUAL,                  )
                                )      CIVIL CASE NO.
                Plaintiff,      )      5:18-cv-02479-BLF
                                )
            -v-                 )      The Honorable
                                )      Beth Labson Freeman
   UNITED STATES OLYMPIC        )
   COMMITTEE, A BUSINESS ENTITY )
   OF FORM UNKNOWN;             )
   USA GYMNASTICS, AN INDIANA   )
   BUSINESS ENTITY OF FORM      )
   UNKNOWN; LARRY NASSAR, AN    )
   INDIVIDUAL; STEVE PENNY, AN )
   INDIVIDUAL; PAUL PARRILLA, AN)
   INDIVIDUAL; AND DOES 1       )
   THROUGH 500,                 )
                                )
                Defendants.     )
   _____________________________)

                    * CONFIDENTIAL PORTIONS *

            The videoconferenced and telephonic videotaped
   deposition upon oral examination of RHONDA FAEHN, a
   witness produced and sworn before me, Michele K.
   Gustafson, CRR-RPR, Notary Public in and for the
   County of Marion, State of Indiana, taken on behalf of
   the Plaintiff at the offices of Stewart Richardson
   Deposition Services, One Indiana Square, Suite 2425,
   Indianapolis, Indiana, on October 24, 2018, at
   10:10 a.m., pursuant to the Federal Rules of Civil
   Procedure.


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02:06:22   1          athlete training with the Karolyis, he just
02:06:24   2          purchased the land.
02:06:25   3      Q   Sure.    As it currently exists, that's fine.
02:06:29   4      A   Okay.    We had approximately eight camps when I
02:06:34   5          arrived in 2015 -- that was my first camp was, I
02:06:42   6          believe, the end of May -- so eight in 2016, eight
02:06:53   7          in 2017.    So about 20 -- 20 to 24 times, somewhere
02:06:59   8          in there.
02:06:59   9      Q   Okay.    So in general, you're familiar with the
02:07:01 10           grounds; correct?
02:07:02 11       A   Yes.
02:07:02 12       Q   Okay.    Was there a fire pit at the Ranch?
02:07:05 13       A   Excuse me?
02:07:07 14                  MS. MERY:    Objection.   This is way outside the
02:07:09 15           scope of jurisdictional discovery.
02:07:11 16                  MR. MANLY:    That's what you think.
02:07:12 17       Q   Go ahead.    Was there a fire pit at the Ranch?
02:07:14 18       A   What's a fire pit?
02:07:16 19       Q   A place where you burn logs for a fire.
02:07:19 20       A   I don't know.
02:07:20 21       Q   Okay.    Who was the -- who was in charge of the
02:07:23 22           Ranch for USA Gymnastics, if anybody?
02:07:26 23       A   Gary Warren.
02:07:27 24       Q   Okay.    And do you remember your Senate testimony
02:07:35 25           you were asked about whether you were aware that



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02:07:40   1          records were removed from the Ranch?
02:07:43   2      A   Yes.
02:07:43   3      Q   Okay.   Are you aware of -- and you testified that
02:07:46   4          you know that Amy White was directed to go to the
02:07:49   5          Ranch by Steve Penny; correct?
02:07:50   6      A   Yes.
02:07:51   7      Q   And she removed certain records; correct?
02:07:54   8      A   Yes.
02:07:54   9      Q   Okay.   Were you there when that happened?
02:07:56 10       A   No.
02:07:56 11       Q   How do you know that happened?
02:08:00 12       A   In the -- I believe it was March of 2018, of this
02:08:05 13           year, I'd received a phone call message from the
02:08:10 14           reporter from the OC Register asking if I -- no,
02:08:18 15           asking if he could speak with me.       And
02:08:21 16           USA Gymnastics' policy was I -- any -- I was to go
02:08:26 17           through Leslie King, and I asked her if she could
02:08:30 18           please reach out to him and find out what questions
02:08:33 19           he had.   And --
02:08:34 20       Q   And Leslie King --
02:08:36 21       A   Is the director of communications.
02:08:37 22       Q   And she was at the senior staff meetings; correct?
02:08:40 23       A   Yes.
02:08:40 24       Q   And she's also in the core group who knew about
02:08:43 25           Nassar; correct?



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02:08:44   1      A   I don't know when she found out, but she was not
02:08:49   2          initially --
02:08:51   3      Q   Okay.   So she wasn't at the meeting with the
02:08:53   4          lawyers?
02:08:53   5      A   No.
02:08:54   6      Q   All right.    Fair enough.
02:08:55   7      A   So she reached out to the reporter.         And he
02:09:02   8          asked -- said that he had been -- he had
02:09:06   9          information that I was the -- an individual that
02:09:09 10           had removed records -- medical records from the
02:09:14 11           Ranch, and I asked Leslie to please respond to him
02:09:20 12           that absolutely that I was not and I had never
02:09:25 13           heard of that.
02:09:26 14       Q   Okay.   All right.    So -- and that was true, you
02:09:32 15           didn't remove records from the Ranch; correct?
02:09:34 16       A   Correct.
02:09:34 17       Q   You never destroyed anything from the Ranch;
02:09:37 18           correct?
02:09:37 19       A   No.   That's correct, yes.
02:09:38 20       Q   Okay.   My -- that was a bad question.
02:09:41 21       A   Yeah, yeah.
02:09:41 22       Q   All right.    And you've never destroyed documents or
02:09:43 23           data in connection with your work at USA Gymnastics
02:09:47 24           at any point; correct?
02:09:48 25       A   That's correct.



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02:09:50   1      Q   All right.    So you responded to Leslie King, tell
02:09:59   2          him that's not true?
02:10:01   3      A   Correct.
02:10:01   4      Q   Okay.    And then -- okay.    So how did you find out
02:10:04   5          that somebody, in fact, had done that?
02:10:07   6                 MS. MATTHAI:    Lacks foundation.     Calls for
02:10:08   7          speculation.
02:10:08   8      Q   You may answer.
02:10:09   9      A   I asked Rachel Brazo if she had heard of anything,
02:10:17 10           because --
02:10:17 11       Q   Go ahead, please.
02:10:19 12       A   -- because of I had a reporter thinking I did
02:10:23 13           something, and she said that Amy White had.
02:10:27 14       Q   Okay.    Forgive me.    Would you spell Brazo for the
02:10:31 15           court reporter?
02:10:31 16       A   B-r-a-z-o.
02:10:34 17       Q   Okay.    And Amy White is W-h-i-t-e?
02:10:38 18       A   W-h-i-t-e, uh-huh.
02:10:41 19       Q   Okay.    And Olivia, just for save time, Olivia Gill
02:10:44 20           is, how is that spelled?
02:10:48 21       A   I don't even know.
02:10:48 22       Q   Okay.    All right.    So you went to -- she said
02:10:54 23           Amy White had removed records?
02:10:56 24       A   Yes.
02:10:56 25       Q   And what was Mr. -- Ms. Brazo's position at



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02:11:00   1          USA Gymnastics?
02:11:01   2      A   I believe she was -- she was John Hewett's -- she
02:11:08   3          did all the accounting budgets for the programs but
02:11:12   4          she also helped with rhythmic, so I'm not sure
02:11:16   5          exactly what her title was.
02:11:18   6      Q   Okay.    And how did she know that Amy White had done
02:11:21   7          that?
02:11:22   8                 MS. MATTHAI:   Lacks foundation.      Calls for
02:11:23   9          speculation.
02:11:24 10       A   I don't know.
02:11:26 11                  MS. HOLM:   Join the objection.
02:11:27 12       Q   Okay.
02:11:28 13                  MS. MERY:   Join.
02:11:28 14       Q   So did you ask Amy if she had done that?
02:11:31 15       A   Yes.
02:11:31 16       Q   Okay.    And what did Amy say?
02:11:33 17       A   She said yes, that she was there for a camp and
02:11:36 18           that Steve Penny had called her or she -- I don't
02:11:42 19           know how -- which one.      This is just from --
02:11:46 20       Q   Your memory?
02:11:47 21       A   -- my memory and her telling me, so I don't know
02:11:49 22           firsthand.    That he asked her to bring back any --
02:11:58 23           anything -- any records or medical information from
02:12:03 24           the Ranch.
02:12:04 25       Q   So she said bring back records and medical



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02:12:07   1          information?
02:12:08   2      A   I believe so.
02:12:09   3      Q   Okay.    So did you ask her if she did that?
02:12:12   4      A   Yes.
02:12:13   5      Q   And what'd she say?
02:12:13   6      A   She said yes.
02:12:15   7      Q   She -- did she tell you how she did it?
02:12:17   8      A   Yes.
02:12:18   9      Q   What'd she say?
02:12:19 10       A   She said she -- that he asked her to go to Target
02:12:22 11           and buy -- or somewhere and buy a large suitcase.
02:12:28 12           And she filled the suitcase, as well as, she said,
02:12:35 13           I believe, that Gary Warren brought some boxes from
02:12:41 14           a shed or . . .     And she took those to the airport
02:12:48 15           after the camp was over.
02:12:51 16       Q   Okay.    So she transported them on a plane?
02:12:54 17       A   Yes.
02:12:55 18       Q   Okay.
02:12:55 19       A   Through checked baggage, I believe.
02:12:57 20       Q   All right.    Have you heard from any source that she
02:13:00 21           kept the receipt for that?
02:13:02 22       A   Well, yes.    Because she said that her credit card,
02:13:06 23           her USA credit card, like, wouldn't work.
02:13:11 24       Q   Because it was so much money?
02:13:12 25       A   No.    I don't know.   I don't know why it didn't.



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02:13:16   1      Q   So she had to pay for it and needed to be
02:13:18   2          reimbursed?
02:13:19   3      A   Yes.
02:13:20   4      Q   Okay.    Do you know how much it was?
02:13:21   5      A   No.
02:13:21   6      Q   Okay.    Okay.    So -- and when approximately did you
02:13:29   7          hear that story from Amy White?
02:13:32   8      A   I believe it was springtime, around March of this
02:13:36   9          year.
02:13:37 10       Q   March of '18?
02:13:38 11       A   I believe so.
02:13:38 12       Q   And Mr. Penny had already departed at the -- the
02:13:42 13           organization at that point?
02:13:43 14       A   Yeah.    He was a year earlier.
02:13:46 15       Q   Okay.    Did you go back to Leslie King and report to
02:13:50 16           her what you'd found out?
02:13:51 17       A   I went to Kerry Perry and told her.
02:13:54 18       Q   Okay.    And what did Ms. Perry say?
02:13:57 19       A   She said that she was going to -- I don't remember
02:14:01 20           if it was -- I don't remember exactly what she was
02:14:03 21           going to do.
02:14:05 22       Q   Okay.    Well, as you can imagine, this is important.
02:14:08 23       A   Yes.
02:14:09 24       Q   So I'm going to try and probe your memory a little
02:14:11 25           bit.    Okay?



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02:14:12   1      A   Okay.
02:14:12   2      Q   And I appreciate your candor here.
02:14:14   3      A   Yeah.
02:14:15   4      Q   So when she -- when Amy White told you that, did
02:14:21   5          you have the -- did you sense that she thought that
02:14:24   6          she had done something wrong or she had just -- was
02:14:29   7          doing what she was told?
02:14:32   8               MS. MATTHAI:     Objection.    Lacks foundation.
02:14:33   9          Calls for speculation.
02:14:34 10                MS. MERY:    Join.
02:14:35 11       A   I can't speak on how she felt.
02:14:37 12       Q   I'm asking how your impression of her was.           Did you
02:14:40 13           reach that conclusion one way or the other?           Was
02:14:43 14           she nervous?    Was she not nervous?
02:14:46 15                MS. MATTHAI:     Same objection.
02:14:47 16       A   I think she was doing as she was told, and I think
02:14:57 17           that all -- as well she was nervous after -- I
02:15:05 18           believe after the fact.
02:15:07 19       Q   After what had come out?
02:15:10 20       A   I think more so after she -- she shared that if
02:15:16 21           she -- when she spoke with her husband, just what
02:15:20 22           if -- not what if -- with her credit card not
02:15:24 23           working, she just seemed a little nervous.
02:15:27 24       Q   Okay.   When did he tell her to do that?        Just when
02:15:30 25           did she bring those back?



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02:15:32   1      A   I don't know.
02:15:33   2                 MS. MERY:   Objection.   Vague.
02:15:34   3      Q   Okay.    Was this in 2016?
02:15:38   4      A   I -- she didn't give us -- I don't know the exact
02:15:40   5          date of when he asked her to do this.
02:15:43   6      Q   Do you have any idea of the time frame, even the
02:15:46   7          year?
02:15:48   8      A   She said it was during a camp, and I think she did
02:15:54   9          either acro camp, so I believe it was during an
02:15:58 10           acro camp.
02:16:00 11       Q   Okay.    And this was after Dr. Nassar had been
02:16:03 12           fired; correct?
02:16:04 13       A   I believe so.
02:16:08 14       Q   Okay.
02:16:11 15       A   Yeah.
02:16:11 16       Q   And did Mr. Penny -- did she tell you Mr. -- why
02:16:14 17           Mr. Penny wanted her to get the records?
02:16:16 18       A   No.
02:16:17 19                  MS. MATTHAI:   Objection.    Lacks foundation.
02:16:18 20           Calls for speculation.
02:16:19 21       Q   Did she give you any idea?      Did he tell her why?
02:16:23 22       A   No.
02:16:23 23       Q   Okay.    So she went -- and Gary Warren -- she told
02:16:28 24           you that Gary Warren brought boxes to her?
02:16:31 25       A   Yes.



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02:16:31   1      Q   So Gary Warren obviously -- did she tell you that
02:16:35   2          Gary Warren was instructed by Mr. Penny to do that?
02:16:38   3      A   She did not.
02:16:39   4      Q   Did you speak to Gary Warren about this?
02:16:41   5      A   I e-mailed Gary and asked if -- I believe if he
02:16:48   6          provided or gave documents to her.
02:16:50   7      Q   And what'd he say?
02:16:51   8      A   He said yes, he gave her everything.         And I believe
02:16:55   9          as well he mentioned that I don't know if she did
02:17:04 10           or someone had the docu -- his -- all of his
02:17:08 11           documents that he had on his computer.
02:17:12 12       Q   Did he tell you that he burned documents in -- at
02:17:15 13           the Ranch in the fire pit?
02:17:17 14       A   No.
02:17:17 15       Q   Have you heard that from anybody?
02:17:18 16       A   No.
02:17:24 17       Q   Okay.
02:17:25 18       A   But I do remember now there is a fire pit up at the
02:17:28 19           lodge.
02:17:29 20       Q   Okay.    And do you know if anybody burned documents?
02:17:34 21       A   No.
02:17:35 22       Q   All right.
02:17:35 23       A   I've never heard that.
02:17:37 24       Q   Never heard that, okay.      So when Ms. White got back
02:17:40 25           to the office with the documents, who did she give



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02:17:43   1          them to, according to her?
02:17:45   2      A   She told me that she gave them to Steve Penny.
02:17:48   3      Q   And did she say how she did that?        Did she give
02:17:52   4          them to the office or . . .?
02:17:54   5      A   She brought them to the office.
02:17:56   6      Q   And gave them to him?
02:17:58   7      A   Yes.
02:17:59   8      Q   Did anybody from USA Gymnastics, to your knowledge,
02:18:01   9          contact Mr. Penny and ask him about this?
02:18:04 10       A   I don't know.
02:18:05 11       Q   Okay.   So let's go back to your conversation with
02:18:08 12           Kerry Perry.
02:18:09 13       A   Yeah.
02:18:10 14       Q   You talked to Amy White?
02:18:12 15       A   Yes.
02:18:12 16       Q   And Miss Faehn, you're obviously disturbed by the
02:18:16 17           story; correct?
02:18:17 18       A   Yes.
02:18:19 19       Q   Because it doesn't -- it's -- well, when you heard
02:18:21 20           the story, what did you think?
02:18:27 21       A   I thought that if those documents are back here
02:18:32 22           that they would -- that he would turn them over to
02:18:36 23           the authorities or the attorneys and they would
02:18:41 24           know where to go.
02:18:42 25       Q   Okay.   And did you ask if those documents still



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02:18:45   1          existed?
02:18:46   2      A   Did I ask who?
02:18:48   3      Q   Anybody.
02:18:51   4      A   Well, no, because there was nobody there left --
02:18:56   5      Q   Okay.
02:18:57   6      A   -- that -- to ask.
02:18:58   7      Q   So did Miss-- did anybody tell you what happened
02:19:04   8          with the documents that were --
02:19:07   9      A   No.
02:19:07 10       Q   Okay.    So did Mr. Warren or Ms. White tell you that
02:19:18 11           or did you know that the Texas law enforcement had
02:19:21 12           been to the Ranch before the documents were moved
02:19:26 13           seeking access?
02:19:28 14                  MS. MATTHAI:   Objection.    Lacks foundation.
02:19:30 15                  MS. MERY:   Join.
02:19:31 16                  MS. MATTHAI:   It's also vague and ambiguous.
02:19:32 17       Q   You may answer.
02:19:34 18       A   Amy told me that -- I believe that the
02:19:36 19           Texas Rangers were there.
02:19:38 20       Q   Okay.    And after they left --
02:19:40 21       A   Yes.
02:19:40 22       Q   -- she was directed to remove the documents by
02:19:42 23           Mr. Penny?
02:19:43 24       A   Yes, I believe so.
02:19:44 25       Q   Okay.    And not -- that did not sound good, did it,



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02:19:48   1          to you?
02:19:49   2                 MS. MATTHAI:   Objection.    Argumentative.
02:19:50   3          Lacks foundation.
02:19:52   4                 MS. MERY:   Join.
02:19:54   5                 MS. MATTHAI:   Incomplete hypothetical.
02:19:57   6      Q   You may answer.
02:19:58   7      A   Yes, that was concerning.
02:19:58   8      Q   Yeah.    Because it -- on its face it looks like
02:20:01   9          somebody's trying to hide something from law
02:20:02 10           enforcement; correct?
02:20:03 11                  MS. MATTHAI:   Lacks foundation, incomplete
02:20:05 12           hypothetical, and argumentative.
02:20:07 13       Q   You may answer.
02:20:09 14       A   I don't -- yeah, I don't -- it's -- it was -- I
02:20:13 15           don't understand that.
02:20:14 16       Q   You don't understand why he would do that?
02:20:17 17       A   Yes.
02:20:17 18       Q   Yeah.    You were suspicious; correct?
02:20:21 19       A   It's con -- yes.
02:20:22 20       Q   Okay.    And you had nothing to do with that,
02:20:25 21           Ms. Faehn, and I'm not implying in any way that you
02:20:27 22           did.
02:20:28 23       A   No.
02:20:28 24       Q   Okay.    You didn't know about it until Amy White
02:20:30 25           told you; right?



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02:20:31   1      A   That's correct.
02:20:31   2      Q   I think you and I can disagree about a lot of
02:20:33   3          things, but you didn't have anything to do with
02:20:35   4          those documents being removed; correct?
02:20:37   5      A   That's correct.
02:20:39   6      Q   All right.    And when you -- when you found out, you
02:20:43   7          went to the president of the organization and told
02:20:44   8          her; right?
02:20:45   9      A   Yes, that's correct.
02:20:46 10       Q   Because you were concerned that there -- that it
02:20:49 11           was important and that you were even concerned that
02:20:51 12           somebody may have violated the law; right?
02:20:54 13       A   That's correct.
02:20:55 14       Q   Okay.   And when you told her that, what did you
02:20:57 15           expect Ms. Perry to do?
02:21:00 16       A   I expected her to know what she was supposed to do
02:21:08 17           legally and speak with -- to speak -- to find out
02:21:16 18           or to tell the attorneys and the law what
02:21:21 19           information that she just learned.
02:21:23 20       Q   Okay.   And what did she do?
02:21:25 21       A   I don't know.
02:21:26 22       Q   Okay.   Did she ever -- did any of the lawyers --
02:21:30 23           did -- Strike that.
02:21:33 24                Did anybody from USA Gymnastics ever interview
02:21:36 25           you about that and those documents before you left?



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02:21:39   1      A   No.
02:21:40   2      Q   So after you spoke to Kerry Perry, I take it no one
02:21:43   3          from USA Gymnastics -- not staff, not lawyers,
02:21:47   4          nobody -- ever spoke to you again about those
02:21:50   5          documents?
02:21:51   6      A   That's correct.
02:21:51   7      Q   Okay.    When you spoke to Ms. Perry, where did that
02:21:55   8          conversation take place about the documents?
02:21:59   9      A   In her office.
02:22:00 10       Q   Okay.    Did you close the door?
02:22:03 11       A   I don't remember.
02:22:04 12       Q   Okay.    But you asked -- where was your office in
02:22:07 13           the building relative to hers?
02:22:09 14       A   The exact opposite end of the hallway.
02:22:12 15       Q   Okay.    How long of a walk to her office from yours?
02:22:15 16       A   There's approximately 10 to 12 offices in between,
02:22:23 17           so . . .
02:22:24 18       Q   Okay.    So, you know, fifteen-second walk,
02:22:27 19           twenty-second walk?
02:22:29 20       A   Yeah, yes.
02:22:29 21       Q   Okay.    And you went in?
02:22:30 22       A   Uh-huh.
02:22:31 23       Q   And did you call her Kerry or Ms. Perry or what?
02:22:34 24       A   Kerry.
02:22:35 25       Q   Madam President?



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02:22:36   1      A   No, Kerry.
02:22:37   2      Q   Okay.    All right.   Kerry, I just learned this from
02:22:41   3          Amy White?
02:22:42   4      A   Yes.
02:22:43   5      Q   Here's what she told me?
02:22:44   6      A   (The witness nodded.)
02:22:45   7      Q   What was her affect that you observed when she told
02:22:48   8          you that -- when you told her that?
02:22:49   9      A   She said oh, that's not good.
02:22:54 10       Q   Okay.    She say oh, shit?
02:22:56 11       A   No.
02:22:57 12       Q   Okay.
02:22:59 13       A   I would remember, because I don't very rarely
02:23:02 14           swear, so I'd remember that.
02:23:03 15       Q   That's the difference between you and me.           Good for
02:23:06 16           you.    I'm kidding, for the record.
02:23:08 17       A   (The witness smiled.)
02:23:10 18       Q   Okay.    All right.   She said that's not good?
02:23:12 19       A   Yes.
02:23:13 20       Q   All right.    And then what did she say?
02:23:15 21       A   She wrote -- I believe she wrote something down,
02:23:23 22           and that was it.
02:23:23 23       Q   Is the next time you were asked by anybody other
02:23:26 24           than your counsel about that issue was
02:23:30 25           Senator Moran at the hearings?



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                  UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE


   ALEXANDRA ROSE RAISMAN, AN   )
   INDIVIDUAL,                  )
                                )      CIVIL CASE NO.
                Plaintiff,      )      5:18-cv-02479-BLF
                                )
            -v-                 )      The Honorable
                                )      Beth Labson Freeman
   UNITED STATES OLYMPIC        )
   COMMITTEE, A BUSINESS ENTITY )
   OF FORM UNKNOWN;             )
   USA GYMNASTICS, AN INDIANA   )
   BUSINESS ENTITY OF FORM      )
   UNKNOWN; LARRY NASSAR, AN    )
   INDIVIDUAL; STEVE PENNY, AN )
   INDIVIDUAL; PAUL PARRILLA, AN)
   INDIVIDUAL; AND DOES 1       )
   THROUGH 500,                 )
                                )
                Defendants.     )
   _____________________________)

                    * CONFIDENTIAL PORTIONS *

            The videoconferenced and telephonic videotaped
   deposition upon oral examination of RHONDA FAEHN, a
   witness produced and sworn before me, Michele K.
   Gustafson, CRR-RPR, Notary Public in and for the
   County of Marion, State of Indiana, taken on behalf of
   the Plaintiff at the offices of Stewart Richardson
   Deposition Services, One Indiana Square, Suite 2425,
   Indianapolis, Indiana, on October 24, 2018, at
   10:10 a.m., pursuant to the Federal Rules of Civil
   Procedure.


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                       SOUTHERN DISTRICT OF INDIANA
2                          INDIANAPOLIS DIVISION
3
4
        ALEXANDRA ROSE RAISMAN, AN   )
5       INDIVIDUAL,                  )
                                     )
6                    Plaintiff,      )
                                     )
7                -v-                 ) CAUSE NO.
                                     ) 5:18-CV-02479-BLF
8                                    )
        UNITED STATES OLYMPIC        )
9       COMMITTEE, A BUSINESS ENTITY )
        OF FORM UNKNOWN;             )
10      USA GYMNASTICS, AN INDIANA   )
        BUSINESS ENTITY OF FORM      )
11      UNKNOWN; LARRY NASSAR, AN    )
        INDIVIDUAL; STEVE PENNY, AN )
12      INDIVIDUAL; PAUL PARRILLA, AN)
        INDIVIDUAL; AND DOES 1       )
13      THROUGH 500,                 )
                                     )
14                   Defendants.     )
        _____________________________)
15
16
17              I, RHONDA FAEHN, state that I have read the
        foregoing transcript of the testimony given by me at
18      my deposition on October 24, 2018, and that said
        transcript constitutes a true and correct record of
19      the testimony given by me at said deposition except as
        I have so indicated on the errata sheets provided
20      herein.
21
22
23                                       _________________________
                                         RHONDA FAEHN
24
25


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                             CRIMINAL DISTRICT ATTORNEY
                                    WALKER COUNTY, TEXAS

                                       DAVID P. WEEKS


                                    PRESS RELEASE
                               FOR IMMEDIATE RELEASE

On September 28, 2018, a Walker County Grand Jury convened to continue their ongoing
investigation of the Karolyi Ranch and those individuals who may have committed offenses
related to the conduct of Dr. Larry Nassar at that location.

The grand jury returned the following indictment:

                Steve Penny
                Tampering with Evidence – Third Degree Felony

Upon indictment, the 278th Judicial District Court issued a warrant for Penny’s arrest in Cause
Number 28849. If convicted, the range of punishment is 2 to 10 years in prison and up to a
$10000 fine.

According to the indictment, Steve Penny, the former president of USA Gymnastics, is alleged
to have tampered with evidence during the investigation of sexual assault allegations against
Dr. Larry Nassar. The indictment alleges that Penny ordered the removal of documents from
the Karolyi Ranch in Walker County, Texas that were related to the activities of Nassar at the
ranch. The indictment further alleges that the removal of the documents was done for the
purpose of impairing the ongoing investigation by destroying or hiding the documents.
During the investigation by the Texas Rangers and the Walker County Sheriff’s Office, several
sources reported that Penny ordered the removal of the documents from the ranch after
learning that an investigation was underway. The investigation revealed that the documents
were delivered to Penny at the USAG Headquarters in Indianapolis, Indiana. To date, those
records have not been recovered and the location of the records is unknown. The Texas
Rangers and the detectives believe that those records are material to their investigation and that
the removal of the records by Penny prevented them from reviewing documents that would
have helped in their investigation of Nassar as well as assisted with the investigation of other
offenses that may have occurred at the Karolyi Ranch.

On October 17, 2018, the United States Marshals Smoky Mountain Fugitive Task Force
arrested Penny in Gatlinburg, Tennessee. He is currently being held there awaiting extradition
to Walker County, Texas. The Walker County District Attorney’s Office, the Walker County
Sheriff’s Office and the Texas Rangers appreciate the assistance of the US Marshals in locating
Penny.




1036 11TH STREET  P.O. BOX 1659  HUNTSVILLE, TEXAS 77340  (936)435-2441  FAX: (936)435-2449
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                                                           EXHIBIT 16
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